                    Case 19-43756            Doc 1       Filed 12/16/19 Entered 12/16/19 15:49:46                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Granite City Food & Brewery Ltd.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Granite City Food and Brewery
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3600 American Blvd. West #400
                                  Minneapolis, MN 55431
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hennepin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://ww.gcfb.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Granite City Food & Brewery Ltd.                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5812

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Granite City Food & Brewery Ltd.                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Granite City Food & Brewery Ltd.                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 16, 2019
                                                  MM / DD / YYYY


                             X /s/ Richard H. Lynch                                                       Richard H. Lynch
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ James M. Jorissen                                                       Date December 16, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James M. Jorissen
                                 Printed name

                                 Briggs & Morgan, PA
                                 Firm name

                                 80 South 8th Street
                                 Minneapolis, MN 55402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     612-977-8400                  Email address      jjorissen@briggs.com

                                 262833 MN
                                 Bar number and State




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Debtor     Granite City Food & Brewery Ltd.                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Granite City of Indiana, Inc.                                           Relationship to you               subsidiary
District   Minnesota                                  When                         Case number, if known
Debtor     Granite City of Kansas, ltd.                                            Relationship to you               subsidiary
District   Minnesota                                  When                         Case number, if known
Debtor     Granite City of Maryland, Inc.                                          Relationship to you               subsidiary
District   Minnesota                                  When                         Case number, if known
Debtor     Granite City Restaurant Operations, Inc.                                Relationship to you               subsidiary
District   Minnesota                                  When                         Case number, if known




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 Fill in this information to identify the case:
 Debtor name Granite City Food & Brewery Ltd.
 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA                                                                                        Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                                                                                                                       $665,294.38
 Plum Card
 P.O. Box 981535
 El Paso, TX
 79998-1535
 Ascension Health                                                                                                                                                       $130,565.65
 Ministry Serv
 4040 Vincennes
 Circle
 Indianapolis, IN
 46268
 Doug Johnson                                                                                                                                                           $281,573.15
 PO Box 90406
 Sioux Falls, SD
 57109
 Edward Don & Co                                                                                                                                                        $143,490.23
 2562 Paysphere
 Circle
 Chicago, IL 60674
 Legacy Village                                                                                                                                                         $166,666.65
 Investors LLC
 PO Box 635159
 Cincinnati, OH
 45263-5159
 Michael Quagliano                                                                                                                                                      $127,050.00
 4701 1st Ave Se #11
 Cedar Rapids, IA
 52402
 Peterson                                                                                                                                                               $226,371.68
 Companies
 12500 Fair Lakes
 Circle #400
 Fairfax, VA 22033
 Regency Centers LP                                                                                                                                                     $150,743.61
 1568 Solutions
 Center
 Chicago, IL 60677


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Granite City Food & Brewery Ltd.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Richard A Lane P                                                                                                                                                       $108,333.35
 Cameron Lane
 PO Box 9727
 Michigan City, IN
 46361
 Riverfront Holdings                                                                                                                                                    $231,906.67
 Inc
 Department 77725
 PO Box 77000
 Detroit, MI
 48277-0725
 Store Capital                                                                                                                                                          $557,028.78
 Corporation
 8377 East Hardford
 Dr Ste 100
 Scottsdale, AZ
 85255
 Sysco Chicago                                                                                                                                                          $124,346.81
 PO Box 5037
 Des Plaines, IL
 60017-5037
 Sysco Detroit                                                                                                                                                          $235,431.93
 PO Box 33580
 Detroit, MI
 48232-5580
 Sysco Eastern                                                                                                                                                          $152,520.90
 Maryland
 PO Box 477
 Pocomoke City, MD
 21851-0477
 Sysco Iowa                                                                                                                                                             $151,084.10
 PO Box 874
 Des Moines, IA
 50304-0874
 Sysco Kansas City                                                                                                                                                      $142,954.64
 PO Box 40
 Olathe, KS
 66051-0040
 Sysco Lincoln                                                                                                                                                          $152,238.12
 P.O. Box 80068
 Lincoln, NE
 68501-0068
 Sysco Minnesota                                                                                                                                                        $307,295.76
 P.O. Box 49730
 Minneapolis, MN
 55449-0730
 Todd Or Lori                                                                                                                                                             $91,875.00
 Hanson
 C/O Farmers Credit
 Serv Of Am
 322 1st Avenue East
 Mobridge, SD 57601


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Granite City Food & Brewery Ltd.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 University Park Mall,                                                                                                                                                  $126,657.50
 LLC
 c/o Simon
 Properties
 867525 Reliable
 Parkway
 Chicago, IL 60686




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                      1A BACKFLOW CERTS AND SVCS LLC
                      12363 SW 132 CT
                      MIAMI FL 33186



                      1MATTERS.ORG
                      3450 W CENTRAL AVE STE 108
                      TOLEDO OH 43606



                      1ST ASSEMBLY OF GOD
                      5950 SPRING CREEK RD
                      ROCKFORD IL 61114



                      22ND CENTURY MEDIA LLC
                      11516 W 183RD ST UNIT SW
                      ORLAND PARK IL 60467



                      36TH DISTRICT COURT
                      421 MADISON AVE #117
                      DETROIT MI 48226



                      4 LUV OF DOG RESCUE
                      PO BOX 9283
                      FARGO ND 58106-9283



                      40 WAYS SECURITY LLC
                      8466 FIELDSTONE WAY UNIT 17
                      HYATTSVILLE MD 20785



                      618 SPIRITS LLC
                      618 SPIRIT DRIVE STE 125
                      CHESTERFIELD MO 63005



                      7G DISTRIB FINTECH
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                  7G DISTRIBUTING CO
                  3200 RESEARCH PARKWAY
                  DAVENPORT IA 52806



                  A AAA LOCKSMITHS LLC
                  PO BOX 85052
                  FORT WAYNE IN 46885



                  A AND R ROOFING CO INC
                  975 ARMOUR ST NW
                  WEST FARGO ND 58078



                  A BEE CO ROSELAWN HERITAGE FAR
                  24069 RUM RIVER BLVD
                  SAINT FRANCIS MN 55070



                  A CLEAN LINE LLC
                  PO BOX 37222
                  DES MOINES IA 50315



                  A CLEAR VIEW WINDOW CLEANING
                  PO BOX 502
                  NEW FREEDOM PA 17349



                  A LOT A CLEAN
                  PO BOX 284
                  LEES SUMMIT MO 64063



                  A MAESTRANZI SONS KNIFE SERVIC
                  1031 LUNT AVE
                  SCHAUMBURG IL 60193



                  A OX WELDING SUPPLY INC
                  PO BOX 86667
                  SIOUX FALLS SD 57118
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                  A RIVERA AND ASSOCIATES INC
                  3240 WASHINGTON AVE N
                  MINNEAPOLIS MN 55412



                  A STORAGE PLACE LLC
                  1508 62ND AVENUE N
                  FARGO ND 58107-0894



                  A TECH INC
                  PO BOX 3597
                  URBANDALE IA 50322-0597



                  A&F WATER HEATER& SPA SERVICE
                  35170 BEATTLE DRIVE
                  STERLING HEIGHTS MI 48312



                  A1 PUMPING AND EXCAVATING LLC
                  3900 N NATIONAL AVE
                  SIOUX FALLS SD 57104



                  A1 REFRIGERATION
                  1134 NORTH 21ST STREET
                  LINCOLN NE 68503



                  AA SERVICE COMPANY INC
                  550 ANTHONY TRAIL
                  NORTHBROOK IL 60062



                  AAA RENTS DV
                  4500 3RD STREET
                  MOLINE IL 61265



                  AAA RENTS LN
                  2700 NORTH 27TH
                  LINCOLN NE 68521
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                  AADCO INC
                  PO BOX 401
                  BEECH GROVE IN 46107-0401



                  AARON A ZWIRBLIS
                  710 FIELDSTONE CT
                  SHOREWOOD IL 60404



                  AARON BENSON
                  117 BLUWOOD AVE
                  SAINT PAUL MN 55115



                  AARON HELGESON
                  3735 8TH AVE SOUTH 212
                  SAINT CLOUD MN 56301



                  AAYS RENTALL CO INC
                  805 WEST EDISON RD
                  MISHAWAKA IN 46545



                  ABBOTT, BRANDON L.
                  12904 WILDEN CIR
                  URBANDALE IA 50323



                  ABBOTT, MIKAYLA J.
                  815 10TH ST S
                  APT 303
                  SARTELL MN 56377



                  ABC ELECTRIC
                  1012 NORTH 25TH STREET
                  LINCOLN NE 68501



                  ABC RENTALS
                  3501 S MINNESOTA AVENUE
                  SIOUX FALLS SD 57105
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                  ABCO FIRE PROTECTION
                  INC CR PITTSBURGH
                  PITTSBURGH PA 15203-2530



                  ABCO FIRE PROTECTION LV
                  PO BOX 931933
                  MUNCY VALLEY PA 17758



                  ABDB HOME SERVICES LLC
                  12301 PROXMIRE DR
                  FORT WASHINGTON MD 20744



                  ABELON, KALEB
                  509 HOLLY ST.
                  BRAINERD MN 56401



                  ABES PLUMBING COMPANY INC
                  226 SOUTH ELDER STREET
                  MISHAWAKA IN 46544



                  ABIDING LOCKSMITH AND DOOR SER
                  PO BOX 325
                  BARNHART MO 63012



                  ABIGAIL CROSS
                  2608 54TH STREET
                  DES MOINES IA 50310



                  ABIGAIL HOSKINS
                  3002 DUDLEY ST
                  LINCOLN NE 68503



                  ABNER WHITESIDE GRAND COUNCIL
                  6880 WALKER MILL ROAD
                  CAPITOL HEIGHTS MD 20743
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                  ABNER, BETHNAY
                  2035 KEY STREET #F
                  MAUMEE OH 43537



                  ABRAHAMSON, SARAH E.
                  554 STONE ROAD
                  SAINT PAUL MN 55120



                  ABREGO, MANUEL
                  715 CARSON AVE
                  OXON HILL MD 20745



                  ABSOLUTE FIRE PROTECTION INC
                  5279 28TH AVE
                  ROCKFORD IL 61109



                  ABUKAR, ABDIRAHMAN
                  15759 FINCH AVE
                  SAINT PAUL MN 55124



                  AC BEVERAGE INC
                  1993 7 MORELAND PKWY
                  ANNAPOLIS MD 21401



                  ACCENT SPECIAL EVENT RENTAL IN
                  1637 IRON ST
                  KANSAS CITY MO 64116



                  ACCURATE LOCKSMITHS INC
                  10824 COTTONWOOD LANE
                  OMAHA NE 68164



                  ACCUSAFE RESTORATION LLC
                  10015 SKEMAN RD
                  BRIGHTON MI 48114
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                  ACE JONES MUSIC
                  2145 ECHO HILL RD
                  MARION IA 52302



                  ACI ASPHALT AND CONCRETE INC
                  10285 89TH AVE N
                  MAPLE GROVE MN 55369



                  ACROLON TECHNOLOGIES INC
                  19201 SONOMA HWY #256
                  SONOMA CA 95476



                  ACTION ELECTRIC SD
                  5200 WEST 9TH STREET
                  SIOUX FALLS SD 57107



                  ACTION INC
                  62 BELLVIEW CIR
                  MC KEES ROCKS PA 15136



                  ACUAHUITL, JORGE
                  520 SHERMAN AVE
                  AURORA IL 60505



                  ADAM BRAILEY
                  225 ABERDEEN DR
                  OAKDALE PA 15071



                  ADAM JORGENSEN SIOUX FALLS PRI
                  PO BOX 2403
                  SIOUX FALLS SD 57101



                  ADAM KAMMER
                  4809 SHERWOOD RD
                  MADISON WI 53711
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                  ADAM, ANNA L.
                  6007 S. CLIFF AVENUE
                  SIOUX FALLS SD 57108



                  ADAMS CONSULTING GROUP
                  1650 WEST 82ND STREET
                  SUITE 1080
                  BLOOMINGTON MN 55431



                  ADAMS, DERRICK
                  18919 BLACKMOOR ST
                  DETROIT MI 48234



                  ADAMS, MAIYA B.
                  7702 JAYWICK AVE
                  FORT WASHINGTON MD 20744



                  ADAMS, REBECCA A.
                  18500 BARNEY DRIVE
                  ACCOKEEK MD 20607



                  ADAMS, STEPHANIE
                  6288 MAXWELL DRIVE #1
                  SUITLAND MD 20746



                  ADAMS, TERRELL Q.
                  18919 BLACKMOOR ST
                  DETROIT MI 48234



                  ADAS, KELLY M.
                  137 PARAMOUNT DRIVE
                  WOOD DALE IL 60191



                  ADKINS, BRIANNA L.
                  28590 SPRING ARBOR DR
                  SOUTHFIELD MI 48076
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                  ADM MARKETING LLC
                  1415 W MAGNOLIA BLVD STE 102
                  BURBANK CA 91506



                  ADONYS, CRISTIAN A.
                  7546 ABBINGTON DR.
                  OXON HILL MD 20745



                  ADTKS
                  PO BOX 371878
                  PITTSBURGH PA 15250-7878



                  ADVANCED EMPLOYMENT INC
                  6515 WATTS RD STE 105
                  MADISON WI 53719



                  ADVANCED MEDIA PARTNERS LLC
                  2006 W ALTORFER DR
                  PEORIA IL 61615



                  ADVANCED SECURITY SAFE& LOCK
                  6318 REISTERSTOWN RD
                  BALTIMORE MD 21215



                  AGNEW, LEAH M.
                  4011 BAMBERGER
                  SAINT LOUIS MO 63116



                  AGSOURCE COOPERATIVE SERVICES
                  135 ENTERPRISE DRIVE
                  VERONA WI 53593



                  AGUILAR, BRANDY J.
                  2110 WASHINGTON OVERLOOK DRIVE
                  FORT WASHINGTON MD 20744
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                  AGUILAR, MIGUEL
                  1604 SAWYER STREET
                  LINCOLN NE 68505



                  AGUILAR, MIRNA V.
                  347 SOUTH BETHANY ST.
                  KANSAS CITY KS 66102



                  AGUILERA, CARLOS
                  3309 NEWBURG DR
                  MISHAWAKA IN 46545



                  AGUIRRE, ANGEL
                  1727 N. 25TH STREET
                  KANSAS CITY KS 66102



                  AGUIRRE, JOSHUA I.
                  509 HILTON AVENUE
                  ROCKFORD IL 61107



                  AGUSTIN NEPOMUCENO SERAIO
                  4300 CORNHUSKER HWY
                  LINCOLN NE 68504



                  AHERN, SHANNON M.
                  400 EAGLE DRIVE
                  ELK GROVE VILLAGE IL 60007



                  AHLQUIST, SERENA H.
                  7318 BELL VISTA TERRACE
                  ROCKFORD IL 61107



                  AHUATL, DARIO
                  509 W. NAVARRE ST.
                  SOUTH BEND IN 46616
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                  AIDEN N BYRD
                  8609 NW 81ST TERR
                  KANSAS CITY MO 64152



                  AIG CLAIMS INC
                  PO BOX 105795
                  ATLANTA GA 30348



                  AILAN TROUNG
                  905 S DALE CIR
                  SIOUX FALLS SD 57110



                  AIO ACQUISTION INC
                  PO BXO 3353
                  SAN DIMAS CA 91773-7353



                  AIR FILTER SALES AND SERVICE I
                  108 SE 4TH
                  DES MOINES IA 50309



                  AIR MAX LLC
                  6608 GREGORY PARK RD SOUTH
                  SAINT CLOUD MN 56301



                  AIREMASTER OF MN
                  PO BOX 9855
                  FARGO ND 58106-9855



                  AIREMASTER OF SOUTH
                  CENTRAL IOWA DM
                  PO BOX 576
                  WAUKEE IA 50263-0576



                  AIRGAS INC
                  PO BOX 734445
                  CHICAGO IL 60673-4445
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                  AJ SMITH ENTERPRISE INC
                  9320 JOHNSON DR
                  MERRIAM KS 66203



                  AJAJ, NIMAH
                  8909 W. 167TH PL.
                  TINLEY PARK IL 60487



                  AJAJ, SANDRA S.
                  8909 W 167TH PLACE
                  TINLEY PARK IL 60487



                  AJAX TURNER FINTECH




                  AJGRMSSC
                  39683 TREASURY CENTER
                  CHICAGO IL 60694-9600



                  AKINS, AUSTIN
                  921 ARBORDALE PLACE
                  FORT WAYNE IN 46825



                  ALBERT ARNO INC
                  5000 CLAXTON AVE
                  SAINT LOUIS MO 63120-2338



                  ALBERT HAUGLAND
                  1510 W 86TH ST
                  BLOOMINGTON MN 55431



                  ALCAIDE, ANAYELIT
                  15920 LOWE AVENUE
                  HARVEY IL 60426
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                  ALCANTARA, DANIEL
                  2361 CASS ST
                  FORT WAYNE IN 46808



                  ALCANTARA, JANET
                  1343 SCOTT AVENUE
                  FORT WAYNE IN 46807



                  ALCANTARA, OMAR
                  1617 HIGH ST.
                  FORT WAYNE IN 46808



                  ALCOHOL & GAMBLING ENFORCEMENT
                  445 MINNESOTA ST
                  SUITE 222
                  SAINT PAUL MN 55101



                  ALCOHOL AND TOBACCO COMMISSION
                  302 WEST WASHINGTON STREET
                  IGCS ROOM E114
                  INDIANAPOLIS IN 46204



                  ALCOHOLIC BEVERAGE CONTROL
                  DIV DOCKING STATE OFFICE BLDG
                  915 SW HARRISON ST
                  TOPEKA KS 66625



                  ALEJANDRO MENDOZA, MANUEL
                  4728 KENILWORTH DRIVE
                  APT 201
                  ROLLING MEADOWS IL 60008



                  ALEJANDRO MONDRAGON
                  3940 BRITTANY CIRCLE
                  BRIDGETON MO 63044



                  ALEMAN, ONESIMO J.
                  1480 JERSEY WAY
                  CHANHASSEN MN 55317
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                  ALEX KEEHN
                  404 N DOMINIC AVE
                  SIOUX FALLS SD 57107



                  ALEXANDER FROLOV
                  PO BOX 78
                  ORONO MN 55356



                  ALEXANDER, BRETT E.
                  19964 FREELAND ST
                  DETROIT MI 48235



                  ALEXANDER, BRETT E.
                  22548 LINCOLN TERRACE APT. 301
                  OAK PARK MI 48237



                  ALEXANDER, CASTRO
                  1208 SYLVIA DR
                  TROY MI 48083



                  ALEXANDER, JACK M.
                  13930 SUNNYSLOPE DRIVE
                  MAPLE GROVE MN 55311



                  ALEXANDRA J GROBE
                  921 S MAIN ST LOT 64
                  APT A
                  LANSING KS 66043



                  ALEXANDRIA CHAMBER OF COMMERCE
                  2834 DUKE ST
                  ALEXANDRIA VA 22314



                  ALICIA L CARUTHERS
                  3832 N BARRY RD APT G
                  KANSAS CITY MO 64153
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                  ALICIA RIZVI
                  1400 TWOMBLY RD
                  DEKALB IL 60112



                  ALIESE FAIRWEATHER
                  2854 PEASE DR #103
                  ROCKY RIVER OH 44116



                  ALL CITY ENVIRONMENTAL SVCS IN
                  927 W 49TH PLACE
                  CHICAGO IL 60609



                  ALL COMMUNITY EVENTS INC
                  ALL COMMUNITY EVENTS INC
                  LAKE ZURICH IL 60047



                  ALLAR, RANDI M.
                  1801 R ST
                  1029
                  LINCOLN NE 68508



                  ALLARD, JOSHUA M.
                  7518 POPPLETON PLAZA #7
                  OMAHA NE 68124



                  ALLEGHENY AIR CONDITIONING INC
                  1 DICK STREET
                  CARNEGIE PA 15106



                  ALLEGHENY SOUTHWEST TAX COLLEC
                  102 RAHWAY ROAD
                  MCMURRAY PA 15317



                  ALLEN CIRCUIT COURT
                  715 S CALHOUN ST RM 200
                  FORT WAYNE IN 46802
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                  ALLEN SKAGGS
                  3945 2ND ST S
                  SAINT CLOUD MN 56301



                  ALLEN, MINDY A.
                  206 ESMOND ST
                  FORT WAYNE IN 46808



                  ALLEN, RYLIE H.
                  2602 EAST DRIVE
                  FORT WAYNE IN 46805



                  ALLEN, SARA M.
                  1 ROSE COURT
                  PEKIN IL 61554



                  ALLIANCE FOR THE GREAT LAKES
                  L-325 WOODFIELD MALL
                  SCHAUMBURG IL 60173



                  ALLIANCE FOR THE GREAT LAKES I
                  616 ORLAND SQUARE DRIVE
                  ORLAND PARK IL 60462



                  ALLIANCE REFRIGERATION CO INC
                  100 FRONTIER WAY
                  BENSENVILLE IL 60106



                  ALLIANT ENERGY IOWA
                  PO BOX 3062
                  CEDAR RAPIDS IA 52406-3062



                  ALLIED BENEFIT SYSTEMS INC
                  200 WEST ADAMS SUITE 500
                  CHICAGO IL 60606
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                  ALLIED MECHANICAL INC
                  920 MIDDLE STREET
                  NEW HAVEN IN 46774



                  ALLIED REFRIGERATION AC AND RE
                  11341 SW 145TH AVE
                  MIAMI FL 33186



                  ALLISON LADD
                  8217 N 47TH ST
                  OMAHA NE 68152



                  ALLISON M PRICE
                  2443 COURT YARD CIRCLE #2
                  AURORA IL 60506



                  ALLISON M THOEMKE
                  3700 42ND STREET SOUTH
                  FARGO ND 58104



                  ALMA ZAMBRANO
                  1920 SWATHMORE DR
                  AURORA IL 60506



                  ALMAZAN, LEOBARDO
                  3085 COMMONWEALTH DR
                  1734
                  SPRING HILL TN 37174



                  ALMENDAREZ, JESSICA L.
                  2206 HUNTINGTON AVENUE
                  SAINT LOUIS MO 63114



                  ALONSO, FRANCISCO
                  3900 DEVONSHIRE LN
                  WAUKEGAN IL 60085
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                  ALONSO, FREDY
                  243 ASHLAND AVE
                  HIGHWOOD IL 60040



                  ALONSO, JASON
                  5701 SW 149 PL.
                  MIAMI FL 33193



                  ALONZO EWING
                  5857 PLYMOUTH AVE
                  SAINT LOUIS MO 63112



                  ALONZO, DELINA A.
                  4222 KNIGHTWAY DR
                  FORT WAYNE IN 46815



                  ALONZO, RUTH
                  515 E VIRGINIA
                  PEORIA IL 61603



                  ALPHA KAPPA ALPHA LOTA CHI OME
                  PO BOX 11136
                  FORT WAYNE IN 46856



                  ALPHA KAPPA ALPHA SORORITY INC
                  5656 S STONY ISLAND AVE
                  CHICAGO IL 60637



                  ALPHA MEDIA LLC
                  3800 CORNHUSKER HIGHWAY
                  LINCOLN NE 68504



                  ALS ELECTRIC
                  2616 N COOPER AVE
                  SAINT CLOUD MN 56302
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                  ALSCO INC
                  315 LYNCH ST
                  SAINT LOUIS MO 63118



                  ALTAMIRANO, KAELINE A.
                  3293 HILL RIDGE DR
                  SAINT PAUL MN 55121



                  ALTEMP MECHANICAL INC
                  303 LINDSAY ROAD
                  HUDSON WI 54016



                  ALTERNATIVE PLUMBING PLUS INC
                  6205 N SUMMIT STREET
                  TOLEDO OH 43611



                  ALTMAN, EMILY
                  764 WALTZ MILL RD
                  65
                  HUNKER PA 15639



                  ALVARADO, FRANCISCO
                  228 52ND ST
                  45
                  WEST DES MOINES IA 50265



                  ALVARADO, JILDA
                  719 24TH AVE.
                  MINNEAPOLIS MN 55418



                  ALVAREZ, AURELIO T.
                  4419 PENNSYLVANIA
                  #5
                  KANSAS CITY MO 64111



                  ALVILLAR-ALARCON, MARIA
                  822 SAVANNA AVE
                  APT 215
                  SAINT CLOUD MN 56303
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                  ALVILLAR-GONZALEZ, ALFONSO
                  822 SAVANNA AVE
                  APT 215
                  SAINT CLOUD MN 56303



                  ALWAYS IN BLOOM INC
                  227 FRANKLIN ROAD
                  FRANKLIN TN 37064



                  ALYCIA SITERS
                  27 CRAIGHEAD STREET
                  PITTSBURGH PA 15211



                  ALYSSA SLOCUM
                  463 LITTLE FALLS DR
                  AMERY WI 54001



                  ALYSSA WORSHAM




                  ALYSSIA LUNA
                  2558 SNOW HILL CT
                  WALDORF MD 20602



                  ALZHEIMERS DISEASE AND RELATED
                  DISORDERS ASSN INC
                  225 N MICHIGAN AVENUE FL 17
                  CHICAGO IL 60601



                  AMANCO CONSTRUCTION LLC
                  4606 HAMILTON ST
                  OMAHA NE 68132



                  AMANDA ABRAMS
                  695 SPRINGHILL CIRCLE
                  NAPERVILLE IL 60563
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                  AMANDA K ANDERSON
                  611 W LAWNDALE AVE
                  PEORIA IL 61604



                  AMAYA, MARVIN W.
                  903 MARCY AVE
                  103
                  OXON HILL MD 20745



                  AMAYA, MILTON G.
                  3131 SOUTHGATE DR
                  APT 205
                  ALEXANDRIA VA 22306



                  AMBER WILBURN
                  308 LORRAINE PL
                  ROSSFORD OH 43460



                  AMBROSI BROS CUTLERY CO INC
                  3023 MAIN
                  KANSAS CITY MO 64108



                  AMBURGY, JOHNEY R.
                  6748 E 700 S
                  COLUMBIA CITY IN 46725



                  AMELSE, JACOB L.
                  3624 SAWGRASS TRAIL SOUTH
                  SAINT PAUL MN 55123



                  AMEREN ILLINOIS
                  PO BOX 88034
                  CHICAGO IL 60680-1034



                  AMEREN MISSOURI
                  PO BOX 88068
                  CHICAGO IL 60680-1068
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                  AMERICAN ASSOCIATION OF ZOO KE
                  8476 E SPEEDWAY BLVD STE 204
                  TUCSON AZ 85710



                  AMERICAN CANCER SOCIETY INC
                  250 WILLIAMS ST STE 4B
                  ATLANTA GA 30303



                  AMERICAN CANCER SOCIETY INC
                  250 WILLIAMS ST NW SUITE 400
                  ATLANTA GA 30303-1002



                  AMERICAN CANCER SOCIETY INC
                  1801 MEYERS ROAD STE 100
                  OAKBROOK TERRACE IL 60181



                  AMERICAN COMPRESSED GASES INC
                  PO BOX 715
                  WESTWOOD NJ 07675-0715



                  AMERICAN EXPRESS GREEN CARD
                  P.O. BOX 981535
                  EL PASO TX 79998-1535



                  AMERICAN EXPRESS PLUM CARD
                  P.O. BOX 981535
                  EL PASO TX 79998-1535



                  AMERICAN FOUNDATION FOR
                  SUICIDE PREVENTION INC
                  120 WALL ST FL 29
                  NEW YORK NY 10005



                  AMERICAN LAND TITLE CO
                  11239 CHICAGO CIR
                  OMAHA NE 68154
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                  AMERICAN LAWN AND LANDSCAPE IN
                  PO BOX 1606
                  LIBERTY MO 64069



                  AMERICAN LEBANESE SYRIAN ASOCD
                  501 ST JUDE PLACE
                  MEMPHIS TN 38105-1905



                  AMERICAN LEGION 0479 MURBACH S
                  200 S HALLET AVE
                  SWANTON OH 43558



                  AMERICAN LEGION BASEBALL
                  6250 EXCELSIOR BLVD
                  ST. LOUIS PARK MN 55416



                  AMERICAN LEGION EG
                  1703 SELBY AVENUE
                  SAINT PAUL MN 55104



                  AMERICAN RENTALL
                  1015 HOLLAND PARK BLVD
                  HOLLAND OH 43528



                  AMERICAN RESTAURANT ASSOC INC
                  PO BOX 51482
                  SARASOTA FL 34232-0332



                  AMERICAN RESTAURANT SVCS LLC
                  PO BOX 32713
                  DETROIT MI 48232-0713



                  AMERIGAS
                  PO BOX 660288
                  DALLAS TX 75266-0288
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                  AMERIPARK LLC
                  1640 POWER FERRY ROAD
                  BLDG 5 STE 200
                  MARIETTA GA 30067



                  AMERIPRIDE SERVICES INC
                  PO BOX 1010
                  BEMIDJI MN 56619-1010



                  AMITRANO, NICHOLAS R.
                  575 THORNHILL DR.
                  209
                  CAROL STREAM IL 60188



                  AMMONS, DESMOND
                  6566 CAYCE LANE
                  COLUMBIA TN 38401



                  AMTHOR, JEFFREY M.
                  28330 187TH STREET
                  LEAVENWORTH KS 66048



                  AMY HEMMEN
                  4747 N 167TH STREET W
                  COLWICH KS 67030



                  AMY KEELEAN
                  23006 EDGEWATER
                  SAINT CLAIR SHORES MI 48082



                  AMY KEEN
                  3876 MELBY AVE N
                  SAINT MICHAEL MN 55376



                  AMY WEBSTER
                  2756 FRANKFORT RD
                  NEW CUMBERLAND WV 26047
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                  AMYOTROPHIC LATERAL SCLEROSIS
                  3636 WESTOWN PKWY STE 204
                  WEST DES MOINES IA 50266



                  ANA ROMERO BAUTIST
                  4400 E CLARK ST
                  WICHITA KS 67218



                  ANAYA HERNANDEZ, GERMAN
                  1920 OAKDALE AVE.
                  SAINT PAUL MN 55118



                  ANDERSEN, BRITTANY G.
                  14562 LAKE VIEW DRIVE
                  CLIVE IA 50325



                  ANDERSON ANIMAL SHELTER
                  1000 S LAFOX RD
                  SOUTH ELGIN IL 60177



                  ANDERSON, AARON J.
                  2408 DEMORES DR S
                  FARGO ND 58103



                  ANDERSON, ALEC K.
                  115 15TH ST. S
                  MOORHEAD MN 56560



                  ANDERSON, DEDRIC L.
                  9000 E. JEFFERSON AVE.
                  812
                  DETROIT MI 48214



                  ANDERSON, EDWARD
                  3848 SOUTH CAPITAL STREET
                  202
                  WASHINGTON DC 20032
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                  ANDERSON, JAMIE K.
                  23 GULF STREAM AVE.
                  PEORIA IL 61607



                  ANDERSON, KAYLA
                  5241 LANNON AVE NE
                  ALBERTVILLE MN 55301



                  ANDERSON, KIMBERLY
                  6819 TOLEDO AVE NO
                  MINNEAPOLIS MN 55429



                  ANDERSON, KIRK
                  6819 TOLEDO AVE N
                  MINNEAPOLIS MN 55429



                  ANDERSON, SELENA
                  2753 N. KOSTNER #2
                  CHICAGO IL 60639



                  ANDERSON, SHAYLA
                  2653 WILLOW GLEN CT
                  APT A
                  INDIANAPOLIS IN 46229



                  ANDREW GUDE
                  505 8TH STREET
                  AMES IA 50010



                  ANDREW M ELLIS
                  2221 7TH ST
                  MAUMEE OH 43537



                  ANDREWS, MARISSA A.
                  3415 UPPER 147TH ST W
                  ROSEMOUNT MN 55068
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                  ANDRIJANA DJURASEVIC
                  13720 PERNELL DR
                  STERLING HEIGHTS MI 48313



                  ANDROWICH, BRIAN
                  2103 DOUGLAS ST
                  ROCKFORD IL 61103



                  ANGEL STOWERS
                  37319 CASTLETON DRIV
                  STERLING HEIGHTS MI 48312



                  ANGEL, ELIAS I.
                  218 OAK DRIVE
                  FRANKLIN TN 37064



                  ANGEL, PATRICIO
                  223 COLTART AVE
                  PITTSBURGH PA 15213



                  ANGELA CANINO
                  17660 NAVAJO TRACE
                  TINLEY PARK IL 60477



                  ANGELA COMPTON
                  111 S SUMMIT C3
                  EL DORADO KS 67042



                  ANGELA PEREZ
                  3305 CONCORD
                  TRENTON MI 48183



                  ANGELO MARTINEZ
                  8328 HOOVER LANE
                  INDIANAPOLIS IN 46260
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                  ANGELO, MATT A.
                  306 ANDERSON STREET
                  CRESCENT PA 15046



                  ANGELS PLACE
                  29299 FRANKLIN RD STE 2
                  SOUTHFIELD MI 48034



                  ANIMAL LIFELINE OF IOWA INC
                  PO BOX 12
                  CARLISLE IA 50047



                  ANIMAL WELFARE SOCIETY OF SOUT
                  27796 JOHN R ROAD
                  MADISON HEIGHTS MI 48071



                  ANIMALS DESERVING OF PROPER TR
                  420 INDUSTRIAL DR
                  NAPERVILLE IL 60563



                  ANN ROHLING
                  1728 N HOOD ST
                  WICHITA KS 67203



                  ANNA JORDAN
                  2807 N ZENITH AVE
                  DAVENPORT IA 52804



                  ANNA M WHITE
                  2745 VIRGINIA DR SE
                  CEDAR RAPIDS IA 52403



                  ANNAH FAJUYIGBE
                  2252 PRINCE OF WALES COURT
                  BOWIE MD 20716
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                  ANNE BUCKMAN
                  4830 JERSEY RIDGE RD APT 2
                  DAVENPORT IA 52807



                  ANNETTE BERKEY
                  7201 LINCOLN AVE #505
                  LINCOLNWOOD IL 60712



                  ANNETTE JOHNSON
                  46 INDIAN HILLS DRIVE
                  CIRCLE PINES MN 55014



                  ANSPAUGH, JESSICA
                  8721 W 121ST TERRACE
                  UNIT 707
                  OVERLAND PARK KS 66213



                  ANSTETT-DEKKER, KATHRYN
                  6407 CAMDEN AVE. N.
                  107
                  MINNEAPOLIS MN 55430



                  ANTHONIO FLORES
                  212 THOMPSON AVE #102
                  SAINT PAUL MN 55118



                  ANTHONY E CASANOVA
                  8107 MARSHALSEA
                  COMMERCE TOWNSHIP MI 48382



                  ANTHONY E PELLAN
                  11453 73RD AVE N
                  OSSEO MN 55369



                  ANTHONY REINA
                  8303 ICON COURT
                  SMYRNA TN 37167
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                  ANTHONY WAYNE LOCAL SCHOOL DIS
                  9565 BUCHER ROAD
                  WHITEHOUSE OH 43571



                  ANTLER COUNTRY LANDSCAPING INC
                  21625 CHANCELLOR ROAD
                  ELKHORN NE 68022



                  ANTONIO G CASTRO
                  24 BLUEBERRY HILL RD
                  AMHERST NH 03031



                  ANTONIO, RODRIGO A.
                  NEED ADDRESS
                  PITTSBURGH PA 15216



                  ANTONIOS LEATHER EXPERTS LLC
                  12415 STARK RD
                  LIVONIA MI 48150



                  APADANA LLC
                  2360 NEVADA AVE N
                  MINNEAPOLIS MN 55427



                  APARICIO, ISMAEL
                  1102 BLAINE AVENUE
                  SOUTH BEND IN 46616



                  APG MEDIA OF CHESAPEAKE LLC
                  PO BOX 600
                  29088 AIRPARK DR
                  EASTON MD 21601



                  APIS BUSINESS INTELLIGNCE LLC
                  5055 W PARK BLVD STE 700
                  PLANO TX 75093
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                  APONTE, JONATHAN
                  1617 LANCASHIRE APT
                  INDIANAPOLIS IN 46268



                  APPEL, CYNTHIA M.
                  1011 E 94TH
                  MINNEAPOLIS MN 55420



                  APPERTS FOOD SERVICE
                  900 S HWY 10
                  SAINT CLOUD MN 56304-1807



                  APPLE INC
                  PO BOX 846095
                  DALLAS TX 75284-6095



                  APPLIANCE REPAIR CENTER INC
                  1807 3RD STREET NORTH
                  SAINT CLOUD MN 56303



                  APRIL K CONNER
                  420 ROSEWOOD DR
                  MISHAWAKA IN 46544



                  APRIL L IRWIN
                  5309 11TH AVE C
                  MOLINE IL 61265



                  AQUA GLOBAL EVENTS LLC
                  14435 SW 158TH ST
                  MIAMI FL 33177



                  AQUILAR, MARIO
                  1213 HUDSON
                  PEORIA IL 61604
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                  AQUILINA, JOHN C.
                  141 WISE RD
                  FRANKLIN TN 37064



                  ARAB COMMUNITY CENTER FOR ECON
                  OMIC AND SOCIAL SERVICES INC
                  2651 SAULINO COURT
                  DEARBORN MI 48120



                  ARABADJI, ALEX A.
                  1887 SILVER BELL RD #318
                  SAINT PAUL MN 55122



                  ARACELY, CLAUDIA
                  8207 FAYETTE STREET
                  KANSAS CITY KS 66109



                  ARAGON, ANNA KATRINA
                  1601 R ST
                  LINCOLN NE 68508



                  ARAMARK
                  AUS CENTRAL LOCKBOX
                  PO BOX 731676
                  DALLAS TX 75373-1676



                  ARAMARK UC APPAREL GROUP INC
                  AUS ST LOUIS MO LOCKBOX
                  26792 NETWORK PLACE
                  CHICAGO IL 60673-1792



                  ARAMARK UNIFORM AND CARREER
                  APPAREL GROUP INC
                  22512 NETWORK PLACE
                  CHICAGO IL 60673-1225



                  ARAMARK UNIFORM SERVICES
                  115 NORTH FIRST STREET
                  BURBANK CA 91502
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                  ARAMARK UNIFORM SVCS
                  25259 NETWORK PLACE
                  CHICAGO IL 60673-1792



                  ARAMARK UNIFORM SVCS
                  PO BOX 28050
                  NEW YORK NY 10087-8050



                  ARAMARK UNIFORM SVCS TR
                  5120 ADVANTAGE DR
                  TOLEDO OH 43612-3876



                  ARBOR BEVERAGE
                  265 PARKLAND PLAZA
                  ANN ARBOR MI 48103



                  ARCHIES LOCK AND SAFE INC
                  6233 ANNAPOLIS LN N
                  OSSEO MN 55311



                  ARCITERRA OLATHE POINTE KS
                  2720 E CAMELBACK RD
                  PHOENIX AZ 85016



                  ARCTIC AIR INC
                  4918 FERNIEE AVE
                  ROYAL OAK MI 48073



                  ARDON, BRITTANY
                  211 PARK AVENUE
                  PITTSBURGH PA 15202



                  ARELY CLEANING SVCS INC
                  PO BOX 4536
                  SILVER SPRING MD 20914
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                  ARGUETA, GLENDA
                  934 15TH AVE N
                  SOUTH SAINT PAUL MN 55075



                  ARKADIN INC
                  PO BOX 347261
                  PITTSBURGH PA 15251-4261



                  ARMANDO HEREDIA
                  1460 BRIANS WAY
                  ROCHESTER MI 48307



                  ARMOR DOOR AND KEY LLC
                  4014 CHOUTEAU AVE
                  SAINT LOUIS MO 63110



                  ARNOLD, MELISSA M.
                  920 S. WILLOW CREEK PLACE
                  APT 8
                  SIOUX FALLS SD 57106



                  ARNOLDS FREIMANIS
                  270 BERSHIRE LN
                  SUGAR GROVE IL 60554



                  AROUND THE CORNER PRODUCTIONS
                  5417 NORDIC DRIVE STE A
                  CEDAR FALLS IA 50613



                  ARRAZOLA, CRISTIAN
                  14015 CHESTNUT DR. APT. E
                  EDEN PRAIRIE MN 55347



                  ARREDONDO, YECENIA
                  9441 WITHAM LANE
                  WOODRIDGE IL 60517
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                  ARRIETA, SARAH I.
                  1209 BONNHAVEN DRIVE
                  FRANKLIN TN 37067



                  ARRINGTON, DAVION
                  4220 N. 122ND TERR.
                  KANSAS CITY KS 66109



                  ARROWSTREAM SOFTWARE LLC
                  PO BOX 6640
                  CAROL STREAM IL 60197-6640



                  ARROYO, JULIAN F.
                  12647 S VINCENNES RD.
                  BLUE ISLAND IL 60406



                  ARROYO, VALENTINA
                  14133 JOHN HUMPHREY
                  ORLAND PARK IL 60462



                  ART BY AISHA LLC
                  155 ELMIRA ST SW
                  WASHINGTON DC 20032



                  ART CARAM
                  13841 LODGE DR
                  NORTH ROYALTON OH 44133



                  ARTHRITIS FOUNDATION INC
                  1355 PEACHTREE STREET STE 600
                  ATLANTA GA 30309



                  ARTHUR A OHOTTO
                  542 ELY STREET N E
                  MINNEAPOLIS MN 55432-1616
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                  ARTISAN BEER
                  1999 SHEPHARD RD
                  SAINT PAUL MN 55116



                  ARTISTIC OUTDOOR SERVICES INC
                  31800 NORTHWESTERN HWY STE 140
                  FARMINGTON MI 48334



                  ARZOOYAN, ALEXANDRA
                  512 TOBIN
                  311
                  INKSTER MI 48141



                  ASBERRY, AUSTIN
                  246 NEW SALEN DR.
                  SAINT LOUIS MO 63141



                  ASCAP
                  PO BOX 331608
                  NASHVILLE TN 37203-7515



                  ASCENSION HEALTH MINISTRY SERV
                  4040 VINCENNES CIRCLE
                  INDIANAPOLIS IN 46268



                  ASHERMAN, JENNA E.
                  4347 N 121 TERR
                  KANSAS CITY KS 66109



                  ASHKEL LLC
                  6304 NW BELL RD
                  KANSAS CITY MO 64152



                  ASHLEE CASTANEDA
                  1151 N VILLAGE DR
                  ROUND LAKE IL 60073
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                  ASHLEY LARSON
                  7140 HARRISON AVE STE 108
                  ROCKFORD IL 61112



                  ASHLEY LUGN
                  7321 PIONEERS BLVD APT 326
                  LINCOLN NE 68506



                  ASHLEY SERRANO
                  3809 COLDWATER RD
                  FORT WAYNE IN 46805



                  ASHLEY SILK
                  17097 FAIRMEADOW WAY
                  FARMINGTON MN 55024



                  ASIAN ELEPHANT SUPPORT
                  4764 BROOKTON WAY
                  SAINT LOUIS MO 63128



                  ASINARI, BETH A.
                  1513 13 1/2 ST S
                  FARGO ND 58103



                  ASPHALT WIZARDS INC
                  617 LACY ROAD
                  INDEPENDENCE MO 64050



                  ASSET ACCEPTANCE LLC
                  PO BOX 2003
                  WARREN MI 48090-2003



                  AT AND T
                  PO BOX 5001
                  CAROL STREAM IL 60197-5001
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                  AT&T
                  PO BOX 5080
                  CAROL STREAM IL 60197-5080



                  AT&T
                  PO BOX 105262
                  ATLANTA GA 30348-5262



                  AT&T
                  PO BOX 5014
                  CAROL STREAM IL 60197-5014



                  AT&T MOBILITY CORP (3057)
                  PO BOX 6463
                  CAROL STREAM IL 60197-6463



                  ATANAS MITOV
                  2110 NW 86 TER
                  POMPANO BEACH FL 33071



                  ATAULLAEV, ABDULAZIZ F.
                  910 PALMER ROAD
                  12
                  FORT WASHINGTON MD 20744



                  ATHENS DISTRIB FINTECH




                  ATHENS ORCHESTRA PARENT ASSOCI
                  4333 JOHN R
                  TROY MI 48085



                  ATMOS ENERGY
                  PO BOX 790311
                  SAINT LOUIS MO 63179-0311
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                  ATRONIC ALARMS INC
                  8220 MELROSE DRIVE
                  OVERLAND PARK KS 66214



                  ATTERRO INC
                  PO BOX 74008970
                  CHICAGO IL 60674



                  ATWOOD, DONALD H.
                  8422 SPRING MILL ROAD
                  INDIANAPOLIS IN 46260



                  AUBREY, ZACHARY D.
                  22 EAST ANCHOR
                  RIVER ROUGE MI 48218



                  AUDREY N DELGAISO
                  1250 WOODCHASE LN
                  APT B
                  CHESTERFIELD MO 63017



                  AUGIES QUEST TO CURE ALS
                  3601 OCEAN BLVD
                  CORONA DEL MAR CA 92625



                  AUS SOUTH BEND MC
                  LOCKBOX26552 NETWORK PLACE
                  CHICAGO IL 60673



                  AUSLANDER, MICHELLE
                  30763 CREST FOREST
                  FARMINGTON MI 48331



                  AUSTIN DAVID ANDERSON
                  10613 YOSEMITE RD
                  MINNEAPOLIS MN 55437
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                  AUTISM FAMILY NETWORK
                  5730 R STREET STE C2
                  LINCOLN NE 68505



                  AUTOMATIC FIRE SPRINKLER LLC
                  1809 INDUSTRIAL PARK DR
                  NORMAL IL 61761



                  AUTOMATIC LAWN SPRINKLER
                  1412 51ST AVE N
                  MOORHEAD MN 56560



                  AUTOMATIC SECURITY CO INC
                  3011 S PHILLIPS AVE
                  SIOUX FALLS SD 57105



                  AVAMI SYSTEMS INC
                  3350 SCOTT BLVD STE 4601
                  SANTA CLARA CA 95054



                  AVERA MCKENNAN FOUNDATION
                  1325 S CLIFF AVE
                  SIOUX FALLS SD 57117



                  AVI SYSTEMS INC
                  NW8393 PO BOX 1450
                  MINNEAPOLIS MN 55485-8393



                  AVILA, CHRISTI I.
                  3884 NW 82ND STREET
                  KANSAS CITY MO 64151



                  AVILA, DEMETRIO
                  1001 E. REDBUD AVE
                  202C
                  MCALLEN TX 78504
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                  AVILA, RICCO
                  8210 N HICKORY
                  9-036
                  KANSAS CITY MO 64118



                  AVILES, GUILLERMO
                  35145 DRAKESHIRE PL
                  APT 102
                  FARMINGTON MI 48335



                  AVVR INC
                  801 AMERICAN BLVD E
                  MINNEAPOLIS MN 55420



                  AYALA, JESUS A.
                  6201 65TH AVE N
                  103
                  MINNEAPOLIS MN 55429



                  AZCORRA, MARIA M.
                  1925 W BARKER
                  PEORIA IL 61604



                  B AND B DRAINTECH OC INC
                  630 2ND AVE
                  MILAN IL 61264



                  B AND B WATER HEATER LLC
                  PO BOX 181212
                  CLEVELAND OH 44118



                  B AND D PLUMBING HEATING
                  AND AIR CONDITIONING
                  4145 MACKENZIE COURT NE
                  SAINT MICHAEL MN 55376



                  B AND J ENTERPRISES INC
                  400 WEST INDUSTRIAL LAKE DRIVE
                  LINCOLN NE 68528
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                  B AND K BEVERAGE SERVICE INC
                  3005 E 100 N
                  LEBANON IN 46052



                  BAARTMAN, AHNA
                  104 NORTH SANDBERG DRIVE
                  SIOUX FALLS SD 57110



                  BACCHUS IMPORTERS LTD
                  1817 PORTAL STREET
                  BALTIMORE MD 21224



                  BACH, SAMANTHA
                  208 E FOURTH STREET
                  WORTHING SD 57077



                  BACHEZ CHAVEZ, CLARA
                  137 GALEWOOD DR.
                  BOLINGBROOK IL 60440



                  BACKFLOW PREVENTION SERVICES O
                  1253 170TH ST
                  SAINT ANTHONY IA 50239



                  BACKUP BEVERAGE LLC
                  4600 WEDGEWOOD BLVD STE M
                  FREDERICK MD 21703



                  BACON, JOSEPHINA M.
                  3120 NW 6
                  LINCOLN NE 68521



                  BADE, MEGHAN G.
                  3033 SW 6TH STREET
                  LINCOLN NE 68522
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BAEZ-PANETO, ISALIZ
                  13677 SW 62 ST
                  APT 206
                  MIAMI FL 33183



                  BAGAT BROTHERS INC
                  PO BOX 20520
                  DAYTON OH 45420



                  BAGAT INC
                  PO BOX 292148
                  DAYTON OH 45429



                  BAGLEY, SAMANTHA
                  25249 LORRAINE
                  ANN ARBOR MI 48105



                  BAILEY, COLE W.
                  3832 NW BARRY ROAD
                  APT B
                  KANSAS CITY MO 64154



                  BAILEY, JIHAN
                  8242 MARCUS STREET
                  DETROIT MI 48213



                  BAKER, JULIANA K.
                  162 AZALEA LANE
                  FRANKLIN TN 37064



                  BAKER, NICK A.
                  1419 CENTER STREET
                  PEKIN IL 61554



                  BAKER, SAMUEL
                  141 5TH AVENUE NORTH
                  APT 4
                  SOUTH SAINT PAUL MN 55075
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                  BAKER, TYRA R.
                  1708 BRIGHTWELL CT
                  WALDORF MD 20602



                  BAKKEN BEACON MEDIA LLC
                  2852 THUNDER ROAD SOUTH
                  FARGO ND 58104



                  BALD MAN BREWING INC
                  2020 SILVER BELL RD UNIT 25
                  SAINT PAUL MN 55122



                  BALDWIN, JASON
                  519 HULTON ST
                  PITTSBURGH PA 15205



                  BALES, SKYLER D.
                  4801 CLAIRE AVE
                  APT 1
                  LINCOLN NE 68516



                  BALISTRERI, NATHAN
                  2410 NW COVE DRIVE
                  BLUE SPRINGS MO 64015



                  BALTRIP, LYNN M.
                  38020 JOPLIN DR.
                  CLINTON TOWNSHIP MI 48036



                  BANEGAS, CARMEN J.
                  5406 LIVINGTON
                  OXON HILL MD 20745



                  BANKS, LAMIAH
                  2706 SHERIDAN ROAD SE
                  WASHINGTON DC 20020
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                  BANNISTER, LEAH M.
                  16119 N ADMIRAL RD
                  CHILLICOTHE IL 61523



                  BARANOWSKI, JESSICA N.
                  220 SUPERIOR DR
                  SAINT LOUIS MO 63135



                  BARARD, ALEXUS
                  14500 APRIL ST
                  ACCOKEEK MD 20607



                  BARBA PLIEGO, ERICK DANIEL
                  7720 4TH AVENUE SOUTH #305
                  MINNEAPOLIS MN 55423



                  BARBER, COURTNEY
                  154 HIDDEN VILLAGE CT
                  HOLLAND OH 43528



                  BARBERSHOP HARMONY SOCIETY
                  LINCOLN CHAPTER A060
                  2901 N 56TH STREET
                  LINCOLN NE 68504



                  BARBINGO INC
                  2217 WEST BERWYN
                  CHICAGO IL 60625



                  BARDALES NAVARRO, SELVIN J.
                  1010 MARCY AVE
                  T4
                  OXON HILL MD 20745



                  BARGER, CHAD
                  4205 IRISH HILLS DR
                  2D
                  SOUTH BEND IN 46614
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                  BARGHOUT, DEANNA C.
                  4101 CORNELL
                  SAWYER MI 49125



                  BARILLAS, HERMELINDA
                  1948 S VERMONT AVE.
                  INDEPENDENCE MO 64052



                  BARKER, ALYSSA M.
                  83 MILLER AVE. SW
                  A4
                  CEDAR RAPIDS IA 52404



                  BARNES, MITCHELL K.
                  7812 PRESERVATION DR
                  INDIANAPOLIS IN 46278



                  BARNES, TIMOTHY N.
                  7550 GLADSTONE DRIVE
                  103
                  NAPERVILLE IL 60565



                  BARNETT, KENDALL
                  629 COTTAGE GROVE AVE
                  ROCKFORD IL 61103



                  BARNETT, REID
                  1333 21ST ST. S
                  FARGO ND 58103



                  BARNETT, VERNON
                  1961 REVERE ROAD
                  CLEVELAND OH 44118



                  BARR, DANIEL
                  12018 BION DRIVE
                  FORT WASHINGTON MD 20744
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                  BARREL ACCESSORIES AND SUPPLY
                  PO BOX 92170
                  ELK GROVE VILLAGE IL 60009



                  BARRICK, LUCAS
                  3004 S LOUISE
                  APT 202
                  SIOUX FALLS SD 57106



                  BARRIOS, IVAN B.
                  4805 NORTHCREST DR
                  APT C
                  FORT WAYNE IN 46825



                  BARTH ELECTRIC CO INC
                  1934 N ILLINOIS ST
                  INDIANAPOLIS IN 46202



                  BARTLETT, AMBER N.
                  2758 COUNTY ROAD 56
                  TORONTO OH 43964



                  BARTZ VIVIANO FLOWERS AND
                  GIFTS INC
                  4505 SECOR ROAD
                  TOLEDO OH 43623



                  BATES, CHRISTOPHER
                  1607 W 12TH
                  DAVENPORT IA 52803



                  BATES, JOHN
                  3515 10TH AVE S
                  302
                  MOORHEAD MN 56560



                  BATTAGLIA INDUSTRIES INC
                  406 W CAMPUS DRIVE
                  ARLINGTON HEIGHTS IL 60004-1406
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                  BATTON, KATHERINE M.
                  8346 UNION CHAPEL ROAD
                  INDIANAPOLIS IN 46240



                  BAUCOM, SARAH
                  1108 HUTCHINSON WAY PL
                  FLORISSANT MO 63031



                  BAUDO, ALYSSA
                  4420 W 123RD PL
                  ALSIP IL 60803



                  BAUER LAWN MAINT INC
                  6341 MONCLOVA ROAD
                  PO BOX 8732
                  MAUMEE OH 43537



                  BAUER, EMMA L.
                  7000 W JACOB ST
                  SIOUX FALLS SD 57106



                  BAUER, GARNER L.
                  1519 N KNOXVILLE
                  PEORIA IL 61604



                  BAUER, KIRI
                  1781 35TH ST S
                  FARGO ND 58103



                  BAUER, NICHOLAS
                  2281 ACADEMY DRIVE
                  TROY MI 48083



                  BAUER, SHANE T.
                  5542 ADAMS STREET
                  LINCOLN NE 68504
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                  BAUMGARTNER, MICHAEL J.
                  2585 PACIFIC DRIVE S
                  204
                  FARGO ND 58103



                  BAUMLI, CHRISTOPHER W.
                  12511 PRESTWICK DRIVE
                  KANSAS CITY KS 66109



                  BAUTISTA, CARLOS X.
                  520 78TH AVE
                  MINNEAPOLIS MN 55432



                  BAXTER-KLINE, TARA
                  1201 CAMBRIDGE DR
                  SOUTH BEND IN 46614



                  BAYARD FRIEDMAN
                  3879 MAPLE AVENUE
                  SUITE 400
                  DALLAS TX 75219



                  BAYLESS, AARON M.
                  448 S MINNESOTA AVE
                  MORTON IL 61550



                  BAYLESS, HEIDI C.
                  448 S. MINNESOTA AVE.
                  MORTON IL 61550



                  BAYLOCK, MARIAH
                  2020 BROOKS DRIVE #728
                  DISTRICT HEIGHTS MD 20747



                  BAZQUEZ DOMINGUEZ
                  NOEL SALVADOR
                  7720 4TH AVENUE SOUTH #305
                  MINNEAPOLIS MN 55423
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                  BBI METRICS LLC
                  17304 PRESTON ROAD SUITE 430
                  DALLAS TX 75252



                  BD OF EDUCATION WAYNE CO NORTH
                  501 W MAIN STREET
                  NORTHVILLE MI 48167



                  BEACH, BRENNA M.
                  220 ANN ST.
                  TONGANOXIE KS 66086



                  BEACH, CLIFTON W.
                  2602 BRINKLEY RD
                  404
                  FORT WASHINGTON MD 20744



                  BEAL DISTRIB INC
                  PO BOX 84905
                  SIOUX FALLS SD 57118-4905



                  BEARD, JEREMY R.
                  877 SAVANNA AVE.
                  SAINT CLOUD MN 56303



                  BEAUGEARD, DAUNE S.
                  4554 EMERSON AVE
                  SAINT LOUIS MO 63120



                  BEAVER, DELLIS L.
                  421 UNITED AVENUE
                  HARRISBURG SD 57032



                  BECCA KOEHLER
                  3838 SHERIDAN BLVD
                  LINCOLN NE 68506
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                  BECERRA, CHRISTIAN
                  2208 EGGLESTON RD
                  ROCKFORD IL 61108



                  BECKER, JACOB
                  3523 5TH ST W
                  307
                  FARGO ND 58103



                  BECKER, NATHAN S.
                  821 G STREET #4
                  LINCOLN NE 68508



                  BECKER, SOPHIA G.
                  15308 VERDIN ST NW
                  ANDOVER MN 55304



                  BECKS FLORIST INC
                  PO BOX 178
                  PEORIA IL 61650



                  BEEHLER, GRACE
                  18234 GILMORE DR.
                  SOUTH BEND IN 46637



                  BEKKERMAN, ALLISON
                  1030 COTTONWOOD CT
                  2A
                  WHEELING IL 60090



                  BELL BROTHERS HEATING AND AIR
                  2822 6TH AVE
                  DES MOINES IA 50313



                  BELL, HALEY N.
                  9641 N. AMBASSADOR DRIVE #1311
                  KANSAS CITY MO 64154
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                  BELL, KENNEDY C.
                  8702 MOUNT CLAIR COURT
                  CLINTON MD 20735



                  BELL, VIRGINIA E.
                  1003 CLAYMILL DRIVE
                  SPRING HILL TN 37174



                  BELSCHNER, NATALIE N.
                  7323 BOND WAY
                  INVER GROVE HEIGHTS MN 55076



                  BENJAMIN AUGUST REVIER
                  517 3RD AVE N #4
                  FARGO ND 58102



                  BENJAMIN FRANKLIN PLUMB
                  5720 INTERNATIONAL PARKWAY
                  MINNEAPOLIS MN 55428



                  BENJAMIN PORCAYO
                  2504 CRYSTAL COURT
                  WOODRIDGE IL 60517



                  BENJI THOMAS
                  1636 42ND ST S
                  FARGO ND 58103



                  BENNEGO GOUNWA KANGAR
                  W9894 STATE ROAD 35
                  HAGER CITY WI 54014



                  BENNETT, LESLEY E.
                  244 E 246 ST
                  EUCLID OH 44123
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                  BENOIT, JOSIE J.
                  420 W 11TH ST
                  SIOUX FALLS SD 57103



                  BENTIEZ, WALTER
                  1002 MARCY
                  OXON HILL MD 20745



                  BENTON, JESSICA N.
                  300 N ROYAL OAKS BLVD.
                  606
                  FRANKLIN TN 37067



                  BENZ BEVERAGE DEPOT
                  501 7TH AVENUE SE
                  CEDAR RAPIDS IA 52401



                  BENZ, DOUGLAS E.
                  5934 NW 90TH TERR
                  KANSAS CITY MO 64154



                  BERG INDUSTRIES INC
                  3455 S MULFORD RD
                  ROCKFORD IL 61109



                  BERGHOLTZ, ZACHARIAH A.
                  3102 WEST END AVENUE, # 125
                  NASHVILLE TN 37203



                  BERGLUND, CORRIN J.
                  3055 EAGANDALE PL
                  326
                  SAINT PAUL MN 55121



                  BERGSETH BROS CO INC
                  PO BOX 1994
                  FARGO ND 58107
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BERGSTROM ELECTRIC
                  HWY 81 N BOX 13152
                  GRAND FORKS ND 58208-3152



                  BERGTHOLD, ALEXIS
                  351 KIRKWOOD CT SW
                  APT 1
                  CEDAR RAPIDS IA 52404



                  BERKEY, ANNETTE E.
                  7201 LINCOLN AVE
                  UNIT 505
                  LINCOLNWOOD IL 60712



                  BERKEY, RACHAEL E.
                  2154 RUGEN ROAD
                  APT A
                  GLENVIEW IL 60026



                  BERLIN, JEFFREY
                  645 DUNSTEN CR
                  NORTHBROOK IL 60062



                  BERMAN, CAMILLE K.
                  11354 APENNINE WAY
                  INVER GROVE HEIGHTS MN 55077



                  BERMUDEZ, NORRIS
                  13787 SW 66TH ST
                  D253
                  MIAMI FL 33183



                  BERNABE, GEOVANNY J.
                  8002 DOWITCH LN
                  APT D
                  INDIANAPOLIS IN 46260
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                  BERNARD L HANSBRO
                  16573 BURT
                  DETROIT MI 48219



                  BERNARD, OLIVIA M.
                  1112 A AVE NW
                  CEDAR RAPIDS IA 52405



                  BERNDT AND ASSOCIATES PC
                  30500 VAN DYKE #702
                  WARREN MI 48093



                  BERNICKS PEPSICOLA
                  PO BOX 7457
                  SAINT CLOUD MN 56302-7457



                  BERRY DESIGN INC
                  755 MID BROADWELL RD
                  MILTON GA 30004



                  BERRY, NIGEL T.
                  19211 ANGLIN
                  DETROIT MI 48234



                  BERRY, SIDRICK
                  16025 SW 99 AVE
                  MIAMI FL 33157



                  BERTAGNA, JOY
                  825 SEERS DR.
                  SCHAUMBURG IL 60173



                  BERTARELLI CUTLERY INC
                  1927 MARCONI
                  SAINT LOUIS MO 63110
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                  BERTSCH, BRIANNE L.
                  3505 W 85TH STREET
                  104
                  SIOUX FALLS SD 57108



                  BEST BIZ LLC
                  101 S MAIN STE 400
                  SIOUX FALLS SD 57104



                  BEST BRANDS FINTECH




                  BEST BUDDIES INTERNATIONAL INC
                  100 SOUTHEAST SECOND STREET
                  STE 2200
                  MIAMI FL 33131



                  BEST CHRISTMAS EVER INC
                  PO BOX 439
                  CLOQUET MN 55720



                  BEST VETERINARY SOLUTIONS
                  PO BOX 370
                  ELLSWORTH IA 50075



                  BEST VIEW SIGNS INC
                  212 SHERMAN AVE
                  MONTGOMERY IL 60538



                  BETEL HOME CARE LLC
                  1855 N PARK DR
                  SAINT PAUL MN 55119



                  BETH ASINARI
                  1513 13 1/2 ST S
                  FARGO ND 58103
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                  BETH JACKSON
                  346 SUMMER LANE
                  MAPLEWOOD MN 55117



                  BETHANY FOR CHILDREN AND FAMIL
                  1830 6TH AVE
                  MOLINE IL 61265



                  BETHEA, ROSTELLE
                  11279 TOLKIEN AVE
                  WHITE PLAINS MD 20695



                  BEUNING, ELIZABETH K.
                  1017 RAYMOND AVENUE UNIT 9
                  SAINT PAUL MN 55114



                  BEVERAGE DISTRIB IA FINTECH




                  BEVERAGE WHOLESALERS
                  PO BOX 1864
                  FARGO ND 58107



                  BEVILACQUA, LUCAS
                  805 N STEPHENSON HWY
                  ROYAL OAK MI 48067



                  BFD OUTDOORS INC
                  225 N 2ND ST
                  PEKIN IL 61554



                  BIANSKI, DERIAN N.
                  415 ENGLEWOOD COURT
                  FORT WAYNE IN 46807
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BIASELLA, BROOKE V.
                  13202 W 123RD TERR
                  OVERLAND PARK KS 66213



                  BIBBS, OTIS
                  1315 E MILLS AVE
                  INDIANAPOLIS IN 46227



                  BIENFANG, JESSICA
                  14130 250TH AVE NW
                  ZIMMERMAN MN 55398



                  BIGALKE, ASHLEY J.
                  2100 21ST AVE S
                  #105
                  FARGO ND 58103



                  BILDON PARTS AND SERVICE INC
                  PO BOX 531265
                  LIVONIA MI 48153



                  BILEK, AMANDA R.
                  2315 JEBENS AVE
                  APT 9
                  DAVENPORT IA 52804



                  BILGER, JORDYN A.
                  2930 EASTON RIDGE PLACE
                  FORT WAYNE IN 46818



                  BILLINGSLEY, CORNELIUS L.
                  8621 WAVE CIRCLE APT B
                  FORT WAYNE IN 46825



                  BINDUS, TERAJANE E.
                  2015 N. MCCORD ROAD #43
                  TOLEDO OH 43615
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BIOLOGIX SERVICE CORP
                  1561 FAIRVIEW AVE
                  SAINT LOUIS MO 63132



                  BIRKEY, COREY K.
                  522 CENTER STREET
                  BARNUM IA 50518



                  BIRKEY, LARRY D.
                  1633 10TH ST
                  MANSON IA 50563



                  BIRKO CORP
                  9152 YOSEMITE ST
                  HENDERSON CO 80640



                  BIRMINGHAM BLOOMFIELD CHAMBER
                  725 S ADAMS ROAD SUITE 130
                  BIRMINGHAM MI 48009



                  BIRMINGHAM PUBLIC SCHOOLS
                  31301 EVERGREEN ROAD
                  FRANKLIN MI 48025



                  BIRTHDAYS DIRECT
                  PO BOX 181
                  COTTLEVILLE MO 63338-0181



                  BISHOP CANEVIN HIGH SCHOOL
                  2700 MORANGE RD
                  PITTSBURGH PA 15205



                  BIX PRODUCE CO
                  3060 CENTERVILLE RD
                  LITTLE CANADA MN 55117
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                  BIX PRODUCE COMPANY
                  1415 L'ORIENT STREET
                  SAINT PAUL MN 55117



                  BIZCO INC
                  7950 O STREET
                  LINCOLN NE 68510



                  BLACK HILLS ENERGY
                  PO BOX 6001
                  RAPID CITY SD 57709-6001



                  BLACK JR. JR., TRACY J.
                  5619 HIGHLAND AVE
                  KANSAS CITY MO 64130



                  BLACK STACK BREWING INC
                  755 NORTH PRIOR AVE STE 110
                  SAINT PAUL MN 55104



                  BLACK, DANIELLE M.
                  6545 OHIO RIVER BLVD.
                  PITTSBURGH PA 15202



                  BLACK, HANNAH
                  3818 DALEWOOD DRIVE
                  FORT WAYNE IN 46815



                  BLACK, ISAIAH M.
                  726 N. 81ST TER.
                  KANSAS CITY KS 66112



                  BLACK, MADISON R.
                  11502 LUMPKIN
                  HAMTRAMCK MI 48212
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                  BLACKBURN BASEMENT SYSTEMS INC
                  PO BOX 367
                  MILLER SD 57362



                  BLACKHAWK AUTOMATIC SPRINKLERS
                  PO BOX 998
                  CEDAR FALLS IA 50613



                  BLACKHAWKS OF ST PAUL
                  PO BOX 40436
                  SAINT PAUL MN 55106



                  BLAHUNKA, LUCAS
                  701 COOLIDGE PL
                  ROCKFORD IL 61107



                  BLAKE J KOWALSKI
                  2026 BRANDON RD
                  GLENVIEW IL 60025



                  BLAKWELL, RYAN B.
                  2808 EAST AVENUE
                  DISTRICT HEIGHTS MD 20747



                  BLANCHARD, LYNDA
                  7615 N SHERMAN DR
                  INDIANAPOLIS IN 46240



                  BLANCO, JENNIFER
                  13151 SW 17 TER
                  MIAMI FL 33175



                  BLANDING, EARL W.
                  1312 SINGER PLACE
                  3B
                  PITTSBURGH PA 15221
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                  BLANKENSHIP, CODI L.
                  9806 NW 86TH ST
                  KANSAS CITY MO 64153



                  BLEDSOE, ALEXA P.
                  10219 W 53RD ST
                  SHAWNEE KS 66203



                  BLEEDING DISORDERS ALLIANCE OF
                  PO BOX 548
                  FARGO ND 58107



                  BLEY, JASON
                  11766 PARKVIEW DRIVE
                  PLYMOUTH MI 48170



                  BLICHMANN ENGINEERING LLC
                  1600 CANAL RD STE A
                  LAFAYETTE IN 47904



                  BLIVEN, PETER J.
                  350 ROSE LANE
                  SAINT PAUL MN 55117



                  BLOOD, MELISSA K.
                  18761 FOXRUN CIRCLE
                  COLD SPRING MN 56320



                  BLOOD, MELISSA K.
                  18761 FOXRUN CIRCLE
                  COLD SPRING MN 56320



                  BLOOM, JAMIE
                  6069 KILBURN
                  ROCKFORD IL 61101
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                  BLOOM, LOGAN S.
                  1911 NEBRASKA RD
                  ROCKFORD IL 61108



                  BLOOMFIELD HILLS SCHOOL DISTRI
                  PO BOX 2027
                  BLOOMFIELD HILLS MI 48303-2027



                  BLOW, RAYMONT
                  13508 ANGLIN
                  HAMTRAMCK MI 48212



                  BLUE CROSS BLUE SHIELD
                  PO BOX 64676
                  SAINT PAUL MN 55164-0676



                  BLUE RIBBON PELHAM WATERS
                  PO BOX 1311
                  FORT DODGE IA 50501



                  BLUELINE SECURITY SERVICES LLC
                  851 BRIGHTSEAT ROAD
                  LANDOVER MD 20785



                  BLUME BRAUHAUS LLC
                  1744 TERRACE DR
                  ROSEVILLE MN 55113



                  BMI CR ANNAPOLIS
                  PO BOX 630893
                  CINCINNATI OH 45263-0893



                  BNI OF THE HEARTLAND LLC
                  20775 RAWHIDE ROAD
                  ELKHORN NE 68022
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                  BOAKAI, BRANDON
                  6830 SCOTT AVENUE NO.
                  BROOKLYN CENTER MN 55429



                  BOARD OF EDUCATION CITY OF PEO
                  1615 N NORTH ST
                  PEORIA IL 61604



                  BOARD OF EDUCATION MACOMB COUN
                  31300 ANITA DRIVE
                  WARREN MI 48093



                  BOARD OF EDUCATION OF PRICE
                  GEORGES COUNTY
                  14201 SCHOOL LANE
                  UPPER MARLBORO MD 20772



                  BOARD OF TAX APPEALS
                  EISENHOWER STATE OFFICE BLD
                  700 SW HARRISON STE 1022
                  TOPEKA KS 66603



                  BOATSWAIN, MARY
                  3434 BRINKLEY ROAD
                  103
                  TEMPLE HILLS MD 20748



                  BOB HALL FINTECH




                  BOBS LOCK & KEY SHOP
                  900 W 41ST ST
                  SIOUX FALLS SD 57105



                  BOELTER BRANDS LLC
                  PO BOX 734296
                  CHICAGO IL 60673-4296
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                  BOELTER, RICHARD
                  1311 YARMOUTH COURT
                  SCHAUMBURG IL 60193



                  BOHLER-WELCH, MICKAELA K.
                  5820 73RD AVE N
                  APT 215
                  MINNEAPOLIS MN 55429



                  BOHLKEN, MICHAEL
                  498 CANTERBURY TRAIL
                  ROSELLE IL 60172



                  BOILINI, KYLE S.
                  695 BRITTANY SQUARE
                  APT 4
                  GRAYSLAKE IL 60030



                  BOLEF, TAYLOR E.
                  1790 SEVEN PINES DR
                  SAINT LOUIS MO 63146



                  BOLENDER, RENEA
                  18671 LATHERS
                  LIVONIA MI 48152



                  BOLL, JENNIFER D.
                  3811 E 50TH ST
                  MINNEAPOLIS MN 55417



                  BOLLAT MONROY, VILMA Y.
                  6271 OXON HILL RD
                  101
                  OXON HILL MD 20745



                  BOLSTER LLC
                  23 4TH ST NE
                  MINNEAPOLIS MN 55413
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                  BOMBINO, MANUEL A.
                  15275 SW 23 LN
                  MIAMI FL 33185



                  BONILLA, ALEXANDER
                  1002 MARCY AVE
                  OXON HILL MD 20745



                  BONOLA BARBA, ANDRES
                  7720 AVE S
                  UNIT 306
                  MINNEAPOLIS MN 55423



                  BONORDEN, JOSEFINA C.
                  8426 COOPER WAY
                  INVER GROVE HEIGHTS MN 55076



                  BOONE, ERIC
                  2122 COUNTY RD
                  101
                  DISTRICT HEIGHTS MD 20747



                  BOONE, WILLIAM E.
                  10110 N HIGHLAND PL
                  KANSAS CITY MO 64155



                  BOOTH, MARISSA M.
                  9743 HEMLOCK LN N
                  OSSEO MN 55369



                  BOREDED UP PRODUCTIONS LLC
                  402 E STATE ST
                  ROCKFORD IL 61104



                  BORGSCHULTE, RYAN T.
                  11725 LAKE AVENUE
                  APT 5
                  LAKEWOOD OH 44107
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                  BORMAN, BRANDON
                  23766 PRESCOTT LN W
                  SOUTH LYON MI 48178



                  BORNS, BRADEN C.
                  6020 S. HALLOW CIRCLE
                  SIOUX FALLS SD 57106



                  BOUNTYBEV LLC
                  414 HARDING INDUSTRIAL DR
                  NASHVILLE TN 37211



                  BOUSIM, KEVIN
                  12811 TUSCANY WAY
                  FORT WAYNE IN 46845



                  BOWEN, BRIANA T.
                  18472 NORWOOD ST.
                  DETROIT MI 48234



                  BOWEN, STEPHANIE
                  3615 BERKELEY DR
                  TOLEDO OH 43612



                  BOWLING GREEN CITY SCHOOL DIST
                  137 CLOUGH STREET
                  BOWLING GREEN OH 43402



                  BOYD A BRISTOW
                  2004 S HILLVIEW RD
                  SIOUX FALLS SD 57110



                  BOYD KANE
                  2902 A IVY DRIVE
                  NEWTON KS 67114
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                  BOYD, MAXWELL J.
                  31 GENEVA STREET
                  HIGHLAND PARK MI 48203



                  BOYD, RIONI
                  17401 CUSACK LANE
                  WASHINGTON DC 20260



                  BOYER, ZACHARY A.
                  729 BROADACRE AVE.
                  CLAWSON MI 48017



                  BOYETTE, ARIEYONA
                  5205 MORRIS AVENUE
                  104
                  SUITLAND MD 20746



                  BOYLAND, PATRICK
                  1617 LIBERTY ST
                  HANOVER PARK IL 60133



                  BOYS AND GIRLS CLUB OF TROY
                  3670 JOHN R ROAD
                  TROY MI 48083



                  BOZICK DISTRIB
                  2840 OLD WASHINGTON ROAD
                  WALDORF MD 20601



                  BRADLEY, DEAILLO E.
                  12624 ROSEMARY
                  DETROIT MI 48213



                  BRADLEY, DERRICK E.
                  114 PINE ST N
                  SAUK CENTRE MN 56378
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                  BRADLEY, RYELL
                  4701 KENMORE AVE
                  417
                  ALEXANDRIA VA 22304



                  BRADLEY, RYELL
                  6641 CREEK POINT WAY
                  ALEXANDRIA VA 22315



                  BRADY ROERS
                  133 18TH AVE N
                  SAINT CLOUD MN 56301



                  BRAGG, KEITH F.
                  573 OXON HILL RD. #A1
                  OXON HILL MD 20745



                  BRAILEY, ANNA M.
                  225 ABERDEEN DRIVE
                  OAKDALE PA 15071



                  BRAILEY, ELLIOTT
                  1409 POPLAR ST
                  15
                  PITTSBURGH PA 15205



                  BRANDON GRUBA
                  912 5TH STREET NE
                  NEW YORK MILLS MN 56567-5557



                  BRANDON J PEIFFER
                  2615 EAST LAWN DR
                  MARION IA 52302



                  BRANDON J WILKINSON
                  1439 WALL ST
                  FORT WAYNE IN 46802
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                  BRANDON PATIERNO
                  6204 NEWBERRY RD APT 302
                  INDIANAPOLIS IN 46256



                  BRANDON POPPERT
                  2917 S 47TH STREET
                  LINCOLN NE 68506-3343



                  BRANDON RICH
                  5270 UTICA RIDGE RD
                  DAVENPORT IA 52807



                  BRANDON, ADRIENNE R.
                  1490 FAIRWAY DRIVE
                  102
                  NAPERVILLE IL 60563



                  BRANN, JENIFER L.
                  2024 BUNKER AVENUE
                  KANSAS CITY KS 66102



                  BRANSTUTTER, BRIANNE
                  604 ORCHARD VIEW DR
                  MAUMEE OH 43537



                  BRASIER, JEREMIAH
                  26 1/2 RENSHAW ST
                  CLAWSON MI 48017



                  BRASS TAP BEVERAGE SYSTEMS INC
                  668 E NORTHWEST HWY
                  MOUNT PROSPECT IL 60056



                  BRAVE FIRE PROTECTION LLC
                  12649 DUNN RD
                  RILEY MI 48041
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                  BRAVEHEARTS THERAPEUTIC RIDING
                  7319 MAXON ROAD
                  HARVARD IL 60033



                  BRAXTON LUZIER
                  260 5TH ST E APT 410
                  SAINT PAUL MN 55101



                  BRAXTON, ESHANTEE J.
                  6708 CENTRAL HILLS TERRACE
                  HYATTSVILLE MD 20785



                  BRAZEL, ERIN M.
                  6229 ST JOE RD
                  302
                  FORT WAYNE IN 46835



                  BRAZELTON, BRYCE
                  483 W LYNNHURST
                  18
                  SAINT PAUL MN 55104



                  BREAKTHRU BEVERAGE ILLINOIS LL




                  BREAKTHRU BEVERAGE MD




                  BREAKTHRU BEVERAGE MINNESOTA
                  WINE & SPIRITS LLC



                  BREAKTHRU BEVERAGE MINNESOTA
                  BEER LLC



                  BRECKE INC
                  4140 F AVENUE NW
                  CEDAR RAPIDS IA 52405
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                  BREITAG, KAYLI
                  4921 S. GRAYSTONE AVENUE #14
                  SIOUX FALLS SD 57108



                  BRELAND, BRITNIE
                  2908 S LOUISE AVE
                  30Q
                  SIOUX FALLS SD 57106



                  BREMEN COMMUNITY HIGH SCHOOL
                  DISTRICT 228
                  15201 S CENTRAL AVE
                  OAK FOREST IL 60452



                  BREN SCHAUF
                  3600 AMERICAN BLVD W STE 400
                  % GRANITE CITY FOOD & BREWERY
                  BLOOMINGTON MN 55431



                  BREN, ALEX
                  8660 OLD CEDAR AVE.S
                  MINNEAPOLIS MN 55425



                  BRENANS CLEANERS
                  3051 25TH ST SOUTH
                  FARGO ND 58103



                  BRENCO CORP
                  1193 MAIN AVE EAST
                  PO BOX 240
                  WEST FARGO ND 58078



                  BRENDAN MCMANUS
                  3535 NORTH 48TH ST
                  OMAHA NE 68104



                  BRENDEN E MEYER
                  2100 ENGLISH TURN DRIVE
                  PRESTO PA 15142
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                  BRENNA M BEACH
                  220 ANN ST
                  TONGANOXIE KS 66086



                  BRENNAN, PAUL M.
                  76 WESTERN AVE. N.
                  APT 2
                  SAINT PAUL MN 55102



                  BRENNEMAN, JORDAN
                  3196 WILLIAMSBURG CT
                  APT C
                  MISHAWAKA IN 46545



                  BRENT BREUNIG
                  604 N PULVERMACHER RD
                  PRAIRIE DU SAC WI 53578



                  BRETT ALEXANDER
                  19964 FREELAND ST
                  DETROIT MI 48235



                  BREW A CREATIVE COLLABORATIVE
                  201 6TH ST SE STE 1
                  MINNEAPOLIS MN 55414



                  BREWCRAFT USA
                  PO BOX 51602
                  LOS ANGELES CA 90051-5902



                  BREWER, JAILYN A.
                  1590 NW 109TH ST
                  CLIVE IA 50325



                  BREWERS ASSOCIATION
                  PO BOX 1679
                  BOULDER CO 80306
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                  BREWERS DISTRIB FINTECH




                  BREWERS SUPPLY GROUP
                  PO BOX 74769
                  CHICAGO IL 60694-4769



                  BRI INC
                  8020 ZIONSVILLE RD
                  INDIANAPOLIS IN 46268



                  BRIAN ANDROWICH
                  801 PLAZA DR
                  SCHAUMBURG IL 60173



                  BRIAN CHRISTOPHER LORIDON
                  28409 GLENWOOD
                  SOUTHFIELD MI 48086



                  BRIAN GRABOWSKI
                  325 6TH AVE SE APT 203
                  MINNEAPOLIS MN 55414



                  BRIAN SHEARER
                  1001 NORTH 102ND ST
                  OMAHA NE 68114



                  BRIAN THOMAS
                  1325 A AVE
                  MARION IA 52302



                  BRIAN WALZ
                  1210 7TH AVE SOUTH
                  SARTELL MN 56377
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                  BRICENO, JOSE L.
                  1800 GRAND AVE. APT 153
                  WEST DES MOINES IA 50265



                  BRIDGETTE LAW
                  9201 W 98TH TERRACE
                  OVERLAND PARK KS 66212



                  BRIGGS AND MORGAN PA INC
                  PO BOX 64591
                  SAINT PAUL MN 55164-0591



                  BRIGHAM, GARY C.
                  8135 RANDY DR
                  WESTLAND MI 48185



                  BRIGHT CLEANING SOLUTIONS TN L
                  4235 HILLSBORO PIKE STE 300
                  NASHVILLE TN 37215



                  BRIGHT HOUSE NETWORKS LLC
                  PO BOX 30262
                  TAMPA FL 33630-3262



                  BRINK, THOMAS S.
                  1861 39TH STREET SOUTH
                  306
                  FARGO ND 58103



                  BRINKS INCORPORATED
                  7373 SOLUTIONS CENTER
                  CHICAGO IL 60677-7003



                  BRISCOE, JULIUS J.
                  7528 NW KERNS DR
                  KANSAS CITY MO 64152
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                  BRISENDINE, NEIL J.
                  4728 ALTON DR.
                  TROY MI 48085



                  BRITE WAY
                  3332 4TH AVE S
                  SUITE 2E
                  FARGO ND 58103



                  BRITO, JACINTO
                  2216 ALICE AVENUE
                  104
                  OXON HILL MD 20745



                  BRITO, VICENTE
                  5708 GREENLEY AVWE APT C
                  KANSAS CITY KS 66104



                  BRITTANY HAAS
                  2300 VILLAGE DRIVE WEST
                  SUITE 130
                  MAUMEE OH 43537



                  BRITTANY HEAD
                  572 NORTHGATE DR
                  GREENWOOD IN 46143



                  BRITTANY N BRODACKI
                  4798 CALVERT DR
                  TROY MI 48085



                  BRITTANY SMALL
                  5005 GREENFIELD DR
                  FORT WAYNE IN 46835



                  BROADRIDGE INVESTOR
                  COMMUNICATION SOLUTIONS INC
                  PO BOX 416423
                  BOSTON MA 02241
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                  BROADSTROKE INC
                  820 W 2ND ST N
                  WICHITA KS 67203-6005



                  BROCK, DEVON
                  1008 3RD ST
                  GARRETSON SD 57030



                  BROCK, TRACY
                  1008 3RD STREET
                  GARRETSON SD 57030



                  BROCKWAY, KELLY
                  443 SEQUOIA TRAIL
                  CARY IL 60013



                  BROOKE PEARSON
                  9220 S 28TH ST
                  LINCOLN NE 68516



                  BROOKFIELD PROPERTY REIT INC.
                  350 ORLEANS ST. #300
                  CHICAGO IL 60654



                  BROOKLYN BLACK
                  1782 HANDBALL LN APT C
                  INDIANAPOLIS IN 46260



                  BROOKS, LUCAS S.
                  123 SHELBOURNE DRIVE
                  CORAOPOLIS PA 15108



                  BROTHERS FIRE PROTECTION INC
                  3781 NE 11 AVENUE
                  POMPANO BEACH FL 33064
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BROTHERS FURNITURE DESIGN LLP
                  4869 MEHAFFEY ST
                  INDIANAPOLIS IN 46226



                  BROTSKY, KADE
                  5004 W EQUESTRIAN PL
                  418
                  SIOUX FALLS SD 57106



                  BROU, JUANITA
                  5367 TANEY ANENUE
                  201
                  ALEXANDRIA VA 22304



                  BROUSE, NOELLE B.
                  12121 S LAVERGNE
                  ALSIP IL 60803



                  BROWALL, CHRISTOPHER Y.
                  32802 BARCLAY SQUARE
                  WARREN MI 48093



                  BROWALL, CHRISTOPHER Y.
                  8030 STUDEBAKER AVENUE
                  WARREN MI 48089



                  BROWDER, GERALD L.
                  6335 LYNDALE AVENUE SOUTH
                  APT 1
                  MINNEAPOLIS MN 55423



                  BROWER, LAUREN
                  899 BARRETT STREET #207
                  FARGO ND 58102



                  BROWN BAG LIQUOR LLC
                  195 NORTH PARKER
                  OLATHE KS 66061
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                  BROWN DISTRIB FINTECH




                  BROWN III, MELVIN W.
                  7712 SUGAR MAPLE COURT
                  PLAINFIELD IL 60586



                  BROWN TRUCK LEASING CORP
                  11229 AURORA AVENUE
                  URBANDALE IA 50322



                  BROWN TRUCK LEASING CORPORATIO
                  11229 AURORA AVENUE
                  URBANDALE IA 50322



                  BROWN TRUCK LEASING CORPORATIO
                  2525 EUCLID AVENUE
                  DES MOINES IA 50317



                  BROWN, BARRY J.
                  3806 VALLEYWOOD CT
                  FORT WASHINGTON MD 20744



                  BROWN, BRADLEY L.
                  7712 SUGAR MAPLE COURT
                  PLAINFIELD IL 60586



                  BROWN, BRYAN T.
                  2195 DOE RUN
                  ARNOLD MO 63010



                  BROWN, COURTNEY R.
                  938 CLIVE ST
                  PITTSBURGH PA 15202
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                  BROWN, CRYSTAL
                  120 DONALD CT
                  EAST PEORIA IL 61611



                  BROWN, MIRANDA
                  122 GRENADIER DRIVE
                  FRANKLIN TN 37064



                  BROWN, NICOLE
                  395 GEORGETOWN ROAD
                  DARLINGTON PA 16115



                  BROWNE ACADEMY
                  5917 TELEGRAPH ROAD
                  ALEXANDRIA VA 22310



                  BROWNSBERGER, BRYCE
                  15765 NW 135TH ST.
                  PLATTE CITY MO 64079



                  BROYLES, ELIZABETH
                  1838 PARKSIDE DRIVE
                  LIBERTY MO 64068



                  BRUCE THOMPSON
                  4559 FIELDS WAY
                  LORAIN OH 44053



                  BRUGGEMAN, QUINN O.
                  2300 S BLAUVELT AVE
                  SIOUX FALLS SD 57108



                  BRUNETTI BREWING COMPANY LLC
                  102 UNION AVE
                  OAKDALE PA 15071
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BRUNO, JENNIFER A.
                  1860 PARKSIDE DR
                  A1
                  PARK RIDGE IL 60068



                  BRYAN BROWN
                  2195 DOE RUN DR
                  ARNOLD MO 63010



                  BRYAN CAMPBELL
                  5202 CRAWFORDSVILLE
                  INDIANAPOLIS IN 46224



                  BRYAN RICHTER
                  15420 WARWICK
                  DETROIT MI 48223



                  BRYAN WOLFE
                  6753 WOODCLIFF CIRCLE
                  ZIONSVILLE IN 46077



                  BRYANT, BENJAMIN
                  2443 EASTGATE
                  TOLEDO OH 43613



                  BRYANT, LUTHER
                  606 BARTLETT CT NW
                  CEDAR RAPIDS IA 52405



                  BRYLA, DEANNA
                  811 HAMPTON LANE
                  YORKVILLE IL 60560



                  BSREP II SIMPLY STORAGE JV LLC
                  SIMPLY STORAGE TROY
                  TROY MI 48083
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BUCHHOLZ, BAILEY L.
                  701 6TH AVE N
                  SAINT CLOUD MN 56303



                  BUCK DISTRIB FINTECH




                  BUCKMAN, ANNE E.
                  4830 JERSEY RIDGE RD. APT 2
                  DAVENPORT IA 52807



                  BUCKMASTER, JACOB R.
                  11650 REED RD
                  WHITEHOUSE OH 43571



                  BUEHLER, KALEIGH
                  21260 W 123RD STREET
                  OLATHE KS 66061



                  BUELOW, HENRY D.
                  107 TYLER COURT
                  SAINT STEPHEN MN 56375



                  BUENO-GAMBOA, ANNET M.
                  1953 LEBLANC ST.
                  LINCOLN PARK MI 48146



                  BUERGER, CATHERINE
                  4304 EATON DR
                  ROCKFORD IL 61114



                  BUERGER, ROBERT
                  4304 EATON DRIVE
                  ROCKFORD IL 61114
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                  BUFFALO GROVE INSTRUMENTAL ASS
                  1100 W DUNDEE RD
                  BUFFALO GROVE IL 60089



                  BUGAJ, RICHARD A.
                  1736 KENSINGTON RD
                  TOLEDO OH 43607



                  BUILDING HOPE IN KIDS UGANDA
                  1600 FAYETTE AVE
                  WASHINGTON IL 61571



                  BUKOWSKI, CAILYN R.
                  620 80TH ST NW
                  RICE MN 56367



                  BULARD, ALEXIS K.
                  12812 PORTULACA DRIVE, UNIT K
                  SAINT LOUIS MO 63146



                  BULERA, KELLI
                  15407 RADIUM ST NW
                  ANOKA MN 55303



                  BUMP, TABITHA J.
                  1000 W VENTURE PL
                  APT 326
                  SIOUX FALLS SD 57105



                  BUNCE, SHARAYAH
                  16938 WEAVER LAKE DRIVE
                  OSSEO MN 55311



                  BURCH, COURTNEY A.
                  5725 POMMEL CT.
                  WEST DES MOINES IA 50266
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                  BURCIAGA, DANIELLE
                  1426 HERITAGE DR.
                  CANTON MI 48188



                  BURGESS, KAELA
                  52160 WOODSEDGE DRIVE
                  GRANGER IN 46530



                  BURKART, JOSEPH D.
                  2879 ROYAL AVE
                  BERKLEY MI 48072



                  BURKE, THOMAS
                  947 COUNTY RD D
                  APT 102
                  SAINT PAUL MN 55109



                  BURNETT, JAMILLA




                  BURNETT, STEVONNA L.
                  307 ARAGONA DRIVE
                  FORT WASHINGTON MD 20744



                  BURNS RENT ALLS INC
                  2401 N HOME ST
                  MISHAWAKA IN 46545



                  BURNS, KARCHUMBE M.
                  23 E. ADAMS AVE.
                  DETROIT MI 48226



                  BURRIS, REBECCA K.
                  4512 OLD BAUMGARTNER RD
                  SAINT LOUIS MO 63129
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  BURTLOW, BRITTANY
                  2027 SANDALWOOD DR NE
                  CEDAR RAPIDS IA 52405



                  BURTON, ERICA P.
                  9264 PINEHURST
                  DETROIT MI 48204



                  BUSCH HEATING AND COOLING INC
                  11 GRANDVIEW PARK DRIVE
                  ARNOLD MO 63010



                  BUSCH, CLAIRE A.
                  3513 CUNEEN TRL EAST
                  INVER GROVE HEIGHTS MN 55076



                  BUSINESS NETWORK INTERNATIONAL
                  5533 S 27TH STREET STE 205
                  LINCOLN NE 68512



                  BUSSE WOODS RUNNING CLUB INC
                  4 BRUCEWOOD CT
                  BUFFALO GROVE IL 60089



                  BUTLER, JACQUESE D.
                  23756 SOUTH KEYSTONE WAY
                  CLINTON TOWNSHIP MI 48036



                  BUTLER, VINCENT C.
                  532 WILSON BRIDGE DRIVE
                  B2
                  OXON HILL MD 20745



                  BUTLER, VINCENT C.
                  906 PALMER RD. APT. 11
                  FORT WASHINGTON MD 20744
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                  BUWA, AUSTIN W.
                  822 S. IRONWOOD
                  MISHAWAKA IN 46544



                  C AND C MECHANICAL LLC
                  470 SW 850 RD
                  CHILHOWEE MO 64733



                  C AND G PUBLISHING INC
                  13650 EAST 11 MILE RD
                  WARREN MI 48089



                  C AND L DISTRIB
                  PO BOX 457
                  SAUK RAPIDS MN 56379



                  C H MCGUINESS CO INC
                  1637 EAST 17TH STREET
                  DES MOINES IA 50316



                  CABLE ONE INC
                  PO BOX 78000
                  PHOENIX AZ 85062-8000



                  CABREJOS, PEDRO M.
                  4906 GLASSMANOR DR
                  OXON HILL MD 20745



                  CABRERA MORONTA, ANDRES
                  355 2ND AVENUE SOUTH #302
                  WAITE PARK MN 56387



                  CABRERA, GUILLERMO
                  4719 ALDRICH AVE N
                  MINNEAPOLIS MN 55430
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CACERES, JERSON J.
                  7811 SW 136 AVE
                  MIAMI FL 33183



                  CADEAU, MARISSA
                  682 QUEENS WAY
                  CANTON MI 48188



                  CADY, JACOB
                  1748 WATERMILL LANE
                  PERRYSBURG OH 43551



                  CALEBAUGH, KELLY-JON C.
                  5173 LONGVIEW DRIVE
                  SAINT PAUL MN 55112



                  CALLAHAN, JACEY J.
                  17688 COBBLESTONE CT.
                  SOUTH BEND IN 46635



                  CALVA, JAVIER
                  2692 VIERLING DR E
                  SHAKOPEE MN 55379



                  CAMACHO, MARIA
                  5800 NW PLAZA DRIVE
                  KANSAS CITY MO 64118



                  CAMERON B FREEMAN INC
                  38568 WEBB DR
                  WESTLAND MI 48185



                  CAMPBELL INC
                  2875 CRANE WAY
                  NORTHWOOD OH 43619
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                  CAMPBELL, ANNETTE
                  3888 NORTHGATE PLACE
                  WALDORF MD 20602



                  CAMPOPIANO, JORDAN A.
                  3085 COMMONWEALTH DRIVE
                  2331
                  SPRING HILL TN 37174



                  CAMPOS, JOSE M.
                  6909 SOUTH MULFORD RD
                  CHERRY VALLEY IL 61016



                  CAMPOS, JUAN C.
                  9611 MELROSE STREET #1
                  OVERLAND PARK KS 66214



                  CAMPOS, RONALD A.
                  26114 TAWAS ST
                  MADISON HEIGHTS MI 48071



                  CAMPOS, RUBEN
                  7632 CHERRYVALE BLVD
                  CHERRY VALLEY IL 61016



                  CAMPOS, RUBEN
                  5132 GRAND CAPE RD
                  ROCKFORD IL 61109



                  CAMPUS CASH COUPONS INC
                  PO BOX 270191
                  FORT COLLINS CO 80527



                  CANADA MALTING CO LTD
                  T57585U
                  PO BOX 57585 STATION A
                  TORONTO ON
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                  CANAS, RAUL
                  7444 157TH ST W
                  109
                  SAINT PAUL MN 55124



                  CANGURA, BEATRIZ E.
                  5619 FARGO AVE
                  OXON HILL MD 20745



                  CANINO, ANGELA
                  12945 S. MASON AVE.
                  PALOS HEIGHTS IL 60463



                  CANNON, CHRISTOPHER D.
                  3202 LUMAR DR.
                  FORT WASHINGTON MD 20744



                  CANO, JOSEPH
                  8519 PARALLEL PRKWY
                  #9
                  KANSAS CITY KS 66112



                  CANTON, SYIONTE
                  5901 W 37TH ST
                  SIOUX FALLS SD 57106



                  CAPIRO, IVAN
                  11760 SW 181ST TER
                  MIAMI FL 33177



                  CAPITAL COMMERCIAL CLEANING SE
                  5401 HAMILTON ST #2
                  HYATTSVILLE MD 20781



                  CAPITAL CONTRACTORS INC
                  ONE COMPUTER ASSOCIATES PLAZA
                  STE 101
                  ISLANDIA NY 11749
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                  CAPITOL BEVERAGE SALES FINTECH




                  CAPITOL MAINT SUPPLY
                  PO BOX 556
                  HADDONFIELD NJ 08033



                  CAPLACO NINE INC
                  11850 STUDT AVENUE
                  PO BOX 419121
                  SAINT LOUIS MO 63141



                  CAPTAIN SEAN M RUANE MEMORIAL
                  35 KENWOOD DRIVE
                  CORAOPOLIS PA 15108



                  CAPTIVE AIRE SYSTEMS INC
                  PO BOX 60270
                  CHARLOTTE NC 28260



                  CARAPIA, FERNANDO C.
                  8404 NEWPORT AVE
                  16
                  FORT WAYNE IN 46805



                  CARBONNEAU, EMMA M.
                  5004 W EQUESTRIAN
                  418
                  SIOUX FALLS SD 57106



                  CAREY CARRINGTON
                  4321 WINDSOR PARKWAY
                  DALLAS TX 75205



                  CARGILL INCORPORATED
                  15407 MCGINTY RD W
                  WAYZATA MN 55391
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CARGILL MALT
                  PO BOX 1450
                  NW 9658
                  MINNEAPOLIS MN 55485-9658



                  CARL LASHLEY
                  3200 MCROBERT RD
                  PITTSBURGH PA 15234



                  CARLBERG, STACEY J.
                  4103 S. WEST AVE
                  #2
                  SIOUX FALLS SD 57105



                  CARLOS MORAN
                  4242 SHIRLEY AVE
                  LYNWOOD CA 90262



                  CARLY CARES CORP
                  6927 BERKEY SOUTHERN RD
                  WHITEHOUSE OH 43571



                  CARMEL UTILITIES
                  PO BOX 109
                  CARMEL IN 46082-0109



                  CARNAHAN, MELISSA
                  310 5TH ST
                  SPRINGVILLE IA 52336



                  CAROL J BENNES
                  10 17TH AVENUE SE
                  SAINT JOSEPH MN 56374



                  CARR, DAVID S.
                  4819 NORFOLK PL
                  BETTENDORF IA 52722
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                  CARR, ELIJAH D.
                  10905 SW 142ND LANE
                  MIAMI FL 33176



                  CARR, HALEIGH A.
                  1040 Y ST APT 223
                  LINCOLN NE 68508



                  CARR, SAMUEL
                  4819 NORFOLK PLACE
                  BETTENDORF IA 52722



                  CARRASCO, ANTONIO
                  6445 LIVINGTON RD
                  OXON HILL MD 20745



                  CARRASCO, FERNANDO
                  1435 BLAISDELL
                  #2
                  ROCKFORD IL 61101



                  CARRIE S WHITE
                  2454 S 15TH ST #2
                  OMAHA NE 68108



                  CARRILLO, ROCIO
                  6454 CERNECH RD
                  KANSAS CITY KS 66104



                  CARRINGTON, MELISSA E.
                  15839 FREEDOM LN
                  SAINT PAUL MN 55124



                  CARROLL, DELAUNTE A.
                  5605 DAUNDALK DR
                  OXON HILL MD 20745
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                  CARROLL, IAN M.
                  3652 WESCOTT HILLS DRIVE
                  SAINT PAUL MN 55123



                  CARROLL, MADISON
                  808 1/2 OAK
                  NEW HAVEN IN 46774



                  CARSON, KAYLA L.
                  8208 UTAH COURT NORTH
                  BROOKLYN PARK MN 55445



                  CARSTENSEN, ALEXA
                  7901 SOUTH 97TH BAY
                  LINCOLN NE 68526



                  CARTAGENA, CECILIA
                  6341 ZANE AVE N
                  APT 202
                  MINNEAPOLIS MN 55429



                  CARTER, DEMARCO
                  217 S WESTERN
                  SIOUX FALLS SD 57104



                  CARTER, DENE
                  3410 BRINKLEY RD
                  201
                  TEMPLE HILLS MD 20748



                  CARTER, JAQUANDRA R.
                  4509 23RD PKWY
                  204
                  TEMPLE HILLS MD 20748



                  CARTER, MADISON L.
                  5021 N 129TH ST
                  OMAHA NE 68164
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                  CARTER, RACHEL
                  13546 PANOLA DR
                  LINDSTROM MN 55045



                  CARUTHERS, SHANICE
                  2202 TELEGRAPH ROAD
                  DAVENPORT IA 52804



                  CASAS, JOSE C.
                  527 FIFTH ST
                  WINNETKA IL 60093



                  CASEY CORNELL
                  1965 SILVER BELL RD #315
                  EAGAN MN 55122



                  CASS CO ELECTRIC COOP
                  PO BOX 6088
                  FARGO ND 58108



                  CASSADY, SEAN J.
                  337 S MARIAS AVE
                  CLAWSON MI 48017



                  CASSENS, GEORGE D.
                  1879 PELICAN COURT
                  TROY MI 48084



                  CASSIDY, BRENDAN W.
                  607 THUNDERBIRD COURT
                  SAINT LOUIS MO 63107



                  CASTILHO, PHILIPE K.
                  5990 NW 104 CT
                  MIAMI FL 33178
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                  CASTILLI AYALA, JOSE NOEL N.
                  31316 E IRVINNG AVENUE
                  APT A
                  MADISON HEIGHTS MI 48071



                  CASTILLO, ALBERTO
                  3205 HARBOR LN APT 4
                  MINNEAPOLIS MN 55447



                  CASTILLO, ANGEL M.
                  2621 ARLINGTON DR
                  APT 103
                  ALEXANDRIA VA 22306



                  CASTRO, ALEXANDER
                  1208 SYLVIA DRIVE
                  TROY MI 48083



                  CATHERINE A CRONIN
                  586 BELLERIVE RD #2C
                  ANNAPOLIS MD 21409-4619



                  CATIE SEIVERT
                  7140 HARRISON AVE STE 108
                  ROCKFORD IL 61112



                  CAUDLE, LYNDSI
                  120 N 61ST TERRACE
                  KANSAS CITY KS 66102



                  CAUGHHORN, ASHLEY A.
                  2124 GRANTWOOD
                  TOLEDO OH 43613



                  CAVALIER DISTRIBUTING COMPANY
                  4650 LAKE FOREST DRIVE
                  STE 580
                  BLUE ASH OH 45242
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                  CAVALIER DISTRIBUTING INDIANA
                  3332 PAGOSA CT
                  INDIANAPOLIS IN 46226



                  CAVALIER SPIRITS LLC
                  4930 LAKELAND COMMERCE PARK
                  LAKELAND FL 33805



                  CAVANAUGH, KAYLIE E.
                  2204 S. ROOSEVELT AVE
                  SIOUX FALLS SD 57106



                  CAYLER, CRAIG A.
                  2000 21ST AVE SOUTH
                  106
                  FARGO ND 58103



                  CBE PRIDE INC
                  901 6TH ST SW
                  STE 615A
                  WASHINGTON DC 20024



                  CBS OUTDOOR LLC
                  PO BOX 33074
                  NEWARK NJ 07188



                  CCH INCORPORATED
                  PO BOX 4307
                  CAROL STREAM IL 60197-4307



                  CDW LLC
                  200 N MILWAUKEE AVE
                  VERNON HILLS IL 60061



                  CEBALLOS, DANIEL
                  5033 S. 20TH STREET #18
                  OMAHA NE 68127
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CEDAR RAPIDS FIREFIGHTERS FOUN
                  713 1ST AVE SE
                  CEDAR RAPIDS IA 52401



                  CEDAR RAPIDS METRO
                  ECONOMIC ALLIANCE
                  501 1ST STREET SE
                  CEDAR RAPIDS IA 52401



                  CEDAR RAPIDS PUBLIC LIBRARY FO
                  450 5TH AVENUE SE
                  CEDAR RAPIDS IA 52401



                  CEDAR RAPIDS WATER DEPT
                  PO BOX 3255
                  ATTN: REMITTANCE PROCESSING
                  CEDAR RAPIDS IA 52406-3255



                  CEDILLO, JOSE
                  WALDO ST
                  DETROIT MI 48210



                  CELARITY INC
                  8120 PENN AVE STE 220
                  BLOOMINGTON MN 55431



                  CELESTE, CRESTON T.
                  7601 NW PAMPAS LANE
                  KANSAS CITY MO 64152



                  CENTERPOINT ENERGY
                  PO BOX 4671
                  HOUSTON TX 77210-4671



                  CENTRAL COLLECTION UNIT
                  300 W PRESTON 5TH FL
                  BALTIMORE MD 21201
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                  CENTRAL KEY& SAFE CO INC
                  305 N MARKET
                  WICHITA KS 67202



                  CENTRAL MCGOWAN INC
                  123 ROOSEVELT ROAD
                  SAINT CLOUD MN 56302



                  CENTRAL STATES BEVERAGE CO
                  1900 W 142ND STREET
                  OVERLAND PARK KS 66224



                  CENTRAL STATES SERVICES INC
                  PO BOX 1476
                  LAKE OZARK MO 65049



                  CENTURY SECURITY GROUP LLC
                  PO BOX 181099
                  UTICA MI 48318



                  CENTURYLINK
                  PO BOX 52187
                  PHOENIX AZ 85072-2187



                  CENTURYLINK
                  PO BOX 2956
                  PHOENIX AZ 85062-2956



                  CENTURYLINK
                  PO BOX 2961
                  PHOENIX AZ 85062-2961



                  CENTURYLINK
                  PO BOX 4300
                  CAROL STREAM IL 60197-4300
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CEPEDA, ENRIQUE
                  7465 W 144TH ST
                  SAVAGE MN 55378



                  CERBANTES, CECILIA
                  204 E BROADWAY ST
                  SOUTH BEND IN 46601



                  CERDA MORTON, MARIA
                  217 TANGLEWOOD CT
                  NASHVILLE TN 37211



                  CERENITY SENIOR CARE
                  512 HUMBOLDT AVE
                  SAINT PAUL MN 55107



                  CERESO CORTES, CARLOS
                  5710 BOSSEN TERRACE
                  APT 6
                  MINNEAPOLIS MN 55417



                  CERESO CORTES, JUAN
                  55 W 96TH ST
                  MINNEAPOLIS MN 55420



                  CERNOSEK, KRYSTA L.
                  1175 LANCASTER CT
                  HOFFMAN ESTATES IL 60169



                  CESTARYS RODRIGUEZ, MIGUEL A.
                  120 S TESTA DR
                  APT 103
                  NAPERVILLE IL 60540



                  CHAD COATS
                  816 E 23RD AVE
                  KANSAS CITY MO 64116
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CHAD LARSON LLC
                  1107 OLD HASSAYAMPA LN
                  PRESCOTT AZ 86303



                  CHAFFEE LOK PRO INC
                  217 S KANSAS AVE UNIT A
                  OLATHE KS 66061



                  CHALDEAN AMERICAN CHAMBER OF C
                  30095 NORTHWESTERN HIGHWAY
                  STE 101
                  FARMINGTON MI 48334



                  CHALLENGE ENTERTAINMENT INDIAN
                  PO BOX 502365
                  INDIANAPOLIS IN 46250



                  CHALLENGE ENTERTAINMENT OKLAHO
                  PO BOX 14116
                  OKLAHOMA CITY OK 73113-0116



                  CHAMPION, MELISSA
                  2812 OAK GROVE LANE
                  ROCKFORD IL 61108



                  CHANDLER, LYDIA R.
                  3816 106TH ST
                  APT 60 BLDG 8
                  URBANDALE IA 50322



                  CHANTELLE ROBINSON
                  7350 STATE AVE
                  KANSAS CITY KS 66112



                  CHAPEL, RICHARD L.
                  2612 CLEARWATER RD
                  SAINT CLOUD MN 56304
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CHAPPELL, CLINT O.
                  137 WEDGEWOOD DR
                  APT 1
                  LINCOLN NE 68510



                  CHARLES COUNTY HUMANE SOCIETY
                  71 INDUSTRIAL PARK DR
                  WALDORF MD 20602



                  CHARLES HAVEN INC
                  275 MARKET STREET
                  SUITE 287
                  MINNEAPOLIS MN 55405-1627



                  CHARLES, CHRISTOPHER
                  156 FRANKLIN STREET
                  WEIRTON WV 26062



                  CHARLEY, EDWARD A.
                  997 FORSYTHE ROAD
                  CARNEGIE PA 15106



                  CHARLIE T'S FOOD LLC
                  3882 MERSEY WAY
                  EAGAN MN 55123



                  CHARLTON, AMANDA
                  71 LONGMORE AVENUE
                  MC KEES ROCKS PA 15136



                  CHARLTON, RYAN J.
                  505 S SUMMIT DRIVE
                  WASHINGTON IL 61571



                  CHARTER COMMUINICATIONS HOLDIN
                  PO BOX 3019
                  MILWAUKEE WI 53201-3019
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                  CHARTER COMMUNICATIONS HOLDING
                  PO BOX 790086
                  SAINT LOUIS MO 63179-0086



                  CHAS A BERNICK INC
                  PO BOX 7008
                  SAINT CLOUD MN 56302-7008



                  CHAVARRIA, LUIS F.
                  4620 MEREDITH ST APT 1
                  LINCOLN NE 68506



                  CHAVEZ QUEVEDO, JOSE I.
                  2725 PLEASANT AVE S
                  302
                  MINNEAPOLIS MN 55408



                  CHAVEZ, ADA
                  7560 MELROSE AVE
                  SAINT LOUIS MO 63130



                  CHAVEZ, ANAHI G.
                  5305 TWANA DRIVE #4
                  DES MOINES IA 50310



                  CHAVEZ, FELIX
                  12906 S BROOKFIEL ST APT A
                  OLATHE KS 66062



                  CHAVEZ, MARIAH J.
                  8323 TAUROMEE AVENUE
                  KANSAS CITY KS 66112



                  CHAVEZ, SARAH A.
                  13811 ELM STREET
                  ORLAND PARK IL 60462
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                  CHAVEZ-ABONZA, DAISY
                  13115 S BROUGHAM DR
                  OLATHE KS 66062



                  CHENEVERT, ANTOINETTE M.
                  3842 RIVARD STREET
                  DETROIT MI 48207



                  CHERRY VALLEY FIRE PROTECTION
                  202 E STATE STREET
                  PO BOX 540
                  CHERRY VALLEY IL 61016



                  CHERRY, JORDAN
                  1047 5TH ST. E
                  UNIT 2
                  SAINT PAUL MN 55106



                  CHERRY, MADISON
                  1325 HUNTERS RIDGE WEST
                  HOFFMAN ESTATES IL 60192



                  CHERRYVALE MALL LLC
                  PO BOX 955607
                  CBL #0467
                  SAINT LOUIS MO 63195-5607



                  CHERRYVALE MALL LLC
                  CBL CENTER #500
                  2030 HAMILTON PLACE BLVD
                  CHATTANOOGA TN 37421



                  CHESHIER, AMANDA S.
                  15621 W. 140TH TERR.
                  OLATHE KS 66062



                  CHETTLE, LOGAN
                  1510 GREENMOUNT AVENUE
                  PITTSBURGH PA 15216
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                  CHIC VIRGIN HAIR MEETS LASH BO
                  12809 PINE TREE LANE
                  FORT WASHINGTON MD 20744



                  CHICAGO BACKFLOW INC
                  12607 S LARAMIE AVENUE
                  ALSIP IL 60803



                  CHICAGO BREW WERKS INC
                  14903 S CENTER ST UNIT 107
                  PLAINFIELD IL 60544



                  CHICAGO TRIBUNE
                  PO BOX 9001157
                  LOUISVILLE KY 40290-1157



                  CHICAGOS NORTH SHORE CONVENTIO
                  8001 LINCOLN AVE STE 715
                  SKOKIE IL 60077



                  CHILD SUPPORT PAYMENT CENTER
                  700 GOVERNORS DR STE 84
                  PIERRE SD 57501



                  CHILDHOOD LEUKEMIA WARRIORS FO
                  427 GATESHEAD DR
                  NAPERVILLE IL 60565



                  CHILDRENS HOSPITAL FOUNDATION
                  111 MICHIGAN AVE NVU
                  WASHINGTON DC 20010-2970



                  CHILDRENS SAFE HARBOR INC
                  1416 20TH ST
                  ROCKFORD IL 61104
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CHILES, DANYELLE R.
                  10108 NW RIVER HILLS DR
                  KANSAS CITY MO 64152



                  CHILES, ISAAC R.
                  13977 81ST AVE N
                  OSSEO MN 55311



                  CHISM, JESSICA L.
                  625 WINDSOR HARBOR RD
                  IMPERIAL MO 63052



                  CHMELKA, MICHAEL J.
                  3915 N 69TH APT 5
                  LINCOLN NE 68507



                  CHOLETTE, MICHAEL J.
                  1289 DORRE
                  TROY MI 48083



                  CHOMIC, SAMUEL R.
                  231 FIELDING ST
                  APT A
                  FERNDALE MI 48220



                  CHRIS KOCH
                  1732 WHISPERING PINES CT S W
                  CEDAR RAPIDS IA 52404



                  CHRIS MILLER
                  6820 GABELLA ST #449
                  APPLE VALLEY MN 55124



                  CHRISTENSEN, JENNIFER L.
                  1205 ASPEN COURT
                  FARMINGTON MN 55024
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                  CHRISTENSEN, MACKENZIE S.
                  227 7TH AVENUE S. #2
                  SAINT CLOUD MN 56301



                  CHRISTIAN AND ASSOCIATES INC
                  1500 CAPITAL BLVD
                  RALEIGH NC 27603



                  CHRISTIAN BAKER
                  24519 CEDAR RD
                  CLEVELAND OH 44124



                  CHRISTIAN RICHARDSON
                  14345 W 116TH ST 1716
                  OLATHE KS 66062



                  CHRISTIAN ROMNEY
                  3945 2ND ST S
                  SAINT CLOUD MN 56301



                  CHRISTIAN, ABIGAIL M.
                  4475 PIMLICO DRIVE
                  304
                  FORT WAYNE IN 46845



                  CHRISTIANSON, HARLEY E.
                  4016 S SERTOMA AVE
                  SIOUX FALLS SD 57106



                  CHRISTINA E LUETH
                  617 S 35TH ST ATP 3
                  OMAHA NE 68105



                  CHRISTINA GOSS
                  16413 GOVERNORS BRID
                  BOWIE MD 20716
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                  CHRISTINA LAMMERS
                  3604 46TH ST N
                  FARGO ND 58102



                  CHRISTINE M ELEESON
                  7708 W 67TH ST
                  SIOUX FALLS SD 57106



                  CHRISTOFFERSON, CASSANDRA
                  340 13TH AVE E
                  WEST FARGO ND 58078



                  CHRISTOPHER ERICKSON
                  608 CENTRAL AVE
                  OSSEO MN 55369



                  CHRISTOPHER GEORGE
                  4400 GRAZING WAY
                  UPPER MARLBORO MD 20772



                  CHRISTOPHER MATSON
                  5906 NO TAMPICO DR
                  PEORIA IL 61614



                  CHRISTOPHER PHIPPS
                  931 OAK ST APT 6
                  LINCOLN NE 68521



                  CHRISTOPHER SMITH
                  9408 S 55TH AVE
                  OAK LAWN IL 60453



                  CHRISTY, BRIELLE
                  1327 JEFFERSON ST NE
                  MINNEAPOLIS MN 55413
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                  CHSD 230 CARL SANDBURG HIGH SC
                  15100 S 94TH AVE
                  ORLAND PARK IL 60462



                  CHUCK GILBERT
                  6414 11TH AVE SOUTH
                  RICHFIELD MN 55423



                  CHUNING, LEAH M.
                  2407 NE 43RD ST
                  APT 4
                  KANSAS CITY MO 64116



                  CHURCHICH RESTAURANT EQUIPMENT
                  4520 S 79 STREET
                  OMAHA NE 68127



                  CIELO, GREGORIO
                  1119 UNIVERSITY
                  PEORIA IL 61606



                  CIESIOLKA, MELISSA N.
                  4246 WIMBLETON CT
                  APT E
                  SOUTH BEND IN 46637



                  CILIA, NATHAN R.
                  10554 MICHAEL DRIVE
                  PALOS HILLS IL 60465



                  CIMINO, STEPHAN
                  6570 DEER ISLE DRIVE
                  CHERRY VALLEY IL 61016



                  CIMO, LESLIEE A.
                  1008 PINE ST
                  FOX RIVER GROVE IL 60021
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                  CINTAS
                  PO BOX 88005
                  CHICAGO IL 60680-1005



                  CINTAS CORP #470 SLP
                  PO BOX 88005
                  CHICAGO IL 60680-1005



                  CINTAS CORP 2
                  PO BOX 636525
                  CINCINNATI OH 45263



                  CINTAS CORPORATIION LOC 13
                  PO BOX 630910
                  CINCINNATI OH 45263-0910



                  CINTAS CORPORATION
                  PO BOX 630803
                  CINCINNATI OH 45263-0803



                  CINTAS CORPORATION NO 2
                  PO BOX 650838
                  DALLAS TX 75265-0838



                  CINTAS CORPORATION NO 2 INC
                  PO BOX 631025
                  CINCINNATI OH 45263-1025



                  CINTAS DV
                  PO BOX 630921
                  CINCINNATI OH 45263-0921



                  CIRCLE CENTRE MALL LLC
                  866980 RELIABLE PARKWAY
                  CHICAGO IL 60686-6900
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                  CIRCLE CENTRE MALL LLC
                  866980 RELIABLE PARKWAY
                  CHICAGO IL 60686



                  CIRCLE CITY BEVERAGE INC
                  950 DORMAN STREET
                  INDIANAPOLIS IN 46202



                  CITIZENS BANK, N.A.
                  ONE PARK PLAZA
                  SUITE 400
                  IRVINE CA 92614



                  CITIZENS ENERGY GROUP
                  PO BOX 7056
                  INDIANAPOLIS IN 46207-7056



                  CITRIX SYSTEMS INC
                  851 WEST CYPRESS CREEK RD
                  FORT LAUDERDALE FL 33309



                  CITY BEVERAGE ARLINGTON HGTS
                  1401 E ALGONQUIN RD
                  ARLINGTON HEIGHTS IL 60005



                  CITY FIRE INC
                  5708 SW 25TH ST
                  HOLLYWOOD FL 33023



                  CITY FIRST CHURCH
                  5950 SRPING CREEK ROAD
                  ROCKFORD IL 61114



                  CITY OF BLOOMINGTON
                  1800 W OLD SHAKOPEE RD
                  BLOOMINGTON MN 55431-3027
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                  CITY OF CARMEL
                  ONE CIVIC SQUARE
                  CARMEL IN 46032



                  CITY OF CEDAR RAPIDS
                  PO BOX 2148
                  CEDAR RAPIDS IA 52406-2148



                  CITY OF CREVE COEUR
                  300 N NEW BALLAS RD
                  CREVE COEUR MO 63141



                  CITY OF DAVENPORT
                  226 W 4TH ST
                  DAVENPORT IA 52801



                  CITY OF DAVENPORT
                  PO BOX 8003
                  DAVENPORT IA 52808-1345



                  CITY OF DETROIT
                  3245 E JEFFERSON AVE STE 100
                  DETROIT MI 48207



                  CITY OF DETROIT BLDGS SAFETY E
                  2 WOODWARD AVE 4TH FL STE 412
                  PROPERTY MAINTENANCE DIVISION
                  DETROIT MI 48226



                  CITY OF DETROIT PROPERTY TAX
                  2 WOODWARD AVE STE 154
                  COLEMAN A YOUNG MINICIPAL CTR
                  DETROIT MI 48226



                  CITY OF EAGAN
                  3830 PILOT KNOB ROAD
                  EAGAN MN 55122-1897
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                  CITY OF EAST PEORIA
                  401 W WASHINGTON STREET
                  EAST PEORIA IL 61611



                  CITY OF EDEN PRAIRIE
                  8080 MITCHELL RD
                  ATTN JES SCHROM ARTS AND EVENT
                  EDEN PRAIRIE MN 55344



                  CITY OF ELLSWORTH
                  1528 DEWITT ST
                  ELLSWORTH IA 50075



                  CITY OF FARGO
                  200 3RD STREET NORTH
                  FARGO ND 58102



                  CITY OF FARGO
                  PO BOX 1607
                  FARGO ND 58107



                  CITY OF FARGO UTILITIES
                  FARGO WATER DEPT
                  PO BOX 1066
                  FARGO ND 58107-1066



                  CITY OF FRANKLIN
                  PO BOX 705
                  109 3RD AVE S
                  FRANKLIN TN 37065



                  CITY OF KANSAS CITY MISSOURI
                  414 E 12TH STREET 1ST FLOOR
                  KANSAS CITY MO 64106



                  CITY OF KANSAS CITY MISSOURI
                  REVENUE DIVISION
                  PO BOX 843825
                  KANSAS CITY MO 64184-3825
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                  CITY OF LINCOLN
                  BUREAU OF FIRE PREVENTION
                  555 S 10TH ST ROOM 203
                  LINCOLN NE 68508-3959



                  CITY OF LINCOLN
                  ALARM REGISTRATION PROGRAM
                  555 S 10TH STREET BOX 26
                  LINCOLN NE 68508-2803



                  CITY OF MAPLE GROVE
                  12800 ARBOR LAKES PARKWAY
                  MAPLE GROVE MN 55369



                  CITY OF MAPLE GROVE
                  PO BOX 1180
                  MAPLE GROVE MN 55311



                  CITY OF MAPLE GROVE UTILITIES
                  12800 ARBOR LAKES PKWY N
                  ATTN UTILITY BILLING
                  MAPLE GROVE MN 55369



                  CITY OF MISHAWAKA
                  CITY HALL
                  600 EAST THRID ST
                  MISHAWAKA IN 46544



                  CITY OF NAPERVILLE
                  400 S EAGLE STREET
                  NAPERVILLE IL 60540



                  CITY OF NORTHVILLE
                  215 W CADY ST
                  NORTHVILLE MI 48167



                  CITY OF OLATHE WATER
                  PO BOX 2100
                  OLATHE KS 66051-2100
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                  CITY OF OMAHA
                  RM H10
                  1819 FARNAM ST
                  OMAHA NE 68183



                  CITY OF ROCKFORD
                  425 E STATE ST 7TH FLOOR
                  ROCKFORD IL 61104



                  CITY OF ROSEVILLE
                  2660 CIVIC CENTER DRIVE
                  ROSEVILLE MN 55113



                  CITY OF SIOUX
                  FALLS CITY ATTORNEYS OFFICE
                  224 WEST 9TH ST PO BOX 7402
                  SIOUX FALLS SD 57117-7402



                  CITY OF SIOUX FALLS HEALTH
                  521 NORTH MAIN AVENUE
                  SUITE 101
                  SIOUX FALLS SD 57104-5963



                  CITY OF ST CLOUD
                  400 2ND STREET SOUTH
                  SAINT CLOUD MN 56301



                  CITY OF ST CLOUD UTILITIES
                  PO BOX 1501
                  SAINT CLOUD MN 56302-1501



                  CITY OF TROY
                  PO BOX 554754
                  DETROIT MI 48255-4754



                  CITY OF TROY
                  500 W BIG BEAVER
                  TROY MI 48084
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                  CITY OF TROY WATER DEPARTMENT
                  PO BOX 554743
                  DETROIT MI 48255-4743



                  CITY TREASURER
                  635 WOODLAND AVE
                  SUITE 2103
                  KANSAS CITY MO 64106



                  CITY UTILITIES FORT WAYNE
                  PO BOX 4632
                  CAROL STREAM IL 60197-4632



                  CITYWIDE WINDOW SVCS INC
                  PO BOX 790
                  ANOKA MN 55303



                  CJIS
                  6776 REISTERSTOWN ROAD STE 102
                  BALTIMORE MD 21215



                  CLAES, ELIZABETH J.
                  220 CLYMER RD. #1
                  HIAWATHA IA 52233



                  CLARK COUNTY COLLECTION SERVIC
                  8860 W SUNSET RD STE 100
                  LAS VEGAS NV 89148



                  CLARK, ADAM R.
                  104 OAK PLACE
                  EUDORA KS 66025



                  CLARK, AUSTIN J.
                  705 BUCKEYE DR
                  HOFFMAN ESTATES IL 60169
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                  CLARK, JHAQUINN
                  7974 AUDUBON AVE
                  102
                  ALEXANDRIA VA 22306



                  CLARK, KATELYN
                  6910 RIVERTON DRIVE
                  FORT WAYNE IN 46825



                  CLARK, RANDY D.
                  523 54TH AVE N #51A
                  SAINT CLOUD MN 56303



                  CLARK, RYAN D.
                  506 DUNREATH DR
                  CEDAR RAPIDS IA 52402



                  CLARK, SAMUEL A.
                  8102 N ILLINOIS ST
                  INDIANAPOLIS IN 46260



                  CLARK, TIFFANY V.
                  19450 STEEL
                  DETROIT MI 48235



                  CLARKE, BRIANNA R.
                  15556 FOGHORN LANE
                  SAINT PAUL MN 55124



                  CLARKE, DARRAH L.
                  3835 128TH ST. N
                  URBANDALE IA 50323



                  CLARKE, ELLA R.
                  4205 PHILIP WAY
                  FORT WAYNE IN 46815
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                  CLARKE, LILLIAN I.
                  4205 PHILIP WAY
                  FORT WAYNE IN 46815



                  CLARKSON-STITES, AMY M.
                  37600 HIXFORD PL
                  D-8
                  WESTLAND MI 48185



                  CLASPILL, JEANNETTE
                  4219 MT VERNON RD SE
                  CEDAR RAPIDS IA 52403



                  CLASSIC AIRE CARE INC
                  1276 N WARSON
                  SAINT LOUIS MO 63132



                  CLASSIC PARKING INC
                  715 SUNRISE TRAIL
                  SPRING BRANCH TX 78070



                  CLAY TOWNSHIP REGIONAL
                  WASTE DISCT
                  PO BOX 40638
                  INDIANAPOLIS IN 46240-0638



                  CLEAN BREEZE LLC
                  11301 S DIXIE HWY #565776
                  MIAMI FL 33256



                  CLEAN EARTH ENVIRONMENTAL SVCS
                  5189 KING HIGHWAY
                  KALAMAZOO MI 49048



                  CLEAN IOWA INC
                  1450 NE 69TH PLACE STE 50
                  ANKENY IA 50021
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                  CLEARN HEADING
                  3410 BRINKLEY RD APT 201
                  TEMPLE HILLS MD 20748



                  CLERK OF HAMILTON COUNTY
                  1 HAMILTON COUNTY SQUARE #106
                  NOBLESVILLE IN 46060



                  CLERK OF THE CIRCUIT COURT
                  14735 MAIN STREET
                  UPPER MARLBORO MD 20772



                  CLEVELAND JEWISH NEWS
                  23880 COMMERCE PARK
                  SUITE 1
                  BEACHWOOD OH 44122



                  CLEVELAND MUNICIPAL COURT
                  1200 ONTARIO ST
                  CLEVELAND OH 44113



                  CLIVE CHAMBER OF COMMERCE
                  1900 NW 114TH ST
                  CLIVE IA 50325



                  CLIVE LIONS CLUB
                  2085 NW 149TH STREET
                  CLIVE IA 50325



                  CLIVE WATER DEPT
                  1900 NW 114TH ST
                  CLIVE IA 50325-7077



                  CLOCKNINE
                  1006 W LAKE ST
                  #125
                  MINNEAPOLIS MN 55408
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                  CLYDE BRYANT
                  8606 WOOD VIOLET WAY
                  MADISON WI 53717



                  CNTY FIRE PROTECTION INC
                  PO BOX 1651
                  STOW OH 44224



                  COASTAL SUNBELT PRODUCE LLC
                  PO BOX 62860
                  BALTIMORE MD 21264



                  COATES-YOUNG, PAUL
                  4155 SMALLWOOD CHURCH RD
                  INDIAN HEAD MD 20640



                  COATS, CHAD T.
                  816 E 23RD AVE
                  KANSAS CITY MO 64116



                  COATS, MARTEL I.
                  10762 DUPREY
                  DETROIT MI 48224



                  COBB, DAVID W.
                  903 JOANNE DR
                  MINOOKA IL 60447



                  COBENAIS, KELSEY L.
                  1501 7TH AVE S
                  302
                  SAINT CLOUD MN 56301



                  COBO MATOM, JOSE
                  3201 CALISLE ST NE
                  CEDAR RAPIDS IA 52402
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                  COCA-COLA FOODSERVICE
                  PO BOX 602937
                  CHARLOTTE NC 28250



                  COCACOLA BOTTLING CO
                  PO BOX 602937
                  CHARLOTTE NC 28250



                  COCACOLA NATIONAL
                  PO BOX 102703
                  ATLANTA GA 30368



                  COCACOLA REFRESHMENTS IN
                  PO BOX 602937
                  CHARLOTTE NC 28260



                  COCHRAN, JESSICA J.
                  7131 CODY ST
                  SHAWNEE KS 66203



                  COCKRUM, CHRISTIAN A.
                  1217 ACCOKEEK LANDING DRIVE
                  ACCOKEEK MD 20607



                  CODNER, KYLE R.
                  7800 ILTIS DR
                  78
                  URBANDALE IA 50322



                  COE COLLEGE
                  1220 FIRST AVENUE NE
                  CEDAR RAPIDS IA 52402



                  COKERS REPAIR INC
                  3709 N ATLANTIC AVE
                  PEORIA HEIGHTS IL 61616
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                  COLBURN, NICHALEE
                  580 CIMARRON
                  LAKE ELMO MN 55042



                  COLE, HILARY J.
                  1025 WESTVIEW DR
                  MARION IA 52302



                  COLE, JUSTIN
                  202 BONNACLIFFCT
                  HERMITAGE TN 37076



                  COLE, ROBERT
                  3135 MULLBERRY
                  TOLEDO OH 43608



                  COLEMAN, MARVIN
                  14720 S CENTRAL
                  APT. D-106
                  OAK FOREST IL 60452



                  COLEY, DANA
                  2106 BARROWFIELD RD
                  FORT WASHINGTON MD 20744



                  COLIN LAWSON
                  9888 E BASSER DRIVE APT I107
                  DENVER CO 80231



                  COLLECTION SERVICES CENTER
                  PO BOX 9125
                  DES MOINES IA 50306



                  COLLEGE CITY BEVERAGE INC
                  700 RAILWAY ST S
                  DUNDAS MN 55019
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                  COLLEGE POSSIBLE INC
                  540 FAIRVIEW AVE N STE 304
                  SAINT PAUL MN 55104



                  COLLEGE PUBLICATIONS INC
                  PO BOX 845
                  MARSHALLS CREEK PA 18335



                  COLLIDEOSCOPE LLC
                  2123 MAULDIN ST NW
                  ATLANTA GA 30318



                  COLLIER, COYLE J.
                  6165 BUNT DR
                  FORT WAYNE IN 46816



                  COLLINS ELECTRICAL
                  CONSTRUCTION CO INC
                  278 STATE STREET
                  SAINT PAUL MN 55107



                  COLLINS MECHANICAL SVCS
                  9290 BAY VIEW PLACE
                  NANJEMOY MD 20662



                  COLLINS, KELLY M.
                  811 37TH AVE N
                  FARGO ND 58102



                  COLLINS, PATRICK T.
                  22837 ROSALIND AVE
                  EASTPOINTE MI 48021



                  COLOMA FROZEN FOODS INC
                  4145 COLOMA ROAD
                  COLOMA MI 49038
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                  COLON, DANIEL
                  8503 N COSBY AVE
                  APT R26
                  KANSAS CITY MO 64154



                  COLON, ERIC
                  9723 S KEELER AVE
                  105
                  OAK LAWN IL 60453



                  COLON, ESTUARDO
                  5334 NE ANTIOCH RD
                  KANSAS CITY MO 64119



                  COLON, SERGIO
                  8718 N HELENA AVE
                  APT C380
                  KANSAS CITY MO 64154



                  COLORADO BATRES, VICTORINO A.
                  2930 N ST
                  APT 3
                  LINCOLN NE 68510



                  COLTRIN AND ASSOCIATES INC
                  801 FLORAL VALE BLVD
                  YARDLEY PA 19067



                  COLUMBIA GAS OF OHIO
                  PO BOX 742510
                  CINCINNATI OH 45274-2510



                  COMCAST
                  PO BOX 37601
                  PHILADELPHIA PA 19101-0601



                  COMCAST CABLE
                  PO BOX 7500
                  SOUTHEASTERN PA 19398-7500
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                  COMCAST CORPORATE
                  PO BOX 3001
                  SOUTHEASTERN PA 19398-3001



                  COMCAST CORPORATION
                  PO BOX 17211
                  CHARLOTTE NC 28272



                  COMCAST HOLDINGS CORPORATION
                  PO BOX 35170
                  SEATTLE WA 98124-5170



                  COMCAST MAPLE GROVE
                  PO BOX 34744
                  SEATTLE WA 98124-1744



                  COMDATA INC
                  PO BOX 500544
                  SAINT LOUIS MO 63150-0544



                  COMED
                  PO BOX 6111
                  CAROL STREAM IL 60197-6111



                  COMFORT SYSTEMS USA INDIANA LL
                  2701 FORTUNE CIR E
                  STE F
                  INDIANAPOLIS IN 46241



                  COMMAND COMMERCIAL SERVICE AND
                  PO BOX 10648
                  SAINT PAUL MN 55110



                  COMMERCIAL CARES INC
                  16601 SW 49 ST
                  FORT LAUDERDALE FL 33331
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                  COMMERCIAL GASKETS UNLIMITED
                  OF MINNEAPOLIS
                  2637 27TH AVE S STE 3
                  MINNEAPOLIS MN 55406



                  COMMERCIAL KITCHEN SVCS INC
                  808 HANLEY INDUSTRIAL CT
                  SAINT LOUIS MO 63144



                  COMMERCIAL MICROWAVE SERVICE L
                  2307 FRIENDSHIP DRIVE
                  LEBANON TN 37087



                  COMMERCIAL PUMPING SVCS LLC
                  PO BOX 429
                  SAINT CHARLES MO 63302



                  COMMERCIAL SERVICE INNOVATION
                  PO BOX 271
                  BONDURANT IA 50035



                  COMMERCIAL SEWER CLEANING
                  5838 SOUTH HARDING STREET
                  INDIANAPOLIS IN 46217



                  COMMERICAL PLUMBING AND HEATIN
                  24428 GREENWAY AVE
                  FOREST LAKE MN 55025



                  COMMONWEALTH OF PENNSYLVANIA
                  PO BOX 783473
                  PHILADELPHIA PA 19179-3473



                  COMMUNITY OCCUPATIONAL MEDICIN
                  22818 OLD US 20
                  ELKHART IN 46516
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                  COMO FRIENDS
                  1225 ESTABROOK DR
                  SAINT PAUL MN 55103



                  COMPLETE BUILDING MAINTENANCE
                  702 E WESTERN AVE
                  LOMBARD IL 60148



                  COMPLETE REFRIGERATION LLC
                  9970 OLD AIRPORT HWY
                  MONCLOVA OH 43542



                  COMPLETE SOLUTIONS AND SOURCIN
                  PO BOX 461
                  MONTROSE NY 10548



                  COMPTON, ANGIE J.
                  8032 BIENVILLE DR
                  APT 201
                  NASHVILLE TN 37211



                  COMPTON, JACOB E.
                  12410 LIGHTHOUSE WAY DRIVE
                  #H
                  SAINT LOUIS MO 63141



                  COMPTON, JACOB E.
                  2340 LAYFAYETTE AVENUE, APT 3F
                  SAINT LOUIS MO 63104



                  COMPTROLLER OF MARYLAND
                  REVENUE ADMINISTRATION DIV
                  PO BOX 2999
                  ANNAPOLIS MD 21404-2999



                  COMPTROLLER OF PUBLIC ACCOUNTS
                  PO BOX 12019
                  AUSTIN TX 78711-2019
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                  COMPUDYNE INC
                  1524 E 37TH ST
                  HIBBING MN 55746



                  CONARD, TRANAE
                  1382 SILVERDALE CIRCLE
                  TWINSBURG OH 44087



                  CONDON, ALYSSA R.
                  2709 SCHOOL DR
                  ROLLING MEADOWS IL 60008



                  CONFLUENCE BREWING COMPANY
                  1235 THOMAS BECK RD STE A
                  DES MOINES IA 50315



                  CONKLE, MACKENZY L.
                  2294 S MADISON RD
                  BELOIT WI 53511



                  CONNELL, BAILEY M.
                  807 8TH CT. E.
                  DONAHUE IA 52746



                  CONNELL, WILLIAM A.
                  5008 ALDRICH AVE. N.
                  MINNEAPOLIS MN 55430



                  CONNER, APRIL K.
                  26921 DUMBARTON CT.
                  ELKHART IN 46514



                  CONNER, CORISA K.
                  26921 DUMBARTON CT
                  ELKHART IN 46514
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                  CONNER, FREDERICK
                  7513 ROSA PARKS
                  DETROIT MI 48206



                  CONNOR P FRITZ
                  29470 JOHN HAUK
                  GARDEN CITY MI 48135



                  CONSOLIDATED HIGH SCHOOL DIST
                  13300 S LAGRANGE ROAD
                  ORLAND PARK IL 60462



                  CONSTANT CONTACT INC
                  1601 TRAPELO RD
                  THIRD FLOOR
                  WALTHAM MA 02451



                  CONSTELLATION NEWENERGY INC
                  PO BOX 4640
                  CAROL STREAM IL 60197-4640



                  CONSUMERS ENERGY
                  PO BOX 740309
                  CINCINNATI OH 45274-0309



                  CONTINENTAL MAINTENANCE CONTRA
                  8220 BRENTWOOD INDUSTRIAL DR
                  SAINT LOUIS MO 63144



                  CONTRACTORS BONDING AND INSURA
                  PO BOX 801742
                  KANSAS CITY MO 64180



                  CONTRERAS, GABRIELLA C.
                  2822 WEST HAYES ST
                  PEORIA IL 61605
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                  CONTRERAS, LUIS M.
                  3631 HOCTOR BLVD
                  OMAHA NE 68108



                  CONTROLLER OF MARYLAND
                  UNCLAIMED PROPERTY UNIT
                  301 W PRESTON STREET ROOM 310
                  BALTIMORE MD 21201-2383



                  CONTROLSCAN INC
                  FIFTH THIRD WHOLESALE LOCKBOX
                  639378
                  CINCINNATI OH 45263-9378



                  CONVENTION COMPONENTS INC
                  580 BROWNSTONE ST
                  HOLLAND MI 49423



                  COOK COUNTY DEPT OF REVENUE
                  25831 NETWORK PLACE
                  C/O ENVIRONMENTAL CONTORL
                  CHICAGO IL 60673-1258



                  COOK HEALTHY EAT FRESH INC C H
                  145 FLEET ST #179
                  OXON HILL MD 20745



                  COOK, CARLY
                  818 N 77TH ST.
                  OMAHA NE 68114



                  COOK, RACHEL M.
                  1546 SPRING BAY RD
                  UNIT 6
                  EAST PEORIA IL 61611



                  COOL SPRINGS KITCHEN MGMT LLC
                  910 RIVERVIEW DRIVE
                  FRANKLIN TN 37064
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                  COON, PARKER J.
                  1995 25TH AVENUE
                  MARION IA 52302



                  COOPER, BOBBIRHEA B.
                  32413 VAN DOVER
                  SAINT CLAIR SHORES MI 48082



                  COORDINATED SYSTEMS & SUP INC
                  PO BOX 58
                  WICHITA KS 67201



                  COPELAND, HARLEY
                  1208 SW SPEAS DR
                  BLUE SPRINGS MO 64014



                  COPPER COTTAGE
                  4105 N LEWIS AVE
                  SIOUX FALLS SD 57104



                  CORBETT, RICKEY
                  600 KENILWORTH TER #628
                  WASHINGTON DC 20019



                  CORBY, ABIGAIL
                  742 HUFFINE MANOR CIRCLE
                  FRANKLIN TN 37067



                  CORDOBA-WILSON, ABENICIO
                  1361 SQUIRE DRIVE
                  APT 3
                  SOUTH BEND IN 46637



                  COREY BIRKEY
                  522 CENTER ST
                  BARNUM IA 50518
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                  CORK, KELSEY L.
                  2315 BENJAMIN ST. NE
                  MINNEAPOLIS MN 55418



                  CORMICAN, CASSIDY L.
                  701 7TH AVENUE SOUTH
                  #5
                  SAINT CLOUD MN 56301



                  CORNELIA DE LARGE SYNDROME FOU
                  302 W MAIN ST #100
                  AVON CT 06001



                  CORNELL, CASEY R.
                  1965 SILVER BELL RD
                  UNIT 315
                  SAINT PAUL MN 55122



                  CORNER, TARYN N.
                  25767 GROVE LN
                  WARRENVILLE IL 60555



                  CORNHUSKER CUSTOM CONSTRUCTION
                  4002 PACIFIC ST
                  OMAHA NE 68105



                  CORPORATIONS DIVISION
                  PO BOX 30702
                  LANSING MI 48909



                  CORPUS, GABRIELLE
                  14080 HARRISON ROAD
                  GRAND RAPIDS OH 43522



                  CORRIGAN, KRISTA J.
                  737 LARPENTEUR AVE E #B
                  SAINT PAUL MN 55117
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                  CORRIGAN, MATTHEW E.
                  3590 RIVER RD SE
                  CLEAR LAKE MN 55319



                  CORRIGAN, SEAN P.
                  4083 DIAMOND DR
                  SAINT PAUL MN 55122



                  CORRIN BERGLUND
                  3600 AMERICAN BLVD W
                  BLOOMINGTON MN 55431



                  CORTADA, KELLY E.
                  15827 SW 61 ST
                  MIAMI FL 33193



                  CORTES QUEVEDO, CELESTINO
                  7720 4TH AVE S #305
                  MINNEAPOLIS MN 55423



                  CORTES, JESUS
                  9719 TENNYSON CT.
                  SAINT LOUIS MO 63114



                  CORTEZ, JAVIER
                  1101 IROQUOIS #2227
                  NAPERVILLE IL 60563



                  CORY CID
                  1939 OPAL DRIVE
                  AURORA IL 60506



                  COSTELLO SCHOOL PARENT TEACHER
                  ORGANIZATION
                  1333 HAMNMAN DRIVE
                  TROY MI 48085
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                  COSTELLO, GABRIELLE
                  130 E 900 N
                  DECATUR IN 46733



                  COTHAM, ANTHONY
                  500 PRINCE ST
                  PEKIN IL 61554



                  COTHRAN, FRANCES B.
                  7046 N. OLIVE
                  #F
                  KANSAS CITY MO 64118



                  COTTOM, TYMIKIA
                  11106 CAPTAINS VIEW LANE
                  FORT WASHINGTON MD 20744



                  COUGAR ATHLETIC CLUB
                  5050 MALLORY LANE
                  FRANKLIN TN 37067



                  COULTER, ALYSSA
                  3412 SEWARD AVENUE
                  ROCKFORD IL 61108



                  COUNSELING AND FAMILY SERVICES
                  330 SW WASHINGTON ST
                  PEORIA IL 61602



                  COUNTY COURT OF DOUGLAS COUNTY
                  CIVIL SMALL CLAIMS
                  1819 FARNAM
                  OMAHA NE 68183



                  COUNTY FIRE PROTECTION INC
                  4620 CRYSTAL PARKWAY
                  KENT OH 44240
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                  COUNTY OF HENNEPIN
                  INDEPENDENT SCHOOL DIST #279
                  11200 93RD AVENUE NORTH
                  MAPLE GROVE MN 55369



                  COURTNEY BARBER
                  6933 WEXFORD HILL LN
                  HOLLAND OH 43528



                  COURTNEY DECHAINE
                  140 21ST AVE N
                  SAINT CLOUD MN 56303



                  COURTNEY EASTMAN
                  2037 N 153RD AVE
                  OMAHA NE 68116



                  COURTNEY N SMITH
                  1129 S SHERMAN DR
                  INDIANAPOLIS IN 46203



                  COUTINO, MARIA DE JESSUS J.
                  1 GARDEN GLAND
                  SAINT PAUL MN 55128



                  COVINGTON, STEVE M.
                  5911 N UNIVERSITY ST
                  PEORIA IL 61614



                  COWERN PARENT TEACHER GROUP
                  2131 MARGARET ST
                  NORTH SAINT PAUL MN 55109



                  COX COMMUNICATIONS
                  PO BOX 248871
                  OKLAHOMA CITY OK 73124-8871
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                  COX, MARY E.
                  821 PEMBERTON DR
                  FORT WAYNE IN 46805



                  COX, REBECCA L.
                  3217 HOLLAND LANE
                  NASHVILLE TN 37218



                  COZZINI BROS INC
                  350 HOWARD AVENUE
                  DES PLAINES IL 60018



                  CRAIG AHMANN
                  5831 55TH AVE S
                  FARGO ND 58104



                  CRAIG MILLER
                  19101 MYSTIC POINTE DR #1501
                  AVENTURA FL 33180



                  CRAIG WYTTENBACH
                  8868 SUNSTONE LN
                  MIDDLETON WI 53562



                  CRAIN, ALEXANDRA
                  3440 TURFWAY LANE
                  ANTIOCH TN 37013



                  CRANDALL, JENNIFER A.
                  118 27TH AVE N
                  SAINT CLOUD MN 56303



                  CRANDALL, KAYLA M.
                  4604 BLYSTONE VALLEY DRIVE
                  MAUMEE OH 43537
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                  CRANE, JEFFERY S.
                  16476 DODD LANE
                  LAKEVILLE MN 55044



                  CRAWFORD CO
                  1306 MILL STREET
                  ROCK ISLAND IL 61201



                  CRAWFORD, NATHAN
                  1320 17TH AVE S
                  MOORHEAD MN 56560



                  CRCI INC
                  7456 WASHINGTON AVE SOUTH
                  EDEN PRAIRIE MN 55344



                  CREATIVE PUBLISHING SOLUTIONS
                  1877 WEST 4000 SOUTH
                  ROY UT 84067



                  CREDENCE RESOURCE MANAGEMENT L
                  PO BOX 2268
                  SOUTHGATE MI 48195-4268



                  CREEKSIDE HEARTH PATIO AND BBQ
                  515 S MAIN ST
                  ALMONT MI 48003



                  CRETELIFT LLC
                  1925 W MILLBROOK RD
                  MOUNT PLEASANT MI 48858



                  CREVE COEUR CHAM OF COMMERCE
                  10950 OLIVE BLVD
                  CREVE COEUR MO 63141
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                  CRIBBS LANDSCAPING INC
                  PO BOX 901
                  BETTENDORF IA 52722-0016



                  CRIPE, HALEY
                  3201 PORTAGE BLVD.
                  29
                  FORT WAYNE IN 46802



                  CRISS, JONATHAN C.
                  2345 IDLEWOOD DRIVE
                  INDIANAPOLIS IN 46240



                  CRISTIANY, POLETTE
                  4157 JAMES AVE N
                  MINNEAPOLIS MN 55412



                  CRISTINO GAVARRETE
                  15515 SW 172ND TER
                  MIAMI FL 33187



                  CRONEN, NATALIE T.
                  9283 ORIOLE LANE
                  MONTICELLO MN 55362



                  CROSBY, LORENZO T.
                  2619 ABBEY DR
                  APT 3
                  FORT WAYNE IN 46835



                  CROSS, ABIGAIL A.
                  2608 54TH STREET
                  DES MOINES IA 50310



                  CROXTON, CHLOE D.
                  2409 WEST 67TH STREET
                  DAVENPORT IA 52806
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                  CRUNCHTIME! INFORMATION
                  SYSTEMS INC
                  129 PORTLAND STREET
                  BOSTON MA 02114



                  CRUZ, EVANGELINA S.
                  700 W MEADE BLVD
                  32
                  FRANKLIN TN 37064



                  CRUZ, LUIS A.
                  9388 HOME CIRCLE
                  DES PLAINES IL 60016



                  CRUZ, MARISOL
                  5519 INLAND DR
                  KANSAS CITY KS 66106



                  CRUZ, MELANIE N.
                  11137 PLUMBROOK RD
                  STERLING HEIGHTS MI 48312



                  CRUZ, NAYELI
                  1031 S. 28 ST
                  OMAHA NE 68105



                  CRUZ, OLIVER
                  1304 WEST BRANCH RD
                  WINNETKA IL 60093



                  CRYSTAL WELDING INC
                  17601 113TH AVE N
                  MAPLE GROVE MN 55369



                  CUAHUIZO, ODILON
                  1029 E BEHRENDS AVE
                  PEORIA IL 61603
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                  CUBA, KIRSTIN
                  2238 ORCHARD ST
                  APT 1
                  LINCOLN NE 68503



                  CUCCARO, MARIA A.
                  101 FOXWOOD DR
                  CLINTON PA 15026



                  CULLEN, COURTNEY M.
                  2327 CLIFTON FORGE DR
                  SAINT LOUIS MO 63131



                  CULLIGAN WATER COND
                  7165 BOONE AVE N
                  BROOKLYN PARK MN 55428



                  CULLIGAN WATER COND
                  PO BOX 77043
                  DEPT 8799
                  MINNEAPOLIS MN 55480-7743



                  CULLIGAN WATER COND
                  1510 W 51ST ST
                  SIOUX FALLS SD 57105



                  CUMULUS RADIO CORP
                  3650 MOMENTUM PLACE
                  CHICAGO IL 60689-5336



                  CUMULUS RADIO CORP
                  3637 MOMENTUM PLACE
                  CHICAGO IL 60689-5336



                  CUNDIFF, CRAIG A.
                  3701 MONTICELLO
                  CLEVELAND OH 44121
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CUNNINGHAM, TIMOTHY D.
                  12422 MAGNOLIA ST
                  MINNEAPOLIS MN 55448



                  CURRIE, DELILIAH
                  5928 FREEMAN AVE
                  KANSAS CITY KS 66102



                  CURRY, ERIC E.
                  372 ABBEDALE CT
                  CARMEL IN 46032



                  CURTS LOCK& KEY
                  1102 MAIN AVE
                  FARGO ND 58103-1755



                  CUSTOM TREE MOVERS LLC
                  3815 E SHEPERD ST
                  SIOUX FALLS SD 57103



                  CUTLER, AJ M.
                  1302 WILLOWBROOK DR
                  SAINT LOUIS MO 63146



                  CUTTIN IT CLOSE
                  317 HANCOCK
                  PEORIA IL 61603



                  CUYAHOGA CNTY BOARD OF HEALTH
                  5550 VENTURE DR
                  PARMA OH 44130



                  CVB INC
                  2602 PEAR STREET
                  PO BOX 3060
                  SAINT JOSEPH MO 64503-0060
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  CYNMAR CORP
                  86475 GENE LASSERRE BLVD
                  YULEE FL 32097



                  CYPRESS MEDIA LLC
                  1729 GRAND BLVD
                  KANSAS CITY MO 64108



                  CYRKIEL, NICHOLAS
                  6230 W. 64TH PL.
                  1GW
                  CHICAGO IL 60638



                  CZAPLEWSKI, DAVID
                  6S330 GREENWICH COURT
                  NAPERVILLE IL 60540



                  CZYZ, ELENA
                  2850 SWIFT AVENUE
                  202
                  KANSAS CITY MO 64116



                  D AND M ENTERPRISES LLP
                  1616 SPOONBILL LANE UNIT B
                  NAPLES FL 34105



                  DACOTAH PAPER CO INC
                  3940 15TH AVE N
                  FARGO ND 58102



                  DAGGETT, KEVIN M.
                  1217 S NORTON AVE
                  SIOUX FALLS SD 57105



                  DAHLE, MARGARET M.
                  620 10TH AVENUE NORTH
                  FARGO ND 58102
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  DAHLHEIMER DISTRIB
                  PO BOX 336
                  MONTICELLO MN 55362



                  DAILEY, PATRICK R.
                  8507 NW WINTER AVE
                  KANSAS CITY MO 64153



                  DAKOTA BEVERAGE
                  4532 NORTH CLIFF AVE
                  SIOUX FALLS SD 57104



                  DAKOTA BURKE INC
                  625 S WASHINGTON ST
                  ALEXANDRIA VA 22314



                  DAKOTA CNTY REGIONAL
                  CHAM OF COMMERCE
                  3352 SHERMAN CT DTR 201
                  EAGAN MN 55121



                  DAKOTA COUNTY TREASURER
                  14955 GALAXIE AVE
                  ATTN KAYLENE RETKA
                  APPLE VALLEY MN 55124



                  DAKOTA ELECTRIC
                  PO BOX 64427
                  SAINT PAUL MN 55164-0427



                  DAKOTA ENTERTAINMENT LLC
                  27119 SD HWY 115
                  HARRISBURG SD 57032



                  DAKOTA FLAME DEFENSE LLC
                  4472 159TH AVENUE SE
                  DAVENPORT ND 58021
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                  DAKOTA GASKET LLC
                  PO BOX 163
                  WEST FARGO ND 58078



                  DAKOTA REFRIGERATION INC
                  4322 15TH AVE N
                  FARGO ND 58102



                  DAKOTA WINE MERCHANTS
                  PO BOX 10136
                  FARGO ND 58106



                  DALE R SCHAUB
                  PO BOX 71103
                  ROCHESTER MI 48307



                  DALE-DERKS, THOMAS J.
                  2 UNION WAY
                  SAINT CHARLES MO 63303



                  DALMATIAN FIRE EQUIPMENT LTD
                  531 MONROE STREET
                  DOLTON IL 60419-1134



                  DALTON, AARION
                  8854 CARRIAGE DR
                  LENEXA KS 66215



                  DALTON, PATRICIA
                  9219 PREST
                  DETROIT MI 48228



                  DALY, BETSY A.
                  3563 BLUE JAY WAY
                  207
                  SAINT PAUL MN 55123
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                  DALY, EILEEN T.
                  14408 S. BLACKFEATHER DRIVE
                  OLATHE KS 66062



                  DALY, JOSHUA T.
                  7606 BORMAN WAY
                  INVER GROVE HEIGHTS MN 55076



                  DALZIEL, TAYLOR
                  16632 W 144TH ST
                  OLATHE KS 66062



                  DAMEWOOD, HALIEY N.
                  3032 SOUTH HAMPTON DRIVE
                  BETTENDORF IA 52722



                  DAMIEN D HARRIS
                  2513 JAMESON STREET
                  TEMPLE HILLS MD 20748



                  DAMMEN, ANNA M.
                  112 TYLER COURT
                  SAINT STEPHEN MN 56375



                  DAN DYGERT
                  12930 DELLINGER DRIVE
                  FISHERS IN 46038



                  DANA LIPSKY
                  126 N LONDON AVE
                  ROCKFORD IL 61107



                  DANCE EXPRESSIONS LLC
                  27421 HARPER
                  SAINT CLAIR SHORES MI 48081
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                  DANGANAN, ROBERT M.
                  12549 LIGHTHOUSE WAY
                  SAINT LOUIS MO 63141



                  DANIEL G RACE
                  920 TECUMSEH AVE
                  HAMMOND IN 46327-3138



                  DANIEL J FOWLER
                  404 N WESTERN AVE
                  PEORIA IL 61606



                  DANIEL SEDERSTROM
                  11450 ALBAVAR PATH
                  INVER GROVE HEIGHTS MN 55077



                  DANIEL SOTHMANN
                  1223 MAIN AVE
                  CORDOVA IL 61242



                  DANIEL VILLARREAL
                  5430 MIDVALE DR #4
                  ROCKFORD IL 61108



                  DANIEL VINCENT BURGESS
                  1724-A FAYETTE WALK
                  HOFFMAN ESTATES IL 60169-6849



                  DANIEL, ELIZABETH R.
                  303 N SUMMIT AVE
                  SIOUX FALLS SD 57104



                  DANIELLE BURCIAGA
                  1426 HERITAGE DR
                  CANTON MI 48188
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                  DANIELLE DELL
                  8801 GRACE
                  SHELBY TOWNSHIP MI 48317



                  DANIELLE LONCZKOWSKI
                  699 W BIG BEAVER RD
                  TROY MI 48084



                  DANIELLE M BLACK
                  167 ROSSMOR COURT
                  PITTSBURGH PA 15229



                  DANIELLE SMITH
                  1306 RICE ST
                  SAINT PAUL MN 55117



                  DANIELS, JORDAN
                  14039 WOODSIDE ST
                  LIVONIA MI 48154



                  DANIELS, KEVIN
                  1125 29TH ST. N.E.
                  CEDAR RAPIDS IA 52402



                  DANIELSON ENTERPRISES INC
                  751 N 114TH ST
                  OMAHA NE 68154-1515



                  DANNIE R SPRADLIN JR
                  4323 HERDMANS CIRCLE
                  MAUMEE OH 43537



                  DARIA K SEATON
                  5429 13TH ST NW
                  WASHINGTON DC 20011
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                  DARLING INGREDIENTS INC
                  PO BOX 552210
                  DETROIT MI 48255-2210



                  DARLING INGREDIENTS INC
                  PO BOX 552210
                  DETROIT MI 48255



                  DARLING INTNL INC CC
                  PO BOX 552210
                  DETROIT MI 48255-2210



                  DARNELL, THOMAS
                  4503 BURDETTE STREET
                  OMAHA NE 68111



                  DARRELL K BARNEY
                  7803 NW 114TH PATH
                  MEDLEY FL 33178



                  DARRELL, CRYSTAL
                  7041 N BALES AVE
                  115
                  KANSAS CITY MO 64119



                  DASE - FORTNER, COURTLAND
                  1114 BROADWAY ST.
                  APT B
                  PEKIN IL 61554



                  DAUGHERTY, DEBORIA N.
                  7212 CIMMARON ASH CT
                  CLINTON MD 20735



                  DAVE HUDSON
                  813 N. LINDEN ST.
                  NORTHFIELD MN 55057
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  DAVEYON WILKINSON
                  4253 CRANE
                  DETROIT MI 48214



                  DAVID HILL
                  1214 GLENHAVEN
                  BALTIMORE MD 21239



                  DAVID KIRKLAND
                  7140 HARRISON AVE STE 108
                  C/O GRANITE CITY
                  ROCKFORD IL 61112



                  DAVID LEWANDOWSKI
                  1601 EAGLES CREST AVENUE #B1
                  DAVENPORT IA 52804



                  DAVID LONG AND ASSOC INC
                  312 CROWATAN RD
                  CASTLE HAYNE NC 28429



                  DAVID MOSOW
                  109 DULUTH AVENUE
                  NASHVILLE TN 37209



                  DAVID SPRAGUE
                  1500 N 132ND TERR
                  KANSAS CITY KS 66109



                  DAVID STIVING
                  3034 FRAMPTON DR APT 4
                  TOLEDO OH 43614



                  DAVID THOMPSON
                  1100 ANNIE DR
                  WINTERSET IA 50273
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                  DAVID WILLIAM SABERS
                  100 EAST STATE STREET
                  MONROE SD 57047



                  DAVIS BROWN KOEHN SHORS AND RO
                  215 10TH ST STE 1300
                  DES MOINES IA 50309-3993



                  DAVIS, AIRENLAREE
                  240 EAST GRAND BLVD
                  DETROIT MI 48207



                  DAVIS, ALFRED
                  724 WEST 15TH STREET
                  DAVENPORT IA 52804



                  DAVIS, ANDREA
                  1231 S 121ST PLZ
                  111
                  OMAHA NE 68144



                  DAVIS, BRANDI
                  2501 N 87TH ST E
                  APT E
                  LINCOLN NE 68507



                  DAVIS, CALVIN L.
                  270 COURTNEY CT.
                  NORTHVILLE MI 48167



                  DAVIS, CONNOR L.
                  14212 W 124TH TERR
                  OLATHE KS 66062



                  DAVIS, DANIELLE
                  228 EAST ELMHURST
                  PITTSBURGH PA 15220
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                  DAVIS, JASMIN
                  811 NORTH 70TH STREET
                  KANSAS CITY KS 66112



                  DAVIS, JOHN
                  972 EDGERTON
                  SAINT PAUL MN 55130



                  DAVIS, MOLLY
                  709 N HAY LAKE RD
                  SAINT PAUL MN 55123



                  DAVIS, TIMOTHY J.
                  11013 LAFAYETTE PLZ
                  OMAHA NE 68154



                  DAVY, ASHLEY
                  266 ASPEN LANE
                  HIGHLAND PARK IL 60035



                  DAWN C WILSON
                  202 LOUISE
                  HIGHLAND PARK MI 48203



                  DAWN REGAN
                  2726 ALLINGTON ROAD
                  SAINT CLAIR MI 48079



                  DAYMARK SAFETY SYSTEMS
                  12836 SOUTH DIXIE HIGHWAY
                  BOWLING GREEN OH 43402



                  DAYS, TEHRYN
                  5701 HALFMOON COURT
                  WALDORF MD 20603
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                  DC CHILD SUPPORT CLEARINGHOUSE
                  PO BOX 37868
                  WASHINGTON DC 20013



                  DC TREASURER
                  UNCLAIMED PROPERTY UNIT
                  1101 4TH STREET SW STE 800W
                  WASHINGTON DC 20024



                  DDM LANDSCAPE
                  640 51ST STREET
                  MARION IA 52302



                  DE COSS HERNANDEZ, DIMAS
                  2114 FOREST AVE
                  DES MOINES IA 50311



                  DE JESUS PEREZ, INGRID
                  1213 HUDSON
                  PEORIA IL 61604



                  DE LA CRUZ, ESTHER
                  14445 S RAVINIA AVE
                  APT 1E
                  ORLAND PARK IL 60462



                  DE LA FUENTE, LEOBARDO
                  12908 S RAMSGATE DR
                  APT A
                  OLATHE KS 66062



                  DE LA ROSA, JACQUELINE
                  1861 39TH ST S
                  302
                  FARGO ND 58103
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  DE ORTEGA, EVELYN
                  604 S. WILLIAMS AVE
                  APT 7
                  SIOUX FALLS SD 57105



                  DEA, CASEY
                  2270 13TH AVE. E.
                  SAINT PAUL MN 55109



                  DEAL, PAIGE
                  8277 S. QUARTERMOON DRIVE
                  PENDLETON IN 46064



                  DEAN FOODS NC INC
                  PO BOX 1450
                  NW 8318
                  MINNEAPOLIS MN 55485-8318



                  DEAN NIDA & ASSOCIATES LLC
                  445 SOUTH SHORE DRIVE
                  SARASOTA FL 34234



                  DEAN NIDA AND ASSOCIATES LLC
                  445 S SHORE DR
                  SARASOTA FL 34234



                  DEBBIE MCMILLAN BARRETT CLERK
                  135 4TH AVE S
                  GENERAL SESSIONS COURT
                  FRANKLIN TN 37064



                  DECANINI, KATRINA
                  18747 INNSBROOK DR
                  APT 1
                  NORTHVILLE MI 48168



                  DECHAINE, COURTNEY
                  2000 HIGH STREET
                  DES MOINES IA 50309
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                  DECLARKS LANDSCAPING INC
                  13800 33 MILE RD
                  ROMEO MI 48065



                  DEE, ANTHONY D.
                  5310 N EUCLID
                  UNIT 716
                  SAINT LOUIS MO 63115



                  DEETER, BRAD
                  8808 CHELTENHAM ROAD
                  INDIANAPOLIS IN 46256



                  DEGANTE, GUADALUPE
                  915 N 48TH ST
                  APT #2
                  OMAHA NE 68132



                  DELACERDA, RICARDO
                  1724 L ST
                  4F
                  LINCOLN NE 68508



                  DELAFUENTE, LEOBARDO
                  12908 S. RAMSGATE DRIVE, APT.
                  OLATHE KS 66062



                  DELGADILLO, LARA, JUAN F.
                  6630 CODY DRIVE #4104
                  WEST DES MOINES IA 50266



                  DELGADO AVALOS, JUAN
                  10024 BRECKENRINGE RD
                  SAINT ANN MO 63074



                  DELGADO, CARLOS
                  2276 NICHOLS RD
                  2D
                  ARLINGTON HEIGHTS IL 60004
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                  DELGADO, GABRIEL
                  904 9TH ST
                  WINNETKA IL 60093



                  DELGADO, RAYMUNDO L.
                  2927 WESTBROOK DR
                  410
                  FORT WAYNE IN 46805



                  DELGAISO, AUDREY N.
                  1250 WOODCHASE LN
                  APT B
                  CHESTERFIELD MO 63017



                  DELL, DANIELLE M.
                  8801 GRACE
                  UTICA MI 48317



                  DELLO IACONO, DOMINICA F.
                  2211 ABBEY DRIVE #4
                  FORT WAYNE IN 46805



                  DELONTE E DUFF
                  4753 SUMMERTIME DR
                  OXON HILL MD 20745



                  DELORES A ELLIOT
                  4321 N LINWOOD AVE
                  DAVENPORT IA 52806



                  DELOSS HENKLER, ROBYN G.
                  11990 101ST AVE N
                  OSSEO MN 55369



                  DELOSSANTOS, PRISCILLA
                  3408 W 124TH ST
                  ALSIP IL 60803
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                  DELUXE GROUP INC
                  625 BAKERS BRIDGE AVE STE 105
                  FRANKLIN TN 37067



                  DEMORO, ASHLEY
                  3923 NW 82ND STREET
                  KANSAS CITY MO 64151



                  DEMOS FRUIT FLY EXTERMINATORS
                  834 SUNRISE PL
                  ROSELLE IL 60172



                  DENISE CUNDELL DAY
                  1411 W 58TH STREET
                  DAVENPORT IA 52806



                  DENISE LENAGHAN
                  2306 HERITAGE DR
                  SAINT CLOUD MN 56301



                  DENISON PARKING INC
                  49 WEST MARYLAND ST #138
                  INDIANAPOLIS IN 46204



                  DENNIS D GARRIGUS
                  1301 HERITAGE ROAD W
                  NORMAL IL 61761



                  DENNIS LEDBETTER
                  9517 49TH PLACE
                  COLLEGE PARK MD 20740



                  DENNIS MCGOVERN
                  13868 CLARE DOWNS WAY
                  ROSEMOUNT MN 55068
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                  DENNYS 5TH AVENUE BAKERY
                  PO BOX 856090
                  MINNEAPOLIS MN 55485-6090



                  DEPARTMENT OF PUBLIC UTILITIES
                  OHIO BUILDING
                  PO BOX 10017
                  TOLEDO OH 43699-0017



                  DEPASSE, RIVA L.
                  736 WENZELL AVENUE
                  PITTSBURGH PA 15216



                  DEPENDABLE BUILDING MAINTENANC
                  4645 W 138TH ST
                  CRESTWOOD IL 60445



                  DEPT OF ASSESSMENTS
                  AND TAXATION
                  PO BOX 17052
                  BALTIMORE MD 21297-1052



                  DEPT OF ASSESSMENTS &
                  TAXATION GCNH
                  301 W PRESTON ST CH DIV RM 801
                  BALTIMORE MD 21201



                  DEPT OF INSPECTIONS APPEALS
                  LUCAS STATE OFFICE BLDG
                  FOOD AND CONS SFTY BUR
                  DES MOINES IA 50319



                  DEPT OF REVENUE
                  SPECIAL TAX DIVISION
                  445 E CAPITOL AVE
                  PIERRE SD 57501-3100
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                  DEPT OF TREASURY
                  PO BOX 30149
                  COLLECTION SERVICES BUREAU
                  LANSING MI 48909



                  DEREK SCHILLINGER
                  PO BOX 417
                  ULMAN MO 65083



                  DEREN, DAVID M.
                  2850 SOUTHAMPTON DRIVE #113
                  ROLLING MEADOWS IL 60008



                  DES MOINES A TO Z PARTY RENTAL
                  2250 FULLER RD
                  WEST DES MOINES IA 50265



                  DESCHAMPS, THOMAS M.
                  23031 PURDUE AVE.
                  FARMINGTON MI 48336



                  DESIGN TEMPERATURE SERVICE ENG
                  11026 GRAVOIS IND CT
                  SAINT LOUIS MO 63128



                  DESIGNER LAWNS LLC
                  6631 WASHINGTON AVE
                  WINDSOR HEIGHTS IA 50324



                  DESIRAE COLEMAN
                  1705 W FREDONIA AVE
                  PEORIA IL 61606



                  DESTINATION TRAVEL NETWORK
                  7458 N LA CHOLLA BLVD
                  SUITE 100
                  TUCSON AZ 85741
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                  DESTINATION WHITEHOUSE INC
                  6729 PROVIDENCE ST
                  PO BOX 257
                  WHITEHOUSE OH 43571



                  DET DISTRIB FINTECH




                  DETROIT INDUSTRIAL CLEANERS IN
                  24681 NORTHWESTERN HWY #400 H
                  SOUTHFIELD MI 48075



                  DETROIT METRO CONVENTION &
                  VISITORS BUREAU
                  DEPT 117701 PO BOX 67000
                  DETROIT MI 48267-1777



                  DETTMER, TAYLER L.
                  10 SURREY LANE
                  314
                  GRABILL IN 46741



                  DEUTZ, COURTNEY
                  801 UNIVERSITY AVENUE SE #15
                  MINNEAPOLIS MN 55414



                  DEVEN G SMALLEY
                  3410 STONESBORO ROAD
                  FORT WASHINGTON MD 20744



                  DEVIN LINK
                  1801 J STREET APT 306
                  LINCOLN NE 68508



                  DEVIN SIPP
                  1828 ABRITER CT
                  NAPERVILLE IL 60563
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                  DEVON GIESEN
                  4300 W KATHLEEN ST
                  SIOUX FALLS SD 57107



                  DEWEESE, KARI A.
                  1801 CENTRAL
                  DETROIT MI 48209



                  DGVA INTERNATIONAL BAKERY LLC
                  PO BOX 223400
                  HOLLYWOOD FL 33022



                  DIANE HESSON
                  3534 INVERNESS BLVD
                  CARMEL IN 46032



                  DIAZ CEDILLO, DORIS E.
                  4200 56TH AVE
                  BLADENSBURG MD 20710



                  DIAZ, ANGEL A.
                  305 E ELM ST
                  OLATHE KS 66061



                  DIAZ, ANGEL A.
                  305 E. ELM STREET
                  OLATHE KS 66061



                  DIAZ, DANIEL
                  5471 ALEXANDRA DR
                  LAKE IN THE HILLS IL 60156



                  DIAZ, DARIO
                  619 TAYLOR ST
                  DAVENPORT IA 52802
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                  DIAZ, DESTYNA F.
                  211 NORTH 2ND ST.
                  #A
                  WATERVILLE OH 43566



                  DIAZ, DIANA
                  131 SOUTH HURON DR.
                  OXON HILL MD 20745



                  DIAZ, DOMINGUEZ, LUIS FERNANDO
                  7720 4TH AVENUE SOUTH #305
                  MINNEAPOLIS MN 55423



                  DIAZ, EFRAIN
                  9127 ST HWY 25 NE
                  APT 737
                  MONTICELLO MN 55362



                  DIAZ, GERLIN
                  1524 EBURT DR
                  89
                  COLUMBIA TN 38401



                  DIAZ, JORDAN
                  1629 ROOSEVELT RD.
                  MACHESNEY PARK IL 61115



                  DIAZ, MARCIO
                  5621 DELAWARE DRIVE
                  OXON HILL MD 20745



                  DIAZ, MARTA M.
                  7325 MATTHEW ST
                  FAIRVIEW TN 37062



                  DIAZ, TOMAS
                  152 KING AVE
                  DUNDEE IL 60118
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                  DIAZ, TRESSA N.
                  3721 BRENTWOOD DR.
                  SOUTH BEND IN 46628



                  DICK WAGNER CUTLERY SERVICE
                  PO BOX 327
                  RICHARD WAGNER
                  TOWER MN 55790



                  DICKERSON, MARISSA L.
                  2099 MARLINDALE RD
                  CLEVELAND OH 44118



                  DICKMAN, KATIE
                  5624 ELAINE DR
                  ROCKFORD IL 61108



                  DIEFENBACHER, SAMANTHA
                  6420 ROLLING HILLS DRIVE
                  FORT WAYNE IN 46804



                  DIFIORE, MCKENZIE
                  3001 BRANCH AVENUE
                  825
                  TEMPLE HILLS MD 20748



                  DIG IT FOR DAVE
                  8056 COLLEY ST
                  LINCOLN NE 68505



                  DINKEL, BENJAMIN J.
                  184 ARLENE COURT
                  APT A
                  WHEELING IL 60090



                  DINOVA INC
                  6455 EAST JOHNS CROSSING
                  STE 220
                  JOHNS CREEK GA 30097
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                  DIRECT ENERGY BUSINESS
                  PO BOX 660749
                  DALLAS TX 75266



                  DIRECT MECHANICAL INC
                  711 MORSE AVE
                  SCHAUMBURG IL 60193



                  DIRECTOR ALCOHOL AND
                  GAMBLING ENFORCEMENT
                  444 CEDAR ST SUITE 133
                  SAINT PAUL MN 55101-5133



                  DIRECTV
                  PO BOX 105249
                  ATLANTA GA 30348-5249



                  DIRECTV LLC
                  PO BOX 5006
                  CAROL STREAM IL 60197-5006



                  DISCOUNT WASTE AND
                  RECYCLING INC
                  PO BOX 4066
                  ALPHARETTA GA 30023



                  DISCOVER TENNESSEE INC
                  1115 THORNCREST RD
                  NASHVILLE TN 37211



                  DISCOVERLINK INC
                  1525 KAUTZ ROAD STE 700
                  WEST CHICAGO IL 60185



                  DISCOVERY BENEFITS INC
                  PO BOX 9528
                  FARGO ND 58106-9528
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                  DISSER, RHYAN L.
                  7381 TAOS TRAIL
                  INDIANAPOLIS IN 46219



                  DIVERSIFIRE SYSTEMS INC
                  13830 NW 19TH AVENUE
                  OPA LOCKA FL 33054-4218



                  DIXON FISHERIES INC
                  1807 N MAIN STREET
                  EAST PEORIA IL 61611



                  DIXON, KISHA
                  6142 FARROW AVENUE #C
                  KANSAS CITY KS 66104



                  DJS HEATING& AIR CONDITIONING
                  6060 LABEAUX AVE NE
                  ALBERTVILLE MN 55301



                  DJURASEVIC, ANDRIJANA
                  14619 ALPENA DR
                  STERLING HEIGHTS MI 48313



                  DOBKIN, MICHAEL
                  2715 N. ARLINGTON HEIGHTS RD
                  ARLINGTON HEIGHTS IL 60004



                  DOBSON, LAMAR
                  1852 NW 93 TERRACE
                  MIAMI FL 33147



                  DOEDEN, GRACE S.
                  911 S 3RD ST
                  BERESFORD SD 57004
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                  DOERING, DANA
                  4340 CLEARWATER ROAD
                  204
                  SAINT CLOUD MN 56301



                  DOETSCH INDUSTRIAL SVCS INC
                  21221 MULLIN AVE
                  WARREN MI 48089



                  DOGS FOREVER OF IOWA
                  809 ROCKFORD RD
                  CEDAR RAPIDS IA 52404



                  DOLEZAL, JORDAN A.
                  1340 HILLCREST DR
                  203
                  CUYAHOGA FALLS OH 44221



                  DOLGE, KRISTEN M.
                  1400 LAUREL AVENUE W. #603
                  MINNEAPOLIS MN 55403



                  DOLL DISTRIB FINTECH




                  DOMINA, AMY
                  16514 S DORCHESTER P
                  LOCKPORT IL 60441



                  DOMINGUEZ, LUIS
                  6204 NEBRASKA AVE.
                  KANSAS CITY KS 66102



                  DOMINION EAST OHIO
                  PO BOX 26785
                  RICHMOND VA 23261-6785
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                  DOMONOSKE, TANNER K.
                  4936 47TH STREET SOUTH
                  APT 108
                  FARGO ND 58104



                  DON STEGMAN
                  3313 68TH AVE N
                  BROOKLYN CENTER MN 55429



                  DON WOOD PLUMBING CO INC
                  PO BOX 680637
                  FRANKLIN TN 37068



                  DONAHUE, CONNOR
                  14182 W 138TH TERRACE
                  OLATHE KS 66062



                  DONALDSON, JAVONTE D.
                  4471 VASEY AVENUE
                  MARION IA 52302



                  DONNA ANN COOK
                  1440 NW VIVION RD
                  KANSAS CITY MO 64118



                  DOODAD INC
                  6110 IRVINGTON RD
                  OMAHA NE 68134



                  DOOR CLOSER SERVICE CO INC
                  2509 N EMERSON AVE
                  INDIANAPOLIS IN 46218



                  DORIA BROOKS
                  200 AMERICAN WAY
                  OXON HILL MD 20745
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                  DORMANESH, CAROL
                  1624 FLORENCE ROAD
                  NEW CUMBERLAND WV 26047



                  DOROW, AMBER
                  920 MULBERRY LANE
                  WEST FARGO ND 58078



                  DORSETTE, TAMARA R.
                  2328 STANEHOPE
                  GROSSE POINTE MI 48236



                  DOSS, RENEE R.
                  1765 EARLHAM RD
                  WINTERSET IA 50273



                  DOTY, OLIVIA
                  1788 ANDOVER LANE
                  CRYSTAL LAKE IL 60014



                  DOTY, TAYLOR M.
                  1633 W. 35TH STREET
                  DAVENPORT IA 52806



                  DOUANGPANGNA, DONNA
                  2504 PARK DR
                  SAINT CLOUD MN 56303



                  DOUBLE H PAVING INC
                  27275 VERHEY PLACE
                  TEA SD 57064



                  DOUG BENZ
                  5934 NW 90TH TERR
                  KANSAS CITY MO 64154
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                  DOUG JOHNSON
                  PO BOX 90406
                  SIOUX FALLS SD 57109



                  DOUG LATTIH
                  8362 TAMARACK VILLAGE STE 119
                  WOODBURY MN 55125



                  DOUG MCCANN
                  5540 WILD HORSE DR
                  INDIANAPOLIS IN 46239



                  DOUGLAS COUNTY TREASURER
                  PO BOX 2855
                  OMAHA NE 68103-2855



                  DOUGLAS M PYLES
                  603 BAY FRONT DR
                  FORT WASHINGTON MD 20744



                  DOUGLAS VENTURES LLC
                  PO BOX 1604
                  MARYLAND HEIGHTS MO 63043



                  DOUGLAS, MAYA V.
                  5818 ELDEN DR.
                  SYLVANIA OH 43560



                  DOVER GREASE TRAPS
                  16585 13 MILE RD
                  FRASER MI 48026



                  DOW, DILLON A.
                  11763 S. ALCAN
                  BUILDING 10
                  OLATHE KS 66062
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                  DOWD, ABIGAIL M.
                  105 42ND ST.
                  DES MOINES IA 50312



                  DOWN SYNDROME ASSOCIATION OF
                  NORTHEASE INDIANA DSANI
                  PO BOX 13611
                  FORT WAYNE IN 46865



                  DOWN SYNDROME DIAGNOSIS NETWOR
                  PO BOX 140
                  STILLWATER MN 55082



                  DOWN SYNDROME GUILD OF GREATER
                  5960 DEARBORN
                  MISSION KS 66202



                  DOWN SYNDROME INDIANA
                  708 E MICHIGAN STREET
                  INDIANAPOLIS IN 46202



                  DOWN THE DRAIN SERVICES LLC
                  PO BOX 57151
                  DES MOINES IA 50317



                  DOWNERS GROVE CHAMBER OF COMME
                  2001 BUTTERFIELD RD
                  DOWNERS GROVE IL 60515



                  DOWNEY, KATLYN
                  704 FOX RIDGE RD
                  ELDRIDGE IA 52748



                  DOYLE, SAMONE D.
                  902 RIDGEWOOD DR
                  #4
                  FORT WAYNE IN 46805
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                  DP MECHANICAL SERVICES LLC
                  PO BOX 39568
                  INDIANAPOLIS IN 46239



                  DR PEPPER/SEVEN UP, INC.
                  5301 LEGACY DRIVE
                  PLANO TX 75024-3109



                  DR VINYL OM
                  PO BOX 460818
                  PAPILLION NE 68046



                  DRAFT DOCTORS LLC
                  1885 NEW HOPE ROAD
                  JOELTON TN 37080



                  DREW ELLIOTT MERTEN
                  15765 FLACKWOOD TRAIL
                  APPLE VALLEY MN 55124



                  DRIKE INC
                  315 S UNION ST
                  MISHAWAKA IN 46544



                  DRURY DEVELOPMENT CORP
                  13075 MANCHESTER RD STE 200
                  ATTN MELINDA STEAMER LEASE ADM
                  SAINT LOUIS MO 63131



                  DRURY DEVELOPMENT CORP
                  721 EMERSON ROAD #200
                  SAINT LOUIS MO 63141



                  DRURY PLAZA HOTEL FRANKLIN
                  DEPT 0154
                  1874 WEST MCEWEN DRIVE
                  FRANKLIN TN 37067
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                  DS BEVERAGES INC
                  201 17TH ST N
                  MOORHEAD MN 56560



                  DTE ENERGY
                  PO BOX 740786
                  CINCINNATI OH 45274-0786



                  DUANE JOSEPH BIBLE
                  1742 COTTONWOOD CIR
                  SAINT CLOUD MN 56303



                  DUAX, KATIE R.
                  723 S CLARK ST
                  DAVENPORT IA 52802



                  DUCKETT, MORGAN P.
                  2343 MILL RACE CT.
                  HOLLAND OH 43528



                  DUFF AND PHELPS HOLDINGS INC
                  55 E 52ND ST 31ST FL
                  NEW YORK NY 10055



                  DUFF, DELONTE E.
                  4753 SUMMERTIME DR
                  OXON HILL MD 20745



                  DUFOE, PEDRO
                  1852 HUTCHINS AVENUE
                  ROCKFORD IL 61104



                  DUGGAN, BREANNA M.
                  225 4TH AVENUE SE #205
                  OSSEO MN 55369
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                  DUKE REALTY LIMITED PARTNERSHI
                  75 REMITTANCE DR STE 3205
                  CHICAGO IL 60675-3205



                  DULLUM, DANIEL P.
                  5450 DOUGLAS DR N
                  APT 324
                  MINNEAPOLIS MN 55429



                  DUMAS, WILLIAM D.
                  31775 KINGSWOODS SQ.
                  FARMINGTON MI 48334



                  DUNBAR ARMORED SERVICE INC
                  PO BOX 64115
                  BALTIMORE MD 21264-4115



                  DUNBAR MECHANICAL INC
                  PO BOX 352350
                  TOLEDO OH 43635-2350



                  DUNBAR SECURITY PRODUCTS INC
                  8525 KELSO DR STE L
                  BALTIMORE MD 21221



                  DUNN, ALEXIS N.
                  1147 HAMPSHIRE DR.
                  CANTON MI 48188



                  DUNN, JENNIFER L.
                  8819 NEVADA AVE N
                  MINNEAPOLIS MN 55445



                  DUNN, TANIYA
                  5314 BASS PL SE
                  WASHINGTON DC 20019
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                  DUNNE, KIANDRA M.
                  519 1/2 9TH ST
                  MARION IA 52302



                  DUNNIVANT, BRANDON S.
                  500 LYNN CREEK RD
                  LYNNVILLE TN 38472



                  DUPAGE CNTY HEALTH DEPT
                  111 N COUNTY FARM RD
                  WHEATON IL 60187



                  DUPAGE CONVALESCENT CENTER FOU
                  400 N COUNTY FARM ROAD
                  WHEATON IL 60187



                  DUPAGE CONVENTION AND VISITORS
                  915 HARGER RD STE 120
                  OAK BROOK IL 60523



                  DUPAGE PADS INC
                  600 W LIBERTY
                  WHEATON IL 60187



                  DUPREE, LESLIE C.
                  244 E. 246 ST.
                  EUCLID OH 44123



                  DUSTIN WEISS
                  11092 XYLON AVE N
                  CHAMPLIN MN 55316



                  DVORAK, LARA R.
                  6723 STATE AVE
                  KANSAS CITY KS 66102
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  DWD-UI
                  DIV OF UNEMPLOYMENT INSURANCE
                  201 E WASHINGTON AVE
                  MADISON WI 53703



                  DYBRO, ANNA H.
                  1246 ISLAND VIEW DRIVE
                  SHERRARD IL 61281



                  DYBRO, LAURA E.
                  1246 ISLAND VIEW DRIVE
                  SHERRARD IL 61281



                  DYNAMIC MOM INC
                  145 S LIVERNOIS #158
                  ROCHESTER MI 48307



                  DYNAMITE BREWING LLC
                  5000 N RIVER RD
                  SCHILLER PARK IL 60176



                  E AND J TROPICAL AWNING OUTLET
                  17832 SW 176TH ST
                  MIAMI FL 33187



                  E SOLUTIONS LLC JUDY STANGLER
                  1801 E 115TH ST
                  BURNSVILLE MN 55337



                  EAGLE BRANDS SALES FINTECH




                  EAGLE GROUP OF MN VETERANS INC
                  6500 PARNELL AVE
                  EDINA MN 55435
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                  EARLE, KRYSTLE E.
                  6974 HEATHER DRIVE
                  BRYANS ROAD MD 20616



                  EARNEST BREW WORKS LLC
                  4342 S DETROIT AVE
                  TOLEDO OH 43614



                  EAST PEORIA CHAM OF COMMERCE
                  201 CLOCK TOWER DRIVE
                  EAST PEORIA IL 61611



                  EAST PEORIA WATER AND SEWER DE
                  401 W WASHINGTON
                  EAST PEORIA IL 61611



                  EASTER SEALS NORTHERN OHIO
                  2173 N RIDGE ROAD
                  LORAIN OH 44055



                  EASTMAN, COURTNEY
                  11255 EVANS ST
                  APT #2
                  OMAHA NE 68164



                  EASTOWN DISTRIBUTORS COMPANY
                  14400 OAKLAND AVE
                  HIGHLAND PARK MI 48203



                  EBERLY, JOSEPH H.
                  20600 CARIS ROAD
                  BOWLING GREEN OH 43402



                  ECKER, ALEXANDER C.
                  37706 MUNGER DR
                  LIVONIA MI 48154
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                  ECKMAN, JENNIFER
                  1635 ZURICH DRIVE
                  SPRING HILL TN 37174



                  ECM PUBLISHERS INC
                  4095 COON RAPIDS BLVD NW
                  MINNEAPOLIS MN 55433-2523



                  ECOLAB FOOD SAFETY SPECIALTIES
                  24198 NETWORK PLACE
                  CHICAGO IL 60673-1241



                  ECOLAB INC
                  26397 NETWORK PLACE
                  CHICAGO IL 60673-1263



                  ECOLAB INC
                  PO BOX 70343
                  CHICAGO IL 60673-0343



                  ECOLAB INC.
                  1 ECOLAB PLACE
                  SAINT PAUL MN 55102



                  ECOLAB PEST ELIM DIV
                  26252 NETWORK PLACE
                  CHICAGO IL 60673-1262



                  ECOLABGCS
                  24673 NETWORK PLACE
                  CHICAGO IL 60673-1246



                  ECOROQ
                  14 SUNRIDGE DRIVE
                  CORAOPOLIS PA 15108
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                  ECOSURE
                  655 LONE OAK DRIVE
                  BLDG D
                  SAINT PAUL MN 55121-1652



                  EDDY, ANNMARIE
                  2400 W 93RD ST
                  MINNEAPOLIS MN 55431



                  EDLUND-GIBBONS, MICHAEL
                  1100 EAST DIVISION ST.
                  311
                  SAINT CLOUD MN 56304



                  EDMISTON, SHANNA
                  9843 DUTCH CREEK DR
                  ANAMOSA IA 52205



                  EDSALL, RYANE
                  1804 WEST 72ND STREET
                  INDIANAPOLIS IN 46260



                  EDUCATED MOMMY INC
                  207 W 37TH ST
                  SIOUX FALLS SD 57105



                  EDWARD DON & CO
                  2562 PAYSPHERE CIRCLE
                  CHICAGO IL 60674



                  EDWARD DON & COMPANY
                  2500 SOUTH HARLEM AVENUE
                  RIVERSIDE IL 60546



                  EDWARD J WHITE INC
                  1011 SOUTH MICHIGAN STREET
                  SOUTH BEND IN 46601
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                  EDWARD PICKENS
                  3945 2ND ST
                  SAINT CLOUD MN 56301



                  EDWARDS, SUSAN A.
                  314 CELESTIAL LANE
                  HIXSON TN 37343



                  EEC ACQUISITION LLC
                  PO BOX 74008980
                  CHICAGO IL 60674-8980



                  EFAX CORPORATE
                  PO BOX 51873
                  LOS ANGELES CA 90051-6173



                  EGAN, JORDAN R.
                  1082 W LAKE DR
                  DETROIT LAKES MN 56501



                  EIDE, MITCHELL D.
                  18131 68TH PLACE NORTH
                  OSSEO MN 55311



                  EIDEMILLER, MICHAEL J.
                  38197 SUMMERS ST.
                  LIVONIA MI 48154



                  EIDEMILLER, THOMAS
                  38197 SUMMERS ST
                  LIVONIA MI 48154



                  EIESLAND, AARON N.
                  1708 4 1/2 AVE NORTH
                  SAUK RAPIDS MN 56379
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                  EILEEN RECH
                  5721 MEADOWOOD DRIVE
                  MADISON WI 53711



                  EISCHEN, BRANDI L.
                  510 BUTTERNUT LANE
                  TOLEDO OH 43615



                  EISCHEN, BRANDI L.
                  5913 METEOR AVENUE
                  TOLEDO OH 43623



                  EL JAY PLUMBING AND HEATING IN
                  520 APOLO AVENUE NE
                  SAINT CLOUD MN 56304



                  EL-GOTHAMY, NADINE
                  7822 CAMPBELL
                  TAYLOR MI 48180



                  ELECTRICAL APPLIANCE REPAIR SE
                  5805 VALLEY BELT ROAD
                  INDEPENDENCE OH 44131



                  ELECTRICAL ENTERPRISES INC
                  PO BOX 421
                  CLARKSTON MI 48347



                  ELECTRO WATCHMAN INC
                  1 WEST WATER ST
                  SUITE 110
                  SAINT PAUL MN 55107



                  ELECTRONIC CONTRACTING CO INC
                  PO BOX 29195
                  LINCOLN NE 68529
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                  ELENA CZYZ
                  8461 NW PRAIRIE VIEW DR
                  KANSAS CITY MO 64153



                  ELIJAH EVERETT EATON
                  380 UPPER SERVICE ROAD
                  HOOKSTOWN PA 15050



                  ELIZA BRYANT VILLAGE INC
                  7201 WADE PARK AVE
                  CLEVELAND OH 44103



                  ELIZABETH VANDER GRIFT
                  4304 N COLORADO AVE
                  SIOUX FALLS SD 57107



                  ELLA FLORAL GROUP LLC
                  2827 FREEMAN ST
                  FORT WAYNE IN 46802



                  ELLEN M TJADEN
                  1913 3RD AVE
                  MARION IA 52302



                  ELLIS, RYAN T.
                  1911 S. BOEKE ST
                  KANSAS CITY KS 66103



                  ELLISON, RENEE
                  2501 N STREEET
                  206
                  WASHINGTON DC 20019



                  ELLSWORTH COOP TELEPHONE ASSN
                  PO BOX 458
                  ELLSWORTH IA 50075-0458
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                  ELROD, ALEXUS J.
                  1309 W 85TH STREET
                  SIOUX FALLS SD 57108



                  ELSER, JESSICA L.
                  16 CHAPELRIDGE CIR
                  APT D
                  MARION IA 52302



                  ELWELL, BRITTNEY
                  7737 MARTY ST
                  OVERLAND PARK KS 66204



                  ELYSE B OBSNIUK
                  29455 JAMES ST
                  GARDEN CITY MI 48135



                  EMBREE, JENNA
                  8721 NEWLAND AVENUE
                  OAK LAWN IL 60453



                  EMERALD GREEN LAWNCARE INC
                  420 E HWY 30
                  LISBON IA 52253



                  EMERGING PEARLS FOUNDATION
                  9165 OTIS AVE STE 238
                  INDIANAPOLIS IN 46216



                  EMILIE S TOMLINSON
                  2722 NEFF STREET
                  ELKHART IN 46514



                  EMILO C DE ARMAS
                  8225 SW 188 ST
                  MIAMI FL 33157
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                  EMILY A OBERLE
                  351 BANNOCK ST
                  FORT COLLINS CO 80524



                  EMILY FLEINER
                  1906 KENZIE DRIVE
                  PITTSBURGH PA 15205



                  EMILY ORLICH
                  1906 KENZIE DRIVE
                  PITTSBURGH PA 15205



                  EMILY PEREZ
                  4933 SW 129 AVENUE
                  MIAMI FL 33175



                  EMILY SCOTT
                  214 4TH STE E #207
                  SAINT PAUL MN 55101



                  EMMACULATE REFLECTIONS LLC
                  5440 N STATE RD 7 STE 223
                  FORT LAUDERDALE FL 33319



                  EMPIRE DISTRIBUTORS OF
                  TENNESSEE INC



                  EMPIRE ENTERPRISES INTL INC
                  7950 NW 53RD ST STE 337
                  MIAMI FL 33166



                  EMPLOYMENT SCREENINGS SVCS INC
                  DEPT K PO BOX 830520
                  BIRMINGHAM AL 35283
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                  EMR
                  9100 YELLOW BRICK RD
                  SUITE H
                  ROSEDALE MD 21237



                  EMS DETERGENT SERVICES CO INC
                  390 HERKY ST STE 4W
                  NORTH LIBERTY IA 52317



                  ENCORE ONE LLC
                  PO BOX 9201 MI 10
                  MINNEAPOLIS MN 55480-9201



                  END ZONE ATHLETICS
                  PO BOX 530898
                  GRAND PRAIRIE TX 75053



                  ENDSLEY, HAYDEN C.
                  670 BENTLEY DR
                  #2
                  MARION IA 52302



                  ENERGY CITY BREWING LLC
                  2 1/2 W WILSON ST STE A1
                  BATAVIA IL 60510



                  ENGBERG, CONNOR C.
                  27147 476TH AVE
                  HARRISBURG SD 57032



                  ENGEL, CLAYTON
                  4325 10TH AVE S #313
                  FARGO ND 58103



                  ENGLEDOW INC
                  1100 E 116TH STREET
                  CARMEL IN 46032
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                  ENGLISH, GRACE L.
                  7614 WESTFORD COURT
                  FORT WAYNE IN 46835



                  ENRIQUE, LOUIS E.
                  700 WEST MEADE BLVD
                  FRANKLIN TN 37064



                  ENVIROMASTER INC
                  PO BOX 90026
                  SIOUX FALLS SD 57109



                  ENVIROMASTER SVCS
                  PO BOX 12350
                  CHARLOTTE NC 28220



                  ENVIROMATIC CORP OF AMERICA
                  5936 PILLSBURY AVENUE SOUTH
                  MINNEAPOLIS MN 55419



                  EPIPHANY EVANGELICAL LUTHERAN
                  915 N REYNOLDS RD
                  TOLEDO OH 43615



                  EQUINITI TRUST CO INC
                  PO BOX 856686
                  MINNEAPOLIS MN 55485-6686



                  ER PUMPING SERVICE CORP
                  PO BOX 266603
                  FORT LAUDERDALE FL 33326



                  ERAZO PALMA, CLAUDIA D.
                  6653 TOWER DRIVE
                  204
                  ALEXANDRIA VA 22306
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                  ERDNER, NIKI L.
                  52 HATFIELD LANE
                  CANONSBURG PA 15317



                  ERIC CURRY
                  372 ABBEDALE COURT
                  CARMEL IN 46032



                  ERIC FULLER
                  33075 ALLEN
                  LIVONIA MI 48154



                  ERIC SREDZINSKI
                  19552 NORTHRIDGE DR
                  NORTHVILLE MI 48167-2912



                  ERICKSON ELECTRIC CO INC
                  212 NORTH 8TH AVE
                  SAINT CLOUD MN 56303



                  ERICKSON PLUMBING AND HEATING
                  230-35 TH ST
                  MOLINE IL 61265



                  ERICKSON, ANDREW
                  3148 S CHICAGO AVE
                  SUPERIOR WI 54880



                  ERICKSON, CHRISTOPHER J.
                  608 CENTRAL AVE
                  OSSEO MN 55369



                  ERICKSON, ISABEL E.
                  2109 COUNTY HIGHWAY 4
                  ROANOKE IL 61561
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                  ERICKSON, RONNIE L.
                  4971 BONGARD WAY
                  INVER GROVE HEIGHTS MN 55076



                  ERIK LYONS
                  527 WET SAND DR
                  SEVERN MD 21144



                  ERIK SCHELESKY
                  4214 3 OAKS DRIVE APT 3B
                  TROY MI 48098



                  ERIN R SCHILLINGER
                  2405 23RD AVE A
                  MOLINE IL 61265



                  ERMCO INC
                  PO BOX 1507
                  INDIANAPOLIS IN 46206



                  ERNEST, AUSTIN C.
                  4556 12TH STREET S.
                  MOORHEAD MN 56560



                  ERZINGER, ERIN A.
                  1781 QUEENSBURY CIRCLE
                  HOFFMAN ESTATES IL 60169



                  ESCOBAR JUAREZ, DUNIA
                  1070 N WHEELING RD. APT 1B
                  MOUNT PROSPECT IL 60056



                  ESCOBEDO, JOSUE
                  43001 NORTHVILLE PLACE
                  APT 2019
                  NORTHVILLE MI 48167
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                  ESLICK, ARLEE T.
                  2201 CREEK DR.
                  LEWISBURG TN 37091



                  ESPINO, FLOR
                  228 52ND STREET #34
                  WEST DES MOINES IA 50265



                  ESPINOZA JIMENEZ, ARNALDO
                  225 ROCKHURST RD
                  BOLINGBROOK IL 60440



                  ESPINOZA, LUIS
                  4505 E BELMONT ST
                  SIOUX FALLS SD 57103



                  ESSENTIALS LLC
                  6333 APPLES WAY STE 115
                  LINCOLN NE 68516



                  ESTEFANIA, RAUL
                  3367 HILLANDALE RD
                  APT C
                  DAVENPORT IA 52806



                  ESTES, NICOLE M.
                  11931 19 MILE RD
                  STERLING HEIGHTS MI 48313



                  ESTRADA, BEATRIZ
                  1914 W GARDEN
                  PEORIA IL 61604



                  ESTRADA, CORA M.
                  1845 E FOX ST
                  SOUTH BEND IN 46613
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                  ESTRADA, MARIA
                  2000 UPLAND DR.
                  FRANKLIN TN 37067



                  ETC NEON INCORPORATED
                  6601 RIDGEVIEW DRIVE
                  MINNEAPOLIS MN 55439



                  EUCLID BEVERAGE
                  200 OVERLAND DRIVE
                  IL 60562



                  EUCLID GLASS AND STEEL DOOR IN
                  4560 GLENBROOK RD
                  WILLOUGHBY OH 44094



                  EUCLID MUNICIPAL COURT
                  555 E 222 ST
                  EUCLID OH 44123



                  EUGENE E MCGOWAN SR
                  350 S. MAIN AVE, #605
                  SIOUX FALLS SD 57104



                  EUGENE E MCGOWAN SR
                  350 S MAIN AVE #605
                  SIOUX FALLS SD 57104



                  EVAN LAROCHE
                  1206 ENGLEWOOD AVE
                  SAINT PAUL MN 55104



                  EVAN STRAUEL
                  2332 CRABTREE AVE
                  WOODRIDGE IL 60517
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                  EVANGELICAL LUTHERAN CHURCH OF
                  OUR REDEEMER
                  9135 SHELLEY AVE
                  SAINT LOUIS MO 63114-4812



                  EVANS, KATRYNA C.
                  4453 LAKEPOINTE
                  DETROIT MI 48224



                  EVANS, KAYLYN T.
                  4453 LAKEPOINTE
                  DETROIT MI 48224



                  EVENTS RENTAL LLC
                  4021 LOWELL CIR #1
                  LINCOLN NE 68502



                  EVER ONWARD INC
                  1153 BERGEN PARKWAY
                  SUITE I BOX 123
                  EVERGREEN CO 80439



                  EVERETT ROGERS
                  285 FRANCES LANE
                  104
                  LANSING KS 66043



                  EVOLVING SOLUTIONS INC
                  3989 COUNTY ROAD 116
                  HAMEL MN 55340



                  EWERS, DEANNA N.
                  7014 N OLIVE ST
                  APT F
                  KANSAS CITY MO 64118



                  EWING, ALONZO
                  5857 PLYMOUTH AVE
                  SAINT LOUIS MO 63112
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                  EXCELL LLC
                  PO BOX 18
                  PECULIAR MO 64078



                  EXCHANGE CLUB OF DUPAGE COUNTY
                  340 QUADRANGLE DR STE A
                  BOLINGBROOK IL 60440



                  EXECUTIVE MAINT SYSTEMS
                  PO BOX 31224
                  INDEPENDENCE OH 44131



                  EXSELL INC
                  800 S HOME AVE
                  PARK RIDGE IL 60068



                  EXTRA SPACE MNGT INC
                  497 LIBERTY PIKE
                  FRANKLIN TN 37064



                  EYMAN PLUMB INC
                  8506 SOUTH 117TH STREET
                  LA VISTA NE 68128



                  EZ PLUMB CO INC
                  400 LINCOLN STREET
                  VERONA WI 53593



                  FABEAN, MARIAH O.
                  1180 PORTER RD
                  WHITE LAKE MI 48383



                  FABIANN, RODNEY A.
                  506 CALIFORNIA HOLLOW RD
                  IMPERIAL PA 15126
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                  FABIANO BROS INC
                  1885 BEVANDA CT
                  BAY CITY MI 48706



                  FAC, LIDIA
                  9111 W52ND ST
                  INDIANAPOLIS IN 46234



                  FAETH, KATHERINE O.
                  517 RIDGELINE DR
                  ADEL IA 50003



                  FAH, SADIE
                  457 INDIAN RD SE
                  CEDAR RAPIDS IA 52403



                  FAIRCHILD, RAYMOND F.
                  133 W. MARKET STREET 292
                  INDIANAPOLIS IN 46204



                  FAIST, RYAN M.
                  1330 SQUIRE DRIVE
                  #D
                  SOUTH BEND IN 46637



                  FAITH EVANGELICAL LUTHERAN
                  CHURCH & SCHOOL
                  8701 ADAMS STREET
                  LINCOLN NE 68507



                  FALCON FIRE PROTECTION INC
                  1239 A CLAY STREET
                  KANSAS CITY MO 64116



                  FALK, ALYSIA S.
                  1717 MAIN STREET
                  ALIQUIPPA PA 15001
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                  FALKE, JACOB A.
                  302 DICKENS DRIVE
                  TOLEDO OH 43614



                  FALKMAN, AUSTIN D.
                  13865 88TH COURT NE
                  ELK RIVER MN 55330



                  FALLEN TIMBERS OHIO LLC
                  PO BOX 368
                  EMERSON NJ 07630



                  FALLEN TIMBERS OHIO LLC
                  C/O NAMCO REALTY LLC
                  150 GREAT NECK ROAD #304
                  GREAT NECK NY 11021



                  FAME LLC
                  121 WASHINGTON AVE N
                  MINNEAPOLIS MN 55401



                  FAMILY SUPPORT PAYMENT CENTER
                  PO BOX 109001
                  JEFFERSON CITY MO 65110



                  FANCY PLANTS AND FLOWERS
                  830 S 121ST STREET
                  OMAHA NE 68154



                  FARFAN, MAURA
                  1904 N. 86TH STREET
                  KANSAS CITY KS 66112



                  FARGO MOORHEAD AREA YOUTH SYMP
                  808 3RD AVE S STE 302
                  FARGO ND 58103
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                  FARGO MOORHEAD CHORAL ARTISTS
                  210 7TH ST S STE 100
                  MOORHEAD MN 56560



                  FARGO PARK DISCT
                  701 MAIN AVENUE
                  FARGO ND 58103



                  FARGO RENTALL INC
                  3201 32ND ST SOUTH
                  FARGO ND 58104



                  FARHAT, IBRAHIM N.
                  920 EVANSTON ST
                  UNIT 5
                  HOFFMAN ESTATES IL 60169



                  FARMER BROS. CO.
                  1912 FARMER BROTHERS DRIVE
                  ROANOKE TX 76262



                  FARMER BROTHERS COMPANY INC
                  PO BOX 732855
                  DALLAS TX 75373-2855



                  FARR, DAVID C.
                  7700 CHURCH ST
                  CLEAR LAKE MN 55319



                  FARR, DAVID C.
                  16244 20TH STREET
                  CLEAR LAKE MN 55319



                  FARRELL, BRITTANEY
                  2320 GARDEN PARK DR
                  FORT WAYNE IN 46825
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                  FAST DRAINZ CO INC
                  PO BOX 246
                  DEERFIELD IL 60015



                  FASTSIGNS SF
                  709 SOUTH MINNESOTA
                  SIOUX FALLS SD 57104



                  FATHER AND SONS CARPET CLEANIN
                  1735 HUNTINGTON DR BOX 15
                  WEST FARGO ND 58078



                  FAVIER, SHARLEAN
                  10630 FOREST BROOK LANE #B
                  SAINT LOUIS MO 63141



                  FCG CONTRACTING LLC
                  14825 S FIRST ST
                  DEKALB IL 60115-8928



                  FDMD LLC
                  9207 HORSESHOE LAKE ROAD
                  CEDAR RAPIDS IA 52411



                  FEASTER, SKYLAR
                  4632 BRANDT COURT
                  FORT WAYNE IN 46835



                  FED EX FREIGHT
                  DEPT CH
                  PO BOX 10306
                  PALATINE IL 60055-0306



                  FEDERAL EXPRESS
                  PO BOX 94515
                  PALATINE IL 60094-4515
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                  FEDERAL EXPRESS INC
                  INFOSYNC ACCOUNT



                  FEDERAL FIREPLACE INC
                  3081 HAGGERTY RD
                  WALLED LAKE MI 48390



                  FEDEX
                  PO BOX 371461
                  PITTSBURGH PA 15250-7461



                  FEDEX FREIGHT LV
                  PO BOX 223125
                  PITTSBURGH PA 15251-2125



                  FEDEX GROUND INC
                  PO BOX 94515
                  PALATINE IL 60094-4515



                  FEED MY STARVING CHILDREN
                  6750 W BROADWAY
                  MINNEAPOLIS MN 55428



                  FEENEY, JASON E.
                  1535 LOWRIE ST
                  #4
                  PITTSBURGH PA 15212



                  FEICHTER, JONATHON D.
                  2307 WAWONAISSA TRAIL
                  FORT WAYNE IN 46809



                  FELIX BARRIOS
                  1523 SARAGOSA AVE
                  MIAMI FL 33134
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                  FELLING PRODUCTS INC
                  PO BOX 425
                  WAITE PARK MN 56387



                  FENICLE, HANNA M.
                  5105 W ST. JAMES DR
                  SIOUX FALLS SD 57106



                  FENLON, BRANDON
                  440 ASTER LN
                  HOFFMAN ESTATES IL 60169



                  FENNER, ZACHERY J.
                  4535 URBAN PLAINS DR
                  APT 204
                  FARGO ND 58104



                  FERGUSON, ANTHONY
                  145 DARRINGTON ST. SW
                  WASHINGTON DC 20032



                  FERGUSON, DWAYNE
                  16003 SW 72ND TERR
                  MIAMI FL 33193



                  FERGUSON, SAMUEL
                  1304 S LAKOTA AVE
                  BRANDON SD 57005



                  FERNANDEZ, LUCIA
                  2116 JESSICA COURT
                  NAPERVILLE IL 60540



                  FERNBROOK ELEMENTARY PTO
                  9661 FERNBROOK LN N
                  OSSEO MN 55369
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                  FERRELL, ERIC D.
                  4719 SCYAMORE
                  KANSAS CITY MO 64129



                  FERRIGNO, ANDREW
                  3920 WYANDOTTE ST.
                  KANSAS CITY MO 64111



                  FERRIS, ANDREA E.
                  948 THOMAS AVE W
                  SAINT PAUL MN 55104



                  FERUCI INC
                  2770 NW 24TH ST
                  MIAMI FL 33142



                  FETCHING TAILS FOUNDATION
                  PO BOX 463
                  ITASCA IL 60143



                  FEVIG OIL COMPANY INC
                  19474 160TH AVENUE NORTH
                  FELTON MN 56536



                  FEY, MATTHEW
                  740 MILL RUN CIRCLE
                  SAINT PAUL MN 55123



                  FIEDLER LAW FIRM PLC
                  8831 WINDSOR PARKWAY
                  JOHNSTON IA 50131



                  FIELDS, CHARLES R.
                  11713 REDWOOD DRIVE EAST
                  BRANDYWINE MD 20613
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                  FIEWEGER, HALEY R.
                  6830 MAUMEE WESTERN ROAD
                  MAUMEE OH 43537



                  FIFE, ELIZABETH M.
                  121 STAMFORD DR.
                  PITTSBORO IN 46167



                  FIFTH THIRD BANK




                  FILGO, KYLE L.
                  2928 DAWN CT
                  BETTENDORF IA 52722



                  FINANCE DEPT TREASURY DIVISION
                  2 WOODWARD AVE RM 105
                  DETROIT MI 48226



                  FINELLO, EMILY R.
                  1070 EWING ROAD
                  CORAOPOLIS PA 15108



                  FINK, MOLLY J.
                  7640 N EVERTON AVE
                  KANSAS CITY MO 64152



                  FINKEN WATER CENTERS
                  3423 COUNTY RD 74
                  PO BOX 7190
                  SAINT CLOUD MN 56302-7190



                  FINKLE, LIAM
                  2367 S LEXINGTON DRIVE #112
                  MOUNT PROSPECT IL 60056
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                  FINKLEA, MACKENZIE
                  226 LANDER DR.
                  CONWAY SC 29526



                  FINLEY, KAYLA J.
                  1372 W. MINNEHAHA PARKWAY #1
                  MINNEAPOLIS MN 55419



                  FINN, JOSHUA
                  1925 E. 153RD TERRACE
                  OLATHE KS 66062



                  FINNEGAN, SEAN P.
                  1353 FAIRLANE DRIVE
                  BETTENDORF IA 52722



                  FIORE, NATALIE
                  1407 ORCHARD LAKES D
                  SAINT LOUIS MO 63146



                  FIRE SAFETY INC
                  1 HELMKAMP DR
                  PO BOX 19
                  WOOD RIVER IL 62095-0019



                  FIRE SYSTEMS OF MICHIGAN LLC
                  26109 GRAND RIVER AVENUE
                  REDFORD MI 48240



                  FIRST COLLECTIONS
                  PO BOX 13225
                  GRAND FORKS ND 58208-3225



                  FISCHER-PAUSTIAN, ROBERT A.
                  21450 W 122ND ST
                  OLATHE KS 66061
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                  FISH WINDOW CLEANING LG
                  PO BOX 413631
                  KANSAS CITY MO 64141



                  FISH WINDOW CLEANING MAUMEE
                  PO BOX 140893
                  TOLEDO OH 43614



                  FISH WINDOW CLEANING PE
                  1904 NE MONROE ST
                  PEORIA IL 61603



                  FISH WINDOW CLEANING TR
                  PO BOX 251302
                  WEST BLOOMFIELD MI 48325



                  FISHBOWL INC
                  PO BOX 740513
                  ATLANTA GA 30374-0513



                  FISHER SCIENTIFIC
                  13551 COLLECIONS CTR DR
                  ACCT 952446-001
                  CHICAGO IL 60693



                  FISHER, KENNEDI M.
                  9807 CROOM RD.
                  UPPER MARLBORO MD 20772



                  FISK KARZ KATZ AND REGAN LTD
                  77 W WASHINGTON STREET
                  STE 900
                  CHICAGO IL 60602



                  FITE LLC
                  PO BOX 147
                  MONROVIA IN 46157
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                  FITZGERALD, ABBY
                  517 DAWSON AVE
                  ROCKFORD IL 61107



                  FITZPATRICK, ANISSA M.
                  2440 A AVENUE
                  MARION IA 52302



                  FIVE STAR DISTRIB FINTECH




                  FLAT EARTH HOLDINGS LLC
                  688 MINNEHAHA AVE EAST
                  SAINT PAUL MN 55106



                  FLECK SALES
                  11125 HIGH LIFE COURT SW
                  CEDAR RAPIDS IA 52404



                  FLEMING, ISABELLA K.
                  1630 HANNAH LANE
                  WAUKEE IA 50263



                  FLETCHER, AUSTIN
                  1255 S BYRNE RD
                  A211
                  TOLEDO OH 43614



                  FLETCHER, FAITH
                  5006 POWELL AVENUE
                  KANSAS CITY KS 66112



                  FLETCHER, JOHN K.
                  1627 SE 31 CT
                  FORT LAUDERDALE FL 33305
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                  FLORES FLORES, ELIEL
                  9270 YALE DR
                  APT C
                  INDIANAPOLIS IN 46240



                  FLORES, ALEXA
                  11 S LAFAYETTE PL
                  SIOUX FALLS SD 57110



                  FLORES, ALFRED
                  1339 12TH AVENUE
                  EAST MOLINE IL 61244



                  FLORES, ELIZETTE
                  2415 F ST.
                  #3
                  OMAHA NE 68107



                  FLORES, JAIME
                  630 17TH AVE NE
                  MINNEAPOLIS MN 55413



                  FLORES, JOSE
                  8605 SHAGBARK CT.
                  APT 3E
                  ORLAND PARK IL 60462



                  FLORES, JOSE L.
                  1658 GREENWOOD RD
                  APT A
                  GLENVIEW IL 60026



                  FLORES, LEAH V.
                  11809 NARCISSUS ST. NW
                  MINNEAPOLIS MN 55433



                  FLORES, RICARDO
                  7100 CHICAGO AVE S
                  MINNEAPOLIS MN 55423
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                  FLOREZ, ARTURO
                  2765 SHERWOOD DR
                  FLORISSANT MO 63031



                  FLORIDA CITY GAS
                  PO BOX 5410
                  CAROL STREAM IL 60197-5410



                  FLORIDA DEPT OF FINANCIAL SVCS
                  PO BOX 6350
                  TALLAHASSEE FL 32314-6350



                  FLORIDA POWER AND LIGHT
                  GENERAL MAIL FACILITY
                  MIAMI FL 33188-0001



                  FLORIDA RESTAURANT& LODGING
                  ASSOC
                  230 S ADAMS STREET
                  TALLAHASSEE FL 32301



                  FLORIDA SEATING INC
                  PO BOX 17660
                  CLEARWATER FL 33762



                  FLORIDA STATE DISBURSEMENT UNI
                  PO BOX 8500
                  TALLAHASSEE FL 32314



                  FLOYD TOTAL SECURITY INC
                  9036 GRAND AVE S
                  BLOOMINGTON MN 55420-3634



                  FOLIE, CANDACE
                  58700 RAVENWOOD BVLD
                  APT D
                  ELKHART IN 46517
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                  FOOD BANK OF LINCOLN INC
                  4840 DORIS BAIR CIRCLE STE A
                  LINCOLN NE 68504-1465



                  FORD, BRIANA
                  6850 HEATHWAY CT
                  BRYANS ROAD MD 20616



                  FORD, TENNICE R.
                  8201 PINE CROSSING CT
                  FORT WASHINGTON MD 20744



                  FOREMOST
                  4834 PARK GLEN RD
                  MINNEAPOLIS MN 55416



                  FORGETTE, ANDREA L.
                  2524 ELSIE
                  TOLEDO OH 43613



                  FORMAN GLASS LLC
                  5015 E MICHIGAN AVE
                  KALAMAZOO MI 49048



                  FORREST, CARISMA C.
                  2809 BELLBROOK STREET
                  TEMPLE HILLS MD 20748



                  FORSGREN, JESSICA S.
                  1310 RANDALL RD
                  ROCKFORD IL 61108



                  FORT WAYNE ALLEN COUNTY ECONOM
                  200 E MAIN ST STE 800
                  FORT WAYNE IN 46802
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                  FORT WAYNE COUNTY DEPARTMENT
                  OF HEALTH
                  200 E BERRY STREET STE 360
                  FORT WAYNE IN 46802



                  FORT WAYNE PROF BASEBALL LLC
                  1301 EWING ST
                  FORT WAYNE IN 46802



                  FORT WAYNE ZOOLOGICAL SOCIETY
                  3411 SHERMAN BLVD
                  FORT WAYNE IN 46808



                  FOSTER JR, JAMES
                  12219 CORBETT
                  DETROIT MI 48213



                  FOSTER MECHANICAL CORP
                  10452 BAUR BLVD
                  SAINT LOUIS MO 63132



                  FOSTER, DARREL
                  43569 BLACKSMITH SQUARE
                  ASHBURN VA 20147



                  FOSTER, DAVID
                  10234 HIBISCUS DRIVE
                  ORLAND PARK IL 60462



                  FOUAD BASHOUR
                  3879 MAPLE AVENUE
                  SUITE 400
                  DALLAS TX 75219



                  FOUNDATION FOR PRADER WILLI RE
                  340 S LEMON AVE STE 3620
                  WALNUT CA 91789
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                  FOUR DAY RAY BREWING LLC
                  11671 LANTERN ROAD
                  FISHERS IN 46038



                  FOUR SEASONS HEATING AIR CONDI
                  10841 METEA LANE
                  OSCEOLA IN 46561



                  FOWLER, KURTISS J.
                  219 12ST S
                  201
                  FARGO ND 58103



                  FOX FIRE SAFETY INC
                  4605 LINCOLNWAY EAST
                  MISHAWAKA IN 46544



                  FOX VALLEY FIRE& SAFETY CO INC
                  2730 PINNACLE DRIVE
                  ELGIN IL 60124



                  FOXX EQUIPMENT CO INC
                  421 SOUTHWEST BLVD
                  KANSAS CITY MO 64108-2184



                  FRAIRE MUNOZ, RENE M.
                  1301 67TH AVE N
                  205
                  MINNEAPOLIS MN 55430



                  FRAMES PEST CONTROL INC
                  4947 W ALEXIS
                  SYLVANIA OH 43560



                  FRANCIS PROPERTIES LLC
                  5507 VALLEY DR #6
                  BETTENDORF IA 52722
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                  FRANCIS PROPERTIES LLC
                  5507 VALLEY DRIVE
                  #6
                  BETTENDORF IA 52722



                  FRANCIS, CARLEY R.
                  1330 HIDDEN VALLEY DRIVE
                  BULGER PA 15019



                  FRANCIS, DILLON A.
                  11000 DELAWARE PARKWAY
                  UNIT 2207
                  KANSAS CITY KS 66109



                  FRANCIS, JASON S.
                  3121 NW 95ST
                  APT 3
                  MIAMI FL 33147



                  FRANCISCO R GARZA
                  911 KENMORE RD
                  ROCKFORD IL 61108



                  FRANCOIS, ALEXANDRIA S.
                  5540 LIVINGSTON TERRACE
                  APT 101
                  FORT WASHINGTON MD 20744



                  FRANGOULIS, ANGELA M.
                  2920 AMERICAN BEAUTY PL
                  NANJEMOY MD 20662



                  FRANK, MADISON L.
                  406 S BLUEGRASS DR
                  BONNER SPRINGS KS 66012



                  FRANKLIN MACHINE PRODUCTS INC
                  PO BOX 781570
                  PHILADELPHIA PA 19178
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                  FRANKLIN WATER & WASTEWATER
                  DEPT
                  PO BOX 306097
                  NASHVILLE TN 37230-6097



                  FRANKLIN, NICHOLAS
                  13830 W 131ST TERRACE
                  OLATHE KS 66062



                  FRATERNAL ORDER OF POLICE LDGE
                  130 AUXILIARY
                  2233 BURDETTE
                  FERNDALE MI 48220



                  FRATERNAL ORDER OF POLICE WAYN
                  2125 OLLADALE DR
                  FORT WAYNE IN 46808



                  FRED THE FIXER INC
                  309 SOUTH LINCOLN AVE
                  SIOUX FALLS SD 57104



                  FREDERICK GRANT
                  1100 N EUTAW ST
                  BALTIMORE MD 21201



                  FREDERICK, DAWSON
                  4315 STABLE PATH DRIVE
                  MAUMEE OH 43537



                  FREDLUND, JACOB A.
                  4271 LODGEPOLE DR.
                  SAINT PAUL MN 55122



                  FREDS HEATING AND AIR INC
                  6596 S 118TH STREET
                  OMAHA NE 68137
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                  FREED PLUMB INC
                  615 27TH STREET
                  ROCKFORD IL 61108



                  FREEDMAN ANSELMO LINDBER
                  PO BOX 3228
                  NAPERVILLE IL 60566



                  FREEDOM FRESH LLC
                  11001 NW 124TH STREET
                  MEDLEY FL 33178



                  FREEMYER, JORDAN M.
                  13450 WRIGHT STREET
                  OMAHA NE 68144



                  FREESE, PAIGE
                  15251 GREENHAVEN DR
                  242
                  BURNSVILLE MN 55306



                  FREIMANIS, ARNOLDS M.
                  270 BERKSHIRE LN
                  SUGAR GROVE IL 60554



                  FREITAG, ROYSE A.
                  2825 LEXINGTON AVENUE NO. #B
                  SAINT PAUL MN 55113



                  FREMONT AREA UNITED WAY
                  445 E 1ST STREET
                  FREMONT NE 68025



                  FRESH SCENTS OF IOWA
                  PO BOX 10933
                  CEDAR RAPIDS IA 52410-0933
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                  FRIEL, JOHN Z.
                  8228 ROSEBURY DRIVE
                  FRANKFORT IL 60423



                  FRIENDS HELPING FRIENDS INC
                  PO BOX 9764
                  CEDAR RAPIDS IA 52409



                  FRIENDS OF THE ASSATEAGUE STAT
                  PO BOX 375
                  BERLIN MD 21811



                  FRIENDS OF USHERS FERRY
                  PO BOX 11354
                  CEDAR RAPIDS IA 52406



                  FRIKER, ALANNA
                  2218 BEAUMONT CT
                  AURORA IL 60502



                  FRINKS SEWER & DRAIN
                  PO BOX 1004
                  ROCKFORD IL 61105



                  FRITZ, ANDREW A.
                  9955 N. BLUE PRAIRIE DR.
                  WHITEHOUSE OH 43571



                  FRITZ, CONNOR P.
                  29470 JOHN HAUK
                  GARDEN CITY MI 48135



                  FRITZ, GAVIN J.
                  29470 JOHN HAUK
                  GARDEN CITY MI 48135
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                  FRITZ, SEAN
                  29470 JOHN HAUK
                  GARDEN CITY MI 48135



                  FROMM, CAMERON D.
                  1103 WINTERBERRY LN
                  METAMORA IL 61548



                  FRONT 9 LLC
                  610 PARK SHORE DR
                  CASSOPOLIS MI 49031



                  FRONT STREET BREWERY INC
                  208 E RIVER DR
                  DAVENPORT IA 52801



                  FRONTIER
                  PO BOX 740407
                  CINCINNATI OH 45274-0407



                  FRONTIER BOOTERY INC
                  37495 KINGSBURN DR
                  LIVONIA MI 48152



                  FRYE, ANTONIA
                  455 TIMBER RIDGE CT
                  PERRYSBURG OH 43551



                  FRYE, TRAVIS N.
                  4128 OAKLAND AVE
                  MINNEAPOLIS MN 55408



                  FSS TECHNOLOGIES LLC
                  516 W CAMPUS DRIVE
                  ARLINGTON HEIGHTS IL 60004
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                  FUENTES, ISMAEL
                  9103 LUNAR AVE
                  APT 204
                  ORLAND PARK IL 60462



                  FUENTES, MARIA
                  2407 N 61 TERR.
                  KANSAS CITY KS 66104



                  FUENTES, SAMARA
                  2211 ABBEY DRIVE
                  APT 4
                  FORT WAYNE IN 46835



                  FUENTEZ, JACOB J.
                  10704 WAGON TRAIL CT
                  KANSAS CITY KS 66109



                  FULLER, AMANDA
                  813 W. SAINT JAMES ST
                  PEORIA IL 61606



                  FULLER, ASHLEY E.
                  14405 CUPPOLA DR
                  NOBLESVILLE IN 46060



                  FULLER, ERIC W.
                  15543 BLUE SKIES ST
                  LIVONIA MI 48154



                  FULLILOVE, CIARA
                  14167 GREENVIEW
                  DETROIT MI 48223



                  FUNES, GLADIS
                  3095 WOOSTER DR
                  BRYANS ROAD MD 20616
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                  FUNSE, KEVIN
                  5014 WHEELER RD
                  OXON HILL MD 20745



                  FURRY, MARISA P.
                  3610 FOX TAIL TRAIL NW
                  PRIOR LAKE MN 55372



                  G AND K SERVICES OMAHA
                  7813 SOLUTION CENTER
                  CHICAGO IL 60677-7008



                  G&K SERVICES
                  PO BOX 842385
                  BOSTON MA 02284-2385



                  G&K SERVICES
                  621 OLSON MEMORIAL HIGHWAY
                  MINNEAPOLIS MN 55405



                  GABRIEL RODRIGUEZ
                  552 SW 2NS ST APT #5
                  MIAMI FL 33130



                  GABRIEL TRUST
                  1113 MURFREESBORO RD
                  #106-224
                  FRANKLIN TN 37064



                  GAEBEL, TYLER J.
                  794 MONNENS AVE
                  SHAKOPEE MN 55379



                  GAIL MARIE CULBRETH
                  205 BOX HALL COURT
                  SAINT JOHNS FL 32259
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                  GAITAN, JOSE O.
                  220 N FOSS AVE
                  SIOUX FALLS SD 57110



                  GALAXY AMERICA
                  7431 SAWYER CIRCLE
                  UNIT 3
                  PORT CHARLOTTE FL 33981



                  GALBAVY, KYLE
                  1828 4TH STREET
                  MOLINE IL 61265



                  GALINDO, MARIO A.
                  2329 CASS STREET
                  FORT WAYNE IN 46808



                  GALINDO, STEPHEN D.
                  39309 LILLY CT
                  FARMINGTON MI 48331



                  GALLAGHER BENEFIT SVCS INC
                  2850 WEST GOLF ROAD
                  5TH FLOOR
                  ROLLING MEADOWS IL 60008



                  GALLATY, JESSICA L.
                  60 15TH AVE NTH
                  97
                  WAITE PARK MN 56387



                  GALLEGO, YAMILETTE
                  17730 SW 152 AVE
                  MIAMI FL 33177



                  GALLO, ARIANA
                  415 CLINES FORD DR
                  BELVIDERE IL 61008
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  GALLOWAY, JACOB A.
                  5501 WOODLAND AVE
                  WEST DES MOINES IA 50266



                  GALLUP INC
                  PO BOX 310284
                  DES MOINES IA 50331-0284



                  GALSTAD, RACHEL L.
                  914 6TH AVE S
                  APT 313
                  SAINT CLOUD MN 56301



                  GALSTAD, RACHEL L.
                  604 13TH STREET SE
                  EAST GRAND FORKS MN 56721



                  GALVEZ, ANTIOCO L.
                  254 BIRMINGHAM ST APT 2
                  SAINT PAUL MN 55106



                  GALVEZ, JOSHUA
                  444 N GRAY ST
                  INDIANAPOLIS IN 46201



                  GAMBOA, FABIOLA
                  2908 SE FREEDOM DRIVE
                  GRIMES IA 50111



                  GAMMONS, ALAYNA
                  2325 AUDREY MANOR COURT
                  WALDORF MD 20603



                  GANDARILLA, BRANDON
                  87 CONSER STREET
                  OLATHE KS 66061
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                  GARAY, ANDREW C.
                  1986 PERSIMMON CT
                  SCHAUMBURG IL 60193



                  GARBETT, DARIAN M.
                  1026 WEDGEWOOD LANE NORTH
                  SAINT PAUL MN 55123



                  GARCES, RODOLFO
                  5406 CHATEAU APT6
                  ROLLING MEADOWS IL 60008



                  GARCIA PEREZ, ALVARO
                  4941 TAMA ST
                  APT 1
                  MARION IA 52302



                  GARCIA PEREZ, ARTURO
                  4610 TAMA STREET SE #8
                  CEDAR RAPIDS IA 52403



                  GARCIA, ARMANDO
                  7601 GARRNETT #5
                  OVERLAND PARK KS 66204



                  GARCIA, BESSY E.
                  4805 HENDERSON ROAD
                  TEMPLE HILLS MD 20748



                  GARCIA, ERNESTO
                  2601 UNIVERSITY AVENUE SE #120
                  MINNEAPOLIS MN 55414



                  GARCIA, HUMBERTO
                  15 SIERRA CIRCO
                  OLATHE KS 66061
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                  GARCIA, JAZMYNE
                  1464 W 10TH ST
                  DAVENPORT IA 52804



                  GARCIA, JOSE E.
                  6261 OXIN HILL RD
                  301
                  OXON HILL MD 20745



                  GARCIA, JOSE JUAN J.
                  9824 IVELAND DR
                  SAINT LOUIS MO 63114



                  GARCIA, JUAN
                  25 11TH AVE. SOUTH
                  APT 1
                  WAITE PARK MN 56387



                  GARCIA, PATRICIA
                  2908 SE FREEDOM DR
                  GRIMES IA 50111



                  GARCIA, ROBERTO A.
                  802 CONSTITUTION DR APT A
                  HOMESTEAD FL 33034



                  GARDA CL GREAT LAKES INC
                  LOCKB#233209
                  3209 MOMENTUM PLACE
                  CHICAGO IL 60689-5332



                  GARDNER, CAMDEN
                  223 FRANKLIN ROAD
                  FRANKLIN TN 37064



                  GARDNER, TERMEICE
                  12910 SPRECHER AVE
                  CLEVELAND OH 44135
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                  GARDUNO, FELIPE
                  2214 EVERET AVE
                  KANSAS CITY KS 66102



                  GARLICK, SAVANA
                  923 7TH AVE S
                  MOORHEAD MN 56560



                  GARRETT, THOMAS M.
                  705 32ND AVE NORTH
                  APT 1
                  SAINT CLOUD MN 56303



                  GARST, PHOENIX C.
                  12245 S. STRANG LINE CT.
                  401
                  OLATHE KS 66062



                  GARZA, ANGELICA
                  233 GROVE STREET
                  SUGAR GROVE IL 60554



                  GARZA, FRANCISCO R.
                  911 KENMORE RD
                  ROCKFORD IL 61108



                  GARZA, OLIVIA A.
                  2012 PIERCE AVE
                  ROCKFORD IL 61103



                  GARZONY, MIA J.
                  145 GREENLEA DRIVE
                  CORAOPOLIS PA 15108



                  GASKET GUY LLC
                  980 REGENTS PARK DR
                  MONROE MI 48161
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                  GASKET GUY OF NASHVILLE LLC
                  503 SHARPE DRIVE
                  FRANKLIN TN 37064



                  GASKETS ROCK LLC
                  409 PARKWAY VIEW DRIVE
                  PITTSBURGH PA 15205



                  GATEWAY DOOR SECURITIES LLC
                  4014 CHOUTEAU AVE
                  SAINT LOUIS MO 63110



                  GATHER TECHNOLOGIES INC
                  715 PEACHTREE ST NE
                  ATLANTA GA 30308



                  GATOR CHEF INC
                  100 FRONTIER WAY
                  BENSENVILLE IL 60106-1124



                  GATZ, BENJAMIN J.
                  12808 S ARAPAHO DR
                  OLATHE KS 66062



                  GAUTHIER, WILLIAM R.
                  8370 ELMHURST
                  TEMPERANCE MI 48182



                  GAYTAN CINTORA, ANGEL
                  2414 N IDAHO ST
                  PEORIA IL 61604



                  GAYTAN CINTORA, JULIAN
                  2414 N IDAHO STREET
                  PEORIA IL 61604
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                  GAYTAN, CRISTIAN
                  14337 HONORE AVENUE
                  HARVEY IL 60426



                  GAYTAN, JUAN
                  14337 HONORE AVE
                  HARVEY IL 60426



                  GAZETTE NEWSPAPERS INC
                  PO BOX 482
                  TROY MI 48099



                  GC SERVICES LP
                  PO BOX 4148
                  HOUSTON TX 77210



                  GC WICHITA LP
                  201 N MINNESOTA AVENUE
                  SUITE 101
                  SIOUX FALLS SD 57104



                  GEAUGA COUNTY HUMANE SOCIETY
                  15463 CHILLICOTHE ROAD
                  NOVELTY OH 44072



                  GECKO HOSPITALITY
                  DEPARTMENT 4542
                  CAROL STREAM IL 60122-4542



                  GEE, CARLA P.
                  157 FLEET ST
                  PH14
                  OXON HILL MD 20745



                  GEEKS WHO DRINK LLC
                  PO BOX 674217
                  DALLAS TX 75287-4217
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  GEIBEL, SEAN W.
                  6860 COLFAX AVE
                  LINCOLN NE 68507



                  GEIKEN, SHELBY L.
                  3600 S WILLOW AVE
                  204
                  SIOUX FALLS SD 57105



                  GELLER, ERIK M.
                  20692 W. 112TH TERRACE
                  OLATHE KS 66061



                  GENE GRAY
                  24 QUAIL RIDGE DRIVE
                  MADISON WI 53717



                  GENERAL FIRE AND SAFETY
                  2431 FAIRFIELD STREET
                  SUITE A
                  LINCOLN NE 68521



                  GENERAL FIRE AND SAFETY EQUIP
                  5641 SOUTH 85TH CIRCLE
                  OMAHA NE 68127



                  GENERAL SECURITY SERVICES CORP
                  9110 MEADOWVIEW RD
                  MINNEAPOLIS MN 55425



                  GENOVESE CUTLERY LLC
                  10 LINDEN COURT
                  MORTON IL 61550



                  GENOVESE KNIFE CO INC
                  PO BOX 5548
                  PEORIA IL 61601
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                  GENZLER, BROOKE L.
                  17100 EVENTIDE WAY
                  FARMINGTON MN 55024



                  GEOULEKAS, ANTHONY
                  223 NORTH MAPLE STREET
                  MOUNT PROSPECT IL 60056



                  GEPFORD, THOMAS J.
                  911 MASSACHUSETTS ST.
                  C-10
                  LAWRENCE KS 66044



                  GERTKEN, CHASE
                  1208 SOMERSET BLVD
                  SAINT CLOUD MN 56303



                  GET FRESH PRODUCE INC
                  1441 BREWSTER CREEK BLVD
                  BARTLETT IL 60103



                  GETZ FIRE EQUIPMENT
                  PO BOX 419
                  PEORIA IL 61651-0419



                  GEYER RENTAL STCLOUD
                  1816 ST GERMAIN STREET
                  SAINT CLOUD MN 56301



                  GFSII LLC
                  PO BOX 3257
                  SAGINAW MI 48605



                  GGP NIMBUS LP
                  PO BOX 86
                  MINNEAPOLIS MN 55486-1495
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                  GGPLP PRIME LLC
                  PO BOX 776250
                  CHICAGO IL 60677-6250



                  GHA TECHNOLOGIES INC
                  DEPT 2090
                  PO BOX 29661
                  PHOENIX AZ 85038-9661



                  GIANANTONI, AUSTIN A.
                  4808 ESTER DR
                  FORT WAYNE IN 46816



                  GIANN PIERRE VAZQUEZ
                  2020 RINDLE CT
                  MURFREESBORO TN 37129



                  GIANT EAGLE INC
                  34310 AURORA RD
                  SOLON OH 44139



                  GIBSON, TREVOR
                  1900 COLFAX AVE
                  APT 3
                  MINNEAPOLIS MN 55403



                  GIBSON, VERONICA
                  1827 CENTRE POINTE
                  228
                  NAPERVILLE IL 60563



                  GIESEN, DEVON M.
                  4300 W KATHLEEN STREET
                  SIOUX FALLS SD 57107



                  GILBERTO HERNANDEZ
                  150 WEST 96TH STREET
                  INDIANAPOLIS IN 46260
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                  GILES, JASON
                  31 KASSEBAUM LANE
                  UNIT 307
                  SAINT LOUIS MO 63129



                  GILL ELEMENTARY PTA
                  21195
                  FARMINGTON MI 48335



                  GILLESPIE, SIRENA
                  9312 VIKING HILLS CO
                  INDIANAPOLIS IN 46250



                  GINA GALVAN
                  1310 E CHAPMAN AVE
                  FULLERTON CA 92831



                  GINEZ, DIEGO G.
                  505 PICCADYLLI #151
                  ANTIOCH TN 37013



                  GINN, SARAH E.
                  6479 PEYTONSVILLE ARNO RD
                  COLLEGE GROVE TN 37046



                  GIRL SCOUTS OF SOUTHEASTERN MI
                  1333 BREWERY PARK BLVD
                  STE 500
                  DETROIT MI 48207



                  GIRTON CO
                  735 S 2ND AVE
                  SIOUX FALLS SD 57104



                  GISEL, JESSE
                  125 E LOCUST ST.
                  DAVENPORT IA 52803
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                  GISELA LEMA
                  352 SOUTH AVENUE
                  BLOOMINGTON MN 55425-5527



                  GIVING TEENS GRACE
                  5109 LITCHFIELD RD
                  FORT WAYNE IN 46835



                  GKII NORTHLAND CENTER LLC
                  KBS/GK FUND II LP
                  3500 AMERICAN BLVD. W #200
                  MINNEAPOLIS MN 55431



                  GLAITZKY-GOETZ, ABIGAIL C.
                  12052 ASHWOOD DR
                  BENNINGTON NE 68007



                  GLAZER, AMY
                  1130 CRESTWOOD DRIVE
                  NORTHBROOK IL 60062



                  GLAZERS DISTRIBUTION
                  4377 NW 112TH ST
                  URBANDALE IA 50322



                  GLAZERS WHOLESALE OH FINTECH




                  GLEMBINE, ROLAND
                  1345 W. 60TH ST.
                  DAVENPORT IA 52806



                  GLENVIEW CHAMBER OF COMMERCE
                  2222 CHESTNUT STE 100
                  GLENVIEW IL 60026
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                  GLICK, SHARLA T.
                  1100 SAND CHERRY LN
                  HUXLEY IA 50124



                  GLINSKY, NICHOLE
                  5125 VINE STREET
                  805
                  LINCOLN NE 68504



                  GLOBAL DISTRIBUTING INC
                  47498 MONARCH LANE
                  RENNER SD 57055



                  GLOBAL HEALTH SYSTEMS
                  FOUNDATION INC
                  7639 BAYVIEW CLUB DR STE 1 B
                  CINCINNATI OH 45250



                  GLOVER, CHANTELL
                  10704 ESPRIT
                  WHITE PLAINS MD 20695



                  GLST ENTERPRISES INC
                  730 NORTH WESTWOOD AVENUE
                  TOLEDO OH 43607



                  GOCHENOUR, MIKAYLA R.
                  425 NORTH 117TH COURT
                  APT. 10
                  OMAHA NE 68154



                  GOCHEZ, DELFINO C.
                  3025 PORTLAND LAKE
                  MINNEAPOLIS MN 55407



                  GODINEZ, MARIA
                  7749 SEWARD STREET
                  OMAHA NE 68114
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                  GODINEZ, MARIO E.
                  1335 N 47TH ST
                  16
                  LINCOLN NE 68503



                  GODOY, LORENZO A.
                  8102 KERBY PARKWAY CT
                  FORT WASHINGTON MD 20744



                  GOERING, RANDY P.
                  1596 CONCORDIA AVE
                  SAINT PAUL MN 55105



                  GOLD COAST BEV
                  DISTRIBUTORS FINTECH



                  GOLD, KIEHL L.
                  1025 DONNIE COURT
                  LINCOLN NE 68522



                  GOLDEN BOY PIES INC
                  4945 HADLEY ST
                  OVERLAND PARK KS 66203



                  GOLDEN RULE INC
                  804 NE MAIN ST
                  GRIMES IA 50111



                  GOLDEN, BRODERICK N.
                  2417 BERKLEY AVE
                  FORT WAYNE IN 46815



                  GOLDMAN, ASHLEY R.
                  2630 COLCHESTER RD
                  APT 2
                  CLEVELAND OH 44106
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                  GOLDNER, ERIC
                  1600 ANTIETAM AVE.
                  1616
                  DETROIT MI 48207



                  GOMEZ, ALEXYS
                  623 BRUCE STREET
                  ROCKFORD IL 61103



                  GOMEZ, IVAN
                  4480 SCARLET OAK DR
                  ROCKFORD IL 61109



                  GOMEZ, MAURO A.
                  2663 MINERVA ST
                  WARREN MI 48091



                  GOMEZ, MAYDA
                  1533 S 21ST ST
                  APT 3
                  LINCOLN NE 68502



                  GOMEZ, MAYDA
                  6510 HOLDREGE ST. #4
                  LINCOLN NE 68505



                  GOMEZ-JIMINEZ, MARIANA
                  1636 HOLLYWOOD AVE.NE.
                  MINNEAPOLIS MN 55418



                  GONZALEZ YANEZ, ENRIQUE ARGEO
                  1701 W. 89TH ST.
                  MINNEAPOLIS MN 55431



                  GONZALEZ, CHELSEA
                  1202 EAST BORLEY AVE
                  MISHAWAKA IN 46545
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                  GONZALEZ, DIEGO F.
                  15610 SW 80TH ST
                  J108
                  MIAMI FL 33193



                  GONZALEZ, EDGAR
                  827 OAKTON AVE
                  ROMEOVILLE IL 60446



                  GONZALEZ, EDUARDO
                  148 KINGSTON ROAD
                  BOLINGBROOK IL 60440



                  GONZALEZ, ERNESTO
                  743 BLAINE
                  PONTIAC MI 48340



                  GONZALEZ, HECTOR
                  2930 S 93RD PLAZA #2
                  OMAHA NE 68124



                  GONZALEZ, JOCELYN J.
                  5200 SW 115 AVENUE
                  MIAMI FL 33165



                  GONZALEZ, JONATHAN A.
                  314 WILDBERRY CT
                  UNIT 2A
                  CHILLICOTHE IL 61523



                  GONZALEZ, JUAN
                  180 JACOBSON AVE
                  GLENDALE HEIGHTS IL 60139



                  GONZALEZ, LIDIA E.
                  7110 E INWOOD ST
                  HYATTSVILLE MD 20785
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  GONZALEZ, MARTIN
                  420 3RD STREET
                  WEST DES MOINES IA 50265



                  GONZALEZ, MATEO
                  1660 SE GREENBRIAR CIRCLE
                  WAUKEE IA 50263



                  GONZALEZ, SAMARIA K.
                  15404 ROWENA AVE
                  MAPLE HEIGHTS OH 44137



                  GONZALEZ, TANISHA
                  11180 SE 107 ST #107
                  MIAMI FL 33176



                  GOODRICH, DERRICK P.
                  1870 CHAMPLAIN DR
                  NILES MI 49120



                  GOODWIN TUCKER
                  PO BOX 3285
                  DES MOINES IA 50316-0285



                  GOODWIN, CHARLOTTE I.
                  7196 CHESTER RD.
                  FAIRVIEW TN 37062



                  GOODWIN, WARREN
                  942 11TH STREET NE
                  CEDAR RAPIDS IA 52402



                  GOOSEBERRY PARK PLAYERS INC
                  PO BOX 362
                  MOORHEAD MN 56561-0362
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                  GOPHER KEGS LLC
                  595 SE GLENWOOD DR
                  BEND OR 97702



                  GORDON, BETHANY
                  3432 HARDWAY LANE
                  SPRING HILL TN 37174



                  GORDON, LACEE A.
                  5319 SOUTH UNION STREET
                  DES MOINES IA 50315



                  GORE, ASHLEY M.
                  15466 RUTHERFORD UNIT 2
                  DETROIT MI 48227



                  GORENFLO, THOMAS
                  1241 HAMPSHIRE DEIVE
                  CANTON MI 48188



                  GORSUCH, ERIN
                  10122 MOON VALLEY DR
                  FORT WAYNE IN 46825



                  GOSS, SARAH M.
                  1319 CITATION CIR S
                  LEBANON IN 46052



                  GOULD STAINLESS
                  #1141 6027 79 AVE SE
                  CALGARY



                  GOUTTIERE, JOHN W.
                  8066 BRIDGEHAMPTON DR.
                  WATERVILLE OH 43566
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                  GOVDOCS
                  PO BOX 9202
                  VB BOX 167
                  MINNEAPOLIS MN 55480-9202



                  GOVERNORS STATE UNIVERSITY
                  ONE UNIVERSITY PARKWAY
                  PHYSICAL THERAPY STUDENT ASSN
                  UNIVERSITY PARK IL 60466



                  GOW DESIGNS INC
                  7351 NW 7TH STREET
                  UNIT H
                  MIAMI FL 33126



                  GOZALES, DAVID
                  3210 LONGFELLOW AVE.
                  MINNEAPOLIS MN 55407



                  GRACIDA SANTOS, FILADELFO
                  5600 ASTER LANE
                  #322
                  ROLLING MEADOWS IL 60008



                  GRAHAM, CAROLYN D.
                  8401 MIMOSA AVE
                  CLINTON MD 20735



                  GRAHAM, JENNIFER A.
                  1756 E. LACONA AVENUE
                  DES MOINES IA 50320



                  GRAINGER (MO)
                  PO BOX 419267
                  DEPT 870433620
                  KANSAS CITY MO 64141-6267
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                  GRAINGER IL REMIT
                  DEPT 772-856649504
                  PALATINE IL 60038-0001



                  GRAINGER INC
                  DEPT 875813388
                  PALATINE IL 60038-0001



                  GRAINGER, BAILEY A.
                  435 WHISTLER CV
                  FRANKLIN TN 37067



                  GRALEY, BRYAN D.
                  896 ASHLAND AVENUE
                  SAINT PAUL MN 55104



                  GRANADO, FRANCISCO A.
                  1002 MARCY AVENUE
                  OXON HILL MD 20745



                  GRAND RESTAURANT EQUIPMENT &
                  DESIGN
                  PO BOX 30156
                  OMAHA NE 68103-1256



                  GRANITE CITY ARMORED CAR INC
                  PO BOX 295
                  SAUK RAPIDS MN 56379



                  GRANITE CITY FOOD AND BREWERY




                  GRANITE CITY WICHITA WEST LLC
                  PO BOX 1363
                  C/O HAGEN COMMERCIAL REAL EST
                  SIOUX FALLS SD 57101-1363
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                  GRANITE TELECOMMUNICATIONS LLC
                  PO BOX 983119
                  CLIENT ID #311
                  BOSTON MA 02298-3119



                  GRAPHIC ALLIANCE INC
                  600 NORTHGATE PKWY STE G
                  WHEELING IL 60090



                  GRASSCO INC
                  4121 HILLEGAS RD
                  FORT WAYNE IN 46808



                  GRAVES, LILLIAN
                  15486 S. ACUFF LN.
                  OLATHE KS 66062



                  GRAVES, TYLER
                  15486 S ACUFF LN
                  OLATHE KS 66062



                  GRAY JR., DEMARCO D.
                  735 WEST 15TH ST.
                  DAVENPORT IA 52804



                  GRAY, ANDRE S.
                  1300 15TH ST N
                  UNIT 4
                  SAINT CLOUD MN 56303



                  GRAYUM, NEIL
                  1324 28TH STREET
                  ROCKFORD IL 61108



                  GREAR, ALEXUS
                  1325 CORAL GARDENS CT
                  CAPITOL HEIGHTS MD 20743
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                  GREAT BABIES RESCUE INC
                  2586 S COUNTY RD 225 W
                  PAOLI IN 47454



                  GREAT LAKES BEVERAGE




                  GREAT LAKES COCA COLA
                  DISTRIBUTION LLC
                  PO BOX 809082
                  CHICAGO IL 60680-9082



                  GREAT LAKES CONTRACTING INC
                  440 ARCO DR
                  TOLEDO OH 43607



                  GREAT LAKES WATER AUTHORITY
                  PO BOX 441370
                  ATTN TREASURY
                  DETROIT MI 48224-1370



                  GREAT LAKES WINE &
                  SPIRITS FINTECH



                  GREAT OAKS MAINTENANCE AND HOR
                  28025 SAMUEL LINDEN COURT
                  NOVI MI 48377



                  GREAT PYRENEES CLUB
                  8 GERMAN SQUARE
                  PITTSBURGH PA 15203



                  GREAT WEST LIFE AND ANNUITY IN
                  8515 E ORCHARD RD
                  7T2 CORPORATE TAX DEPT
                  GREENWOOD VILLAGE CO 80111
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                  GREAT WESTERN BANK
                  225 SOUTH MAIN AVENUE
                  SIOUX FALLS SD 57104



                  GREAT WESTERN MALTING CO INC
                  PO BOX 51602
                  LOS ANGELES CA 90051-5902



                  GREATER FORT WAYNE INC
                  CHAM OF COMMERCE
                  PO BOX 10134
                  FORT WAYNE IN 46850



                  GREATER PITTSBURGH COMMUNITY F
                  1 NORTH LINDEN ST
                  DUQUESNE PA 15110



                  GREELEY, JACK J.
                  631 WATERSEDGE TERRACE
                  SAINT PAUL MN 55120



                  GREEN, EVA M.
                  1529 GREENWOOD CT N
                  SAINT PAUL MN 55122



                  GREEN, JACOB W.
                  2512 MONROE ST NE
                  MINNEAPOLIS MN 55418



                  GREEN, JAHMALL A.
                  316 YORKSHIRE BLVD
                  208
                  DEARBORN HEIGHTS MI 48127



                  GREEN, MELISSA
                  4315 NORTHEAST 83RD STREET
                  KANSAS CITY MO 64119
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                  GREENE, JENNIFER L.
                  2221 EUCLID AVE
                  BELOIT WI 53511



                  GREENERAS
                  PO BOX 942318
                  MIAMI FL 33184



                  GREER, JORDAN L.
                  501 7TH ST S
                  UNIT 2B
                  FARGO ND 58109



                  GREER, PETER
                  716 CORONATION GARDENS
                  SOUTH BEND IN 46637



                  GREG JONES
                  1804 PARKWILD #10
                  COUNCIL BLUFFS IA 51503



                  GREG NEUTZ
                  9412 UNITY LANE N
                  BROOKLYN PARK MN 55443



                  GREGORY L ANDREWS
                  1964 B AVE NE
                  CEDAR RAPIDS IA 52402



                  GREGORY WILSON
                  22955 WEST 244TH STREET
                  PAOLA KS 66071



                  GREGS LAWN SERVICE INC
                  1200 CONTINENTAL PLACE NE
                  CEDAR RAPIDS IA 52402
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                  GREGSON CONSTRUCTION INC
                  4545 MEADOW VALLEY DR
                  WEST DES MOINES IA 50265



                  GREY EAGLE CREVE COEUR
                  2340 MILLSPARK DRIVE
                  MARYLAND HEIGHTS MO 63043



                  GRIFFITH, CRISTEN R.
                  2123 BUCKINGHAM DRIVE NW
                  #1
                  CEDAR RAPIDS IA 52405



                  GRIFFITH, MOLLY
                  605 SECOND STREET
                  APT G
                  BOWLING GREEN OH 43402



                  GRIFFITHS, ELISE M.
                  5766 BROCKTON CT
                  INDIANAPOLIS IN 46220



                  GRIGSBY, JUSTIN L.
                  333 11TH AVE NORTH
                  A2
                  FRANKLIN TN 37064



                  GRIJALBA, SARA
                  1425 HANSON DRIVE
                  FRANKLIN TN 37067



                  GRINAGER, WHITNEY
                  6400 SYCAMORE LANE N
                  OSSEO MN 55369



                  GRINDING CO OF AMERICA INC
                  105 ANNABEL AVE
                  BALTIMORE MD 21225
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                  GROBE, ALEXANDRA J.
                  921 S. MAIN ST. LOT 64
                  LANSING KS 66043



                  GROEBNER, DANIEL J.
                  133 18TH AVE N
                  SAINT CLOUD MN 56303



                  GROGANS BEER
                  840 4TH AVE
                  CORAOPOLIS PA 15108



                  GROOMS, STACY E.
                  1099 LEAHY CIRCLE
                  DES PLAINES IL 60016



                  GROTE-BURNSTAD, ALEX R.
                  18 1ST WEST FARGO 1 TOP FLOOR
                  APT 1
                  WEST FARGO ND 58078



                  GROTHEER, MATTHEW J.
                  19600 CONSER
                  STILWELL KS 66085



                  GROULX, TAYLOR E.
                  25890 MAY STREET
                  EDWARDSBURG MI 49112



                  GROUP O PACKAGING SOLUTIONS
                  PO BOX 860144
                  MINNEAPOLIS MN 55486-0144



                  GROVE, MADISON P.
                  614 PORTLAND AVE
                  APT 301
                  SAINT PAUL MN 55102
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                  GROVER, KATHLEEN
                  2115 PRENTISS DR
                  106
                  DOWNERS GROVE IL 60516



                  GRUBA, BRANDON M.
                  912 5TH ST NE
                  RICE MN 56367



                  GRUNDY, MEGAN E.
                  4301 CHURCHILL DR
                  MARION IA 52302



                  GUADALUPE GAYTAN
                  7825 COPPER LEAF LN
                  MADISON WI 53719



                  GUAMAN, JUAN A.
                  2917 SOUTH 28TH AVE
                  APT 1
                  MINNEAPOLIS MN 55406



                  GUARDADO, JOSE R.
                  1081 VILLA PARK DR
                  TROY MI 48085



                  GUARDIAN FIRE PROTECTION SERVI
                  7668 STANDISH PLACE
                  ROCKVILLE MD 20855



                  GUDE, ANDREW P.
                  505 8TH STREET
                  APT 11
                  AMES IA 50010



                  GUERRA, ANNABEL
                  5525 SW 112 COURT
                  MIAMI FL 33165
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                  GUERRA, MAXIMILIAN J.
                  2440 SW 124 AVE
                  MIAMI FL 33175



                  GUERRA, XENIA Y.
                  9003 CONGRESS PL.
                  HYATTSVILLE MD 20785



                  GUERRERO, CHRISTIE A.
                  8622 WALKER AVE
                  KANSAS CITY KS 66112



                  GUERRETTE, MEGAN A.
                  8138 SILVERSTONE DRIVE
                  WATERVILLE OH 43566



                  GUERRETTE, NICHOLAS
                  8138 SILVERSTONE DRIVE
                  WATERVILLE OH 43566



                  GUETTER, HALEY
                  3475 GOLFVIEW DRIVE
                  216
                  SAINT PAUL MN 55123



                  GUISINGER, KACIA
                  1730 40TH AVE. S
                  214
                  MOORHEAD MN 56560



                  GUITIERREZ, ROLANDO
                  322 N MONROE ST
                  OLATHE KS 66061



                  GULED, SHARMAKE
                  713 MACKUBIN
                  APT 1
                  SAINT PAUL MN 55103
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                  GUNN, NICHOLAS J.
                  11325 DECATUR PLZ
                  821
                  OMAHA NE 68154



                  GURSTEL LAW FIRM PC
                  6681 COUNTRY CLUB DR
                  GOLDEN VALLEY MN 55427



                  GUTERMUTH, GARRETT K.
                  15080 LONGBRIDGE DRIVE
                  GRANGER IN 46530



                  GUTIERREZ, WENDY E.
                  16602 ROLLING TREE RD
                  ACCOKEEK MD 20607



                  GUYTON, JAVYIER
                  940 WOODWARD AVENUE, APT. 4
                  MC KEES ROCKS PA 15136



                  GUZMAN, JOSE L.
                  5144 TRUEMPER WAY APT 6
                  FORT WAYNE IN 46835



                  GUZMAN, TATIANA
                  2206 HUNTINGTON AVE
                  SAINT LOUIS MO 63114



                  GUZMAN, WILLIAM
                  4620 LOUISIANA AVE.
                  MINNEAPOLIS MN 55428



                  GUZMAN, YENSI
                  2206 HUNTINGTON AVE
                  SAINT LOUIS MO 63114
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                  GW KENT INC MG
                  PO BOX 674703
                  DETROIT MI 48267-4703



                  H AND B SERVICES LLC
                  4027 CLAY PLACE NE
                  WASHINGTON DC 20019



                  H AND D MECHANICAL LLC
                  7703 CRAIN HIGHWAY
                  UPPER MARLBORO MD 20772



                  H AND S DISTRIBUTION LLC
                  601 S CAROLINE STREET
                  BALTIMORE MD 21231



                  HA, DENNY
                  3501 1ST STREET NORTH
                  SAINT CLOUD MN 56303



                  HAAS, BRITTANY
                  436 SOUTH DORCAS RD
                  HOLLAND OH 43528



                  HABER, AMANDA
                  2582 QUEENSTON RD.
                  CLEVELAND OH 44118



                  HABERSTROH, CHRISTOPHER
                  12535 ROTH HILL DR.
                  MARYLAND HEIGHTS MO 63043



                  HABIGER, BARBARA
                  16018 GLEASON LAKE RD.
                  WAYZATA MN 55391
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                  HABITAT FOR HUMANITY
                  OF OAKLAND CNTY
                  150 OSMUN STREET
                  PONTIAC MI 48342



                  HABITAT FOR HUMANITY SAINT LOU
                  3830 S GRAND BLVD
                  SAINT LOUIS MO 63118



                  HAGEDORN, CHRISTINA M.
                  415 LEFFLER DR
                  INDIANAPOLIS IN 46231



                  HAGEMEYER, KELSEY M.
                  5000 NOB HILL DRIVE
                  MINNEAPOLIS MN 55439



                  HAIAR, MEGAN L.
                  1701 S KATIVE AVE
                  303
                  SIOUX FALLS SD 57106



                  HALABI, ANDREA N.
                  1213 HUDSON
                  PEORIA IL 61604



                  HALE, CASEY M.
                  2173 ST. CLAIR AVE
                  SAINT PAUL MN 55105



                  HALEY MURPHY
                  5709 MEADOWS DR
                  FORT WAYNE IN 46804



                  HALEY STONEBARGER
                  1010 ASHFORD DRIVE NE
                  CEDAR RAPIDS IA 52402
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                  HALF WAY HOME ANIMAL RESCUE IN
                  PO BOX 494
                  ORLAND PARK IL 60462



                  HALIBURTON, CLAYTON C.
                  5441 HARAS PL
                  FORT WASHINGTON MD 20744



                  HALL, CANZANIA L.
                  4194 WILLIAMS WHARF RD
                  PRINCE FREDERICK MD 20678



                  HALL, CORDEL M.
                  719 23RD AVENUE N.
                  SAINT CLOUD MN 56301



                  HALL, JESSE J.
                  519 GREENLAWN AVENUE
                  FORT WAYNE IN 46808



                  HALL, SYKIRRA
                  21 ROBSHIRE MANOR RD
                  HUNTINGTOWN MD 20639



                  HALLETT, BENJAMIN A.
                  210 WEST BROADWAY ST
                  MAUMEE OH 43537



                  HALLMAN, DARBY C.
                  240 WHISPERING OAKS DR.
                  METAMORA IL 61548



                  HAMCO BUSINESS INFORMATION
                  SUPPLIES
                  137 WELDON PARKWAY
                  MARYLAND HEIGHTS MO 63043
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                  HAMEED, JOSEFINA R.
                  1464 W 10TH ST
                  DAVENPORT IA 52804



                  HAMILTON COUNTY
                  HEALTH DEPARTMENT
                  18030 FOUNDATION DR SUITE A
                  NOBLESVILLE IN 46060



                  HAMILTON ELEMENTARY SCHOOL
                  5625 NORTHFIELD PARKWAY
                  TROY MI 48098



                  HAMILTON, KIYARAH L.
                  5437 HARAS PL
                  FORT WASHINGTON MD 20744



                  HAMILTON, TAYLOR M.
                  905 N STEPHENSON HWY
                  36
                  ROYAL OAK MI 48067



                  HAMM-COYNE, JASMYN
                  12785 ABBEY LAKE DRIVE
                  DETROIT LAKES MN 56501



                  HAMMERSCHMIDT, TATUM
                  7721 166TH STREET
                  TINLEY PARK IL 60477



                  HAMNMERHEART LLC
                  HAMMERHEART BREWING COMPANY
                  7785 LAKE DRIVE
                  LINO LAKES MN 55014



                  HAMPTON, ASHLYNN
                  1601 EAGLES CREST AVE
                  E6
                  DAVENPORT IA 52804
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                  HANCOCK, WILLIAM J.
                  1112 A AVE NW
                  CEDAR RAPIDS IA 52405



                  HANDER INC
                  2407 W 5TH STREET
                  SIOUX FALLS SD 57104-5673



                  HANEGRAAF, PAIGE
                  8317 NORWOOD LN N
                  OSSEO MN 55369



                  HANKEY, DONALD E.
                  629 A AVE NW
                  APT F
                  CEDAR RAPIDS IA 52405



                  HANKINS, AUTUMN N.
                  2214 W ARROWHEAD LANE
                  PEORIA IL 61604



                  HANNEN, MARK D.
                  3559 MULLIGAN DR
                  WOODRIDGE IL 60517



                  HANSEN, KARINA M.
                  5119 S MARION ROAD
                  UNIT 112
                  SIOUX FALLS SD 57106



                  HANSEN, SARAH LAYCEE
                  4732 UPLAND CREST NE
                  MINNEAPOLIS MN 55421



                  HANSEN, TAYLER D.
                  5060 R ST.
                  1105
                  LINCOLN NE 68504
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                  HANSON, TODD AND LORI
                  13846 SD HWY 40
                  HERMOSA SD 57744



                  HANSSEN, CATHERINE J.
                  4708 W. 15TH PL.
                  SIOUX FALLS SD 57106



                  HANTZ, MERCEDES R.
                  1602 32ND ST
                  ROCK ISLAND IL 61201



                  HARBOR SAINTS INC
                  1431 POTOMAC HEIGHTS DR
                  FORT WASHINGTON MD 20744



                  HARBORLIFE GROUP LLC
                  603 BAY FRONT DRIVE
                  FORT WASHINGTON MD 20744



                  HARD CORE BEV INC
                  2 FOOLS CIDER
                  1665 QUINCY AVE #155
                  NAPERVILLE IL 60540



                  HARDAWAY, SHAWN
                  26151 LAKESHORE BLVD
                  #1415 WEST BUILDING
                  EUCLID OH 44132



                  HARDEN, TAMARA
                  1929 GREEN ROAD
                  APT 503
                  CLEVELAND OH 44121



                  HARDING, KAILEY M.
                  6246 N 155TH ST
                  OMAHA NE 68116
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                  HARDWICK, MYLES J.
                  8016 CAREY BRANCH PL
                  FORT WASHINGTON MD 20744



                  HAROLD CASTNER
                  1031 N BEVILLE AVE
                  INDIANAPOLIS IN 46201



                  HAROLD T GODFREY JR
                  16780 SW 278 ST
                  HOMESTEAD FL 33031



                  HARRINGTON, DARRYL D.
                  4323 3RD STREET SOUTHEAST #204
                  WASHINGTON DC 20032



                  HARRINGTON, HOLLIE
                  498 CANTERBURY TRL
                  ROSELLE IL 60172



                  HARRIS, DAMON
                  27267 LEHIGH ST.
                  INKSTER MI 48141



                  HARRIS, JARED D.
                  630 NORTH 4TH STREET
                  LE CLAIRE IA 52753



                  HARRIS, SHEREY
                  5609 SACHEM DR.
                  OXON HILL MD 20745



                  HARRISON, CHARLIE E.
                  1100 WEST MAIN STREET
                  D6
                  FRANKLIN TN 37064
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                  HARTSHORN, PATRICK J.
                  398 3RD AVENUE SOUTH
                  SAINT CLOUD MN 56301



                  HARTZ, SARAH
                  1079 13TH ST.
                  MARTELLE IA 52305



                  HARVARD MAINTENANCE INC
                  201 S BISCAYNE BLVD
                  24TH FLOOR
                  MIAMI FL 33131



                  HARVEY, DEJWAN E.
                  16190 LOWELL DR
                  312
                  SOUTHGATE MI 48195



                  HATCHETT, NATHANAEL B.
                  2204 DRYDEN CT
                  WALDORF MD 20601



                  HATTON, MARINA S.
                  6701 DUNNIGAN DRIVE
                  CLINTON MD 20735



                  HAUGLAND, ALBERT
                  1510 WEST 86TH STREET
                  MINNEAPOLIS MN 55431



                  HAUSERS WATER SYSTEMS INC
                  PO BOX 28
                  MANCHESTER IA 52057-0028



                  HAVELKA, STEPHANIE
                  26746 ARLINGTON ST
                  ROSEVILLE MI 48066
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                  HAVEN INC
                  801 VANGUARD DR
                  PONTIAC MI 48341



                  HAWKEYE COMM/FANDEL ALARMS
                  1485 HAWKEYE DRIVE
                  HIAWATHA IA 52233



                  HAWKEYE ELECTRIC
                  1711 HAWKEYE DRIVE
                  HIAWATHA IA 52233



                  HAWKEYE FIRE& SAFETY CO
                  716 OAKLAND ROAD NE
                  CEDAR RAPIDS IA 52402



                  HAWKINS, AMANDA R.
                  1018 39TH ST SE
                  CEDAR RAPIDS IA 52403



                  HAWKINS, SKY S.
                  4950 BLAINE STREET NE
                  WASHINGTON DC 20019



                  HAWLEY, RIVER K.
                  1022 MONTE CARLO DRIVE NORTH
                  FARGO ND 58103



                  HAWTHORNE, ELAINA T.
                  8745 RIVER HEIGHTS WAY
                  INVER GROVE HEIGHTS MN 55076



                  HAYES BEER FINTECH




                  HAYES BEER ROCKFORD FINTECH
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                  HAYES, BRIAN J.
                  5971 BLANDFORD RD
                  BLOOMFIELD HILLS MI 48302



                  HAYES, DEZMOND
                  13501 PISCATAWAY DR.
                  FORT WASHINGTON MD 20744



                  HAYES, LINDSAY
                  2610 OAK GROVE LANE
                  ROCKFORD IL 61108



                  HAYES, MAKENNA
                  1720 N LENNOX ST
                  2A
                  OLATHE KS 66061



                  HAYWARD, REBECCA D.
                  17701 NW 40TH STREET
                  RAYMOND NE 68428



                  HEADING, CLEARN S.
                  3410 BRINKLEY ROAD
                  APT 201
                  TEMPLE HILLS MD 20748



                  HEALTH AND HOSPITAL CORP
                  3840 N SHERMAN DR
                  INDIANAPOLIS IN 46226



                  HEALTH MISSIONS
                  PO BOX 3614
                  PEORIA IL 61614



                  HEALY BIODIESEL INC
                  11130 W 47TH SOUTH
                  CLEARWATER KS 67026
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                  HEARTLAND ANIMAL SHELTER NFP
                  2975 MILWAUKEE AVE
                  NORTHBROOK IL 60062



                  HEARTLAND BEVERAGE LLC
                  10038 BODE ST #3
                  PLAINFIELD IL 60585



                  HEARTLAND GASKETS INC
                  848 I AVENUE
                  OGDEN IA 50212



                  HEARTLAND GLASS CO INC
                  401 SUNDIAL DR
                  WAITE PARK MN 56387



                  HEARTLAND INC
                  8137 SANTA FE DR
                  OVERLAND PARK KS 66204



                  HEASTINGS, SABRINA
                  3236 CALIFORNIA AVENUE
                  PITTSBURGH PA 15212



                  HEATHER L POSEY
                  1721 ACCOKEEK RD W
                  ACCOKEEK MD 20607



                  HEATHER N ROBERTS
                  3111 SE 19TH ST
                  DES MOINES IA 50320



                  HEDLUND, EMILEE
                  1926 SOUTH TRAINER R
                  ROCKFORD IL 61108
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                  HEIDELBERG DIST CLEVELAND FIN




                  HEIDELBERG DIST TOLEDO FINTECH




                  HEIGEL, ASHLEY
                  428 LINDY BLVD
                  BALLWIN MO 63021



                  HEIGHTSHILLCREST REGIONAL CHAM
                  4320 MAYFIELD RD
                  STE 212
                  CLEVELAND OH 44121



                  HEINEKEN USA INC
                  360 HAMILTON AVE
                  WHITE PLAINS NY 10601



                  HEIPLE, JACOB
                  832 NEELY HEIGHTS AVE
                  CORAOPOLIS PA 15108



                  HELGESON, AARON J.
                  3000 UNIVERSITY AVE.
                  APT 3208
                  WEST DES MOINES IA 50266



                  HELLERUD, JAROD L.
                  100 1ST ST EAST
                  210
                  ADA MN 56510



                  HELMIN, HAILEY J.
                  109 14TH ST S
                  FARGO ND 58103
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                  HENDERSON, CAILEY M.
                  22277 138TH AVE N
                  ROGERS MN 55374



                  HENDERSON, PAUL
                  1430 E BEARDSLEY AVE
                  ELKHART IN 46514



                  HENDERSON, TYNIC
                  4218 LOIS
                  DEARBORN MI 48126



                  HENDRICK, EBONI T.
                  11609 ZAREH DR.
                  CLINTON MD 20735



                  HENMAN, MICKAYLA M.
                  3725 CARDINAL LANE
                  FORT WAYNE IN 46815



                  HENNEPIN CNTY ENVIRONMENTAL
                  HEALTH
                  1011 FIRST ST SOUTH STE 215
                  HOPKINS MN 55343



                  HENNEPIN HEALTH FOUNDATION
                  701 PARK AVE P1
                  MINNEAPOLIS MN 55415



                  HENRY FORD HEALTH SYSTEM
                  1 FORD PLACE
                  FRANKLIN MI 48025



                  HENRY, GRANT J.
                  6960 RONNEBY ROAD NW
                  FOLEY MN 56329
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                  HENRY, KATHERINE J.
                  21808 S. VINE ST
                  SPRING HILL KS 66083



                  HENSLEE, JACCAMO P.
                  210 GLASGOW LANE UNIT Z1
                  SCHAUMBURG IL 60194



                  HENSLEY, JOSIE M.
                  4701 NE PARVIN RD
                  KANSAS CITY MO 64117



                  HENSLEY, TODD
                  6100 SE 5TH STREET
                  DES MOINES IA 50315



                  HENSON, SARA A.
                  1435 WEST JESSAMINE AVE
                  205
                  SAINT PAUL MN 55108



                  HEREDIA, ANJELITA M.
                  3225 HOAGLAND AVE
                  FORT WAYNE IN 46807



                  HEREDIA, BIANCA K.
                  809 NORTHWOOD BOULEVARD
                  FORT WAYNE IN 46805



                  HERITAGE WINE CELLARS
                  6600 W HOWARD ST
                  NILES IL 60714



                  HERNANDEZ GARAY, EUNICE I.
                  2190 PASCAL STREET
                  APT 103
                  SAINT PAUL MN 55113
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                  HERNANDEZ, ALEXANDER
                  32397 COUNCIL DR
                  25C
                  MADISON HEIGHTS MI 48071



                  HERNANDEZ, ALVARO
                  10751 PAGE AVE
                  SAINT LOUIS MO 63132



                  HERNANDEZ, CARLY
                  126 N. RACE ST
                  MISHAWAKA IN 46544



                  HERNANDEZ, DUINA V.
                  5652 HURON STREET
                  PRIOR LAKE MN 55372



                  HERNANDEZ, GILBERTO
                  8630 MALAGA DR.
                  INDIANAPOLIS IN 46250



                  HERNANDEZ, HUGO
                  8321 JEFFERSON AVE
                  SAINT LOUIS MO 63114



                  HERNANDEZ, JENNIE
                  9115 LOUGHRAN RD
                  FORT WASHINGTON MD 20744



                  HERNANDEZ, JIMENA
                  815 SUNRISE LANE
                  ROCKFORD IL 61107



                  HERNANDEZ, KARINA
                  3226 PLEASANTVILLE BRIDGE ROAD
                  THOMPSONS STATION TN 37179
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                  HERNANDEZ, MARIA C.
                  2432 STATE AV
                  KANSAS CITY KS 66102



                  HERNANDEZ, PEDRO
                  2833 HANSON ST
                  ROCKFORD IL 61109



                  HERNANDEZ, ROBERTO
                  7010 HIGHBRIDGE ROAD
                  BOWIE MD 20720



                  HERNANDEZ-CATIVO, JONATHAN JAV
                  3205 HARBOR LN
                  4-209
                  MINNEAPOLIS MN 55447



                  HERRING, TYLER M.
                  528 BRODERICK DR NE
                  CEDAR RAPIDS IA 52402



                  HERRON, BRYCE D.
                  1524 CENTENNIAL DR.
                  235B
                  JOLIET IL 60431



                  HERRON, JAWUAN T.
                  3345 CALVERT
                  DETROIT MI 48206



                  HERSKOVITZ, ZACHARY
                  3 SUFFOLK DRIVE
                  CORAOPOLIS PA 15108



                  HETU, ZACH
                  16211 WHITEHAVEN DR.
                  NORTHVILLE MI 48168
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                  HICKMAN, HANNAH M.
                  6104 VENTURA DR.
                  PLAINFIELD IL 60586



                  HICKMAN, JENI L.
                  1803 W. 58TH STREET
                  DAVENPORT IA 52806



                  HIGGINS, DERRICK L.
                  12321 FOREST GROVE AVE
                  CLEVELAND OH 44108



                  HIGGINS, PAUL A.
                  27661 TUNGSTEN ROAD
                  202
                  EUCLID OH 44132



                  HIGHEST HONOR INC
                  34711 DEQUINDRE ROAD
                  TROY MI 48083



                  HIGHTOWER, MATTHEW
                  8319 SWITZER STREET
                  OVERLAND PARK KS 66214



                  HIGHWAY 55 RENTAL
                  225 HIGHWAY 55
                  HAMEL MN 55340



                  HILCO REAL ESTATE LLC
                  5 REVERE DR
                  STE 320
                  NORTHBROOK IL 60062



                  HILGERT, JAIMEE J.
                  6501 ARTISAN WAY
                  LINCOLN NE 68516
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                  HILL, DAVID L.
                  1214 GLENHAVEN
                  BALTIMORE MD 21239



                  HILLEN, VICTORIA
                  9630 TAYLOR STREET
                  OMAHA NE 68134



                  HILLER LLC
                  915 MURFREESBORO PIKE
                  NASHVILLE TN 37217



                  HILLMAN, TRACOREY
                  612 WAVERLY RD
                  DAVENPORT IA 52804



                  HILLS, NICHOLAS R.
                  4301 N. 7TH STREET #306
                  LINCOLN NE 68521



                  HILTON, KRISTINA
                  327 E HOOVER DR
                  FORT WAYNE IN 46816



                  HIMES, JOSEPH
                  2711 KEYPORT LANE
                  BOWIE MD 20715



                  HINKLE LAW FIRM LLC
                  301 NORTH MAIN STREET
                  STE 2000
                  WICHITA KS 67202-4820



                  HIRSCH, MAICEE L.
                  11500 97TH PLACE N.
                  MAPLE GROVE MN 55369
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                  HIX, AARON J.
                  17640 66TH AVE N
                  OSSEO MN 55311



                  HJELSETH, NATHAN G.
                  210 SUNSET BLVD
                  WACONIA MN 55387



                  HM ELECTRONICS INC
                  JTECH
                  1400 NORTHBROOK PKWY #320
                  SUWANEE GA 30024



                  HMS GROUP ENTERPRISES INC
                  PO BOX 144591
                  CORAL GABLES FL 33114



                  HOAK, KAYLE R.
                  9012 FAIRWAY DR
                  ORLAND PARK IL 60462



                  HOBA, YVONNA
                  4237 7TH STREET SE
                  202
                  WASHINGTON DC 20032



                  HOBART SERVICE CORP
                  7330 OHMS LANE
                  EDINA MN 55439



                  HOBART SERVICE CORP
                  18 S 14TH STREET
                  FARGO ND 58103



                  HOBART SERVICE CORP
                  6110 BLUFFTON ROAD
                  FORT WAYNE IN 46809-2200
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                  HOBDAY, LAUREN M.
                  5834 16TH AVE. SE
                  SAINT CLOUD MN 56304



                  HOCKENBERGS EQUIP AND SUPPLY
                  CO INC
                  3650 ANNAPOLIS LANE STE 107
                  PLYMOUTH MN 55447



                  HOCKENBERGS EQUIPMENT AND SUPP
                  14063 CORNHUSKER RD
                  OMAHA NE 68138



                  HOCKENBERGS OMAHA
                  PO BOX 30156
                  OMAHA NE 68103-1256



                  HODGE, NATHAN
                  6292 MAXWELL AVENUE
                  DISTRICT HEIGHTS MD 20747



                  HOFF FARMS INC
                  11000 S WOODLAND ST
                  OLATHE KS 66061



                  HOFFMAN ESTATES CHAMBER OF COM
                  2200 W HIGGINS RD STE 201
                  HOFFMAN ESTATES IL 60169



                  HOFFMAN, PETER R.
                  1510 AVE S JOHN NEUMAIER HALL
                  UNIT 308
                  MOORHEAD MN 56563



                  HOFFMAN, ZACHARY H.
                  3810 NAUTILUS TRAIL
                  AURORA OH 44202
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                  HOFMANN, BLAKE
                  1040 EAST STATE BLVD.
                  FORT WAYNE IN 46805



                  HOGAN, JARED T.
                  1240 ILLSELY DRIVE
                  FORT WAYNE IN 46807



                  HOGAN, KYLE
                  3005 FAIRFIELD AVENUE
                  FORT WAYNE IN 46807



                  HOGAN, TAYLOR J.
                  1240 ILLSLEY DRIVE
                  FORT WAYNE IN 46807



                  HOHENSTEINS INC
                  2330 VENTURE DR
                  WOODBURY MN 55125



                  HOILAND, JENNIFER L.
                  47137 250 TH ST LOT 13
                  BALTIC SD 57003



                  HOLALKERE, SHASHANK
                  8128 MAGNOLIA LANE N
                  OSSEO MN 55369



                  HOLCOMB, CAROL
                  3008 CECIL LEWIS DR
                  FRANKLIN TN 37067



                  HOLDEN, CHRISTOPHER E.
                  714 IRVING AVE NW
                  ELK RIVER MN 55330
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                  HOLLAND, RILEY G.
                  2227 KNAPP ST
                  APT 201
                  AMES IA 50014



                  HOLLIE F SMITH
                  3220 BEVER AVE
                  DES MOINES IA 50310



                  HOLLINGSHED, STEVEN W.
                  1330 W 3RD ST
                  DAVENPORT IA 52802



                  HOLLOWAY, LAMARR V.
                  2248 DELTON CT
                  WESTLAND MI 48186



                  HOLLY KING
                  4827 EASTWICK DR
                  FORT WAYNE IN 46815



                  HOLM, CIERRA A.
                  1585 10TH ST.
                  MARION IA 52302



                  HOLMES, KENNETH B.
                  7 CRAIGCREST PLACE
                  KANSAS CITY KS 66101



                  HOLMES, NATALIE A.
                  17838 168TH ST
                  BASEHOR KS 66007



                  HOLT, JONATHAN
                  23 VIEWCREST DR
                  KANSAS CITY KS 66101
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                  HOLT, MICKAELA K.
                  5820 73RD AVENUE N. #215
                  BROOKLYN PARK MN 55429



                  HOLTAM, CHRISTOPHER
                  2329 44TH ST
                  ROCK ISLAND IL 61201



                  HOLTGARD ENTERPRISES INC
                  3130 FIECHTNER DR STE E
                  FARGO ND 58103



                  HOLY CROSS LUTHERAN CHURCH
                  1300 S SERTOMA AVENUE
                  SIOUX FALLS SD 57106



                  HOLY FAMILY CATHOLIC PARISH IN
                  2515 W PALATINE RD
                  INVERNESS IL 60067-4567



                  HOMEWARD ANIMAL SHELTER
                  1201 28TH AVE N
                  FARGO ND 58102



                  HOMEWARD BOUND INC
                  12805 HIGHWAY 55 STE 400
                  PLYMOUTH MN 55441



                  HONEYCUTT, ALYSSA A.
                  1959 24TH STREET
                  UTICA MI 48316



                  HONEYMAN RENTALL
                  11226 WRIGHT CIRCLE
                  OMAHA NE 68144-4797
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                  HOOD, KAYLA
                  29444 BARTON
                  GARDEN CITY MI 48135



                  HOOD, NICOLE
                  9019 BEATRICE
                  LIVONIA MI 48150



                  HOODMASTERS INC
                  19252 SHIRLEY ST
                  OMAHA NE 68130



                  HOOK, CORY L.
                  503 EAST SOUTH ST.
                  GENESEO IL 61254



                  HOOSIER LAWN SERVICES LLC
                  PO BOX 15793
                  FORT WAYNE IN 46885



                  HOOVER, STEPHANIE
                  2901 CENTRAL AVE
                  BETTENDORF IA 52722



                  HOPKINS, AMBER R.
                  4105 SOUTH HOLBROOK AVE
                  SIOUX FALLS SD 57106



                  HOPSON, NYA M.
                  5624 LIVINGSTON TERRACE
                  101
                  OXON HILL MD 20745



                  HORAK, MAKENZIE S.
                  130 JACOLYN DR SW
                  11
                  CEDAR RAPIDS IA 52404
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                  HORN KEY& LOCK
                  701 CONANT STREET
                  MAUMEE OH 43537



                  HORTON, JENNIFER L.
                  3076 WHITE OAK DRIVE
                  MARION IA 52302



                  HOSKINS, TRAECY
                  8680 MARIGOLD CIRCLE
                  215
                  EDEN PRAIRIE MN 55344



                  HOTSCHEDULESCOM INC
                  PO BOX 848472
                  DALLAS TX 75284



                  HOUGH, DANIELLE N.
                  2536 EMERSON AVE
                  FORT WAYNE IN 46808



                  HOULIHAN, SHARON
                  2730 ELDON AVE
                  MARYLAND HEIGHTS MO 63043



                  HOUR ACQUISITION GROUP LLC
                  5750 NEW KING DR STE 100
                  TROY MI 48098



                  HOURIGAN, ALLY J.
                  64 MILLER AVE SW APT
                  APT 9
                  CEDAR RAPIDS IA 52404



                  HOUSE OF HOPE HAITI
                  25596 W 270TH STREET
                  MARYVILLE MO 64468
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                  HOUSE, HANNAH E.
                  1724 85TH AVE WEST
                  ROCK ISLAND IL 61201



                  HOUSE, SPENCER K.
                  1724 85 AVE W
                  ROCK ISLAND IL 61201



                  HOWARD COUNTY CLERK
                  104 N BUCKEYE ST RM 114
                  KOKOMO IN 46901



                  HOWARD, DANNY W.
                  1218 ADAMS STREET
                  DAVENPORT IA 52803



                  HOWARD, DIONNA S.
                  822 BARNABY STREET SE APT. 204
                  WASHINGTON DC 20032



                  HOWE INC
                  712 E 3RD ST
                  SIOUX FALLS SD 57103



                  HOWELL, SAMUEL R.
                  1809 BLUE SPRINGS CT
                  FRANKLIN TN 37069



                  HRUSKA, MERCEDES
                  6770 MARILYN DR
                  OSSEO MN 55369



                  HS POSTERS INC
                  PO BOX 24348
                  DENVER CO 80224
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  HT SERVICE LLC
                  PO BOX 12339
                  KANSAS CITY MO 64116



                  HTF SOLUTIONS LLC
                  PO BOX 9040
                  NORTH SAINT PAUL MN 55109



                  HUBER SUPPLY COMPANY INC
                  PO BOX 1568
                  MASON CITY IA 50402



                  HUBERT DISTRIBUTORS FINTECH




                  HUERTA, CIRILO
                  5 S 624 VEST AVE
                  NAPERVILLE IL 60563



                  HUERTA, LEONARDO
                  3S268 TWIN PINE DR
                  WARRENVILLE IL 60555



                  HUESTIS SHILOH
                  3801 N POTTER AVE #114
                  SIOUX FALLS SD 57107



                  HUESTIS, SHILOH
                  702 SW 2ND ST
                  MADISON SD 57042



                  HUFF, JANCILYN R.
                  960 CYPRESS RD
                  213
                  SAINT CLOUD MN 56303
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                  HUFF, MICHAEL
                  2730 N. 47TH TERRACE
                  KANSAS CITY KS 66104



                  HUFFER, DEREK D.
                  1528 SARATOGA LANE
                  ROCKFORD IL 61107



                  HUGHES, KATHI J.
                  5676 S 980 E
                  WOLCOTTVILLE IN 46795



                  HUGHES, MARGARET G.
                  8909 DUNE CREEK COVE
                  FORT WAYNE IN 46835



                  HUGHES, SEAN T.
                  529 LIMERICK WAY
                  HYATTSVILLE MD 20785



                  HULLINGER, ARDESSA
                  1234 N ST. SW
                  CEDAR RAPIDS IA 52404



                  HUMITECH OF IOWA INC
                  PO BOX 1027
                  WAUKEE IA 50263-1027



                  HUMMER, ALEXIS G.
                  3907 KIMBERTON DR
                  TOLEDO OH 43614



                  HUMMER, KALIEGH B.
                  1966 ROSE ARBOR
                  TOLEDO OH 43614
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                  HUNT, MICHAEL
                  3254 WESTDALE CT.
                  WALDORF MD 20601



                  HUNT, SYDNEE D.
                  5701 LILLIBRIDGE STREET APT 9
                  LINCOLN NE 68507



                  HURRY HOME HOUNDS INC
                  77 S PETRIE ROAD
                  CORAOPOLIS PA 15108



                  HURTADO, MIGUEL
                  430 WILMER MEADOW DRIVE
                  WENTZVILLE MO 63385



                  HUTCHINS, SEAN M.
                  813 W. ST. JAMES ST.
                  PEORIA IL 61601



                  HY VEE INC
                  2200 W KIMBERLY RD
                  DAVENPORT IA 52806



                  HYBERTSON, SANDRA
                  307 GRAND AVE
                  HARRISBURG SD 57032



                  HYDUK, ISAAC T.
                  25855 SLY FOX COURT
                  SOUTH BEND IN 46628



                  HYG FINANCIAL SERVICES INC
                  PO BOX 14545
                  DES MOINES IA 50306-3545
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  HYG FINANCIAL SERVICES INC
                  300 E JOHN CARPENTER FREEWAY
                  IRVING TX 75062-2712



                  I SPINELLO LOCKSMITHS
                  225-B SOUTH 6TH STREET
                  ROCKFORD IL 61104



                  I94 WEST CHAMBER OF COMMERCE
                  PO BOX 95
                  ROGERS MN 55374



                  IBARRA, ALEXUS M.
                  1841 39TH ST S
                  204
                  FARGO ND 58103



                  IBIN LATEET
                  2375 SEQUOIA GROVE ST
                  WALDORF MD 20601



                  ICE MASTERS
                  6218 MELROSE
                  SHAWNEE KS 66203



                  ICHIKAWA, MAUREEN Y.
                  11901 CENTRAL PARK WAY
                  2223
                  OSSEO MN 55369



                  ICY HOT HYDRATION LLC
                  6710 SW MCEWAN RD
                  LAKE OSWEGO OR 97035



                  IDEAL CONTRACTING LLC
                  2525 CLARK STREET
                  DETROIT MI 48209
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                  IDEHEN, KEVIN
                  15514 WHITEHALL LANE
                  ORLAND PARK IL 60462



                  IGBONEGUN, AYORINDE
                  1106 W CENTRE ST
                  SPRINGFIELD IL 62704



                  IL ASSOC FOR COLLEGE ADMISSION
                  PO BOX 279
                  MOUNT PROSPECT IL 60056



                  IL STATE DISPURSEMENT UNIT
                  PO BOX 5400
                  CAROL STREAM IL 60197



                  ILLINOIS CONGRESS OF PARENT TE
                  4700 BARKER AVE
                  ROLLING MEADOWS IL 60008



                  ILLINOIS LIQUOR CONTROL
                  COMMISSION
                  100 W RANDOLPH ST #7-801
                  CHICAGO IL 60601



                  ILLINOIS POWER MARKETING
                  23532 NETWORK PLACE
                  CHICAGO IL 60673-1235



                  ILLINOIS SECRETARY OF STATE
                  501 S 2ND STREET
                  SPRINGFIELD IL 62756-5510



                  ILLINOIS STATE TREASURER
                  UNCLAIMED PROPERTY DIVISION
                  PO BOX 19495
                  SPRINGFIELD IL 62794-9495
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                  IMAGE SIGNS INC
                  7323 N ALPINE RD
                  LOVES PARK IL 61111



                  IMMACULATE CONCEPTION CHURCH
                  434 WESTERN AVE
                  TOLEDO OH 43609



                  IMPERIAL BEVERAGE FINTECH




                  IN THE NEWS INC
                  8517 SUNSTATE STREET
                  TAMPA FL 33634



                  INALND PROPERTY MANAGEMENT LLC
                  PO BOX 74008648
                  CHICAGO IL 60674



                  INDAY OF SARASOTA INC
                  1920 ADAMS LANE
                  SARASOTA FL 34236



                  INDEED BREWING COMPANY
                  % NATHAN BERNDT
                  711 15TH AVENUE NE
                  MINNEAPOLIS MN 55413



                  INDEED INC
                  MAIL CODE 5160
                  PO BOX 660367
                  DALLAS TX 75266-0367



                  INDEPENDENT SCHOOL DISTRICT 28
                  4148 WINNETKA AVE N
                  NEW HOPE MN 55427
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                  INDIAH ELLIS
                  5166 CLACTON AVE
                  CAMP SPRINGS MD 20746



                  INDIANA ALCOHOL AND
                  TOBACCO COMMISSION
                  302 WEST WASHINGTON ST RM E114
                  INDIANAPOLIS IN 46204



                  INDIANA CITY BREWING CO
                  24 SHELBY STREET
                  INDIANAPOLIS IN 46202



                  INDIANA DEPARTMENT OF REVENUE
                  PO BOX 6114
                  INDIANAPOLIS IN 46206-6114



                  INDIANA FIRE SPRINKLER AND
                  BACKFLOW INC
                  PO BOX 85083
                  FORT WAYNE IN 46885



                  INDIANA MICHIGAN POWER
                  PO BOX 371496
                  PITTSBURGH PA 15250



                  INDIANA NEWSPAPERS INC
                  UNIT 1532
                  PO BOX 742619
                  CINCINNATI OH 45274-2619



                  INDIANA OLDSMOBILE ROCKETS
                  2107 W COLISEUM BLVD
                  FORT WAYNE IN 46808



                  INDIANA STATE CENTRAL
                  COLLECTION UNIT
                  PO BOX 6219
                  INDIANAPOLIS IN 46206
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                  INDIANA WHOLESALE IN FINTECH




                  INDIANA WHOLESALE WINE AND LOQ
                  200 LUMBER CENTER ROAD
                  MICHIGAN CITY IN 46360



                  INDIANAPOLIS CHAPTER OF INDIAN
                  300 E FALL CREEK PKWY NORTH DR
                  INDIANAPOLIS IN 46205



                  INDIANAPOLIS POWER AND LIGHT
                  COMPANY
                  PO BOX 110
                  INDIANAPOLIS IN 46206-0110



                  INDIANAPOLIS SOFTWATER INC
                  4148 W 99TH ST
                  CARMEL IN 46032



                  INDIGO SIGNWORKS INC
                  4133 IOWA STREET STE 100
                  ALEXANDRIA MN 56308



                  INDLAND COMMERCIAL REAL ESTATE
                  2901 BUTTERFIELD ROAD
                  OAK BROOK IL 60523



                  INDUSTRIAL REFRIGERATION SERVI
                  613 SE MAGAZINE RD
                  ANKENY IA 50021



                  INDY CHAM
                  111 MONUMENT CIRCLE
                  SUITE 1950
                  INDIANAPOLIS IN 46204
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                  INDY EXPOS LLC
                  PO BOX 3084
                  CARMEL IN 46082



                  INDY VISITORS CHANNEL LLC
                  6060 GLADDEN DR
                  INDIANAPOLIS IN 46220



                  INFANZON, MARTHA DEL CARMEN
                  3575 LEXINGTON AVE
                  102
                  SAINT PAUL MN 55123



                  INFINITE ENERGY INC
                  PO BOX 71247
                  CHARLOTTE NC 28272-1247



                  INFINITE SELF STORAGENORA
                  8802 EVERGREEN AVE
                  INDIANAPOLIS IN 46240



                  INFOSYNC SERVICES LLC
                  1938 N WOODLAWN
                  WICHITA KS 67208



                  INLAND NATIONAL REAL ESTATE
                  62903 COLLECTIONS CENTER DRIVE
                  CHICAGO IL 60693



                  INMAN, ERIK A.
                  116 SUN VALLEY CT
                  B4
                  EAST PEORIA IL 61611



                  INMOMENT INC
                  10355 SO JORDAN GATEWAY #600
                  SOUTH JORDAN UT 84095
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                  INNES, JOHN
                  11533 RIVER HILLS DRIVE
                  BURNSVILLE MN 55337



                  INNES, MEGAN E.
                  11533 RIVER HILLS DR
                  BURNSVILLE MN 55337



                  INSCCU ASFE
                  PO BOX 6271
                  INDIANAPOLIS IN 46206-6271



                  INSIGHT MECHANICAL CONTRACTORS
                  9204 E 350 HWY
                  RAYTOWN MO 64133



                  INSTITUTE OF MNGT
                  ACCOUNTANTS (IMA)
                  PO BOX 780026
                  PHILADELPHIA PA 19178-0026



                  INSTITUTION SVCS INC
                  1421 B AVENUE
                  SIOUX FALLS SD 57104



                  INTELLIGENT NETWORKS CORP
                  2315 WHIRLPOOL STREET STE 394
                  NIAGARA FALLS NY 14305



                  INTERNAL REVENUE SERVICE
                  PO BOX 802501
                  CINCINNATI OH 45280



                  INTERNAL REVENUE SERVICE
                  LEVY PROCESSING
                  CINCINNATI OH 45999-0039
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                  INTERNATIONAL ASSN OF FIRE
                  FIGHTERS LOCAL 644 INC
                  241 VICTORY LANE
                  LINCOLN NE 68528



                  INTERNATIONAL ASSN OF FIREFIGH
                  PO BOX 6243
                  KANSAS CITY KS 66106



                  INTERNATIONAL MUSIC CAMP LLC
                  111 11TH AVE SE STE 3
                  MINOT ND 58701



                  INTERNATIONAL RETT SYNDROME FO
                  4600 DEVITT DR
                  CINCINNATI OH 45248



                  INTERNATIONAL TECH AND SEC LTD
                  PO BOX 3123
                  DAVENPORT IA 52808



                  INTERNET PROTOCOL COMMUNICATIO
                  1521 WINDSOR RD
                  LOVES PARK IL 61111



                  INTERSTATE CLEANING MGMT INC
                  PO BOX 26
                  MINNETONKA BEACH MN 55361-0026



                  INTL ASSN OF FIREFIGHTERS LOCA
                  101 S FAIRFAX
                  SIOUX FALLS SD 57103



                  IOWA AMERICAN WATER
                  PO BOX 3027
                  MILWAUKEE WI 53201-3027
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                  IOWA AUDIO VIDEO INC
                  1510 NW 86TH STREET
                  CLIVE IA 50325



                  IOWA BEVERAGE SYSTEMS INC
                  2115 NE 58TH AVENUE
                  DES MOINES IA 50313



                  IOWA BREWING COMPANY LLC
                  CEDAR RAPIDS IA 52401




                  IOWA DEPARTMENT OF REVENUE
                  CADMINISTRATIVE WAGE LEVY
                  PO BOX 10330
                  DES MOINES IA 50306



                  IOWA EVENTS CENTER
                  730 THIRD STREET
                  DES MOINES IA 50309



                  IOWA FIRE EQUIPMENT
                  2800 DELAWARE AVE
                  DES MOINES IA 50317



                  IOWA PUMP WORKS INC
                  PO BOX 945
                  ANKENY IA 50023



                  IOWA WILD HOCKEY CLUB LLC
                  730 THIRD ST
                  DES MOINES IA 50309



                  IPFS CORPORATION
                  24722 NETWORK PLACE
                  CHICAGO IL 60673-1247
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                  IRT SVCS
                  PO BOX 5596
                  CORALVILLE IA 52241



                  ISAAC, SABRINA L.
                  841 JEANETTE AVE
                  STEUBENVILLE OH 43952



                  ISDALE, JENNIFER M.
                  482 N AUSTIN BLVD
                  #3
                  OAK PARK IL 60302



                  ISLAS-GOMEZ, JUAN C.
                  3439 IVY LN.
                  SAINT PAUL MN 55123



                  ISPACE
                  811 GLENWOOD AVENUE
                  MINNEAPOLIS MN 55405



                  ISZA B PALLOZOLA
                  522 GILEAD DR
                  CHESTERFIELD MO 63017



                  ITS INTERACTIVE MEDIA LLC
                  5122 HEATHERDOWNS BLVD
                  STE 105
                  TOLEDO OH 43614



                  ITW FOOD EQUIPMENT GROUP LLC
                  PO BOX 2517
                  CAROL STREAM IL 60132



                  IVAN SALGADO
                  8911 WESTRIDGE DR
                  OMAHA NE 68124
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                  IVEY, ANAYSIA
                  4322 GEORGIA AVE
                  KANSAS CITY KS 66104



                  IVEZIC, LUC
                  3531 DU PON DRIVE
                  STERLING HEIGHTS MI 48310



                  IVY ENDOWMENT INC
                  PO BOX 88474
                  INDIANAPOLIS IN 46208



                  IYODA, HIROMI
                  1703 E AVENUE NE #1
                  CEDAR RAPIDS IA 52402



                  J AND DS CREATIVE COLORS OF NO
                  PO BOX 1814
                  MISHAWAKA IN 46546



                  J AND J MEZZ LLC
                  8226 NEAL RD STE 2
                  ARRINGTON TN 37014



                  J AND M MAINTENANCE AND REPAIR
                  PO BOX 165927
                  MIAMI FL 33116-5927



                  J AND R MAHER INC
                  852 44TH ST SE
                  CEDAR RAPIDS IA 52403



                  J AND S LIQUID WASTE SVCS INC
                  4030 OPTION PASS
                  FORT WAYNE IN 46818
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                  J AND S PLUMBING AND DRAIN CLE
                  18541 DAVIDSON
                  FRASER MI 48026



                  J B SPECIALTY SVCS LLC
                  2447 VERONA CANEY RD
                  LEWISBURG TN 37091



                  J HEIDI NEWMAN
                  3807 E 3RD ST K AVE
                  BLOOMINGTON IN 47401



                  J N K GASKET GUYS
                  18051 PROMISE RD
                  NOBLESVILLE IN 46060



                  JACK LEVIERE
                  371 ROCHESTER ROAD
                  PITTSBURGH PA 15237



                  JACK STONE SIGN CO INC
                  3131 PENNSY DRIVE
                  LANDOVER MD 20785



                  JACKELEN, STEVEN
                  9965 ALABAMA ROAD
                  MINNEAPOLIS MN 55438



                  JACKSON, DAIJHA
                  6609 CAPTAIN JOHNS CT
                  BRYANS ROAD MD 20616



                  JACKSON, FANTASIA
                  5500 AMBERVIEW CT
                  MANASSAS VA 20112
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                  JACKSON, KAALA
                  6602 HAZELHATCH DRIVE
                  INDIANAPOLIS IN 46268



                  JACKSON, KEATON D.
                  6206 S AVALON AVE
                  115
                  SIOUX FALLS SD 57103



                  JACKSON, KENNETH E.
                  353 PERRY SQUARE #353
                  KANSAS CITY KS 66101



                  JACKSON, KEVIN A.
                  4301 MIDTOWN SQUARE #2028
                  SUITLAND MD 20746



                  JACKSON, MIKAYLA M.
                  19616 BLUEJAY TRAIL
                  LAWSON MO 64062



                  JACKSON, SYDNEY N.
                  3656 RIVARD ST
                  DETROIT MI 48207



                  JACOB A RAZOR
                  11867 N SHELBY 700 W
                  NEW PALESTINE IN 46163



                  JACOB KRUSE
                  4310 10TH AVE S APT 102
                  FARGO ND 58103-2017



                  JACOB SAMPSON
                  4286 MEGHAN LANE
                  EAGAN MN 55122
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                  JACOB SMITH
                  444 EAST STREET
                  NORTHVILLE MI 48167



                  JACOBS BENEFIT
                  PO BOX 24
                  HARTFORD SD 57033



                  JACOMET, MICHAEL W.
                  4708 W 15TH PL
                  SIOUX FALLS SD 57106



                  JACQUELINE UHLIK
                  6170 SAINT JOSEPH DRIVE
                  SEVEN HILLS OH 44131



                  JADA C KUKEC
                  4348 W 150TH ST
                  MIDLOTHIAN IL 60445



                  JAEGER, CRYSTAL
                  2012 S BARRET PL
                  SIOUX FALLS SD 57106



                  JAIMES, LUIS
                  10044 HOLLY LN
                  1S
                  DES PLAINES IL 60016



                  JAKE KRUSE
                  1509 MARSHALL ST
                  BOONE IA 50036



                  JAKE TAFT
                  5600 JERSEY RIDGE RD APT N7
                  DAVENPORT IA 52807-5280
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                  JALLAH, HORACE
                  8350 EP TRUE PKWY
                  4304
                  WEST DES MOINES IA 50266



                  JAMES CHAMBERS
                  6256 PENNSBURY RD
                  CHERRY VALLEY IL 61016



                  JAMES FERRARI AND SONS INC
                  148 N GROESBECK STE A
                  MOUNT CLEMENS MI 48043



                  JAMES FITT
                  1305 APPL3 RIDGE CT
                  SOUTH BEND IN 46614



                  JAMES I ROBERTS
                  5280 15TH AVE SE
                  SAINT CLOUD MN 56304



                  JAMES KALLISH
                  5820 OAKWOOD DR 2A
                  LISLE IL 60532



                  JAMES KINZEY
                  28219 HUGHES AVE
                  SAINT CLAIR SHORES MI 48081



                  JAMES L COOK
                  11402 HENNESSEY DR
                  BELTSVILLE MD 20705



                  JAMES LONGTIN
                  1746 52ND STREET S
                  FARGO ND 58103
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                  JAMES MITCHELL
                  5750 N BROOKWOOD DR
                  FORT WAYNE IN 46835



                  JAMES P TOOMEY
                  5422 PINE LANE
                  NORTH BRANCH MN 55056



                  JAMES PATRICK KIRK
                  13240 SW 105TH STREET
                  MIAMI FL 33186



                  JAMES REINERT
                  12388 TRIBUTARY
                  MIAMI FL 33186



                  JAMES WHITCOMB RILEY MEMORIAL
                  30 S MERIDIAN ST
                  INDIANAOLIS IN 40204



                  JAMES, CINTIA
                  4075 LANCASTER LANE
                  APT 2
                  MINNEAPOLIS MN 55441



                  JAMES, KATELYN D.
                  1029 W ROSE ST
                  SOUTH BEND IN 46616



                  JAMESON B BOLISH
                  1809 LAKEWOOD
                  TROY MI 48083



                  JAMF HOLDINGS INC AND
                  SUBSIDIARIES
                  PO BOX 1450
                  MINNEAPOLIS MN 55485
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                  JAMIE FIORENZA
                  2821 CONCORDIA DR
                  ROCKFORD IL 61109



                  JAMZ JOHNSON
                  2895 HAWK RIDGE ROAD
                  PRIOR LAKE MN 55372



                  JAN MICHAEL TULL
                  5403 398TH ST
                  RICE MN 56367



                  JANI KING OF MIAMI INC
                  PO BOX 100649
                  ATLANTA GA 30384-0649



                  JANICE HERMAN
                  15330 E 85TH ST N
                  BENTON KS 67017



                  JANIKING OF KANSAS
                  14821 W 95TH ST
                  LENEXA KS 66215



                  JANSEN, ALLISON
                  8100 COMMONS PL
                  APT 7
                  SIOUX FALLS SD 57106



                  JANSEN, JEREMY P.
                  2748 E.53RD ST.
                  APT 6
                  DAVENPORT IA 52807



                  JANSSEN, ALYSSA M.
                  1130 NORTHVIEW DRIVE
                  MARION IA 52302
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                  JANSSEN, ELLIOT
                  11218 DECATUR PLAZA
                  UNIT 212
                  OMAHA NE 68154



                  JANSSEN, JOSHUA J.
                  727 5TH AVE SOUTH
                  SAINT CLOUD MN 56301



                  JAPHET SCHOOL INC
                  839 S CROOKS RD
                  CLAWSON MI 48017



                  JARED HESS
                  2203 SPUR POINT DR APT I
                  INDIANAPOLIS IN 46217



                  JARQUIN, EDUARDO
                  201 W 92ND ST
                  MINNEAPOLIS MN 55420



                  JARRETT, MARA A.
                  102 CHERRINGTON COURT
                  CORAOPOLIS PA 15108



                  JASON GAYED
                  9500 HOLDREGE ST
                  LINCOLN NE 68505



                  JASON JENKINS
                  1715 PEACHTREE LANE
                  BOWIE MD 20721



                  JASON JOHNSON
                  751 58TH AVE NE
                  MINNEAPOLIS MN 55432
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                  JASON LECHNER
                  904 W 155TH STREET
                  BURNSVILLE MN 55306



                  JASON OLIVER WEAVER
                  12445 WHISPER CREEK CT
                  CHARLOTTE HALL MD 20622



                  JASON PHILLIPS
                  1920 JACARANDA AVE
                  FORT PIERCE FL 34949



                  JASON RIES
                  833 S 13TH, 3
                  LINCOLN NE 68502



                  JASON RINEHART
                  1257 KIRTS BLVD APT 211
                  TROY MI 48084



                  JASON TARASIEWICZ
                  150 RIVER PARK PLACE
                  DUNDEE MI 48131



                  JASPER, GRACE
                  2241 BELLEVUE AVENUE
                  BETTENDORF IA 52722



                  JASSO, MONICA
                  1705 W. VICTORIA DR. #103
                  MOUNT PROSPECT IL 60056



                  JASTAL, JOSHUA D.
                  1844 EDGEWOOD DRIVE
                  TWINSBURG OH 44087
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                  JAUREGUI, PATRICIA D.
                  4622 BRANDT CT
                  FORT WAYNE IN 46835



                  JAVA, FRANCISCO
                  728 E. 78TH ST #103
                  MINNEAPOLIS MN 55423



                  JAX MANAGEMENT INC
                  3245 H EAST PATRICK LN
                  LAS VEGAS NV 89120



                  JAY FEDDE
                  20013 PEARL ST
                  ELKHORN NE 68022



                  JAYHAWK FIRE SPRINKLER CO INC
                  12030 S HEDGE LANE TERRACE
                  OLATHE KS 66061



                  JC DILLON INC
                  1515 W LUTHY DR
                  PEORIA IL 61615



                  JD HARRIS
                  630 NORTH 4TH STREET
                  LE CLAIRE IA 52753



                  JDRF INTL
                  26 BROADWAY 14TH FLOOR
                  NEW YORK NY 10004



                  JEAN MARIE MUSCARELLO
                  3210 E FT LOWELL ROAD
                  STE 104
                  TUCSON AZ 85716
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                  JEANNETTE GARCIA
                  12020 W 85 ST N
                  VALLEY CENTER KS 67147



                  JEFF BERLIN
                  645 DUNSTEN CR
                  NORTHBROOK IL 60062



                  JEFF CASTORA
                  19907 ABIGAIL LN
                  STRONGSVILLE OH 44149



                  JEFF CRANE
                  16476 DODD LN
                  LAKEVILLE MN 55044



                  JEFF RAGER
                  1008 DOCKWAY DRIVE
                  HURON OH 44839



                  JEFF STODDARD
                  1513 GETTYSBURG AVE N
                  MINNEAPOLIS MN 55427



                  JEFF STOTLER
                  2120 N 58TH
                  LINCOLN NE 68505



                  JEFFERSON, DOMINIQUE
                  1100 FIELD
                  DETROIT MI 48214



                  JEFFERY PAUL MOBERG
                  1905 N MABLE
                  SIOUX FALLS SD 57103
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                  JEFFREY N ROMNESS
                  8536 CLINTON AVE SOUTH
                  MINNEAPOLIS MN 55420



                  JEFFREY ROBERT LANGELAND
                  1970 11TH AVE E
                  SHAKOPEE MN 55379



                  JEFFS PLUMBING INC
                  750 34TH STREET N
                  UNIT J
                  FARGO ND 58102



                  JELKS, JESSICA
                  8154 HUNTINGTON STREET
                  WESTLAND MI 48185



                  JEN KOPPERUD
                  1339 12TH AVE S
                  FARGO ND 58103



                  JENKINS, RONALD L.
                  1912 GRANDVIEW
                  KANSAS CITY KS 66102



                  JENKINS, RYAN
                  301 DORCHESTER AVE
                  62
                  LA PLATA MD 20646



                  JENNA EMERSON
                  7701 TOWNSEND AVE
                  URBANDALE IA 50322



                  JENNA PEREZ
                  2020 RINDLE CT
                  MURFREESBORO TN 37129-4071
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  JENNIFER GREENE
                  2221 EUCLID AVE
                  BELOIT WI 53511



                  JENNIFER KNUTSON
                  25888 80TH STREET NW
                  BROOTEN MN 56316



                  JENNIFER WULF
                  2038 N ELSIE AVE
                  DAVENPORT IA 52804



                  JENNINGS, TYRONE
                  1804 N. 91ST
                  KANSAS CITY KS 66112



                  JENSEN, ARIA M.
                  5323 NORTH GAINS STREET
                  DAVENPORT IA 52806



                  JENSEN, AUSTYN
                  7014 NORTH NODAWAY AVENUE
                  KANSAS CITY MO 64152



                  JENSEN, KIMBERLY R.
                  436 WILD OAK DRIVE
                  O FALLON MO 63368



                  JENSEN, KIRJA R.
                  4919 W ST JSTREET
                  SIOUX FALLS SD 57106



                  JEREL SCOTT FULLER
                  6723 KNOLL ST
                  MINNEAPOLIS MN 55427
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  JEREMY BEARD
                  877 SAVANNA AVE
                  SAINT CLOUD MN 56303



                  JEREMY JANSEN
                  2748 E 53RD ST APT 6
                  DAVENPORT IA 52807



                  JERICA WIBORG
                  200 DICKMAN RD #190
                  DES MOINES IA 50315



                  JERRICK, HEATHER A.
                  14454 SAINT LOUIS AVE
                  MIDLOTHIAN IL 60445



                  JESSE TAUCHER
                  63 LOCUST ST
                  BURGETTSTOWN PA 15021



                  JESSICA MYERS
                  2624 16TH ST
                  MOLINE IL 61265



                  JESSICA R MATYKIEWICZ
                  4721 W 124TH ST
                  SAVAGE MN 55378



                  JESSICA SCHROEDER
                  50 4TH AVE N 31
                  MINNEAPOLIS MN 55401



                  JESSIE S FIELD
                  706 THREE RIVERS NORTH
                  FORT WAYNE IN 46802
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  JETCO INC
                  208 1ST AVE SOUTH
                  ALTOONA IA 50009



                  JETER, MADDISON
                  2004 FONDULAC DR
                  EAST PEORIA IL 61611



                  JEWELL FARM AND HOME LLC
                  720 MAIN
                  JEWELL IA 50130



                  JF AHERN CO INC
                  ATTN ACCOUNTS RECIEVABLE
                  PO BOX 1316
                  FOND DU LAC WI 54936-1316



                  JIHAN BAILEY
                  8242 MARCUS
                  DETROIT MI 48213



                  JILL SCHULTE
                  27734 W DRAKE DRIVE, APT. 40
                  CHANNAHON IL 60410



                  JILL TSCHETTER
                  626 W 15TH
                  SIOUX FALLS SD 57104



                  JIM A GEHRMANN
                  2648 KENNETH CT
                  SUN PRAIRIE WI 53590



                  JIM LAHOOD CONSTRUCTION INC
                  802 SOUTH 50TH AVE
                  OMAHA NE 68106
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                  JIM LUSSIER
                  3433 LEFLORE COURT
                  VERONA WI 53593



                  JIMENEZ HUATO, RENATA
                  6121 65TH AVE. N
                  201
                  MINNEAPOLIS MN 55429



                  JIMENEZ, ARNULFO
                  1415 DUNWOODY AVENUE
                  OXON HILL MD 20745



                  JIMENEZ, MIRIAN
                  3303 SOUTHGATE DRIVE
                  APT 202
                  ALEXANDRIA VA 22306



                  JIMENEZ, YADIRA L.
                  27300 FRANKLIN RD APT E600
                  SOUTHFIELD MI 48034



                  JIMERSON, KELLY
                  11304 SEATTLE SLEW DR.
                  NOBLESVILLE IN 46060



                  JIN, EUBIN A.
                  5508 FISHER ROAD
                  TEMPLE HILLS MD 20748



                  JJ KELLER AND ASSOCIATES INC
                  PO BOX 6609
                  CAROL STREAM IL 60197-6609



                  JM AND P LLC
                  PO BOX 640814
                  CINCINNATI OH 45264-0814
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                  JMB CAPITAL PARTNERS LENDING
                  1999 AVENUE OF THE STARS
                  SUITE 2040
                  LOS ANGELES CA 90067



                  JOANN BLEHI
                  4478 PARADE STREET
                  PITTSBURGH PA 15207



                  JOE KENNY
                  1001 NORTH 102ND ST
                  OMAHA NE 68114



                  JOE MCKEE
                  1707 FOREST COVE DR UNIT 102
                  MOUNT PROSPECT IL 60056



                  JOE MILLER
                  36401 JEFFERSON COURT
                  FARMINGTON MI 48335



                  JOE, JESSICA N.
                  16532 PINEHURST
                  DETROIT MI 48221



                  JOHEL, MARTINEZ
                  933 WHITE OAK DRIVE
                  OXON HILL MD 20745



                  JOHN C VAN EDE AND
                  ROCHELLE M VAN EDE
                  22792 140TH ST
                  WILMONT MN 56185



                  JOHN D HURST
                  4232 LINDEN HILLS BLVD
                  MINNEAPOLIS MN 55410
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                  JOHN HANCOCK RETIREMENT
                  PLAN SVCS
                  PO BOX 2495
                  CAROL STREAM IL 60132-2495



                  JOHN HENRY BUILDING SVCS LLC
                  320 OLD HICKORY BLVD STE 1600
                  NASHVILLE TN 37221



                  JOHN HENRYS PLUMB CO
                  2949 CORNHUSKER WAY
                  LINCOLN NE 68504



                  JOHN KULASA
                  14258 PERNELL
                  STERLING HEIGHTS MI 48313



                  JOHN NAGENGAST DOORS LLC
                  4971 KASSEL AVE NE
                  ALBERTVILLE MN 55301



                  JOHN PIERRE JR
                  13954 SW 106TH TERRACE
                  MIAMI FL 33186



                  JOHN R GOHN
                  460 FRANKLIN RD
                  FRANKLIN TN 37069



                  JOHN W WALKER
                  5604 VIRGINIA LANE
                  OXON HILL MD 20745



                  JOHN WHITMORE
                  4134 E 136TH ST
                  CLEVELAND OH 44105
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                  JOHNSON BROS
                  6600 MERLE HAY RD
                  JOHNSTON IA 50131



                  JOHNSON BROS
                  300 E 50 STREET N
                  SIOUX FALLS SD 57104



                  JOHNSON BROTHERS OF NORTH DAKO
                  PO BOX 9095
                  FARGO ND 58106-9095



                  JOHNSON BROTHERS OMAHA FINTECH




                  JOHNSON BROTHERS ST PAUL FN




                  JOHNSON COUNTY EQUIPMENT AND P
                  1530 E SPRUCE ST
                  OLATHE KS 66061



                  JOHNSON, AEON
                  4265 NASH ST NE
                  WASHINGTON DC 20019



                  JOHNSON, ALEXANDER
                  28865 STATE HWY 210
                  AITKIN MN 56431



                  JOHNSON, ALEXANDRA
                  1806 N COURT ST
                  ROCKFORD IL 61103



                  JOHNSON, ALYSSA M.
                  7400 74TH AVENUE N
                  MINNEAPOLIS MN 55428
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                  JOHNSON, ANTHONY
                  3541 NW 194 ST.
                  OPA LOCKA FL 33056



                  JOHNSON, BENJAMIN L.
                  218 19 1/2 AVE NORTH
                  SAINT CLOUD MN 56303



                  JOHNSON, BRANDY
                  84 BASALT DRIVE
                  FREDERICKSBURG VA 22406



                  JOHNSON, BRIAN C.
                  16121 LOGARTO LANE
                  LAKEVILLE MN 55044



                  JOHNSON, BROOKE
                  4365 MILL POND DRIVE
                  TROY MI 48085



                  JOHNSON, CHRISTOPHER
                  4217 SHERMEON ST NE
                  CEDAR RAPIDS IA 52404



                  JOHNSON, DARYL G.
                  11377 TOLKIEN AVENUE
                  WHITE PLAINS MD 20695



                  JOHNSON, DOMINIQUE
                  3600 PARKWAY TERRACE DRIVE #8
                  SUITLAND MD 20746



                  JOHNSON, DOUG
                  P.O. BOX 90406
                  SIOUX FALLS SD 57109
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                  JOHNSON, ERIKA
                  311 PLEASANT AVENUE
                  415
                  SAINT PAUL MN 55102



                  JOHNSON, GARRETT P.
                  4062 RENN HART HILLS
                  LOVES PARK IL 61111



                  JOHNSON, JAMZ K.
                  2895 HAWK RIDGE RD
                  PRIOR LAKE MN 55372



                  JOHNSON, JORDON T.
                  3608 CALDERWOOD DRIVE
                  ROCKFORD IL 61114



                  JOHNSON, KYLE J.
                  1111 W MINNEHAHA AVE
                  APT 6
                  SAINT PAUL MN 55104



                  JOHNSON, KYLE J.
                  1601 HOOD ROAD, APT. 24
                  SACRAMENTO CA 95825



                  JOHNSON, LEAH
                  P.O. BOX 182
                  LACON IL 61540



                  JOHNSON, LISA
                  11711 BRUNSWICK AVE
                  CHAMPLIN MN 55316



                  JOHNSON, LNAYA R.
                  13813 STROH CT
                  ACCOKEEK MD 20607
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                  JOHNSON, MARCUS B.
                  2721 CEDAR STREET
                  UNIT 306
                  NORWALK IA 50211



                  JOHNSON, MARCUS B.
                  633 CANTERBURY PLACE
                  NORWALK IA 50211



                  JOHNSON, MATT
                  370 TROMBLEY
                  TROY MI 48083



                  JOHNSON, NICHOLAS C.
                  4743 70TH PL
                  URBANDALE IA 50322



                  JOHNSON, ORLANDO
                  1881 SHERWOOD AVE
                  SAINT PAUL MN 55119



                  JOHNSON, SARAH
                  105 NAPLES DR
                  ELYRIA OH 44035



                  JOHNSON, SHEKINAH L.
                  5653 FORDHAM CIRCLE
                  CANTON MI 48187



                  JOHNSON, TASHAYLA
                  6509 MARSOL RD
                  718
                  CLEVELAND OH 44124



                  JOHNSON, TONYA
                  7850 EVERETT AVENUE #7
                  KANSAS CITY KS 66112
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                  JOHNSON, VAUNECHIO
                  5615 OLD DOVER
                  APT 4
                  FORT WAYNE IN 46835



                  JOHNSON-REEVES, SOLOMON
                  8405 SWEENEY DRIVE
                  CLINTON MD 20735



                  JOHNSTON, MICAH
                  5528 PERSHING AVE
                  APT 505
                  SAINT LOUIS MO 63112



                  JONASON, LACHLYN M.
                  317 CAZINOVE ST.
                  PERLEY MN 56574



                  JONATHON LUCA
                  1550 SHEVLIN
                  FERNDALE MI 48220



                  JONES JR, RODNEY L.
                  2515 W. WESTPORT RD
                  2C
                  PEORIA IL 61615



                  JONES, ALEX
                  767 LINCOLN ST
                  ANOKA MN 55303



                  JONES, CAMERON
                  26433 SOLON RD
                  702
                  BEDFORD OH 44146



                  JONES, CHARIS J.
                  2000 CHITA CT
                  TEMPLE HILLS MD 20748
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                  JONES, CRYSTAL M.
                  6246 N 155TH ST
                  OMAHA NE 68116



                  JONES, GREGORY M.
                  713 SW 28TH ST
                  101
                  ANKENY IA 50023



                  JONES, LAVELL
                  183 SOUTH BELVOIR
                  CLEVELAND OH 44121



                  JONES, NYIEKA
                  3402 CURTIS DRIVE
                  33
                  SUITLAND MD 20746



                  JONES, ROBIN P.
                  5601 NANNIE BURROUGHS AVE. NE
                  103
                  WASHINGTON DC 20019



                  JONES, TITO S.
                  16621 W 139TH ST
                  423
                  OLATHE KS 66062



                  JONES, TOSHIRO
                  10504 TERRACO TERRACE
                  CHELTENHAM MD 20623



                  JONES-CAMP, NOEL
                  4552 RUSSELL AVENUE N.
                  MINNEAPOLIS MN 55412



                  JORDAN TAX SERVICE
                  102 RAHWAY ROAD
                  MCMURRAY PA 15317
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                  JORDAN, ANNA
                  2807 N. ZENITH AVE.
                  DAVENPORT IA 52804



                  JORDAN, CHRISTOPHER L.
                  208 EMERALD HILL
                  FORT WASHINGTON MD 20744



                  JORDAN, JOSEPH T.
                  534 E LOULA ST
                  OLATHE KS 66061



                  JORDANN BALAICH
                  3274 W TISCHER RD
                  DULUTH MN 55803



                  JORDING, DESTINY
                  2736 COUNTY RD. 600 N
                  EL PASO IL 61738



                  JORGE DALL ORTO
                  200 AMERICAN WAY
                  OXON HILL MD 20745



                  JOSE GALVEZ
                  5780 N EWING ST
                  INDIANAPOLIS IN 46220



                  JOSEPH BURKART
                  2879 ROYAL AVE
                  BERKLEY MI 48072



                  JOSEPH MULLARKEY DISTRIBUTORS
                  INC
                  2200 RIDGE DRIVE
                  GLENVIEW IL 60025
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                  JOSEPH S TURCO
                  755 WILDFLOWER CIRCLE
                  NAPERVILLE IL 60540



                  JOSEPH, DANIELLE G.
                  200 HILL ROAD
                  HYATTSVILLE MD 20785



                  JOSEPHSON, EMILY N.
                  845 CURRY TRAIL
                  SAINT PAUL MN 55123



                  JOSH OCHOA
                  2620 S 70TH ST #111
                  LINCOLN NE 68506



                  JOSH WILLIAMS
                  7940 COLBY STREET
                  LINCOLN NE 68505



                  JOSHUA KEEN
                  3876 MELBY AVE
                  SAINT MICHAEL MN 55376



                  JOSIE HENSLEY
                  15085 W 119TH ST
                  OLATHE KS 66062



                  JOYCE, BARBARA A.
                  2361 BICENTENNIAL AV
                  CREST HILL IL 60403



                  JP ELECTRIC INC
                  5403 MEADOW VIEW CLOSE
                  ROCKFORD IL 61102
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                  JP PARKER COMPANY LLC
                  377 E JEFFERSON ST STE A
                  FRANKLIN IN 46131



                  JS PALUCH CO
                  PO BOX 2703
                  ACCT 1276717
                  SCHILLER PARK IL 60176



                  JUAN NUNEZ
                  1075 HIGGINS QUARTERS DR
                  206
                  HOFFMAN ESTATES IL 60169



                  JUAN, MARON JUDE
                  1930 E 86TH ST
                  APT 313
                  MINNEAPOLIS MN 55425



                  JUAREZ, JASMIN I.
                  711 LARSEN AVE
                  STREAMWOOD IL 60107



                  JUAREZ, TOMAS L.
                  505 PICCADYLLI #151
                  ANTIOCH TN 37013



                  JULIA GRIFFIN
                  2874 MEADOW LANE UNIT W2
                  SCHAUMBURG IL 60193



                  JULIA I FITZGERALD
                  202 NATCHEZ TRACE
                  MADISON WI 53705



                  JULIA K CAMPOLI
                  60549 WHISPERING HILLS DR
                  SOUTH BEND IN 46614
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                  JULIAN ANTHONY RE MARTIN
                  1227 1/2 N TACOMA AVE
                  INDIANAPOLIS IN 46201



                  JULIAN GAYTAN CINTORA
                  2414 N IDAHO STREET
                  PEORIA IL 61604



                  JULIAN MAGENNIS
                  11909 MAIN STREET
                  MAPLE GROVE MN 55369



                  JULIO MARAVILLA
                  1207 N LASALLE ST
                  INDIANAPOLIS IN 46201



                  JULO, CAROL A.
                  7612 KING ST.
                  APT A
                  OVERLAND PARK KS 66214



                  JUMPS, KACI M.
                  1601 R STREET
                  LINCOLN NE 68508



                  JUNIOR LEAGUE OF SIOUX FALLS I
                  1000N WEST AVE STE 225
                  SIOUX FALLS SD 57104



                  JURAKOBILOV, JASURBEK R.
                  910 PALMER ROAD
                  11
                  FORT WASHINGTON MD 20744



                  JURMU, JON
                  200 5TH AVE N
                  208
                  SAINT CLOUD MN 56303
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                  JUSTICE FIRE AND SAFETY
                  3601 N POTSDAM AVE
                  SIOUX FALLS SD 57104



                  JUSTIN CHRISTENSON
                  3881 BRANT GROVE DR
                  SIOUX FALLS SD 57106



                  JUSTIN MORRIS
                  42 TROTTER LANE
                  CLINTON PA 15026



                  JUSTIN R LARSEN
                  2338 NORTH 113TH STREET
                  OMAHA NE 68164



                  JUSTIN SAMUELOFF
                  14943 STONEY BROOK
                  SHELBY TWP MI 48315



                  JUSTIN SANFORD
                  3301 HIGHWAY 169 N APT 316
                  PLYMOUTH MN 55441



                  JW KOEHLER ELECTRIC INC
                  2716 W CENTRAL PARK AVE
                  DAVENPORT IA 52804



                  K & Z DISTRIB
                  PO BOX 29289
                  LINCOLN NE 68507



                  K AND J PHILLIPS INC
                  526 W 5TH AVE
                  NAPERVILLE IL 60563
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                  K9 KINDNESS RESCUE INC
                  4209 RODEO ROAD
                  DAVENPORT IA 52806



                  KALAMA, MAKAYLA K.
                  1315 N 110TH PLAZA
                  709
                  OMAHA NE 68154



                  KALLISH, JAMES R.
                  5820 OAKWOOD DR
                  UNIT 2A
                  LISLE IL 60532



                  KAMEL, NICOLE R.
                  27142 LORRAINE
                  WARREN MI 48093



                  KANSAS CITY BOARD
                  OF PUBLIC UTILITIES
                  PO BOX 219661
                  KANSAS CITY MO 64121-9661



                  KANSAS CITY MO HEALTH DEPT
                  FOOD PROTECTION PROGRAM
                  2400 TROOST SUITE 3200
                  KANSAS CITY MO 64108



                  KANSAS CITY POWER & LIGHT
                  PO BOX 219330
                  KANSAS CITY MO 64121-9330



                  KANSAS CITY ZOO AAZK CHAPTER I
                  6800 ZOO DRIVE
                  KANSAS CITY MO 64132



                  KANSAS PAYMENT CENTER
                  PO BOX 758599
                  TOPEKA KS 66675
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                  KANSAS STATE TREASURER
                  900 SW JACKSON 2ND FLOOR
                  SUITE 201
                  TOPEKA KS 66612-1235



                  KAPLAN, DANIEL
                  732 18TH STREET
                  106
                  DES MOINES IA 50317



                  KARA O KING ENTERTAINMENT LLC
                  4642 SW 74TH AVE
                  MIAMI FL 33155



                  KAREN MINCHEFF
                  145 WOODLAND DRIVE
                  OAK BROOK IL 60523



                  KARI DEWEESE
                  1801 CENTRAL AVE
                  DETROIT MI 48209



                  KARLSBURGER FOODS INC
                  3236 CHELSEA ROAD WEST
                  MONTICELLO MN 55362



                  KAROLYIS INC
                  24521 DALE AVE
                  EASTPOINTE MI 48021



                  KAROVIC, ALEXIS M.
                  2324 48TH ST NE
                  CANTON OH 44705



                  KASPER, CRYSTAL
                  9580 ZIRCON CT N
                  OSSEO MN 55311
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                  KASUN, MARIA
                  1040 Y STREET #301
                  LINCOLN NE 68508



                  KATELYN L HEISINGER
                  1200 S DAKOTA AVENUE
                  2
                  SIOUX FALLS SD 57105



                  KATHERINE E INGLE
                  1854 NW 150TH CT
                  CLIVE IA 50325



                  KATHRYN A TARBELL
                  237 S HIGHLAND AVE
                  1
                  ARLINGTON HEIGHTS IL 60005



                  KATHRYN MILLER
                  8350 N SPRUCE AVE
                  KANSAS CITY MO 64119



                  KATHY CROWELL
                  2324 N PLUMTHICKET CIRCLE
                  WICHITA KS 67226



                  KATIE CRAWLEY
                  102 BLUEBELL WAY
                  FRANKLIN TN 37064



                  KATIE KOPPANG
                  150 14TH AVE S
                  SOUTH SAINT PAUL MN 55075



                  KATTEN MUCHIN ROSENMAN LLP
                  525 W MONROE ST
                  CHICAGO IL 60661-3693
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                  KATZ AMERICAS
                  3685 LOCKPORT ROAD
                  SANBORN NY 14132



                  KAYLA M WYCKOFF
                  525 RIVERSIDE AVE
                  FORT WAYNE IN 46805



                  KAYLEE ANN MONTAG
                  8410 N IL RT 2
                  BYRON IL 61010



                  KBS GK FUND II LP
                  PO BOX 856664
                  MINNEAPOLIS MN 55485-6664



                  KCK CHAM
                  727 MINNESOTA AVE
                  KANSAS CITY KS 66101



                  KCMO CITY TREASURER
                  PO BOX 809026
                  KANSAS CITY MO 64180-9026



                  KCMO CITY TREASURER
                  FIRE PREVENTION DIVISION
                  635 WOODLAND AVE STE 2103
                  KANSAS CITY MO 64106



                  KCMO WATER SVCS DEPARTMENT
                  PO BOX 807045
                  KANSAS CITY MO 64180-7045



                  KEAGAN MCGINNESS
                  2319 36TH ST
                  DES MOINES IA 50310
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                  KEEHN, ALEXANDER
                  404 N DOMINIC AVE
                  SIOUX FALLS SD 57107



                  KEEN, AMY L.
                  3876 MELBY AVE.
                  SAINT MICHAEL MN 55376



                  KEEN, JOSHUA C.
                  3876 MELBY AVE
                  SAINT MICHAEL MN 55376



                  KEG LOGISTICS HOLDINGS LLC
                  PO BOX 912908
                  DENVER CO 80291



                  KEHMARI NORMAN
                  700 51ST STREET NE APT 301
                  WASHINGTON DC 20019



                  KEISLER, EMILY
                  3240 OSWEGO AVE
                  FORT WAYNE IN 46805



                  KEITH M TURNER
                  10349 HORNTON ST
                  INDIANAPOLIS IN 46236



                  KEITH MOSS
                  2607 KNAPP STREET
                  AMES IA 50014



                  KEKUINE, SHELSA
                  10118 CAMPUS WAY S
                  APT 102
                  UPPER MARLBORO MD 20774
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                  KELASH, BROOKLYN
                  1405 12TH AVENUE N
                  103
                  SAINT CLOUD MN 56303



                  KELLEHER, DESTINY
                  5400 HIGHLAND CT.
                  CRESTWOOD IL 60418



                  KELLER AND KELLER LAW OFFICE
                  PO BOX 1010
                  WALDORF MD 20604



                  KELLER FIRE AND SAFETY INC
                  1138 KANSAS AVE
                  KANSAS CITY KS 66105



                  KELLER, KEVIN A.
                  513 N 10TH STREET
                  LEAVENWORTH KS 66048



                  KELLY DIAZ
                  325 N KERCH STREET
                  BROOKLYN WI 53521



                  KELLY GLASS INC
                  2400 SW ADAMS ST
                  PEORIA IL 61602



                  KELLY HOWIE
                  14586 LEBLANC AVE
                  ALLEN PARK MI 48101



                  KELLY KINSMAN
                  225 WILLIAM ST
                  EAST PEORIA IL 61611
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                  KELLY SATTER
                  2211 GRIFFITH ST
                  LINCOLN NE 68503



                  KELSEY JONES
                  10812 CLEVELAND AVE
                  KANSAS CITY KS 66109



                  KELSEY KOWALSKI
                  9319 HARPERS CT NE
                  BLAINE MN 55449



                  KEMPTON, MORGAN L.
                  424 11TH ST. S.
                  MOORHEAD MN 56560



                  KENDALL COUNTY CIRCUIT COURT
                  807 W JOHN ST
                  CHICAGO IL 60660



                  KENDALL TEWS
                  1722 DETROIT
                  ELLSWORTH IA 50075



                  KENDALL, WILLIAM
                  138 S CEDAR ST
                  PALATINE IL 60067



                  KENNEDY, SARAH
                  929 W DEERBROOK DR
                  PEORIA IL 61615



                  KENNELLY, LOGAN T.
                  947 COOPER COURT
                  ELK GROVE VILLAGE IL 60007
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                  KENNEY, TARONICA A.
                  3519 MINNESOTA AVENUE SE #301
                  WASHINGTON DC 20019



                  KENNY, JOSEPH
                  5823 SOUTH 100TH PLZ
                  3B
                  OMAHA NE 68127



                  KEON, ROBERT M.
                  12318 S MULLEN CT
                  OLATHE KS 66062



                  KEON, STACIE L.
                  12318 S. MULLEN CT.
                  OLATHE KS 66062



                  KEPCHAR, STEPHANIE D.
                  5811 ALLANWOOD DR
                  CLEVELAND OH 44129



                  KERR, JACQUELINE
                  5055 W AGATITE AVE
                  APT 1
                  CHICAGO IL 60630



                  KERRY PATRICK CLARK
                  1614 RIVER ROAD
                  MAUMEE OH 43537



                  KERSEY, ANDREA G.
                  1522 PRATHER AVENUE
                  SAINT LOUIS MO 63139



                  KESS, AUTI M.
                  9300 S 29TH ST
                  LINCOLN NE 68515
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                  KETELBOETER, SYDNEY
                  1201 WENTON DRIVE
                  CHISHOLM MN 55719



                  KEVIN CURRIER
                  2717 N 66TH ST
                  OMAHA NE 68104



                  KEVIN J BOTKA
                  1207 WOOD EDGE CIR
                  BRISTOL IN 46507



                  KHADIJAH J WELLS
                  1644 RICHMOND RD NE
                  CEDAR RAPIDS IA 52402



                  KIARA C SCHAFER
                  3707 73RD ST E
                  INVER GROVE HEIGHTS MN 55076



                  KIEHL L GOLD
                  1025 DONNIE COURT
                  LINCOLN NE 68522



                  KIM MENGE
                  3330 PILOT KNOB RD
                  EAGAN MN 55121



                  KIMBALL, ANDREW J.
                  2192 LEXINGTON AVE N
                  12
                  SAINT PAUL MN 55113



                  KINCHELOE, JARED
                  3905 PINE TREE DR
                  CEDAR RAPIDS IA 52403
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                  KING, ANDRE
                  17780 SW 103 AVE.
                  MIAMI FL 33157



                  KING, ELLYN K.
                  4045 MOHAWK STREET
                  LINCOLN NE 68510



                  KING, MIKAYLA N.
                  2024 1/2 N. WESTWOOD AVENUE
                  TOLEDO OH 43607



                  KING, NEAL
                  3627 YORKTOWN DRIVE
                  WALDORF MD 20601



                  KING, RANDOLPH E.
                  1213 CRISFIELD DR.
                  OXON HILL MD 20745



                  KINGDOM STATE CHURCH INC
                  PO BOX 775185
                  SAINT LOUIS MO 63177



                  KINGSMEN CLEANING
                  6818 LAUREL AVE
                  OMAHA NE 68104



                  KINNEY, CAITLYN C.
                  950 67TH ST
                  220
                  WEST DES MOINES IA 50266



                  KINSELLA, MARIN
                  1301 ARROWHEAD DR
                  SAINT LOUIS MO 63132
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                  KINSMAN, KELLY
                  225 WILLIAM ST
                  EAST PEORIA IL 61611



                  KINZEY, JAMES J.
                  28219 HUGHES ST
                  SAINT CLAIR SHORES MI 48081



                  KIPPER, CARL
                  518 WEST 61ST STREET
                  DAVENPORT IA 52806



                  KIPPER, CARLTON R.
                  518 WEST 61ST STREET
                  DAVENPORT IA 52806



                  KIRBY WATER CONDITIONING
                  200 S 14TH AVE
                  ELDRIDGE IA 52748



                  KIRK, JALEN
                  50 RIVERSIDE RUN DR
                  INDIAN HEAD MD 20640



                  KIRKLAND JR., DAVID N.
                  2914 SANDY HALLOW RD
                  APT 4
                  ROCKFORD IL 61109



                  KIRKWOOD, VALERIE D.
                  2177 KINGSTON DR
                  MAUMEE OH 43537



                  KIRSHENBAUM BOND SENECAL AND P
                  160 VARICK ST
                  NEW YORK NY 10013
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                  KIRSTEN KEDING
                  610 PARKVIEW DR
                  NEW RICHMOND WI 54017



                  KISELSTEIN, BRIAN J.
                  900 E WILMETTE RD
                  220
                  PALATINE IL 60074



                  KITREL, EUGENE
                  1395 NE 33 AVENUE #107
                  HOMESTEAD FL 33033



                  KITTY CAT CONNECTION INC
                  4600 E 63RD STREET TRFWY
                  SMITHVILLE MO 64089



                  KIVI, MEGANN M.
                  2061 SHEPARD ROAD
                  207
                  SAINT PAUL MN 55116



                  KIWANIS CHARITIES OF ROCKFORD
                  PO BOX 8472
                  ROCKFORD IL 61126



                  KLABUNDES DELIVERY INC
                  8555 IZARD STREET
                  OMAHA NE 68114



                  KLAK, LEA
                  594 ROLLING BROOKE WAY
                  NORTHFIELD OH 44067



                  KLEIN, STEVE
                  33556 GROTH DR
                  STERLING HEIGHTS MI 48312
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                  KLEIN, TINA M.
                  9595 HAVLET RD NW
                  RICE MN 56367



                  KLENDA, JACOB
                  4818 NORESTON ST
                  SHAWNEE KS 66226



                  KLING, MOLLY J.
                  1709 35TH ST S
                  UNIT 211
                  FARGO ND 58103



                  KLING, MOLLY J.
                  1864 S. 39TH STREET #206
                  FARGO ND 58103



                  KLOCKNER, HALLE
                  37680 NORTHLAND STREET
                  LIVONIA MI 48152



                  KLOSTERMAN BAKING CO
                  PO BOX 712572
                  CINCINNATI OH 45271-2572



                  KNIGHT, BRENELLE M.
                  11709 LONG LEAF CIRCLE
                  SAINT LOUIS MO 63146



                  KNIGHT, ROBERT F.
                  200 BOYD LANE, #205
                  OAKDALE PA 15071



                  KNIGHTS OF COLUMBUS
                  4620 HAVILAND CT
                  NAPERVILLE IL 60564
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  KNIGHTS OF COLUMBUS
                  6254 VALLEY KNOLL DR
                  ROCKFORD IL 61109-9718



                  KNIGHTS OF COLUMBUS
                  SAINT FABIAN COUNCIL 13362
                  32200 W TELEGRAPH RD
                  FARMINGTON HILLS MI 48334



                  KNIGHTS OF COLUMBUS HOFFMAN
                  SCHAUMBURG COUNCIL 6964
                  PO BOX 68035
                  SCHAUMBURG IL 60168



                  KNOBLOCK, SAMANTHA
                  5938 STUMPH ROAD
                  204
                  CLEVELAND OH 44130



                  KNOWRESOLVE
                  PO BXO 380435
                  CLINTON TOWNSHIP MI 48038



                  KNOX AND BARNES CUSTOM SHOP LL
                  5223 DECATUR RD
                  FORT WAYNE IN 46806



                  KNOX, LOUIS A.
                  10994 ISANTI CT NE
                  MINNEAPOLIS MN 55449



                  KOBALL, JAMIE L.
                  2207 S. 1ST AVE
                  SIOUX FALLS SD 57105



                  KOBLE, MORGAN
                  3201 45TH AVE SOUTH
                  FARGO ND 58103
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                  KOCH, CHRIS
                  1732 WHISPERING PINES COURT SW
                  CEDAR RAPIDS IA 52404



                  KOEHLINGER SECURITY TECHNOLOGY
                  INC
                  421 EAST WASHINGTON BLVD
                  FORT WAYNE IN 46802



                  KOLKOSKI, BREEZY R.
                  7209 N NEVADA AVE
                  KANSAS CITY MO 64152



                  KOLKOSKI, BRIELLE J.
                  7209 N NEVADA AVE
                  KANSAS CITY MO 64152



                  KOLORTECH LIGHTING LLC
                  PO BOX 68
                  SHERIDAN IN 46069



                  KONG, NYAKEK
                  4620 E 54TH ST
                  129
                  SIOUX FALLS SD 57110



                  KONICA MINOLTA BUSINESS SOLUTI
                  21146 NETWORK PLACE
                  CHICAGO IL 60673-1211



                  KONICA MINOLTA BUSINESS SOLUTI
                  DEPT CH 19188
                  PALATINE IL 60055-9188



                  KONICA MINOLTA PREMIER
                  PO BOX 41602
                  PHILADELPHIA PA 19101-1602
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                  KONONENKO, NATALIYA V.
                  9280 UNIVERSITY AVE NW
                  356
                  MINNEAPOLIS MN 55448



                  KOORSEN FIRE AND SECURITY INC
                  2719 N ARLINGTON AVE
                  INDIANAPOLIS IN 46218



                  KOPIECKI, MADELINE R.
                  1548 VAN BUREN AVE
                  SAINT PAUL MN 55104



                  KOPKE, AAYLAH R.
                  6970 S 145 E
                  WOLCOTTVILLE IN 46795



                  KOPNICK, ANDREW S.
                  1109 7TH ST S
                  B308
                  WAITE PARK MN 56387



                  KOPP, ALEXIS C.
                  1030 UNIVERSITY DRIVE N.
                  FARGO ND 58102



                  KOPPANG, KATIE
                  150 14TH AVE. S.
                  SOUTH SAINT PAUL MN 55075



                  KOPPERUD, JENNIFER L.
                  1339 12TH AVE S
                  FARGO ND 58103



                  KORAIDO, MADELINE
                  538 MILLERS RUN ROAD APT. 1
                  MORGAN PA 15064
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  KORDALSKI, KEVIN M.
                  750 CHENE ST.
                  1405
                  DETROIT MI 48207



                  KORECKI, JAKE R.
                  23833 BATTELLE
                  HAZEL PARK MI 48030



                  KORMANIK, LUKE
                  5204 15TH AVE S
                  MINNEAPOLIS MN 55417



                  KORY DONALDSON
                  437 E WASHINGTON ST
                  EAST PEORIA IL 61611



                  KOSLOSKI, HANNAH
                  901 8TH ST S
                  MOORHEAD MN 56562



                  KOTHRADE SEWER WATER AND
                  EXCAVATING INC
                  12059 WHITETAIL LN
                  HANOVER MN 55341



                  KOTIS DESIGN LLC
                  PO BOX 24003
                  SEATTLE WA 98124



                  KOUSTRUP, MICHAEL J.
                  3927 88TH AVE. NE
                  CIRCLE PINES MN 55014



                  KOWALSKI, KELSEY J.
                  948 THOMAS AVE. W
                  SAINT PAUL MN 55104
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                  KOWALSKY PAINTING LLC
                  2729 VIRGINIA DR SE
                  CEDAR RAPIDS IA 52403



                  KOZEL, DANIELLA M.
                  1818 BUCKINGHAM RD
                  MUNDELEIN IL 60060



                  KOZLOWSKI, ALEXIS
                  3709 ORIOLE LN
                  ROLLING MEADOWS IL 60008



                  KR COMPANY LLC
                  5140 MEIJER DRIVE
                  ROYAL OAK MI 48073



                  KRAFT, TYLER J.
                  2909 10TH AVE N
                  FARGO ND 58102



                  KRAUTER BOSN SERVICE COMPANY I
                  3607 N 39TH STREET
                  LINCOLN NE 68504



                  KRAZEL, SETH J.
                  21326 RANDALL ST.
                  FARMINGTON MI 48336



                  KREJCI, JORDYN J.
                  3418 WESTGATE
                  OMAHA NE 68124



                  KREPFLE, SADIE (SARAH) K.
                  865 BENTLEY DRIVE UNIT 9
                  MARION IA 52302
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                  KREW KEGS INC
                  19437 SW 90TH CT
                  TUALATIN OR 97062



                  KRINGEN, BARRETT A.
                  4022 18TH AVENUE S. #107
                  FARGO ND 58103



                  KRISANN SCHWANKE
                  1108 BELSLY BLVD APT 109
                  MOORHEAD MN 56560



                  KRISS PREMIUM PRODUCTS INC
                  PO BOX 17280
                  MINNEAPOLIS MN 55417



                  KRISTEN R GRABLE
                  7337 CACABNEAH DR APT #304
                  INDIANAPOLIS IN 46227



                  KRISTIN REGO
                  1572 WOODROW RD
                  MAYFIELD HEIGHTS OH 44124



                  KRUPKO, PAUL
                  2751 DEER CREEK TRAIL
                  URBANDALE IA 50323



                  KRUSE, JACOB
                  1509 MARSHALL ST
                  BOONE IA 50036



                  KRYFULS LLC
                  3706 S 138TH ST
                  OMAHA NE 68144
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                  KRYSTAL KLEEN INC
                  31436 PAGELS DR
                  WARREN MI 48092



                  KT HOOD CLEANING SERVICE
                  3730 ROSEWOOD LANE N
                  PLYMOUTH MN 55441



                  KUBALA, EILEEN R.
                  8500 HERON AVE SOUTH
                  COTTAGE GROVE MN 55016



                  KUHLMEY, JANESSA J.
                  805 9TH STREET SOUTH
                  AVON MN 56310



                  KUHNEN, WENDI A.
                  103 OSPREY RIDGE
                  MACHESNEY PARK IL 61115



                  KULASA, JOHN
                  14258 PERNELL
                  STERLING HEIGHTS MI 48313



                  KULTURE KIDS
                  PO BOX 181425
                  CLEVELAND OH 44118



                  KUMPF, JACKSON
                  122 N 34TH STREET
                  OMAHA NE 68131



                  KUPSCH, KEVIN D.
                  315 4TH AVE S
                  203
                  SAINT CLOUD MN 56301
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                  KURTH, GARY
                  1500 LASALLE AVE
                  APT 508
                  MINNEAPOLIS MN 55403



                  KURTS, AUBREE
                  217 JENNETTE PL
                  FRANKLIN TN 37064



                  KURTZ, KIMBERLY
                  604 ORCHARD VIEW DRIVE
                  MAUMEE OH 43537



                  KURTZ, NICHOLAS
                  604 ORCHARD VIEW DRIVE
                  MAUMEE OH 43537



                  KYLE BRYAN
                  6582 TAMARACK CT
                  TROY MI 48098



                  KYLE JOHNSON
                  1111 W MINNEHAHA AVE #6
                  SAINT PAUL MN 55104



                  KYLEIGH D BLY
                  1705 STATE ST
                  APT 6
                  NASHVILLE TN 37203



                  KYM, AIZEN-CHOI
                  966 BUCHANAN ST
                  FORT WAYNE IN 46803



                  KYM, AIZEN-CHOI
                  966 OAKLAWN CT.
                  FORT WAYNE IN 46803
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                  L E HUNT JR ENTERPRISE INC
                  4005 SE GRIMES BLVD
                  GRIMES IA 50111



                  L F LANPHER AND CHAD CHRONISTE
                  26567 E SHORE PL
                  HARTFORD SD 57033



                  LA GRASSO BROS
                  5001 BELLEVUE
                  PO BOX 2638
                  DETROIT MI 48202-2638



                  LABUDA, LAURA A.
                  1106 ASHWOOD COURT
                  WAITE PARK MN 56387



                  LACAPRARA, NICOLA
                  30936 GRANDVIEW AVE
                  WESTLAND MI 48186



                  LACKNER, ANDREA
                  6515 LONG AVE
                  SHAWNEE KS 66216



                  LACLEDE GAS CO
                  DRAWER 2
                  SAINT LOUIS MO 63171



                  LAFAVE, NICOLE M.
                  9757 PLEASANT WAY
                  INDIANAPOLIS IN 46280



                  LAGARDA, BERENICE
                  12220 S STRANG LINE CT
                  1302
                  OLATHE KS 66062
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                  LAGARDA, JENNY
                  12215 STRANG LINE CT
                  OLATHE KS 66062



                  LAGUNES, ROSA
                  700 W MEADE BLVD LOT 80
                  FRANKLIN TN 37064



                  LAKE COUNTY CIRCUIT COURT
                  18 N COUNTY ST
                  WAUKEGAN IL 60085



                  LAKE FOREST BANK AND TRUST COM
                  PO BOX 7000
                  CAROL STREAM IL 60197-7000



                  LAKE ZURICH BREWING COMPANY LL
                  932 DONATA CT
                  LAKE ZURICH IL 60047



                  LALA, WALTER
                  715 24 AVE NE
                  MINNEAPOLIS MN 55418



                  LALIKA LLC`
                  2521 GROSS POINT RD STE 4
                  EVANSTON IL 60201



                  LAMAR TEXAS LIMITED PARTNERSHI
                  PO BOX 96030
                  BATON ROUGE LA 70896



                  LAMAR, JEFFREY
                  5725 PILLORY WAY
                  INDIANAPOLIS IN 46268
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                  LAMERE, TAYLAR
                  19202 HARAPPA AVE.
                  LAKEVILLE MN 55044



                  LAMONICA BEVERAGES INC
                  4060 ROCK VALLEY PKWY
                  LOVES PARK IL 61111



                  LANA RIVAY
                  5522 CENTURY AVE #2
                  MIDDLETON WI 53562



                  LANCASTER CNTY SCHL DIST 001
                  PO BOX 82889
                  LINCOLN NE 68501



                  LANCASTER COUNTY COURT
                  575 S 10TH
                  2ND FLOOR
                  LINCOLN NE 68508



                  LANCE KOCH
                  6055 NILES
                  TROY MI 48098



                  LANDAVERDE, JOSE A.
                  1071 ROCHESTER RD
                  APT 20
                  TROY MI 48083



                  LANDES D WALLACE
                  15510 LIVINGSTON ROAD
                  ACCOKEEK MD 20607



                  LANDESS, BRETTLEY C.
                  14175 IRELAND ROAD
                  MISHAWAKA IN 46544
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                  LANDSCAPE GARDEN CNTR
                  7201 S MINNESOTA AVE
                  SIOUX FALLS SD 57108



                  LANE, ALEXIS D.
                  9440 SUMAC RD
                  DES PLAINES IL 60016



                  LANE, BIANCA N.
                  9985 LINDA LN.
                  2W
                  DES PLAINES IL 60016



                  LANE, RICHARD AND CAMERON
                  1000 N RUSH STREET
                  MICHIGAN CITY IN 46361



                  LANGE, BRAYDEN A.
                  402 POPLAR COURT
                  CORAOPOLIS PA 15108



                  LANGE, CARISSA
                  402 POPLAR COURT
                  CORAOPOLIS PA 15108



                  LANGE, LARA L.
                  941 WHITNEY DRIVE
                  SAINT PAUL MN 55124



                  LANGELAND, NICOLE C.
                  1970 11TH AVE E
                  SHAKOPEE MN 55379



                  LANGHAM, CHRISTIAN D.
                  1128 OSPREY LANE
                  NASHVILLE TN 37221
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                  LANGLAND, DELIA A.
                  3301 HIGHWAY 169 N
                  UNIT 316
                  MINNEAPOLIS MN 55441



                  LANGLINAIS, EMILY C.
                  1501 MEREDITH DR
                  2111
                  PITTSBURGH PA 15205



                  LANGOSCH, JAIME
                  10633 PENFIELD
                  ORLAND PARK IL 60462



                  LANZARINI INC
                  1901 DELMAR BLVD
                  SAINT LOUIS MO 63103



                  LAPLANTE, SUMMER R.
                  2735 F STREET APT. 1
                  LINCOLN NE 68510



                  LARA LANGE
                  941 WHITNEY DRIVE
                  APPLE VALEY MN 55124



                  LARES, GERARDO
                  764 INLAND CIRCLE APT 102
                  NAPERVILLE IL 60563



                  LARKIN, ASHLEY J.
                  45723 LAKEVIEW COURT
                  11307
                  NOVI MI 48377



                  LARRY BIRKEY
                  1633 10TH STREET
                  MANSON IA 50563
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                  LARRY BROWN
                  435 CLYD STREET
                  TOLEDO OH 43605



                  LARRY LAWSON
                  11105 POMPEY DR
                  UPPER MARLBORO MD 20772



                  LARRY TAYLOR AND ASSOC CONSULT
                  2304 FAWN LAKE CIRCLE
                  NAPERVILLE IL 60564



                  LARSEN, ANDREW B.
                  8010 NORTH GRANBY AV
                  APT #2
                  KANSAS CITY MO 64151



                  LARSON MIDDLE SCHOOL PTO
                  2222 E LONG LAKE RD
                  TROY MI 48085



                  LARSON, ASHLEY N.
                  4433 KELLEE LN
                  LOVES PARK IL 61111



                  LARSON, ASPEN N.
                  6214 15TH STREET N.
                  FARGO ND 58102



                  LARSON, GRETCHEN A.
                  5217 S. 28TH ST.
                  OMAHA NE 68107



                  LARSON, KIRSTEN
                  2908 KENTSHIRE CIRCLE
                  NAPERVILLE IL 60564
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                  LARSON, PAUL L.
                  15460 108TH PL N
                  OSSEO MN 55369



                  LARSON, SYDNEY Y.
                  4000 2ND ST S
                  MOORHEAD MN 56560



                  LASHAWAY, DREW A.
                  5011 WISSMAN RD
                  TOLEDO OH 43615



                  LASHAWAY, JAMES M.
                  2047 BRAME PL
                  TOLEDO OH 43613



                  LASHLEY, CARL B.
                  3200 MCROBERT RD
                  PITTSBURGH PA 15234



                  LASKY, SAMANTHA C.
                  1250 RIDGE RD
                  NORTHBROOK IL 60062



                  LASSO, EDWARD
                  19781 S W 114TH AVENUE
                  MIAMI FL 33157



                  LAST DAY DOG RESCUE INC
                  PO BOX 51935
                  LIVONIA MI 48151-5935



                  LAST MINUTE GAS CONTRACTORS
                  10330 SW 42 TERRACE
                  MIAMI FL 33165
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                  LASTER, CAROL A.
                  2 WILLIAMSON STREET
                  EDWARDSVILLE KS 66113



                  LATTERELL, SAMANTHA K.
                  443 COYOTE TRAIL
                  CIRCLE PINES MN 55014



                  LAURA L HORNER
                  414 BRICKPATH LANE 109
                  FRANKLIN TN 37064



                  LAUREL HIGHLANDS COUNCIL BOY S
                  1275 BEDFORD AVE
                  FLAG PLAZA
                  PITTSBURGH PA 15219



                  LAURELS PRINCESS PARTIES LLC
                  6800 W CENTRAL AVE STE L2
                  TOLEDO OH 43617



                  LAUREN S ANDERSON
                  2316 W COTHRELL ST
                  OLATHE KS 66061



                  LAURENTIUS, SAMANTHA A.
                  8790 BROOKE PARK DR
                  205
                  CANTON MI 48187



                  LAURI BLAKLEY
                  541 HARPER DRIVE
                  VERONA WI 53593



                  LAURINAITIS, GREGORY
                  7508 RED OAK DRIVE
                  PLAINFIELD IL 60586
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                  LAVALLE, ROBERT
                  2509 COBBLE HILL CT. UNIT L
                  SAINT PAUL MN 55125



                  LAW OFFICE OF JOHN LINDNER PA
                  1920 GREENSPRING DR #130
                   TIMONIUM MD 21093



                  LAW OFFICES OF MICHAEL R STILL
                  30057 ORCHARD LAKE RD #200
                  FARMINGTON HILLS MI 48334



                  LAWHORN, SHAMILA
                  8755 LEMODE COURT
                  #D
                  INDIANAPOLIS IN 46268



                  LAWLOR, PATRICK J.
                  4930 DANFORTH DR.
                  ROCKFORD IL 61114



                  LAWRENCE C HAWKINS
                  PO BOX 896
                  LA PORTE IN 46352



                  LAWSON, ZACHARY M.
                  1013 15TH AVE S
                  SAINT CLOUD MN 56301



                  LAZARO FILTER SERVICE INC
                  7445 S WATERWAY DR
                  MIAMI FL 33155



                  LAZARO, HERIBERTO
                  577 PLUM GROVE RD
                  2B
                  ROSELLE IL 60172
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  LAZARO, RAQUEL
                  1623 B
                  LINCOLN NE 68502



                  LCD BUILDERS LLC
                  3095 TUSCARAWAS ROAD
                  BEAVER PA 15009



                  LEAD UP
                  5740 S 32ND STREET
                  LINCOLN NE 68516



                  LEAH BANNISTER
                  16119 N ADMIRAL RD
                  CHILLICOTHE IL 61523



                  LEAH JOHNSON
                  PO BOX 182
                  LACON IL 61540



                  LEAH M AGNEW
                  4011 BAMBERGER
                  SAINT LOUIS MO 63116



                  LEAHY, ASHLEY
                  10932 PIONEER DR
                  BURNSVILLE MN 55337



                  LEAHY, MIKE G.
                  10932 PIONEER DR
                  BURNSVILLE MN 55337



                  LEAHY, SARAH A.
                  10932 PIONEER DRIVE
                  BURNSVILLE MN 55337
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                  LEARFIELD COMMUNICATIONS LLC
                  PO BOX 843038
                  KANSAS CITY MO 64184-3038



                  LEASEQUERY LLC
                  115 PERIMETER CENTER PI NE
                  STE 1150
                  ATLANTA GA 30346



                  LEDBETTER, DENNIS
                  9517 49TH PLACE
                  COLLEGE PARK MD 20740



                  LEDOUX, ELIZABETH
                  3226 43RD AVENUE S.
                  FARGO ND 58104



                  LEE, ALEXIS L.
                  5301 MISTY MORNING DR
                  ROCKFORD IL 61109



                  LEE, ANTHONY M.
                  914 ANNA LIZA ST
                  PEKIN IL 61554



                  LEE, LAUREN M.
                  2435 SHARON COURT
                  NAPERVILLE IL 60564



                  LEE, WILLIAM
                  8325 MORGAN AVE N.
                  MINNEAPOLIS MN 55444



                  LEEANNA E HORNER
                  414 BRICK PATH LANE
                  FRANKLIN TN 37064
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                  LEFFLER, AMANDA C.
                  5555 NORTH 66TH STREET
                  OMAHA NE 68104



                  LEGACY SERVICE AND SUPPLY LLC
                  1732 WEST PARK CENTER STE A
                  FENTON MO 63026



                  LEGACY VILLAGE INVESTORS LLC
                  PO BOX 635159
                  CINCINNATI OH 45263-5159



                  LEGACY VILLAGE INVESTORS LLC
                  25333 CEDAR RAOD #300
                  CLEVELAND OH 44124



                  LEIGHF INC
                  3333 W DIVISION ST STE 127A
                  SAINT CLOUD MN 56301



                  LEIGHTON ENTERPRISES INC
                  PO BOX 1458
                  SAINT CLOUD MN 56302



                  LEIKIN INGBER AND WINTERS PC
                  3000 TOWN CENTER STE 2390
                  SOUTHFIELD MI 48075



                  LEMA, GISELA
                  9944 SW 224 STREET
                  APT 104
                  MIAMI FL 33190



                  LEMKER, LAUREN
                  508 6TH AVE S
                  SAINT CLOUD MN 56301
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  LEMPKE, DYLAN N.
                  1330 5TH AVE S
                  101
                  SAINT CLOUD MN 56301



                  LENAGHAN, DENISE M.
                  2306 HERITAGE DRIVE
                  SAINT CLOUD MN 56301



                  LENEAR, DAJONTAE M.
                  1124 IRVING AVENUE NORTH
                  MINNEAPOLIS MN 55411



                  LENTZ, JOLYNN C.
                  4997 51ST STREET S.
                  FARGO ND 58104



                  LEONARD EALEY
                  24841 EMANUEL LANE
                  TREMONT IL 61568



                  LEONARD, GRANT W.
                  5472 WILD ROSE LN
                  2207
                  WEST DES MOINES IA 50266



                  LERBAKKEN, ALEXANDER J.
                  3350 ADAMS STREET
                  FARGO ND 58104



                  LESDESMA, CESAR
                  5027 S 20TH ST
                  18
                  OMAHA NE 68107



                  LESEA GLOBAL FEED THE HUNGRY I
                  530 E IRELAND RD
                  SOUTH BEND IN 46614
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                  LESLIE, NICOLE M.
                  3126 BUSH DR
                  FRANKLIN TN 37064



                  LETICIA HERNANDEZ SEDANO
                  3225 WEBSTER ST
                  FORT WAYNE IN 46807



                  LEUKEMIA AND LYMPHOMA SOC INC
                  5700 BRECKSVILLE ROAD 3RD FL
                  INDEPENDENCE OH 44131



                  LEWANDOWSKI, DAVID
                  1601 EAGLE'S CREST AVENUE
                  APT B1
                  DAVENPORT IA 52804



                  LEWIS, DARNELL L.
                  1364 N. COVE APT. 4
                  TOLEDO OH 43606



                  LEWIS, JALISA D.
                  21340 WESTHAMPTON
                  OAK PARK MI 48237



                  LEWIS, KATIE E.
                  7319 LAUREL RIDGE DRIVE
                  WHITEHOUSE OH 43571



                  LEWIS, KENNETH S.
                  5841 73RD AVENUE NO. #151
                  BROOKLYN PARK MN 55429



                  LEWIS, TRACEY
                  14126 COYLE ST.
                  DETROIT MI 48227
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                  LIBBY, BRANDON R.
                  3009 18TH ST S
                  204
                  MOORHEAD MN 56560



                  LIBERTY FRUIT CO INC
                  1247 ARGENTINE BLVD
                  KANSAS CITY KS 66105-1508



                  LIBERTY SOUND AND ELECTRONICS
                  INC
                  PO BOX 3209
                  SOUTH BEND IN 46619-0209



                  LICKA, CURTIS A.
                  35085 BRIARWOOD DRIVE
                  WARRENVILLE IL 60555



                  LICON, CHRIS T.
                  2307 W 46TH ST
                  313
                  SIOUX FALLS SD 57105



                  LIDDELL, MACENZIE
                  100 S. 4TH STREET W
                  ADA MN 56510



                  LIETHA, ADAM
                  9214 NOVEMBER DRIVE
                  SAINT JOSEPH MN 56374



                  LIEURANCE, AUSTIN
                  512 TYLER ST. SE
                  #8
                  CASCADE IA 52033



                  LIFE SAFETY SYSTEMS INC
                  1417 KNECHT AVE STE A
                  ARBUTUS MD 21227
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                  LIFESERVE BLOOD CENTER INC
                  431 EAST LOCUST
                  DES MOINES IA 50309



                  LIGGETT, PATRICK A.
                  5446 CLOISTER DR
                  MURFREESBORO TN 37128



                  LIGHTHOUSE CHURCH OF ALL
                  NATIONS
                  4501 W 127TH ST
                  ALSIP IL 60803



                  LIGHTING MAINTENANCE INC
                  351 N 6TH AVE
                  ELDRIDGE IA 52748



                  LINCOLN CHAMBER OF COMMERCE IN
                  PO BOX 83006
                  LINCOLN NE 68501-3006



                  LINCOLN ELECTRIC SYSTEM
                  PO BOX 2986
                  OMAHA NE 68103-2966



                  LINCOLN INDEPENDENT BUSINESS A
                  620 N 48TH ST STE 205
                  LINCOLN NE 68504



                  LINCOLN JOURNAL STAR
                  SUBSCRIPTION
                  926 P STREET
                  LINCOLN NE 68508



                  LINCOLN NORTH STAR ATHLETICS B
                  520 W CARRINE
                  LINCOLN NE 68521
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                  LIND, JASON J.
                  508 SHADYCREST LN
                  FRANKLIN TN 37064



                  LIND, SARA M.
                  3343 THOMAS AVENUE NORTH
                  MINNEAPOLIS MN 55412



                  LINDA KAY KOZLOWSKI
                  316 ALLEN ST
                  BELVIDERE IL 61008



                  LINDA S WILLGOHS CPA
                  805 HIGHLAND AVE WEST
                  NORTHFIELD MN 55057



                  LINDA STUESSER
                  9001 ANCIENT OAK LANE
                  VERONA WI 53593



                  LINDSAY GAMBINO
                  15036 KNOISON
                  LIVONIA MI 48154



                  LINGLE DESIGN GROUP INC
                  158 W MAIN
                  LENA IL 61048



                  LINN CNTY
                  501 13TH ST NW
                  CEDAR RAPIDS IA 52405-3700



                  LINN COUNTY SHERIFF
                  PO BOX 669
                  CEDAR RAPIDS IA 52406
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                  LINN MAR SCHOOL FOUNDATION INC
                  2999 N 10TH ST
                  MARION IA 52302



                  LINSTRA, LAURA K.
                  1613 E 153RD ST
                  OLATHE KS 66062



                  LIPP, TIFFANY A.
                  2170 DAWN DR
                  MARION IA 52302



                  LIQUID 12 FESTIVALS LLC
                  1095 7TH ST W
                  SAINT PAUL MN 55102



                  LIQUID ENVIRONMENTAL SOLUTIONS
                  OF TEXAS LLC
                  PO BOX 203371
                  DALLAS TX 75320-3371



                  LISA CONWAY
                  1055 KRATTLEY LN
                  HUDSON WI 54016



                  LISA LYN RAHJA
                  8501 W LAVERN WIPF ST
                  SIOUX FALLS SD 57106



                  LISA M SCHWARTZ
                  709 HUNTLY CT
                  SCHAUMBURG IL 60194



                  LITTLE FRIENDS INC
                  140 N WRIGHT ST
                  NAPERVILLE IL 60540
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                  LITTLE, CHRISTIAN I.
                  208 N. 9TH STREET
                  1204
                  SAINT LOUIS MO 63101



                  LITTLER MENDELSON PC
                  ATTN TREASURY
                  2301 MCGEE ST, 8TH FLOOR
                  KANSAS CITY MO 64108-2662



                  LITURGICAL PUBLICATIONS INC
                  2875 S JAMES DR
                  NEW BERLIN WI 53151



                  LITVIN, EDWARD V.
                  1417 SUMMIT RIDGE DR.
                  SAINT LOUIS MO 63147



                  LIVE YOUR FREEDOM INC
                  1766 W ST SE
                  WASHINGTON DC 20020



                  LIVONIA CHAMBER OF COMMERCE
                  33300 FIVE MILE ROAD STE 212
                  LIVONIA MI 48154



                  LIVONIA CIVIC ARENAS INC
                  33841 LYNDON ST
                  LIVONIA MI 48154



                  LIVONIA FRC ROBOTICS INC
                  16200 NEWBURGH RD
                  LIVONIA MI 48154



                  LL HARDER INC
                  5013 W 12TH
                  SIOUX FALLS SD 57106
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                  LLAGUNO, MIRANDA
                  6245 SW KENDALE LAKES CIR
                  A205
                  MIAMI FL 33183



                  LLCHD
                  3140 N STREET
                  LINCOLN NE 68510-1514



                  LOBATO, DOMINGO
                  12808 MANDERSON PLAZA
                  UNIT 205
                  OMAHA NE 68164



                  LOBEJKO, KATHLENE
                  6940 ASHWOOD RD #310
                  SAINT PAUL MN 55125



                  LOCALS LOVE US QUAD CITIES LLC
                  102 E KIMBERLY RD
                  STE 1 PMB 199
                  DAVENPORT IA 52806



                  LOCKE, MARY
                  5811 N FLORA AVE
                  KANSAS CITY MO 64118



                  LOCKGIANT LOCKSMITH INC
                  671 PILGRIM AVE
                  BIRMINGHAM MI 48009



                  LOCKTON COMPANIES LLC
                  PO BOX 802707
                  KANSAS CITY MO 64180-2707



                  LODERMEIER, LEE R.
                  9595 HAVLET RD NW
                  RICE MN 56367
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  LODGING SOURCE
                  PO BOX 744
                  MOUNT PLEASANT SC 29465



                  LODOVICO WINDOW CLEANING INC
                  PO BOX 341
                  MURRYSVILLE PA 15668



                  LOEFFLER, CAITLYN D.
                  555 N MURLEN RD
                  202
                  SHAWNEE KS 66216



                  LOEFFLER, KAYLA C.
                  6705 OAK GROVE PKWY NORTH
                  UNIT 1120
                  MINNEAPOLIS MN 55445



                  LOEW, AMANDA
                  1407 TAYLOR ST
                  FORT WAYNE IN 46802



                  LOEW, CADEN M.
                  5504 JOYCE AVE
                  FORT WAYNE IN 46818



                  LOFFREDO
                  4001 SW 63RD STREET
                  DES MOINES IA 50321



                  LOFSWOLD, ANNA L.
                  4924 17TH AVE S
                  MINNEAPOLIS MN 55417



                  LOHMANN, MELISSA A.
                  1213 57TH PLACE
                  WEST DES MOINES IA 50266
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                  LOHR DISTRIB CO INC
                  1100 SOUTH 9TH ST
                  SAINT LOUIS MO 63104



                  LOIS FLORA
                  5438 S 32ND ST
                  LINCOLN NE 68516



                  LOIS KAMMER
                  4809 SHERWOOD ROAD
                  MADISON WI 53711



                  LONCZKOWSKI, DANIELLE C.
                  23371 LAKEWOOD
                  CLINTON TOWNSHIP MI 48035



                  LONE ROCK INC
                  7939 BURDEN RD
                  MACHESNEY PARK IL 61115



                  LONG RANGE SYSTEMS LLC
                  PO BOX 671111
                  DALLAS TX 75267-1111



                  LONG, MADELINE
                  385 BLUE REEF DR.
                  HIAWATHA IA 52233



                  LONGHENRY, ALLISON J.
                  48082 252ND ST
                  GARRETSON SD 57030



                  LONGIE, PETER J.
                  1710 49TH STREET SOUTH
                  303
                  FARGO ND 58103
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                  LONGIE, RICHARD J.
                  1710 49TH STREET SOUTH
                  303
                  FARGO ND 58103



                  LONGTIN, JAMES A.
                  1746 52ND ST S
                  FARGO ND 58103



                  LONSBURY, ABIGAIL L.
                  7503 MERIWOOD DR.
                  FORT WAYNE IN 46835



                  LOOMIS ARMORED US INC
                  DEPT CH 10500
                  PALATINE IL 60055-0500



                  LOOMIS, SYDNEY C.
                  4026 87TH ST. E
                  INVER GROVE HEIGHTS MN 55076



                  LOONAM, BREANNA
                  652 REBECCA LANE
                  BOLINGBROOK IL 60440



                  LOOS, KIMBERLY L.
                  2630 JAMESON N. #2
                  LINCOLN NE 68512



                  LOPEZ ESTEVES, YOLANDA
                  7232 PORTLAND AVE
                  10
                  MINNEAPOLIS MN 55423



                  LOPEZ ONOFRE, EUTIQUIA
                  3300 MINNEHAHA AVE S APT 103
                  MINNEAPOLIS MN 55406
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                  LOPEZ, ALEJANDRO
                  5437 MARYLAND AVE. N.
                  MINNEAPOLIS MN 55428



                  LOPEZ, ALEJANDRO
                  5437 MARYLAND AVENUE NO.
                  MINNEAPOLIS MN 55428



                  LOPEZ, ALEXANDER
                  254 BIRMINGHAM ST
                  UNIT 2
                  SAINT PAUL MN 55106



                  LOPEZ, CRISOFORO
                  31367 HARLO DRIVE
                  APT H
                  MADISON HEIGHTS MI 48071



                  LOPEZ, DORA D.
                  9611 WEDGEWOOD DR
                  FORT WASHINGTON MD 20744



                  LOPEZ, FERNANDO
                  8610 GRANT AVE
                  OVERLAND PARK KS 66212



                  LOPEZ, JESUS
                  2071 EDINGBURGH LN
                  AURORA IL 60504



                  LOPEZ, JOSE A.
                  1036 CALVIN AVE
                  #16
                  KANSAS CITY KS 66102



                  LOPEZ, JOSE A.
                  45 N. 11TH ST. #16
                  KANSAS CITY KS 66102
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                  LOPEZ, LUIS A.
                  1106 FAWN PARKWAY PLAZA
                  APT 364
                  OMAHA NE 68144



                  LOPEZ, MANUEL
                  4941 TAMA STREET
                  APT 4
                  MARION IA 52302



                  LOPEZ, MANUEL
                  906 POCAHONTAS DR
                  FORT WASHINGTON MD 20744



                  LOPEZ, MANUEL
                  4941 TAMA STREET, #42
                  MARION IA 52302



                  LOPEZ, MARCIAL
                  2150 EDGEWOOD RD NW APT 9
                  CEDAR RAPIDS IA 52405



                  LOPEZ, MARGARITA
                  2609 16TH AVE
                  APT 18
                  MINNEAPOLIS MN 55407



                  LOPEZ, MARIA F.
                  1908 E RICE ST.
                  13
                  SIOUX FALLS SD 57103



                  LOPEZ, MAURICIO C.
                  207 MONTWOOD CT
                  FRANKLIN TN 37064
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                  LOPEZ, NEPTALI B.
                  2727 DUKE ST.
                  UNIT 600
                  ALEXANDRIA VA 22314



                  LORA SWANSON
                  5532 KNOLLWOOD DR
                  SAINT CLOUD MN 56303



                  LORD, COLLEEN C.
                  15708 FITZGERALD ST.
                  LIVONIA MI 48154



                  LORENA ZUBKO
                  701 N DOLUTH
                  SIOUX FALLS SD 57104



                  LORENTZEN, BURKLEY E.
                  29652 HIDDEN FOREST BLVD
                  CHISAGO CITY MN 55013



                  LORENZ, LEVI G.
                  514 LANGLEY ROAD
                  MACHESNEY PARK IL 61115



                  LORI A WOLFF
                  816 LINCOLNWOOD LANE
                  APT B
                  INDIANAPOLIS IN 46260



                  LOTASPIRITS
                  3780 STATE STREET
                  BETTENDORF IA 52722



                  LOTHAMER, DUSTIN R.
                  609 CHARLOTTE AVE
                  FORT WAYNE IN 46805
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  LOUIS GLUNZ BEER INC
                  7100 N CAPITAL DRIVE
                  LINCOLNWOOD IL 60712-2740



                  LOUIS GLUNZ WINES INC
                  630 MARGATE DR
                  LINCOLNSHIRE IL 60069



                  LOUIS ROBERT Z WILLIAMS II
                  4606 HOLBORN AVE
                  ANNANDALE VA 22003



                  LOVE, JOSHUA
                  11825 BAILEY RD
                  WATERVILLE OH 43566



                  LOVES TRAVEL STOPS AND COUNTRY
                  10601 NORTH PENNSYLVANIA
                  OKLAHOMA CITY OK 73120



                  LOWE, BRANDON D.
                  141 GLADSTONE
                  DETROIT MI 48202



                  LOWRY, CHRISTOPHER A.
                  24901 AUBURN LN
                  APT 6
                  SOUTHFIELD MI 48033



                  LSW CONSULTING SOLUTIONS LLC
                  805 HIGHLAND AVE
                  NORTHFIELD MN 55057



                  LTD BREWING LLC
                  725 MAINSTREET
                  HOPKINS MN 55343
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                  LUBOWICZ, RACHEL M.
                  9202 DARNELL ST
                  LENEXA KS 66215



                  LUBOWICZ, SAM
                  9202 DARNELL ST
                  LENEXA KS 66215



                  LUCA, JONATHON
                  1467 WILTSHIRE RD
                  BERKLEY MI 48072



                  LUCAS HOWELL
                  2112 W AYRES
                  PEORIA IL 61604



                  LUCAS, DELANTE
                  3738 STONESBORO RD
                  FORT WASHINGTON MD 20744



                  LUCID BREWING LLC
                  701 N 5TH STREET
                  MINNEAPOLIS MN 55401



                  LUDWIG, ANTHONY
                  3602 E DOUGLAS AV
                  207
                  DES MOINES IA 50317



                  LUEDTKE, KORBIN M.
                  530 NORTHBOROUGH LN.
                  LINCOLN NE 68505



                  LUGN, ASHLEY
                  7321 PIONEERS BLVD
                  326
                  LINCOLN NE 68506
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                  LUGO, JUAN
                  1429 COOLIDGE DR
                  SAINT LOUIS MO 63132



                  LUIS VALDES
                  10235 SW 46TH ST
                  MIAMI FL 33165



                  LUJAN, JOSE D.
                  1605 7TH ST SE
                  301
                  SAINT CLOUD MN 56304



                  LUMIND RESEARCH DOWN SYNDROME
                  20 BURLINGTON MALL RD STE 200
                  BURLINGTON MA 01803



                  LUNA AGUILAR, JUAN D.
                  14650 FOLIAGE AVENUE
                  SAINT PAUL MN 55124



                  LUNA, EDUARDO
                  15140 EL CAMENO TERRACE
                  UNIT 2N
                  ORLAND PARK IL 60462



                  LUNA, GABRIELLE E.
                  4524 RICHFIELD LANE
                  FORT WAYNE IN 46816



                  LUNA, KARINA
                  1570 CAVALRY ST
                  DETROIT MI 48209



                  LUND, HEATHER
                  122 E 7TH ST
                  TONGANOXIE KS 66086
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                  LUPULIN BREWING LLC
                  570 THUMBOLDT DRIVE #107
                  BIG LAKE MN 55309



                  LUPUS FOUNDATION OF AMERICA IN
                  2121 K STREET NW STE 200
                  WASHINGTON DC 20037



                  LUREEN, CASSANDRA D.
                  613 22ND STREET NW
                  MINOT ND 58703



                  LUSK, CONNOR
                  1028 N. 16TH STREET
                  BEATRICE NE 68310



                  LUSK, MARY B.
                  27 VALLEY DRIVE
                  32
                  MOUNT CLEMENS MI 48043



                  LUSKEY, SAMANTHA
                  13301 MAPLE KNOLL WAY
                  APT 701
                  OSSEO MN 55369



                  LUTHERAN FAMILY SERVICES OF NE
                  124 S 24TH STREET STE 230
                  OMAHA NE 68102



                  LUTHERAN HIGH SCHOOL ASSOCIATI
                  OF THE GREATER ROCKFORD AREA
                  3411 N ALPINE RD
                  ROCKFORD IL 61114



                  LUTHERAN MILITARY VETERANS
                  AND FAMILIES MINISTRIES INC
                  3480 STELLHORN ROAD
                  FORT WAYNE IN 46815
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                  LUTZ, TIMOTHY
                  212 ERIE AVE.
                  ALIQUIPPA PA 15001



                  LUZ NOKAJ
                  40325 PLYMOUTH RD APT 201
                  PLYMOUTH MI 48170



                  LUZUM, JACKIE L.
                  512 3RD AVE SW
                  MOUNT VERNON IA 52314



                  LYNCH, RICHARD H.
                  2730 W LAKE ST
                  UNIT 610
                  MINNEAPOLIS MN 55419



                  LYNDSEY GRUBER
                  204 NW 79TH TERRACE
                  KANSAS CITY MO 64118



                  LYNN M BALTRIP
                  38020 JOPLIN DR
                  CLINTON TOWNSHIP MI 48036-3904



                  LYNN PUBLICATIONS INC
                  833 SW LEMANS LANE
                  SUITE 132
                  LEES SUMMIT MO 64082



                  LYNUM, DANIEL
                  3440 5TH ST W
                  109
                  WEST FARGO ND 58078



                  LYONS DOUGHTY AND VELDHUIS PC
                  PO BOX 1269
                  MOUNT LAUREL NJ 08054
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                  LYONS, ANDREW
                  20582 WOODBURN
                  SOUTHFIELD MI 48075



                  LYSINGER, ERICA
                  248 52ND STREET
                  93
                  WEST DES MOINES IA 50265



                  M L JACKSON QUALITY PLUMBING I
                  712 E 6TH ST
                  COAL VALLEY IL 61240



                  M W HOPKINS AND SONS INC
                  9150 PYOTT RD
                  LAKE IN THE HILLS IL 60156



                  MAAS, JULIA M.
                  1115 CHRISTOPHER DRIVE
                  BOWLING GREEN OH 43402



                  MACDONALD, DIANNA R.
                  200 FAIRVIEW AVE
                  EAST PEORIA IL 61611



                  MACGREGOR, LINDSAY
                  344 DUNNWOOD DR
                  APT 2
                  FORT WAYNE IN 46835



                  MACMANUS, AUGUSTUS
                  4816 NORFOLK PLACE
                  BETTENDORF IA 52722



                  MACRAE, LOGAN
                  419 17TH ST S
                  MOORHEAD MN 56560
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                  MAD APE LLC
                  2300 WISCONSIN AVE #213
                  DOWNERS GROVE IL 60515



                  MADDISON JETER
                  2004 FONDULAC DR
                  EAST PEORIA IL 61611



                  MADELINE MORRISON
                  510 LINDSAY ROAD
                  CARNEGIE PA 15106



                  MADHOUSE BREWING COMPANY LLC
                  501 SCOTT AVE
                  DES MOINES IA 50309



                  MADISON CARROLL
                  808 1/2 OAK
                  NEW HAVEN IN 46774



                  MADONNA UNIVERSITY
                  36600 SCHOOLCRAFT ROAD
                  LIVONIA MI 48150



                  MADRID, EDUARDO
                  1519 N SILVER LN
                  APT 3B
                  PALATINE IL 60074



                  MAGANA, BRIAN
                  8217 CARLISLE DRIVE
                  HANOVER PARK IL 60133



                  MAGDALENA RAMOS, MARIA
                  152 E BURT DR
                  COLUMBIA TN 38401
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                  MAGENNIS, JULIAN
                  1104 NW 57TH TER
                  KANSAS CITY MO 64118



                  MAGNUM ELECTRIC INC
                  471 CHRISTIANSON DRIVE W
                  WEST FARGO ND 58078



                  MAHONEY ENVIRONMENTAL
                  37458 EAGLE WAY
                  CHICAGO IL 60678-1374



                  MAJOR BRANDS CREVE COEUR
                  PO BOX 840141
                  KANSAS CITY MO 64184-0141



                  MAJOR BRANDS KANSAS CITY
                  PO BOX 804464
                  KANSAS CITY MO 64180



                  MAKE A WISH FOUNDATION OF
                  NEBRASKA
                  11926 ARBOR STE 102
                  OMAHA NE 68144



                  MAKE A WISH FOUNDATON OF IOWA
                  3024 104TH ST
                  URBANDALE IA 50322



                  MALAIKA PRICE
                  16750 BLACKJACK OAK LN
                  APT 302
                  WOODBRIDGE VA 22191



                  MALARA, CARLOS O.
                  3513 FEDERAL DR
                  SAINT PAUL MN 55122
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                  MALATESTINIC, HOPE K.
                  19495 NORTHRIDGE DR.
                  #D
                  NORTHVILLE MI 48167



                  MALDONADO, MARIA I.
                  3419 LOUISIANA AVE
                  SAINT LOUIS MO 63118



                  MALDONADO, RICARDO
                  2110 MERLE HAY RD
                  DES MOINES IA 50310



                  MALIK, MARC E.
                  4057 FLAG AVE N
                  MINNEAPOLIS MN 55427



                  MALLETT, DARRON D.
                  1821 SOUTH LYDIA
                  PEORIA IL 61605



                  MALLETT, ERIN
                  1511 172ND ST
                  HAZEL CREST IL 60429



                  MALLETTE, KENDAL C.
                  2844 LIVERNOIS NO. 99355
                  TROY MI 48099



                  MALLORY VALLEY UTILITY DISCT
                  PO BOX 306056
                  NASHVILLE TN 37230-6056



                  MALONE, MEGHAN M.
                  500 OLD MILL ROAD, #306
                  OAKDALE PA 15071
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                  MALONE, RAYVEN
                  25442 ST. JAMES
                  SOUTHFIELD MI 48075



                  MALONE, STEVEN
                  15404 W 128TH ST
                  OLATHE KS 66062



                  MANAU CUTLERY INC
                  2533 S WESTERN AVENUE
                  CHICAGO IL 60608-4807



                  MANDERS, JAMES I.
                  5 KARIS STREET
                  WATERVILLE OH 43566



                  MANINGER, KARRIE
                  9125 XYLITE ST NE
                  MINNEAPOLIS MN 55449



                  MANJARREZ, ANA
                  854 PARK BLUFF CIR
                  ELGIN IL 60120



                  MANN, HAELEIGH L.
                  2910 CAROLINE STREET
                  SOUTH BEND IN 46614



                  MANNING, LIVIA B.
                  6127 RIVER BEND PLACE
                  LISLE IL 60532



                  MANUEL MENDOZA
                  5636 N HAMILTON RD
                  PEORIA IL 61614
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                  MANUEL RODRIGUEZLESTON
                  4001 SW 129TH AVE
                  MIAMI FL 33175



                  MANUYLENKO, ANNA S.
                  9431 REEDER AVE
                  OVERLAND PARK KS 66214



                  MAPLE GROVE ROTARY FOUNDATION
                  6900 WEDGEWOOD RD
                  SUITE 200
                  OSSEO MN 55311



                  MAPLE GROVE SENIOR HIGH
                  DANCE TEAM BOOSTER CLUB
                  9800 FERNBROOK LANE N
                  OSSEO MN 55369



                  MARANA, JENNIFER LEE J.
                  1634 16TH ST SE
                  5
                  SAINT CLOUD MN 56304



                  MARCH OF DIMES FOUNDATION
                  300 CEDAR RIDGE DRIVE
                  SUITE 311/313
                  PITTSBURGH PA 15205



                  MARCHINI, BIANCA N.
                  11310 SW 42ND TER
                  MIAMI FL 33165



                  MARCHIONE, RACHEL
                  20509 NORTHVILLE PLACE DRIVE
                  APT. 2015
                  NORTHVILLE MI 48167
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                  MARCO INC
                  PO BOX 660831
                  DALLAS TX 75266



                  MARCO VERGARA
                  25635 LINCOLN ST
                  NOVI MI 48375



                  MARCOS MENDOZA, ELIAS
                  110 4TH ST NE
                  CEDAR RAPIDS IA 52405



                  MARCOS RAYMUNDO, FELIPE
                  4941 TAMA ST.
                  #1
                  MARION IA 52302



                  MARCOS, DIEGO
                  5229 CAMPBELLS RUN ROAD
                  PITTSBURGH PA 15205



                  MARCOS, DOMINGO
                  303 CHARLES ST SE
                  APT 9
                  BLAIRSTOWN IA 52209



                  MARIANNE HEIDER
                  317 DUNDEE RD
                  EAST PEORIA IL 61611



                  MARILYN NAIMAN KOHN PLC
                  30500 NORTHWESTERN HWY 410
                  FARMINGTON MI 48334



                  MARINERO, PEDRO
                  13412 ALDRICH AV
                  BURNSVILLE MN 55337
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                  MARION COUNTY TREASURER
                  200 E WASHINGTON ST
                  STE 1001
                  INDIANAPOLIS IN 46204-3356



                  MARK A JOHNSON
                  1812 EDGEWOOD RD
                  SIOUX FALLS SD 57103



                  MARK GEMAR
                  3225 43RD AVE S
                  FARGO ND 58104



                  MARK HANNEN
                  3559 MULLIGAN DR
                  WOODRIDGE IL 60517



                  MARK MUSSMAN
                  140 HIGHLAND AVE
                  FAIRFAX IA 52228



                  MARK OF GREATNESS INC
                  221 S 66TH ST
                  LINCOLN NE 68510



                  MARK ROBINSON
                  625 N FIRST AVE
                  CANTON IL 61520



                  MARK TOTH
                  2704 SOUTHWOOD RD
                  TOLEDO OH 43614



                  MARK, ANDREW
                  3209 SCHUETZEN LANE
                  DAVENPORT IA 52804
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                  MARKETPLACE SELECTIONS INC
                  1723 W ALTORFER DR
                  PEORIA IL 61615



                  MARKING REFRIGERATION INC
                  4760 S 134TH ST
                  OMAHA NE 68137



                  MARKLE, JACK
                  1421 10TH STREET N.
                  FARGO ND 58102



                  MARKS, MICHAEL M.
                  814 S. 24TH STREET
                  SOUTH BEND IN 46615



                  MARKS, NOAH
                  14218 WEST 124TH TERRACE
                  OLATHE KS 66062



                  MARNER, KAYLA
                  401 31ST ST SE
                  CEDAR RAPIDS IA 52403



                  MAROUDIS, NICHOLAS
                  610 EAST 45 ST
                  HIALEAH FL 33016



                  MARQUEZ, JUAN
                  523 5TH STREET
                  WINNETKA IL 60093



                  MARQUIS NEAL
                  24611 WESTHAMPTON
                  OAK PARK MI 48237
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                  MARSH, CIARRA
                  5656 25TH AVE S
                  MINNEAPOLIS MN 55417



                  MARSHALL, AUSTIN
                  370 OAKLEY DRIVE
                  603
                  NASHVILLE TN 37211



                  MARSHALL, LAJUANA D.
                  1445 SOUTHERN AVE
                  203
                  OXON HILL MD 20745



                  MARTELL ELECTRIC LLC
                  4601 CLEVELAND ROAD
                  SOUTH BEND IN 46628



                  MARTELL ELEMENTARY SCHL PTO
                  5666 LIVERNOIS ROAD
                  TROY MI 48098



                  MARTENS, CHRISTINA
                  24131 CALVIN ST.
                  DEARBORN MI 48124



                  MARTIN, DARREN J.
                  725 ALBERT DRIVE
                  WEST FARGO ND 58078



                  MARTIN, DAVID B.
                  10410 ST. CHARLES ROCK ROAD
                  SAINT ANN MO 63074



                  MARTIN, DAWN C.
                  8950 GOODRICH RD
                  104
                  MINNEAPOLIS MN 55437
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                  MARTIN, DAWN C.
                  2602 REPTON DRIVE
                  FORT WAYNE IN 46815



                  MARTIN, HANNAH
                  7300 YORK LANE
                  LINCOLN NE 68505



                  MARTIN, JOHNE C.
                  4909 FOLEY TERRACE
                  TEMPLE HILLS MD 20748



                  MARTINES GONZALES, ROMILIO
                  3460 GOLFVIEW DRIVE #2213
                  EAGAN MN 55122



                  MARTINEZ CORTEZ, FABIAN
                  1101 IROQUOIS AVE
                  APT 2130
                  NAPERVILLE IL 60563



                  MARTINEZ MARTIN, ELSY N.
                  902 N SHERMAN
                  SIOUX FALLS SD 57103



                  MARTINEZ, ADALID M.
                  297 OLD CARTERS CREEK PIKE
                  FRANKLIN TN 37064



                  MARTINEZ, ADRIAN
                  4214 SESAME TRL
                  CHERRY VALLEY IL 61016



                  MARTINEZ, ANDREA
                  777 ROYAL ST GEORGE DR
                  419
                  NAPERVILLE IL 60563
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                  MARTINEZ, ANTONIO
                  4872 ALGONQUIN
                  APT A
                  ROLLING MEADOWS IL 60008



                  MARTINEZ, ANTONIO
                  4872 ALGONQUIN APT. A
                  ROLLING MEADOWS IL 60008



                  MARTINEZ, ARIANNA
                  11340 SAN JOSE
                  REDFORD MI 48239



                  MARTINEZ, FAITH A.
                  612 LORRAINE AVE
                  BOWLING GREEN OH 43402



                  MARTINEZ, FERNANDO A.
                  1302 OSAGE
                  KANSAS CITY KS 66105



                  MARTINEZ, FRANCISCO A.
                  1070 50TH ST UNIT 6C
                  WEST DES MOINES IA 50266



                  MARTINEZ, GABRIEL
                  933 LAKE NORA SOUTH COURT
                  APT C
                  INDIANAPOLIS IN 46240



                  MARTINEZ, GABRIELA C.
                  551 N MUR-LEN
                  APT. 201
                  OLATHE KS 66062



                  MARTINEZ, JONATHAN
                  7720 4TH AVS
                  206
                  MINNEAPOLIS MN 55423
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                  MARTINEZ, KARLA
                  1078 HERITAGE HILL DR.
                  APT C
                  NAPERVILLE IL 60563



                  MARTINEZ, LAZARO
                  5750 SW 116TH AVE
                  MIAMI FL 33173



                  MARTINEZ, LUIS
                  297 OLD CARTERSCREEK PIKE
                  FRANKLIN TN 37064



                  MARTINEZ, MAIYA T.
                  13133 WESLEY ST.
                  SOUTHGATE MI 48195



                  MARTINEZ, MARIANN
                  777 ROYAL ST. GEORGE DR
                  419
                  NAPERVILLE IL 60563



                  MARTINEZ, MARIO
                  405 SOUTH HARRISON ROAD
                  STERLING VA 20164



                  MARTINEZ, MARLON
                  710 N 26TH ST
                  LINCOLN NE 68503



                  MARTINEZ, MOISES
                  8910 ROBIN DRIVE
                  UNIT B
                  DES PLAINES IL 60016



                  MARTINEZ, NESTOR
                  NEED ADDRESS - MURRAY HILL DR
                  FORT WASHINGTON MD 20744
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                  MARTINS PLAQUES LLC
                  26 WILBER ST
                  PLANTSVILLE CT 06479



                  MARTINSON, RYAN
                  5866 HACKMANN AVENUE NE
                  MINNEAPOLIS MN 55432



                  MARY BETH ROSS
                  2726 N RUSHWOOD COURT
                  WICHITA KS 67226



                  MARY JANE ELLIOTT PC
                  24300 KARIM BLVD
                  NOVI MI 48375



                  MARY KATE PICOLO
                  2431 ALTERAS DR
                  NASHVILLE TN 37211



                  MARY VANLANDINGHAM
                  BOX 61
                  KINGMAN KS 67068



                  MARYLAND CHILD SUPPORT ACCOUNT
                  PO BOX 17396
                  BALTIMORE MD 21297



                  MARZ COMPANY BREWING INC
                  960 W 31ST ST
                  CHICAGO IL 60608



                  MASENGARB, KAMDEN
                  1327 42ND ST.
                  ROCK ISLAND IL 61201
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                  MASON, MIRAKAL
                  24675 KATHRINE COURT
                  HARRISON TOWNSHIP MI 48045



                  MASONS WINDOW CLEANING SERVICE
                  934 SOUTH 27TH STREET
                  SOUTH BEND IN 46615



                  MASSEY, JHANA
                  8540 APPOLINE
                  DETROIT MI 48228



                  MASTER CRAFT OUTDOORS INC
                  9450 NASON COURT NE
                  ELK RIVER MN 55330



                  MASTER LOCKSMITH LLC
                  155 OLD BUGGY CT
                  SAINT CHARLES MO 63304



                  MASTER, MELISSA
                  14454 SAINT LOUIS
                  MIDLOTHIAN IL 60445



                  MASTIN SEPTIC& WELL SERVICE
                  12004 WATERVILLE SWANTON RD
                  WHITEHOUSE OH 43571



                  MASTIN, ROCHELLE D.
                  1616 VALLEY VISTA DRIVE
                  BETTENDORF IA 52722



                  MATHESON TRIGAS INC
                  DEPT 3028 PO BOX 123028
                  DALLAS TX 75312
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                  MATHEW RAINOLDI
                  381 QUAIL RIDGE CT
                  WATERFORD MI 48327



                  MATSON, CHRISTOPHER A.
                  5906 NORTH TAMPICO D
                  PEORIA IL 61614



                  MATT JOHNSON
                  370 TROMBLEY
                  TROY MI 48083



                  MATTHEW BRADY
                  4638 WENTWORTH AVE SOUTH
                  MINNEAPOLIS MN 55419



                  MATTHEW HUDSON
                  601 EAST WILLOW ST
                  HARRISBURG SD 57032



                  MATTHEW MAYBRAY
                  4160 TUSCARAWAS RD
                  BEAVER PA 15009



                  MATTHEW T BLANCHAR
                  7351 ROYAL OAKLAND D
                  INDIANAPOLIS IN 46236



                  MATTHEW WELTZIN
                  1203 NE WINDSOR DR UNIT 102
                  ANKENY IA 50021



                  MATTHEW ZIEGENFUSS
                  7917 S 157TH ST
                  OMAHA NE 68136
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                  MATUSIK, TAYLOR
                  1122 TINKERS GREEN DR
                  STREETSBORO OH 44241



                  MATZINGER, SOPHIA G.
                  51252 WINDY WILLOW COURT
                  SOUTH BEND IN 46628



                  MAUL, SAVANNAH M.
                  10711 HASKINS COURT
                  OVERLAND PARK KS 66210



                  MAUMEE BOWLING ALLEYS INC
                  1246 CONANT ST
                  MAUMEE OH 43537



                  MAUMEE CHAM OF COMMERCE
                  605 CONANT STREET
                  MAUMEE OH 43537



                  MAUMEE FIREFIGHTING ASSN INC
                  220 ILLINOIS AVE
                  MAUMEE OH 43537



                  MAUMEE VALLEY PARTNERS FOR INC
                  1154 LARC LANE
                  TOLEDO OH 43614



                  MAUPIN, JULIANA I.
                  15305 W 123RD ST
                  OLATHE KS 66062



                  MAURICIO LOPEZ
                  518 HATFIELD DR
                  FRANKLIN TN 37064
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                  MAURO-MARTIN, ANGELICA
                  1101 IROQUOIS AVE
                  2211
                  NAPERVILLE IL 60563



                  MAURUS, SIGNE D.
                  1701 25TH STREET #1
                  ROCK ISLAND IL 61201



                  MAURY COUNTY COURTHOUSE
                  41 PUBLIC SQUARE
                  COLUMBIA TN 38401



                  MAVEN PRINT LLC`
                  1506 ROLLINS AVE
                  CAPITOL HEIGHTS MD 20743



                  MAXIMILIAN J GUERRA
                  2440 SW 124TH AVE
                  MIAMI FL 33175



                  MAXWELL, NATHAN
                  1125 S EBENEZER AVE
                  304
                  SIOUX FALLS SD 57106



                  MAY, BRIANNA
                  4121 158TH ST W
                  ROSEMOUNT MN 55068



                  MAYER ELECTRIC CORPORATION
                  8340 89TH AVE N
                  MINNEAPOLIS MN 55445



                  MAYER, DUSTIN E.
                  3431 HILLANDALE RD
                  DAVENPORT IA 52804
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                  MAYER, GREG D.
                  16 S. PETRIE ROAD
                  CORAOPOLIS PA 15108



                  MAYER, THERESA
                  1201 E STREET #2
                  LINCOLN NE 68508



                  MAYORGA, RAMIRO J.
                  6410 SW 113TH PL
                  MIAMI FL 33173



                  MAZZETTA COMPANY, LLC
                  1990 SAINT JOHNS AVENUE
                  HIGHLAND PARK IL 60035



                  MCALPINE JR, KELLY F.
                  5904 RAYBURN DR
                  TEMPLE HILLS MD 20748



                  MCBRIDE, ANNARUTH D.
                  909 GRANTLAND AVE
                  MURFREESBORO TN 37129



                  MCBRIDE, MICHAEL H.
                  20977 GREENWOOD COURT
                  LAKEVILLE MN 55044



                  MCBRIEN, MOLLY
                  3055 EAGANDALE PL
                  APT 326
                  SAINT PAUL MN 55121



                  MCCABE, PAIGE C.
                  626 W. 15TH ST
                  SIOUX FALLS SD 57104
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                  MCCAGUE, PHILIP
                  2020 CORTLAND AVE
                  FORT WAYNE IN 46808



                  MCCALL, YANCY S.
                  1154 WRIGHTS MILL RD
                  SPRING HILL TN 37174



                  MCCAREN DESIGNS INC
                  760 VANDALIA STREET
                  SAINT PAUL MN 55114



                  MCCARTHY LEBIT CRYSTAL AND LIF
                  101 W PROSPECT AVE STE 1800
                  CLEVELAND OH 44115



                  MCCARTY, DESTINEE
                  26900 GEORGE ZEIGER DR.
                  221
                  BEACHWOOD OH 44122



                  MCCASKLE, DIALLO S.
                  4229 LARCHMONT
                  APT 1
                  DETROIT MI 48204



                  MCCASLIN, JACOB C.
                  12319 WATERSTONE LN
                  413
                  PERRYSBURG OH 43551



                  MCCOMBS, CHRIS R.
                  2700 AUSTIN DRIVE
                  LINCOLN NE 68506



                  MCCONNELL, STEVEN B.
                  108 MAPLE AVE.
                  HIGHWOOD IL 60040
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  MCCOY, MICHAEL
                  337 3RD STREET NE
                  SARTELL MN 56377



                  MCCRAE ENTERPRISE INC
                  PO BOX 90966
                  WASHINGTON DC 20090-0966



                  MCCUBBIN, LAURA K.
                  3309 SAINT PAUL AVE
                  LINCOLN NE 68504



                  MCCULLOUGH SR., TYRONE
                  3247 EAST 55TH STREET
                  APT 4
                  CLEVELAND OH 44127



                  MCCUNE, TROY
                  6622 CLEVELAND AVENUE
                  LINCOLN NE 68507



                  MCCURDY, BRIAN P.
                  106 STATE STREET
                  OSCEOLA WI 54020



                  MCDONALD, BRANDEN
                  612 WAVERLY RD
                  DAVENPORT IA 52804



                  MCDONALD, TREVONTE N.
                  10650 HAMPSHIRE AVE 55438
                  MINNEAPOLIS MN 55431



                  MCDONNELL, ANDREW
                  16959 166TH STREET
                  BASEHOR KS 66007
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                  MCELLIGOTT, BRYNA D.
                  515 5TH AVE SE
                  MINNEAPOLIS MN 55415



                  MCGHIEY, MORGAN
                  3905 NE BELLAGIO CIR
                  ANKENY IA 50021



                  MCGILLIVRAY, HAILEY
                  152 19 1/2 AVE N
                  SAINT CLOUD MN 56303



                  MCGRATH, JOSH
                  6900 LENOX VILLAGE DR
                  307
                  NASHVILLE TN 37211



                  MCGREEVY WILLIAMS PC
                  6735 VISTAGREEN WAY STE 300
                  ROCKFORD IL 61107



                  MCGROTTY, ASHLEY
                  5851 S FRANKLIN RD
                  INDIANAPOLIS IN 46239



                  MCHENRY, JOSHUA
                  1629 OAKBROOKE DR
                  SAINT PAUL MN 55122



                  MCHUGH, BREANA C.
                  805 S. SNEVE AVE.
                  SIOUX FALLS SD 57103



                  MCHUGH, JOSEPH
                  4311 15TH AVE S
                  128
                  FARGO ND 58103
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                  MCILWAIN, TIARRA
                  2531 LISA DRIVE
                  WALDORF MD 20601



                  MCKEE, ANNA
                  1220 ESTERLING DRIVE
                  SAINT CHARLES MO 63301



                  MCKEE, JORDAN
                  811 E VIRGINIA AVE
                  PEORIA IL 61603



                  MCKEE, JOSEPH
                  1707 FOREST COVE DR
                  102
                  MOUNT PROSPECT IL 60056



                  MCKINNEY, JAMAL
                  3300 STONESBORO ROAD
                  FORT WASHINGTON MD 20744



                  MCKINNON CO INC
                  1002 SOUTH 48TH STREET
                  GRAND FORKS ND 58201-8201



                  MCKISSICK, AMBRIANA S.
                  641 HUNTER DR
                  HARRISBURG SD 57032



                  MCLAUGHLIN, CADE A.
                  1909 S JEFFERSON AVENUE
                  SIOUX FALLS SD 57106



                  MCLEAN, MEESHA
                  306 TAMERACK CT
                  UPPER MARLBORO MD 20774
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                  MCLEE, JENNIFER J.
                  3504 ROYAL DR
                  PEORIA IL 61604



                  MCLELLAN, ROBERT
                  1085 CO RD F
                  SWANTON OH 43558



                  MCLEMORE, YASHA
                  506 AMERICAN RD
                  NASHVILLE TN 37209



                  MCMASTER CARR SUPPLY CO
                  PO BOX 7690
                  CHICAGO IL 60680-7690



                  MCMILLEN, ALYSSA
                  1014 WEST LOUCKS AVE
                  PEORIA IL 61604



                  MCMURRAY ELECTRIC INC
                  109 MARBLE DR
                  CANONSBURG PA 15317



                  MCNAUGHTON, COURTNEY
                  31510 CONCORD DRIVE
                  APT G
                  MADISON HEIGHTS MI 48071



                  MCNEAL, JEREMY M.
                  1203 SOUTHPORT AVE
                  LISLE IL 60532



                  MCNEALL, CALEB W.
                  8234 N.FLORA AVE
                  KANSAS CITY MO 64118
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                  MCNEAR, SEAN C.
                  205 LANDWEHR, APT. B
                  LUCKEY OH 43443



                  MCNERLIN, JAMES C.
                  22 16TH AVE N
                  SAINT CLOUD MN 56301



                  MCPHAIL, ERIN K.
                  2224 SOMERSET BLVD
                  206
                  TROY MI 48084



                  MCPHAIL, ERIN K.
                  116 HUNTLEY AVENUE
                  CLAWSON MI 48017



                  MCREYNOLDS, BRANDY M.
                  716 BALDWIN AVENUE
                  ROYAL OAK MI 48067



                  MCS INC
                  7405 S BITTERRROOT PL STE 113
                  SIOUX FALLS SD 57108



                  MCSHEFFERY, EMILY R.
                  17027 HAMPTON DR.
                  GRANGER IN 46530



                  MCSHEFFERY, MEGAN
                  17027 HAMPTON DR
                  GRANGER IN 46530



                  MEAZUREUP INC
                  180 JOHN STREET
                  CANADA
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                  MEDIACOM DM
                  PO BOX 5744
                  CAROL STREAM IL 60197-5744



                  MEDIAUSA ADVERTISING INC
                  PO BOX 189
                  LITCHFIELD MN 55355



                  MEDINA SANCHEZ, MELQUIADES
                  2068 3RD STREET NORTH
                  SAINT PAUL MN 55109



                  MEDINA TABLAS, MAURICIO
                  764 COTTAGE AVE S #2
                  SAINT PAUL MN 55106



                  MEDINA, HUGO T.
                  4318 WINCHESTER LANE
                  BROOKLYN CENTER MN 55429



                  MEEKIN, RYAN
                  1627 HAWK PLACE
                  SAINT PAUL MN 55122



                  MEERDINK, GAVIN A.
                  2309 W. GROVE BLVD.
                  MUSCATINE IA 52761



                  MEET MINNEAPOLIS CVA
                  250 MARQUETTE AVENUE SOUTH
                  SUITE 1300
                  MINNEAPOLIS MN 55401



                  MEGGE ENTERPRISES INC
                  PO BOX 26067
                  FRASER MI 48026
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  MEISTER, NICKILAS
                  345 QUINLAN AVE S
                  MINNEAPOLIS MN 55430



                  MEIXELL, GREGORY G.
                  6200 COUNTY ROAD 120
                  101
                  SAINT CLOUD MN 56303



                  MEJIA, BRODY
                  819 W. RUSSELL
                  PEORIA IL 61606



                  MEJIA, GERARDO
                  800 W 65TH ST
                  APT 110
                  MINNEAPOLIS MN 55423



                  MELARA BANOS, JOSE O.
                  306 BAUMAN AVE
                  CLAWSON MI 48017



                  MELISSA CHAMPION
                  2812 OAK GROVE LANE
                  ROCKFORD IL 61108



                  MELTZER PURTILL AND STELLE LLC
                  1515 E WOODFIELD RD
                  SCHAUMBURG IL 60173



                  MELUM, MACY T.
                  4121 WEST NEWCOMB DRIVE, #105
                  SIOUX FALLS SD 57106



                  MELVIN W WELCH
                  PO BOX 206
                  SWISHER IA 52338
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  MELWOOD HORTICULTURAL TRAINING
                  5606 DOWER HOUSE ROAD
                  UPPER MARLBORO MD 20772-3604



                  MENDEZ, DIMAS
                  9125 GREENSPIRE DR
                  116
                  WEST DES MOINES IA 50266



                  MENDEZ, EUSEBRO O.
                  15180 OLD HICKORY BLV
                  NASHVILLE TN 37211



                  MENDIETA, MARGARITA
                  1795 MARQUETTE LANE
                  HOFFMAN ESTATES IL 60169



                  MENDIOLA RIOS, MARTHA I.
                  9725 PLEASANT AVE. S. #2A
                  MINNEAPOLIS MN 55420



                  MENDIOLA, DAVID
                  9705 PLEASANT AVE S APT 2I
                  MINNEAPOLIS MN 55420



                  MENDOZA MARCOS, SAMUEL
                  4947 TAMA ST APT3
                  MARION IA 52302



                  MENDOZA, ALEXIS
                  2911 SHEARER RD
                  KANSAS CITY KS 66106



                  MENDOZA, BIANCA
                  17712 SAYRE AVENUE
                  TINLEY PARK IL 60477
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                  MENDOZA, JOSE
                  3156 COLUMBUS AVE S 2ND FLOOR
                  MINNEAPOLIS MN 55407



                  MENESES, ENRIQUE
                  8746 SUNNY HILL DRIVE
                  CLIVE IA 50325



                  MENGE, KIM N.
                  1701 WEST BURNSVILLE PARKWAY
                  313
                  BURNSVILLE MN 55337



                  MENKE, RYAN M.
                  2102 W ALICE AVE
                  PEORIA IL 61607



                  MENUTRINFO LLC
                  2629 REDWING RD STE 280
                  FORT COLLINS CO 80526



                  MERCADO, JOSH F.
                  8856 HARVEY STREET
                  WESTLAND MI 48185



                  MERCEDES PINEDA
                  812 KISHWAUKEE
                  ROCKFORD IL 61104



                  MERCK, MICHELLE L.
                  2604 ALLISON AVE
                  DES MOINES IA 50310



                  MERGENT INC
                  444 MADISON AVE STE 1710
                  NEW YORK NY 10022
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                  MERIDA MOLINA, CESAR A.
                  3205 W. 43RD #10
                  SIOUX FALLS SD 57106



                  MESA, DAVID
                  10300 CITY WALK DR. 418
                  SAINT PAUL MN 55129



                  MESSER, BRITTANY
                  512 45TH ST S APT #309
                  FARGO ND 58103



                  MESSERLI AND KRAMER PA
                  3033 CAMPUS DR STE 250
                  MINNEAPOLIS MN 55441



                  METRO SALES INC
                  ATTN: ACCTS RECEIVABLE
                  1620 E 78TH STREET
                  MINNEAPOLIS MN 55423-4637



                  METROMEDIA INC
                  4210 SHAWNEE MISSION PARKWAY
                  SUITE 314A
                  MISSION KS 66205



                  METROPOLITAN LIFE INSURANCE CO
                  DEPT CH 10579
                  PALATINE IL 60055-0579



                  METROPOLITAN ST LOUIS
                  SEWER DISTRICT
                  PO BOX 437
                  SAINT LOUIS MO 63166-0437



                  METROPOLITAN UTILITIES DISCT
                  PO BOX 3600
                  OMAHA NE 68103-0600
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  MEYER, ANNA M.
                  26 ROBERTS STREET NORTH #213
                  FARGO ND 58102



                  MEYER, HATTIE
                  16255 KENYON AVE.
                  APT 140
                  LAKEVILLE MN 55044



                  MEYER, IAN V.
                  1450 N LUCY MONTGOMERY WAY
                  OLATHE KS 66061



                  MEYER, PATRICIA
                  4225 10TH AVENUE
                  LEAVENWORTH KS 66048



                  MEYER, THOMAS E.
                  2505 33RD AVE. S.
                  MINNEAPOLIS MN 55406



                  MEYER, TROFIM
                  1000 MORAN RD
                  FRANKLIN TN 37069



                  MEYERS RODBELL& ROSENBAUM
                  6801 KENIWORTH AVE
                  SUITE 400
                  RIVERDALE MD 20737



                  MEZA, ISAI
                  8701 LYNDALE AVE S #8
                  MINNEAPOLIS MN 55420



                  MGHS BOYS BASKETBALL BOOSTER C
                  9800 FERNBROOK LN
                  OSSEO MN 55369
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                  MGSH CRIMSON TRAP BOOSTER
                  9800 FERNBROOK LANE N
                  OSSEO MN 55369



                  MH LOGISTICS INC
                  8901 N INDUSTRIAL RD
                  PEORIA IL 61615



                  MIAMI DADE DERM PERMIT RENEWAL
                  PO BOX 863532
                  ORLANDO FL 32886-3532



                  MIAMIDADE WATER& SEWER DEPT
                  PO BOX 026055
                  MIAMI FL 33102



                  MICHAEL BAKER INTERNATIONAL FO
                  100 AIRSIDE DRIVE
                  CORAOPOLIS PA 15108



                  MICHAEL BOHLKEN
                  2137 WALNUT CT
                  GLENVIEW IL 60025



                  MICHAEL C CARTER
                  718 CHATSWORTH DR
                  ACCOKEEK MD 20607



                  MICHAEL CHMELKA
                  3915 N 69TH ST APT 5
                  LINCOLN NE 68507



                  MICHAEL H STAENBERG
                  222 S CENTRAL AVENUE SUITE 402
                  SAINT LOUIS MO 63105
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                  MICHAEL J THOEL
                  33055 SUMMERS ST
                  LIVONIA MI 48154



                  MICHAEL JOSEPH DUNN JR
                  1819 TYLER ST
                  ALIQUIPPA PA 15001



                  MICHAEL MARKS
                  814 S 24TH STREET
                  SOUTH BEND IN 46615



                  MICHAEL MCBRIDE
                  20977 GREENWOOD CT
                  LAKEVILLE MN 55044



                  MICHAEL MILINOVICH
                  586 36 1/2 AVE NE
                  MINNEAPOLIS MN 55418



                  MICHAEL MISKO
                  578 LINCOLN HIGHLANDS DR
                  CORAOPOLIS PA 15108



                  MICHAEL QUAGLIANO
                  4701 1ST AVE SE #11
                  CEDAR RAPIDS IA 52402



                  MICHAELS, EVAN
                  37640 ARBOR WOODS DRIVE
                  LIVONIA MI 48150



                  MICHELLE ALLISON SIMPSON
                  12625 WILLOW VIEW PL
                  WALDORF MD 20602
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                  MICHELLE SMITH
                  236 VERBENA DR
                  WATERTOWN MN 55388



                  MICHIANA RESTAURANT SERVICES
                  11450 TANGLETREE DR
                  GRANGER IN 46530



                  MICHIGAN BREWERS GUILD
                  225 W WASHTENAW STE C
                  LANSING MI 48933



                  MICHIGAN DEPT OF
                  TREASURY UNCLAIMED WAGES
                  PO BOX 30756
                  LANSING MI 48909



                  MICHIGAN LIQUOR CONTROL COMM
                  529 W ALLEGAN ST
                  PO BOX 30005
                  LANSING MI 48909



                  MICHIGAN LOGOS INC
                  5030 NORTHWIND DR STE 103
                  EAST LANSING MI 48823



                  MICHIGAN RECEIVABLE MANAGEMENT
                  24300 KARIM BLVD
                  NOVI MI 48375



                  MICHIGAN STATE DISBURSEMENT
                  PO BOX 30350
                  LANSING MI 48909



                  MICKAYLA M HENMAN
                  3725 CARDINAL LANE
                  FORT WAYNE IN 46815
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                  MICKENS, DELORES Q.
                  5262 MARLBORO PIKE
                  103
                  CAPITOL HEIGHTS MD 20743



                  MICRO CENTER
                  PO BOX 848
                  HILLIARD OH 43026-0848



                  MICRO PLUMBING INC
                  8988 J STREET
                  OMAHA NE 68127



                  MICROSTAR QUALITY SERVICES LLC
                  PO BOX 912857
                  DENVER CO 80291-2857



                  MID AMERICA LOCKSMITHS LLC
                  13410 SANTA FE TRAIL DR
                  LENEXA KS 66215



                  MIDAMERICAN ENERGY
                  PO BOX 8020
                  DAVENPORT IA 52808-8020



                  MIDCONTINENT COMMUNICATIONS
                  PO BOX 5010
                  SIOUX FALLS SD 57117



                  MIDDLE TENNESSEE ELECTRIC
                  PO BOX 681709
                  FRANKLIN TN 37068-1709



                  MIDWEST ALARM CO
                  1104 6TH STREET
                  SIOUX CITY IA 51101
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                  MIDWEST ALARM SVCS
                  PO BOX 4511
                  DAVENPORT IA 52808



                  MIDWEST BASEBALL CONSULTING
                  7900 S 20TH ST
                  LINCOLN NE 68504



                  MIDWEST COMMUNICATIONS INC
                  500 PHILLIPS AVE
                  SIOUX FALLS SD 57104



                  MIDWEST CUTLERY SERVICE
                  PO BOX 20520
                  DAYTON OH 45420



                  MIDWEST LIGHTING PRODUCTS
                  PO BOX 558
                  OSSEO MN 55369



                  MIDWEST PAPER PRODUCTS
                  429 E DUPON RD #64
                  FORT WAYNE IN 46825



                  MIDWEST TELEPHONE CO INC
                  8172 ZIONSVILLE RD
                  INDIANAPOLIS IN 46268



                  MIGUEL CESTARYS RODRIGUEZ
                  1828 ABRITER CT
                  FREEDOM PLAZA
                  NAPERVILLE IL 60563



                  MIGUEL HURTADO
                  11411 OLIVE BLVD
                  SAINT LOUIS MO 63141
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  MIGUEL PAISANO
                  21W600 LYNN RD
                  LOMBARD IL 60148



                  MIKE KOUSTRUP
                  3927 88TH AVE NE
                  CIRCLE PINES MN 55014



                  MIKE LEAHY
                  10932 PIONEER DR
                  BURNSVILLE MN 55337



                  MIKE LYONS
                  1042 MCKENNA BLVD
                  MADISON WI 53719



                  MIKE SUCHA MEMORIAL GOLF
                  CLASSIC
                  6924 PIKE PLACE
                  LINCOLN NE 68516



                  MIKES DRAFT LINE CLEANING
                  9768 PINEHURST CT
                  ELKO NEW MARKET MN 55020



                  MIKLOS, CYNDI
                  331 OLD EWING ROAD
                  CARNEGIE PA 15106



                  MIKOLICH, MADISON N.
                  P.O. 1158
                  37 S COLLEGE AVE
                  SAINT JOSEPH MN 56374



                  MILDENSTEIN, JACOB
                  2525 GEORGETOWN AVE
                  TOLEDO OH 43613
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                  MILFORD, RYLIE
                  8728 N PARIS AVE
                  KANSAS CITY MO 64153



                  MILLAR MECHANICAL
                  46707 282ND STREET
                  LENNOX SD 57039



                  MILLER AND STEENO PC
                  11970 BORMAN DR #250
                  SAINT LOUIS MO 63146



                  MILLER ENGINEERING CO INC
                  1616 SOUTH MAIN STREET
                  ROCKFORD IL 61102



                  MILLER, ABBI
                  12020 JONQUIL ST NW
                  MINNEAPOLIS MN 55433



                  MILLER, ASHLEY E.
                  5411 VIRGINIA AVE N
                  MINNEAPOLIS MN 55428



                  MILLER, BETH
                  530 RUDISILL BLVD
                  FORT WAYNE IN 46806



                  MILLER, CHARIS M.
                  1650 S HWY 36
                  APT 369
                  SAINT PAUL MN 55113



                  MILLER, CHARIS M.
                  8331 HAEG DR.
                  MINNEAPOLIS MN 55431
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                  MILLER, CODY J.
                  2112 WEST 138TH STREET
                  UNIT 210
                  OVERLAND PARK KS 66224



                  MILLER, DAREN S.
                  1027 OLD OAK ROAD
                  EAST ALTON IL 62024



                  MILLER, ERICA M.
                  1720 ELMWOOD AVENUE
                  BETTENDORF IA 52722



                  MILLER, HANNAH R.
                  8711 N MATTOX RD
                  APT C189
                  KANSAS CITY MO 64154



                  MILLER, JOE
                  36401 JEFFERSON COURT
                  912
                  FARMINGTON MI 48335



                  MILLER, LIZ M.
                  11320 TECUMSEH
                  REDFORD MI 48239



                  MILLER, LUKE
                  2171 SUGAR CREEK DR NW
                  CEDAR RAPIDS IA 52405



                  MILLER, MARISSA L.
                  616 MCFADDENS TRAIL
                  SAINT PAUL MN 55123



                  MILLER, TIMOTHY G.
                  770 SAVANNA AVE
                  101
                  SAINT CLOUD MN 56303
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                  MILLNER VINEYARD LLC
                  220 5TH STREET S
                  DASSEL MN 55325



                  MILLS TRANSFER
                  656 ROSE STREET
                  LINCOLN NE 68502-2098



                  MILLS, CHRISTIAN J.
                  1006 GRATIS AVE
                  DES MOINES IA 50315



                  MILLS, CIEANNA M.
                  627 E 156TH PL
                  SOUTH HOLLAND IL 60473



                  MILLS, JOSHUA R.
                  5911 N WALTON
                  WESTLAND MI 48185



                  MILLS, NKIRU K.
                  3983 ROSEMOND ROAD
                  CLEVELAND OH 44121



                  MILNE ROJEK, LARYN
                  413 CEDAR LAKE ROAD SOUTH
                  MINNEAPOLIS MN 55405



                  MILO, PATRICK C.
                  5926 GOODFELLOW
                  SAINT LOUIS MO 63147



                  MINER, REYNARD D.
                  3306 STANFORD STREET
                  HYATTSVILLE MD 20783
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                  MINGER, RALPH
                  35 HERO AVE
                  CHESTER WV 26034



                  MINNEAPOLIS FINANCE
                  250 S 4TH ST RM 510
                  MINNEAPOLIS MN 55415



                  MINNEAPOLIS OXYGEN CO
                  3842 WASHINGTON AVENUE NO
                  MINNEAPOLIS MN 55412-2142



                  MINNEAPOLIS REGIONAL CHAMBER
                  81 SOUTH 9TH ST STE 200
                  MINNEAPOLIS MN 55402-3223



                  MINNEHAHA BLDG MAINT INC
                  1200 CENTRE POINTE CURVE 350
                  SAINT PAUL MN 55120-0243



                  MINNESOTA BOSTON TERRIER CLUB
                  PO BOX 7459
                  MINNEAPOLIS MN 55407



                  MINNESOTA DEPARTMENT OF HEALTH
                  625 ROBERT STREET NORTH
                  PO BOX 64975
                  SAINT PAUL MN 55164-0975



                  MINNESOTA DEPT OF COMMERCE
                  85 7TH PLACE EAST
                  SUITE 500
                  SAINT PAUL MN 55101-2198



                  MINNESOTA ENERGY RESOURCES
                  PO BOX 3140
                  MILWAUKEE WI 53201-3140
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                  MINNESOTA GRAPHIC SOLUTIONS
                  2600 FEMBROOK LANE NORTH #101
                  MINNEAPOLIS MN 55447



                  MINNESOTA LOGOS INC
                  7373 WEST 147TH STREET
                  SUITE 107
                  SAINT PAUL MN 55124



                  MINNESOTA RESTAURANT ASSOC
                  1959 SLOAN PLACE STE 120
                  SAINT PAUL MN 55117



                  MINNESOTA REVENUE
                  PO BOX 64649
                  SAINT PAUL MN 55164-0649



                  MINNESOTA REVENUE
                  PO BOX 64564
                  SAINT PAUL MN 55164-0564



                  MINNESOTA SEC OF STATE NOTARY
                  RETIREMENT SYSTEM OF MN BLDG
                  60 EMPIRE DRICE STE 100
                  SAINT PAUL MN 55103



                  MINUTEMAN PRESS
                  8742 LYNDALE AVE S
                  MINNEAPOLIS MN 55420



                  MINUTEMAN PRESS CR KENDALL
                  13275 SW 136 STREET 35
                  MIAMI FL 33186



                  MIRACLE, ERIN M.
                  9120 MARSH ROAD
                  ALGONAC MI 48001
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                  MIRANDA STROM
                  1636 SW 42ND ST
                  FARGO ND 58103



                  MISHAWAKA LITTLE LEAGUE
                  1100 S CARLTON
                  MISHAWAKA IN 46544



                  MISHAWAKA UTILITIES
                  126 NORTH CHURCH STREET
                  PO BOX 363
                  MISHAWAKA IN 46546-0363



                  MISKA, JESSICA R.
                  3108 N 157TH STREET
                  BASEHOR KS 66007



                  MISKO MAGIC LLC
                  528 LINCOLN HIGHLANDS DR
                  CORAOPOLIS PA 15108



                  MISSISSIPPI DEPT OF HUMAN SVCS
                  PO BOX 23094
                  JACKSON MS 39225



                  MISSOURI AMERICAN WATER
                  PO BOX 790247
                  SAINT LOUIS MO 63179-0247



                  MISSOURI DIRECTOR OF REVENUE
                  MISSOURI DIV OF ALCOHOL & TOBA
                  1738 E ELM ST LOWER LEVEL EAST
                  JEFFERSON CITY MO 65101



                  MISSOURI PATRIOT PAWS
                  1908 N BISHOP
                  ROLLA MO 65401
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                  MISSOURI STATE TREASURER
                  CLINT ZWEIFEL UNCLAIMED PRPTY
                  301 W HIGH ST ROOM 157
                  JEFFERSON CITY MO 65101



                  MITCHELL, AIMEE
                  10421 BRIAR BEND
                  #3
                  SAINT LOUIS MO 63146



                  MITCHELL, JOHN CALVIN W.
                  15404 S SUMMERTREE LANE
                  OLATHE KS 66062



                  MITCHELL, LATROY P.
                  6419 47TH AVE DR
                  MOLINE IL 61265



                  MITCHELL, SEBASTIAN
                  2830 ROYALLVALLEY WAY
                  O FALLON MO 63368



                  MITTS, ANITA
                  1319 S 49TH
                  LINCOLN NE 68510



                  MIXTEGA, DOMINGO L.
                  409 E NEBRASKA AVE
                  PEORIA IL 61603



                  MJOEN, SYDNEY R.
                  860 30TH ST S
                  MOORHEAD MN 56560



                  MKC3 INC
                  PO BOX 9855
                  FARGO ND 58106
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                  MN CHILD SUPPORT PAYMENT
                  PO BOX 64306
                  SAINT PAUL MN 55164



                  MOAC MALL HOLDINGS LLC
                  PO BOX 1450
                  MINNEAPOLIS MN 55485-5826



                  MOAC MALL HOLDINGS LLC
                  60 EAST BROADWAY
                  MINNEAPOLIS MN 55425



                  MOBO SYSTEMS INC
                  285 FULTON STREET
                  FL 82
                  NEW YORK NY 10007



                  MOCK, WILLIAM B.
                  1928 WICKLOW
                  WOODBRIDGE VA 22191



                  MODA LIGHTING
                  11070 FLEETWOOD ST UNIT F
                  SUN VALLEY CA 91352



                  MOE, RACHAEL L.
                  2651 166TH AVE. NW
                  ANDOVER MN 55304



                  MOHAMED-ABDIRAHMAN, MOHAMED
                  1201 BROOK AVE SE
                  210
                  MINNEAPOLIS MN 55414



                  MOHAN, VINESH
                  1117 MARQUETTE AVENUE
                  APT 1801
                  MINNEAPOLIS MN 55403
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                  MOHN, MALLERY
                  422 PIERCE ST. N. #5
                  SAINT PAUL MN 55104



                  MOISES MARTINEZ
                  8839 ROBIN DRIVE, C
                  DES PLAINES IL 60016



                  MOLINA TAPIA, MIGUEL
                  7407 PORTLAND AVE
                  MINNEAPOLIS MN 55423



                  MOLTER, SCOTT R.
                  2540 14TH ST S
                  208
                  FARGO ND 58103



                  MOMBERGER, ELIZABETH R.
                  1290 COUNTY ROAD F WEST #309
                  ARDEN HILLS MN 55112



                  MONA ELECTRIC GROUP INC
                  7915 MALCOLM RD
                  CLINTON MD 20735



                  MONARCHS HOLDINGS LLC
                  PO BOX 235
                  EMERSON NJ 07630



                  MONCLOVA AREA PARENTS
                  8035 MONCLOVA ROAD
                  MONCLOVA OH 43542



                  MONFELI, AMANDA M.
                  521 W. 30TH STREET
                  DAVENPORT IA 52803
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                  MONICA UNDERWOOD
                  7039 1ST AVE SOUTH
                  MINNEAPOLIS MN 55423



                  MONPRODE, WILLIAM B.
                  5338 BEAUBEIN ST
                  14
                  DETROIT MI 48202



                  MONSON, ANA G.
                  17261 SAYLERS BEACH ROAD
                  LAKE PARK MN 56554



                  MONTANA-EDWARDS, LEXI
                  311 GENOA ST
                  CHERRY VALLEY IL 61016



                  MONTE COHENOUR
                  1501 VALLEYVIEW AVE
                  VAN METER IA 50261



                  MONTES, KARSYN S.
                  8013 N. HICKORY ST
                  725
                  KANSAS CITY MO 64118



                  MONTOYA, STEPHEN A.
                  3040 WEST SUMNER STREET
                  LINCOLN NE 68522



                  MOODY, SAVANNAH A.
                  12433 S ALDEN CIRCLE
                  OLATHE KS 66062



                  MOORE, CARLOS D.
                  7310 GROVER STREET
                  OMAHA NE 68124
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                  MOORE, GREGORY
                  843 BARNABY ST SE
                  WASHINGTON DC 20032



                  MOORE, THOMAS
                  3118 CANAAN VALLEY DRIVE
                  KANSAS CITY KS 66109



                  MORA, JAVIER M.
                  3114 RUE-MARCEAU
                  SOUTH BEND IN 46615



                  MORALES, ANTONIO
                  2320 9TH AVE
                  ROCKFORD IL 61104



                  MORALES, JORGE
                  51544 HOLLYHOCK RD
                  SOUTH BEND IN 46637



                  MORALES, JOSE
                  1240 REVELL AVE
                  ROCKFORD IL 61107



                  MORALES, JUAN A.
                  777 COACHMAN
                  APT 3
                  TROY MI 48083



                  MORALES, LEONARDO
                  2170 NW 82 STREET #6
                  CLIVE IA 50325



                  MORALES, MANUEL
                  4507 JOHN TYLER CT
                  #1
                  ANNANDALE VA 22003
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                  MORALES, MIGUEL A.
                  2512 SILVER LANE
                  APT 302
                  MINNEAPOLIS MN 55421



                  MORALES, SERGIO A.
                  1104 MUIRHEAD AVE
                  NAPERVILLE IL 60565



                  MORALES, VICTOR M.
                  2712 LIM ST
                  TEMPLE HILLS MD 20748



                  MOREIRA, JOSSELINE E.
                  9115 LOUGHRAN RD
                  FORT WASHINGTON MD 20744



                  MORENO, ASHLEY
                  7520 SW 107TH AVE
                  6207
                  MIAMI FL 33173



                  MORENO, KRISTINA M.
                  354 COACHMAN DR.
                  2B
                  TROY MI 48083



                  MORGAN MOSER
                  253 BRAUN RD
                  BEAVER FALLS PA 15010



                  MORGAN, BREANNA M.
                  8017 OHIO STREET
                  DETROIT MI 48204



                  MORGAN, CHRISTIAN
                  2409 S 41ST
                  OMAHA NE 68105
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                  MORGE, BAILEY D.
                  15317 KENTON AVE
                  OAK FOREST IL 60452



                  MORICCA, ALEXIS L.
                  3408 BEAVER AVE.
                  FORT WAYNE IN 46807



                  MORLEY, CHRISTINA
                  1624 24TH STREET
                  MOLINE IL 61265



                  MORMINO, MANDY
                  118 MOORES COURT
                  BRENTWOOD TN 37027



                  MORRELL, ANTONIO
                  2424 VERMONT AVENUE #101
                  HYATTSVILLE MD 20785



                  MORRIS, DAVID H.
                  630 EASTVIEW CIRCLE
                  FRANKLIN TN 37064



                  MORRIS, DAVION R.
                  12501 WHITEHILL
                  DETROIT MI 48224



                  MORRIS, DONOVAN M.
                  12501 WHITEHILL
                  DETROIT MI 48224



                  MORRIS, GERRY E.
                  14603 MILVERTON RD.
                  B1
                  CLEVELAND OH 44120
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                  MORRIS, LISBET K.
                  600 NE JACOB ST
                  GRIMES IA 50111



                  MORRISON, JEREMY M.
                  1333 10TH AVE N
                  APT 1
                  FARGO ND 58102



                  MORRISON, PORSCHE
                  7407 ROSA PARKS
                  DETROIT MI 48206



                  MORROW, CARIANNE L.
                  1802 LEER ST
                  SOUTH BEND IN 46613



                  MORSE ELEMENTARY SCHOOL PTO
                  475 CHERRY DRIVE
                  TROY MI 48083



                  MORTIMER, BRIAN
                  861 BENEDETTI DRIVE
                  APT 201
                  NAPERVILLE IL 60563



                  MOSAIC INC
                  8047 PARALLEL PARKWAY
                  KANSAS CITY KS 66112



                  MOSHER, AUDRA M.
                  13441 YORKTOWN LANE
                  CHAMPLIN MN 55316



                  MOSHER, SHANNON L.
                  15137 W 154TH TER
                  OLATHE KS 66062
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                  MOSS ADAMS LLP
                  PO BOX 101822
                  PASADENA CA 91189-1822



                  MOTIONLOFT INC
                  550 15TH ST STE 29
                  SAN FRANCISCO CA 94103



                  MOTOWN FIRE LLC
                  39282 E ARCHER DR
                  HARRISON TOWNSHIP MI 48045



                  MOYNIHAN, JENNIFER
                  337 59TH STREET
                  DES MOINES IA 50312



                  MR GAS INC
                  25204 RYAN RD
                  WARREN MI 48091



                  MSP LIGHTING PRODUCTS INC
                  15549 S 70TH CT
                  ORLAND PARK IL 60462-5105



                  MSTOWSKI, STEFANIE
                  14535 OAKLEY AVE
                  ORLAND PARK IL 60462



                  MTT INNOVATIONS LLC
                  PO BOX 23271
                  TOLEDO OH 43623



                  MUELLER, SAVANNA
                  2109 3RD ST N
                  SARTELL MN 56377
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                  MULBERRYS LLC
                  2587 FAIRVIEW AVE NORTH
                  SAINT PAUL MN 55113



                  MULLEN, ANTONIO
                  9528 MADELAINE MANOR WALK
                  SAINT LOUIS MO 63134



                  MULLEN, LAKESHA
                  9528 MADELAINE MANOR WALK
                  SAINT LOUIS MO 63134



                  MULLIGAN, PATRICK C.
                  7935 AMBER HILL ROAD
                  LINCOLN NE 68516



                  MULLINS, MALOREE L.
                  2015 26TH ST AVE S
                  MINNEAPOLIS MN 55406



                  MULLINS, MICHAEL
                  18930 MERCER ROAD
                  BOWLING GREEN OH 43402



                  MULTI LOCKSMITH LLC
                  2702 SCARBOROUGH DR
                  FORT WASHINGTON MD 20744



                  MULTICORP INC
                  PO BOX 361
                  WESTMINSTER MD 21158



                  MUNCIE, DERRICK
                  14226 GENTRY DR
                  FISHERS IN 46038
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  MUNGUIA, SELENE
                  9177 LYON ST
                  DETROIT MI 48209



                  MUNN, KAMRYN M.
                  13500 CENTRAL AVE
                  NEAPOLIS OH 43547



                  MUNN, TERRANCE J.
                  544 CARVER BOULEVARD
                  TOLEDO OH 43607



                  MUNSON SR., THOMAS E.
                  1502 VANCE AVENUE
                  FORT WAYNE IN 46805



                  MURAD, AARON
                  46529 MAIDSTONE RD
                  CANTON MI 48187



                  MURCIA, MANUEL D.
                  2311 TAUROMEE AVE
                  12
                  KANSAS CITY KS 66102



                  MURILLO, ELIAZ
                  2830 WHEATON
                  SAINT LOUIS MO 63114



                  MURPHY, CHRISTIAN M.
                  14135 DEARBORN PATH
                  ROSEMOUNT MN 55068



                  MURPHY, EILEEN
                  619 E. BAUER ROAD
                  NAPERVILLE IL 60563
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                  MURPHY, OWEN C.
                  2166 SUMMER HILL CIRCLE
                  FRANKLIN TN 37064



                  MURPHY, TOM W.
                  31510 CONCORD #G
                  CLAWSON MI 48017



                  MURRE, DANA
                  8818 TIMBERCREEK LANE
                  LIBERTY MO 64068



                  MURRY, SHONTE
                  6125 BEDFORD AVE
                  OMAHA NE 68104



                  MUSKA ELECTRIC CO INC
                  1985 OAKCREST AVE
                  SAINT PAUL MN 55113



                  MUSSMAN, MARK A.
                  140 HIGHLAND AVE
                  FAIRFAX IA 52228



                  MUTTON RENTAL CENTER INC
                  1818 LAKEVIEW DR
                  FORT WAYNE IN 46808-3918



                  MY TRADE LLC
                  2770 NW 24TH STREET
                  MIAMI FL 33142



                  MYCHECK LLC
                  408 BROADWAY 2ND FLOOR
                  NEW YORK NY 10013
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                  MYERS, ASHLEY R.
                  10 MEDIA CT
                  SAINT LOUIS MO 63146



                  MYERS, GEORGE R.
                  2850 SOUTHAMPTON DRIVE #113
                  ROLLING MEADOWS IL 60008



                  MYERS, JESSICA
                  2624 16TH STREET
                  MOLINE IL 61265



                  MYLES, CHRISTOPHER
                  3036 GRAY
                  DETROIT MI 48215



                  MYRIAH JO K HANSEN
                  10750 BRUNSWICK RD APT 307
                  MINNEAPOLIS MN 55438



                  MYRON ALFONSO YOUNG
                  12629 MEMORY LANE
                  BOWIE MD 20715



                  NAB, RYAN J.
                  13310 W. 137TH TERRACE
                  OVERLAND PARK KS 66221



                  NAGEL, JAMES E.
                  17933 DAVIDS LANE
                  ORLAND PARK IL 60467



                  NAGY, JESSICA M.
                  18288 NORWICH
                  LIVONIA MI 48152
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                  NAJERA, RANULFO
                  5407 CHATEAU DR.
                  APT 6
                  ROLLING MEADOWS IL 60008



                  NAKAYAMA, MARIO A.
                  1741 KAYLA LN APT.3D
                  WAUKEGAN IL 60087



                  NAKAYAMA, YOSIHE
                  423 FUNSTON AVE.
                  HIGHWOOD IL 60040



                  NAKEADLIA D MITCHELL
                  15058 VAUGHAN
                  DETROIT MI 48223



                  NAPERVILLE AREA CHAMBER
                  OF COMMERCE
                  55 S MAINT ST STE 351
                  NAPERVILLE IL 60540



                  NAPERVILLE HOTEL PTNRS LLC
                  130 E RANDOLPH STE 2100
                  CHICAGO IL 60601



                  NAPERVILLE HUMANE SOCIETY INC
                  PO BOX 533
                  NAPERVILLE IL 60566



                  NAPERVILLE PARK DISTRICT
                  320 W JACKSON AVENUE
                  NAPERVILLE IL 60540



                  NAPERVILLE SENIORS IN ACTION
                  790 ROYAL ST GEORGE DR
                  STE 141 #156
                  NAPERVILLE IL 60563
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                  NARDINI FIRE EQUIPMENT CO INC
                  405 COUNTY ROAD E W
                  SAINT PAUL MN 55126-7093



                  NARDINI FIRE EQUIPMENTFG
                  PO BOX 9707
                  FARGO ND 58106



                  NASH, JOHN
                  6017 VISTA DRIVE
                  1109
                  WEST DES MOINES IA 50266



                  NASHVILLE EDGE LLC
                  1600 OGLETREE CT
                  LA VERGNE TN 37086



                  NASHVILLE FIREPLACE DISTR INC
                  2140 EDWARD CURD LANE
                  FRANKLIN TN 37067



                  NATALIE R KOSTER
                  1355 CLEVELAND HTS BLVD
                  CLEVELAND OH 44121



                  NATE HJELSETH
                  3600 AMERICAN BLVD W, STE 400
                  MINNEAPOLIS MN 55431



                  NATHAN H HYDE
                  5975 ROSECROFT PLACE
                  HUGHESVILLE MD 20637



                  NATHAN JOHN BALISTRERI
                  2140 NW CODE DRIVE
                  BLUE SPRINGS MO 64015
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                  NATIONAL CAR RENTAL
                  PO BOX 402383
                  ATLANTA GA 30384-2383



                  NATIONAL CINEMEDIA INC
                  PO BOX 17491
                  DENVER CO 80217



                  NATIONAL CINEMEDIA LLC
                  PO BOX 17491
                  DENVER CO 80217



                  NATIONAL DOWN SYNDROME SOCIETY
                  8 EAST 41ST STREET
                  8TH FLOOR
                  NEW YORK NY 10017



                  NATIONAL HARBOR CONVENTION AND
                  VISITORS ASSOCIATION INC
                  165 WATERFRONT STREET
                  OXON HILL MD 20745



                  NATIONAL LOCK & SAFE CO
                  1401 WESTRIDGE ROAD
                  LINCOLN NE 68523



                  NATIONAL MULTIPLE SCLEROSIS SO
                  733 THIRD AVE FL 3
                  NEW YORK NY 10017



                  NATIONAL SAFE AND VAULT INC
                  32778 VAN DYKE AVENUE
                  WARREN MI 48093



                  NATIONAL WOMEN VETERANS
                  922 7TH ST
                  ROCKFORD IL 61104
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                  NAVARRETE, IRMA L.
                  1510 ARMSTRONG AVE
                  KANSAS CITY KS 66102



                  NAVARRO, ALEJANDRINA
                  1010 MARCY AVE
                  #4
                  OXON HILL MD 20745



                  NAVARRO, JOSE B.
                  1010 MERCY AVE.
                  #4
                  OXON HILL MD 20745



                  NCR CORP
                  PO BOX 198755
                  ATLANTA GA 30384-8755



                  ND CHILD SUPPORT ENFORCEMENT
                  PO BOX 7280
                  BISMARCK ND 58507



                  NDIGWE, STEPHEN
                  10001 HALLMARK CT
                  FORT WASHINGTON MD 20744



                  NDSU MENS RUGBY CLUB
                  128 MEMORIAL UNION DEPT 5360
                  PO BOX 6050
                  FARGO ND 58108-6050



                  NE DOL/BOILER INSPECTION
                  PROGRAM
                  550 S 16TH ST PO BOX 94600
                  LINCOLN NE 68509-4600



                  NEAL, MARQUIS
                  21905 AVON RD
                  OAK PARK MI 48237
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  NEALLY, ARIEL L.
                  8337 4TH AVE S
                  MINNEAPOLIS MN 55420



                  NEALLY, LEAH L.
                  2095 SILVER BELL RD
                  UNIT 27
                  SAINT PAUL MN 55122



                  NEBRASKA CHILD SUPPORT PAYMENT
                  PO BOX 82890
                  LINCOLN NE 68501



                  NEBRASKA DEPARTMENT OF REVENUE
                  PO BOX 94818
                  LINCOLN NE 68509-4818



                  NEBRASKA DEPT OF HEALTH&HUMAN
                  SERVICES DIV OF PUBLIC HEALTH
                  PO BOX 22790
                  LINCOLN NE 68502



                  NEBRASKA DEPT OF REVENUE
                  COMPLIANCE DIVISION
                  PO BOX 94609
                  LINCOLN NE 68509



                  NEBRASKA HUMANE SOCIETY INC
                  8929 FORT STREET
                  OMAHA NE 68134



                  NEBRASKA INDUSTRIAL
                  REFRIGERATION INC.
                  6921 W REMINGTON DR
                  LINCOLN NE 68532



                  NEBRASKA LICENSED BEVERAGE ASN
                  8424 W CENTER RD STE 204
                  OMAHA NE 68124
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                  NEBRASKA RESTAURANT ASSOC
                  1610 S 70TH STREET
                  SUITE 101
                  LINCOLN NE 68506



                  NEBRASKA SECRETARY OF STATE
                  PO BOX 94608
                  LINCOLN NE 68509



                  NEBRASKA STATE TREASURER
                  809 P STREET
                  UNCLAIMED PROPERTY DIVISION
                  LINCOLN NE 68508



                  NECKER CHARMS ONE LLC
                  721 6TH AVE
                  DE WITT IA 52742



                  NEED, SAMANTHA L.
                  7212 DARK LAKE DRIVE
                  CLARKSTON MI 48346



                  NEGRETE AGUILAR, MELISSA
                  2325 W POST OAK RD
                  OLATHE KS 66061



                  NEIGHBORHOOD GREETINGS LLC
                  2884 DEVILS GLEN RD #128
                  BETTENDORF IA 52722



                  NEIL, TAYLOR Z.
                  34517 SW 187TH ROAD
                  HOMESTEAD FL 33034



                  NEILAN, ALESSA M.
                  2430 36TH ST S
                  301
                  MOORHEAD MN 56560
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                  NELBUD
                  51 KOWBA LANE
                  INDIANAPOLIS IN 46201



                  NELBUD SERVICES GROUP INC
                  51 KOWEBA LANE
                  INDIANAPOLIS IN 46201



                  NELSEN, BRIANNA M.
                  100 NW 14TH ST.
                  GRIMES IA 50111



                  NELSON, HANNA J.
                  463 HARBOR CIRCLE
                  SAINT PAUL MN 55126



                  NELSON, HEIDI
                  1470 ROCKY LANE
                  SAINT PAUL MN 55122



                  NELSON, LAUREN M.
                  5716 CRICKET RIDGE
                  INDIANAPOLIS IN 46250



                  NELSON, ZACHARY D.
                  846 WILLARD STREET WEST
                  STILLWATER MN 55082



                  NEPTUNE PLUMB & HEATING
                  23860 MILES ROAD
                  SUITE G
                  CLEVELAND OH 44128



                  NEVILLE, GENE E.
                  410 NATCHEZ ST
                  #E
                  FRANKLIN TN 37064
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                  NEW GROUND THEATER
                  2113 E 11TH ST
                  DAVENPORT IA 52803



                  NEW HOPE CTR FOR GRIEF SUPPORT
                  145 N CENTER ST STE E
                  NORTHVILLE MI 48167



                  NEW TKG STORAGEMART PTNRS LP
                  STORAGE MART #1653
                  7401 STATE AVE
                  KANSAS CITY KS 66112



                  NEXT DAY SIGNS TOLEDO INC
                  2112 N REYNOLDS RD
                  TOLEDO OH 43615



                  NGUYEN, RYAN
                  2724 WALNUT STREET
                  WEST DES MOINES IA 50265



                  NH P GARAGE LLC
                  PO BOX 75740
                  NH GS MANAGER
                  BALTIMORE MD 21275-5740



                  NH-R RETAIL LLC
                  PO BOX 603719
                  CHARLOTTE NC 28260-3719



                  NHP RETAIL
                  PO BOX 75740
                  BALTIMORE MD 21275-5740



                  NICELY, TAMMY
                  8110 NEVILLE PL.
                  DISTRICT HEIGHTS MD 20747
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                  NICHOLAS TURNEY
                  801 DEL RIO PIKE APT R4
                  FRANKLIN TN 37064



                  NICHOLES, YULANDA G.
                  4703 SHERIFF RD
                  #1
                  WASHINGTON DC 20019



                  NICHOLS KASTER PLLP
                  80 S 8TH STE 4600
                  MINNEAPOLIS MN 55402



                  NICK LEET
                  5029 DUNKIRK PLACE N
                  MINNEAPOLIS MN 55446



                  NICK MEISTER
                  345 QUILNLAN AVE S
                  LAKELAND MN 55043



                  NICK PERRY
                  3831 SUMMERSWORTH RUN
                  FORT WAYNE IN 46804



                  NICK PICCIOLA
                  17802 BOS DRIVE
                  ORLAND PARK IL 60467



                  NICKOLAS KOUDELIS
                  11755 CASA GRANDE DR
                  SAINT LOUIS MO 63146



                  NICOLAS DOMENICK
                  132 RIVERCREST DR
                  CORAOPOLIS PA 15108
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                  NICOLE ESTES
                  699 W BIG BEAVER RD
                  TROY MI 48084



                  NICOLE HOOD
                  9019 BEATRICE
                  LIVONIA MI 48150



                  NICOLE KAMEL
                  27142 LORRAINE
                  WARREN MI 48093



                  NICOLE KIBLER
                  395 GEORGETOWN ROAD
                  DARLINGTON PA 16115



                  NICOLE LANGELAND
                  1970 11TH AVE E
                  SHAKOPEE MN 55379



                  NICOR GAS
                  PO BOX 5407
                  CAROL STREAM IL 60197-5407



                  NIELSEN, JUSTIN
                  201 W KLUCKHOLM
                  MONTROSE SD 57048



                  NIELSEN, MADELINE L.
                  890 MEADOW RD
                  NORTHBROOK IL 60062



                  NIFCO MECHANICAL SYSTEMS LLC
                  500 BLUE HERON DRIVE
                  LINCOLN NE 68522
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                  NIGHTINGALE, DEVIN
                  5425 AUDOBON AVE 103
                  INVER GROVE HEIGHTS MN 55077



                  NIGHTINGALE, RYLEE
                  6827 COLLEGE PARK CT SW
                  #9
                  CEDAR RAPIDS IA 52404



                  NIHAL, ARHAM
                  400 MEADOW RIDGE LN.
                  PROSPECT HEIGHTS IL 60070



                  NIKKI EHLERS
                  9220 COLBY ST
                  LINCOLN NE 68505



                  NIKOLAS RITSCHEL FOUNDATION
                  1915 STRATFORD LANE
                  ROCKFORD IL 61107



                  NIPSCO FW
                  PO BOX 13007
                  MERRILLVILLE IN 46411-3007



                  NISSEN, ERIK A.
                  2780 INDIAN CREEK ROAD
                  MARION IA 52302



                  NIXON, MEGAN
                  692 GAMBLE ROAD
                  OAKDALE PA 15071



                  NOACK, SAVANNAH E.
                  4375 SOUTHFIELD PL.
                  BETTENDORF IA 52722
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                  NOAHS ARK ANIMAL SANCTUARY INC
                  111 N 1ST ST
                  ROCKFORD IL 61107



                  NOEL, SANTIAGO
                  219 ASH DR
                  FRANKLIN TN 37064



                  NOMICHIT, LEEANN P.
                  3208 WEST LINDA LANE
                  PEORIA IL 61605



                  NOORI, FLOWRA
                  559 N SOMERSET TERR
                  UNIT A
                  OLATHE KS 66062



                  NORD, RILEY
                  920 WILLOW CREEK PL #8
                  SIOUX FALLS SD 57106



                  NORDHEIM, ALEXIS N.
                  1794 VALENCIA DRIVE
                  ROCKFORD IL 61108



                  NORDLUND, TREVER
                  41299 COUNTY RD 1
                  RICE MN 56367



                  NORMAN, RANDY L.
                  7080 OAK GROVE BLVD
                  MINNEAPOLIS MN 55423



                  NORTH AMERICAN DIRECTORY SVCS
                  320 EAST 27TH STREET
                  LOVELAND CO 80538
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                  NORTH DAKOTA ASSN OF DRUG
                  COURT PROFESSIONALS
                  1010 2ND AVE S
                  FARGO ND 58103



                  NORTH DAKOTA ELITE LLC
                  205 19TH AVE N
                  FARGO ND 58102



                  NORTH DAKOTA INS DEPARTMENT
                  600 E BOULEVARD AVE
                  DEPT 401
                  BISMARCK ND 58505-0320



                  NORTH DAKOTA STATE LAND DEV
                  UNCLAIMED PROPERTY DIVISION
                  PO BOX 5523
                  BISMARCK ND 58506-5523



                  NORTH END ELECTRIC COMPANY INC
                  2000 BELLAIRE AVE
                  ROYAL OAK MI 48067



                  NORTH HENNEPIN AREA
                  CHAM OF COMMERCE
                  229 1ST AVE NE
                  OSSEO MN 55369



                  NORTH KANSAS CITY BEVERAGE CO
                  203 E 11TH AVE
                  KANSAS CITY MO 64116



                  NORTHBROOK CHAMBER OF COMMERCE
                  202 WALTERS AVE
                  NORTHBROOK IL 60062



                  NORTHERN ELECTRIC
                  4640 NORTH CHATSWORTH
                  SAINT PAUL MN 55126
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                  NORTHERN MECHANICAL
                  CONTRACTORS LLC
                  1975 SENECA RD STE 100
                  SAINT PAUL MN 55122



                  NORTHERN MECHANICAL INC
                  9933 NORTH ALPINE
                  MACHESNEY PARK IL 61115



                  NORTHINGTON, TRAVIS
                  2705 ELM ST N
                  FARGO ND 58102



                  NORTHLAND DIRECTORIES
                  PO BOX 605
                  HUDSON WI 54016



                  NORTHLAND HEALTH CARE ACCESS
                  PO BOX 14414
                  KANSAS CITY MO 64152



                  NORTHLAND REGIONAL CHAMBER
                  OF COMMERCE
                  634 NW ENGLEWOOD RD
                  KANSAS CITY MO 64118



                  NORTHSIDE WELDING LLC
                  2618 10TH STREET NE
                  SAUK RAPIDS MN 56379



                  NORTHSTAR FACILITY SVCS INC
                  30515 CENTRUY DRIVE
                  WIXOM MI 48393



                  NORTHVILLE EAGLES AERIE 2504
                  113 S CENTER
                  NORTHVILLE MI 48167
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                  NORTHVILLE TOWNSHIP
                  WATER AND SEWER DEPARTMENT
                  PO BOX 674268
                  DETROIT MI 48267-4268



                  NORTHWEST MECHANICAL INC
                  PO BOX 2708
                  DAVENPORT IA 52809



                  NORTHWESTERN MEMORIAL
                  FOUNDATION INC.
                  442 WILLIAMSBURG AVENUE
                  GENEVA IL 60134



                  NOSEK, CECILIA M.
                  471 TOBIN DR
                  309
                  INKSTER MI 48141



                  NOST, JAXON P.
                  1235 LINDALE DRIVE
                  MARION IA 52302



                  NOTCH, NOAH
                  7510 SW 9TH STREET
                  DES MOINES IA 50315



                  NOVA COMMUNICATIONS INC
                  16305 36TH AVE N
                  STE 450
                  MINNEAPOLIS MN 55446



                  NOVA FIRE PROTECTION INC
                  304 41ST ST SW
                  FARGO ND 58103
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                  NOVAK ELEMENTARY PARENT
                  TEACHER ORGANIZATION
                  401 29TH AVENUE
                  MARION IA 52302



                  NOVAK, CLAYTON S.
                  426 9TH AVE S
                  SAINT CLOUD MN 56301



                  NOVY, GIANNA
                  240 S LINCOLN AVE
                  AURORA IL 60505



                  NOWAK, MICHAEL L.
                  2547 GREENWAY
                  TOLEDO OH 43607



                  NP SERVICE AND REPAIR LLC
                  6426 NORTH 149TH AVE
                  OMAHA NE 68116



                  NRAI INC
                  PO BOX 4349
                  CAROL STREAM IL 60197-4349



                  NRG RADIO LLC
                  4343 O STREET
                  LINCOLN NE 68510



                  NUCO2 INC
                  PO BOX 417902
                  BOSTON MA 02241-7902



                  NUCO2 LLC
                  2800 SE MARKET PLACE
                  STUART FL 34997
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                  NUNEZ, JUAN
                  1075 HIGGINS QUARTERS DR
                  206
                  HOFFMAN ESTATES IL 60169



                  NUNEZ, TRICIA
                  337 S. MARIAS AVE
                  CLAWSON MI 48017



                  NURSE, JAVON
                  3814 64TH AVE
                  HYATTSVILLE MD 20784



                  NUSBAUM, ISABELLA
                  13758 170TH ST
                  BONNER SPRINGS KS 66012



                  NW NAVIGATOR LUXURY COACHES LL
                  13940 N RIVERGATE BLVD
                  PORTLAND OR 97203



                  NYBO, LEAH
                  9600 99TH AVE. N.
                  OSSEO MN 55369



                  NYGARD, JASON
                  3450 COUNTY ROAD T
                  METAMORA OH 43540



                  O AND W INC
                  3003 WILLIAM AVE
                  YPSILANTI MI 48198



                  O'FARRILL, ORLANDO
                  4507 NE 19TH AVENUE
                  DES MOINES IA 50317
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                  O'HALLORAN, AUTUMN
                  30242 BUCKINGHAM
                  LIVONIA MI 48154



                  O'NEILL, SHANNON
                  1701 NEW HAVEN AVE
                  PITTSBURGH PA 15216



                  OAK RIDGE ELEMENTARY PTA
                  506 EAST 13 MILE RD
                  ROYAL OAK MI 48073



                  OAKLAND CNTY HEALTH DIVISION
                  1200 N TELEGRAPH RD DEPT 432
                  ATTN EHS
                  PONTIAC MI 48341



                  OAKLAND JR GRIZZLIES HOCKEY CL
                  2864 CROFTSHIRE CT
                  ROCHESTER MI 48306



                  OASIS PLANTSCAPES LLC
                  623 MAIN E #202
                  WEST FARGO ND 58078



                  OBAYES, HUSSEIN S.
                  3219 18TH ST S
                  305
                  FARGO ND 58103



                  OBERHOLTZER, SARAH
                  1804 MICHIGAN AVENUE, APT. 108
                  NAPERVILLE IL 60563



                  OBROS WINDOWS LLC
                  1051 WALL STREET
                  BIG LAKE MN 55309
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                  OBSNIUK, ELYSE B.
                  29455 JAMES ST.
                  GARDEN CITY MI 48135



                  OBTAV EZ LLC
                  251 5TH ST NW
                  SAINT PAUL MN 55112



                  OCAMPO, BRYAN J.
                  1501 WEST MAIN STREET #35
                  FRANKLIN TN 37064



                  OCAMPO, FERMIN
                  4716 ARBOR DR APT 116
                  ROLLING MEADOWS IL 60008



                  OCAMPO, JEORGE M.
                  700 WEST MEADE BLVD
                  LOT 116
                  FRANKLIN TN 37064



                  OCHOA, JOSHUA P.
                  2857 GEORGIA AVE S
                  MINNEAPOLIS MN 55426



                  OCHOA, MERCEDEZ G.
                  15993 HAVELOCK CT
                  SAINT PAUL MN 55124



                  ODLC MAUMEE
                  221 GOLDEN GATE PLAZA
                  MAUMEE OH 43537



                  ODRISCOLL, PEYTON
                  4604 DESERT VARNISH DRIVE
                  COLORADO SPRINGS CO 80922
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                  OFARRELL, SHANNON N.
                  13730 HERITAGE
                  STERLING HEIGHTS MI 48312



                  OFFICE DEPOT
                  PO BOX 88040
                  CHICAGO IL 60680-1040



                  OFFICE DEPOT INC
                  PO BOX 633301
                  CINCINNATI OH 45263-3301



                  OFFICE OF ATTORNEY GENERAL
                  LICENSING SECTION
                  600 E BOULEVARD AVE DEPT 125
                  BISMARCK ND 58505-0040



                  OFFICE OF STATE FIRE MARSHAL
                  800 SW JACKSON STE 104
                  TOPEKA KS 66612



                  OFFICE OF THE STATE TREASURER
                  500 E CAPITOL AVE
                  SUITE 212
                  PIERRE SD 57501-5070



                  OHIO BUREAU OF
                  WORKERS COMPENSATION
                  PO BOX 89492
                  CLEVELAND OH 44101-6492



                  OHIO CHILD SUPPORT PAYMENT
                  PO BOX 182394
                  COLUMBUS OH 43218



                  OHIO DEPT OF COMMERCE
                  DIV OF UNCLAIMED FUNDS
                  77 SOUTH HIGH STREET
                  COLUMBUS OH 43215-6108
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                  OHIO DIVISION OF
                  LIQUOR CONTROL
                  6606 TUSSING RD PO BOX 4005
                  REYNOLDSBURG OH 43068-9005



                  OHIO LOGOS INC
                  4384 TULLER ROAD
                  DUBLIN OH 43017



                  OHIO SERVICES CLE LLC
                  9075 TOWN CENTRE DR STE 200
                  BROADVIEW HEIGHTS OH 44147



                  OHL, DANIEL
                  7895 LEEWARD AVE. N.
                  STILLWATER MN 55082



                  OKOBOJI WINESSD
                  PO BOX 376
                  OKOBOJI IA 51355



                  OKTOBER LLC
                  1657 S GETTY ST STE 17
                  MUSKEGON MI 49442



                  OLAFSON, JOSH S.
                  5808 W CHADWICK PL
                  SIOUX FALLS SD 57106



                  OLATHE CHAM OF COMMERCE
                  18103 W 106TH ST STE 100
                  OLATHE KS 66061



                  OLATHE PARKS & REC FOUNDATION
                  100 E SANTA FE
                  PO BOX 768
                  OLATHE KS 66051
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                  OLD REPUBLIC SURETY GROUP
                  PO BOX 1635
                  MILWAUKEE WI 53201



                  OLEA, JOSE L.
                  1107 GROVE ST
                  AURORA IL 60505



                  OLIN, ZACHARY
                  1800 COUNTY RD D
                  SAINT PAUL MN 55112



                  OLIPHANT LOCK AND SAFE INC
                  131 E RIVERSIDE BLVD
                  LOVES PARK IL 61111



                  OLIVER JR., GEORGE T.
                  1910 FALCON HILL PLACE
                  FORT WAYNE IN 46825



                  OLIVER, MARCUS J.
                  37525 FOUNTAIN PARK
                  UNIT 505
                  WESTLAND MI 48185



                  OLIVERAS, SCOTT A.
                  4144 MEADOWLARK WAY
                  SAINT PAUL MN 55122



                  OLIVIA A GARZA
                  2012 PIERCE AVE
                  ROCKFORD IL 61103



                  OLLIE, MICHAEL
                  1099 VAN DYKE
                  APT 106
                  DETROIT MI 48214
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                  OLLIS, TENNAYE M.
                  652 E KIRBY
                  DETROIT MI 48202



                  OLSEN, SETH D.
                  860 EMERALD ST.
                  MARION IA 52302



                  OLSON, KIRRA
                  5005 E 26TH ST
                  UNIT 5
                  SIOUX FALLS SD 57110



                  OLSON, SONDRA L.
                  345 CEDAR STREET #309
                  SAINT PAUL MN 55105



                  OLSON, THERESA
                  445 HONOR DR
                  APT 120
                  LINCOLN NE 68510



                  OLVERA-PEREZ, LACEY M.
                  316 FAIRVIEW BLVD.
                  ROCKFORD IL 61107



                  OLYMPIA PLUMBING & SEWER
                  SERVICE INC
                  3245 QUAIL RIDGE CIRCLE
                  ROCHESTER MI 48309



                  OMAHA CHAMBER OF COMMERCE
                  1301 HARNEY STREET
                  OMAHA NE 68102



                  OMAHA DOOR & WINDOW CO INC
                  4665 G STREET
                  OMAHA NE 68117-1489
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                  OMAHA FALSE ALARM
                  REDUCTION PROGRAM
                  PO BOX 958932
                  SAINT LOUIS MO 63195-8932



                  OMAHA PARKS FOUNDATION INC
                  11225 DAVENPORT ST #108
                  OMAHA NE 68154



                  OMANA, JOEL J.
                  8209 17TH AVE
                  MINNEAPOLIS MN 55425



                  OMARI, AMINEH
                  9230 PARK PLACE
                  TINLEY PARK IL 60487



                  OMNI BREWING COMPANY LLC
                  9462 DEERWOOD LANE N
                  OSSEO MN 55369



                  OMNI GROVE PARK INN LLC
                  290 MACON AVE
                  ASHEVILLE NC 28804



                  ONE BOUNCE GOLF LLC
                  6904 FOREST HILLS RD
                  LOVES PARK IL 61111



                  ONEAL, KRISTIN
                  4017 AVONDALE STREET
                  FORT WAYNE IN 46803



                  ONEALS RESTORATION INC
                  4076 LOCERBIE CIR
                  SPRING HILL TN 37174
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                  ONESIMO ALEMAN
                  1480 JERSEY WAY
                  CHANHASSEN MN 55317



                  ONEZONE INC
                  10305 ALLISONVILLE RD STE B
                  FISHERS IN 46038



                  ONGJOCO, ELIZABETH T.
                  409 UNIVERSITY AVE SE
                  14
                  MINNEAPOLIS MN 55414



                  OPENTABLE INC
                  29109 NETWORK PLACE
                  CHICAGO IL 60673-1291



                  OPITZ, TANYA
                  3419 NICOLLET AVE
                  204
                  MINNEAPOLIS MN 55408



                  OPPD OMAHA
                  PO BOX 3995
                  OMAHA NE 68103-0995



                  OPTIV SECURITY INC
                  PO BOX 28216 NETWORK PLACE
                  CHICAGO IL 60673-1282



                  OQUELI, BYRON S.
                  3948 OKLAND AVE S
                  APT 2
                  MINNEAPOLIS MN 55407



                  ORACLE AMERICA INC
                  15612 COLLECTIONS CENTER DRIVE
                  CHICAGO IL 60693
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                  ORAK, ALEXA L.
                  1208 PARKWOOD CT.
                  BURNSVILLE MN 55337



                  ORCHESTRA ASSN OF TROY HIGH
                  1796 CARPENTER
                  TROY MI 48098



                  ORELLANA MENDEZ, ANA CRISTAL C
                  1071 ROCHESTER RD
                  APT 19
                  TROY MI 48083



                  ORITI, ABIGAIL A.
                  3956 VEZBER DR.
                  INDEPENDENCE OH 44131



                  ORLAND PARK AREA
                  CHAMBER OF COMMERCE
                  8799 WEST 151ST STREET
                  ORLAND PARK IL 60462



                  ORLAND PARK CROSSING II LLC
                  14400 S JOHN HUMPHREY DR
                  SUITE 200
                  ORLAND PARK IL 60462



                  ORLAND YOUTH ASSN GIRLS PROG.
                  20635 ABBEY WOODS CT #104
                  FRANKFORT IL 60423



                  ORLICH, EMILY
                  3031 PITCHFORK LANE
                  MC KEES ROCKS PA 15136



                  OROZCO DIAZ, MIGUEL
                  8915 OLD CEDAR APT 102
                  MINNEAPOLIS MN 55425
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                  ORTEGA, MADELYN
                  1629 FORDHAM ST
                  BOLINGBROOK IL 60490



                  ORTEGA, PABLO
                  12220 S STRANG LINE CT
                  APT 1302
                  OLATHE KS 66062



                  ORTEGA, STEVE R.
                  604 S. WILLIAMS AVE
                  APT 7
                  SIOUX FALLS SD 57105



                  ORTEGA-GARZARO, AXEL S.
                  604 S. WILLIAMS AVE
                  SIOUX FALLS SD 57104



                  ORTIZ ZARAGOZA, JOSE GUADALUPE
                  15829 GOOSEBERRY WAY
                  SAINT PAUL MN 55124



                  ORTIZ, ANA
                  44 AFTON DR
                  MONTGOMERY IL 60538



                  ORTIZ, DIANA
                  689 BIRCHWOOD DR
                  BOLINGBROOK IL 60490



                  ORTIZ, JESUS
                  1856 S PHILLIP DR
                  3B
                  MOUNT PROSPECT IL 60056



                  ORTIZ, LUIS J.
                  5506 OLD DOVER BLVD
                  APT 1
                  FORT WAYNE IN 46835
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                  ORTIZ, MARISOL
                  14414 S 28TH ST
                  BELLEVUE NE 68123



                  ORTIZ, PEDRO
                  1728 EASTMORELAND AVE
                  ROCKFORD IL 61108



                  ORTIZ-MOLINA, JOSE L.
                  1423 VASSAR RD
                  ROCKFORD IL 61103



                  OSBURN, GAGE R.
                  4470 NW 142ND ST
                  104
                  URBANDALE IA 50323



                  OSCAR MADRIGAL
                  PO BOX 28034
                  HIALEAH FL 33002



                  OSF HEALTHCARE FOUNDATION INC
                  800 NE GLEN OAK AVE
                  PEORIA IL 61603



                  OSF HEALTHCARE SYSTEM
                  7800 N SOMMER ST STE 508
                  PEORIA IL 61615



                  OSMUNDSON, PAIGE
                  729 WASHINGTON MEMORIAL DRIVE
                  SAINT CLOUD MN 56301



                  OSSEO SOCCER
                  9581 ORLEANS LN N
                  OSSEO MN 55369
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                  OSTORGA, YAMILETH
                  609 SALISBURRY
                  OXON HILL MD 20745



                  OSTROWSKI, JONATHON C.
                  13043 PROMONTORY TRL
                  ROSCOE IL 61073



                  OTC MARKETS GROUP INC
                  PO BOX 29959
                  NEW YORK NY 10087-9959



                  OTIS BIBBS
                  5173 EMMERSON VILLAGE PLACE
                  APT 108
                  INDIANAPOLIS IN 46237



                  OTSEGO MUSIC BOOSTERS
                  18805 TONTOGANY CREEK RD
                  BOWLING GREEN OH 43402



                  OTT, ELIZABETH A.
                  1135 4TH AVE
                  FREEDOM PA 15042



                  OTTENBERGS BAKERY
                  PO BOX 37285
                  BALTIMORE MD 21297



                  OUR LADY OF LOURDES SCHOOL
                  14000 SW 112ST
                  MIAMI FL 33186



                  OUR LADY OF MOUNT CARMEL INC
                  14598 OAK RIDGE RD
                  CARMEL IN 46032
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                  OUTERBRIDGE, CHRISTINE A.
                  8374 INDIAN HEAD HWY. APT. B1
                  FORT WASHINGTON MD 20744



                  OUTFRONT MEDIA INC
                  PO BOX 33074
                  NEWARK NJ 07188



                  OVARIAN CANCER CONNECTION INC
                  5577 AIRPORT HWY STE 206
                  TOLEDO OH 43615



                  OVIEDO, EDGARDO J.
                  686 BALLANTYNE LANE
                  SPRING LAKE PARK MN 55432



                  OVITT, BRADLEY C.
                  108 3RD STREET
                  HORACE ND 58047



                  OWENS STATE COMMUNITY COLLEGE
                  PO BOX 10,000
                  TOLEDO OH 43699



                  OWENS TECHNOLOGY COMPANIES INC
                  930 E 80TH ST
                  MINNEAPOLIS MN 55420



                  OWENS, CRYSTAL J.
                  17408 E 12 MILE RD
                  ROSEVILLE MI 48066



                  OXON HILL VOLUNTEER FIRE AND
                  RESCUE CO INC
                  PO BOX 259
                  OXON HILL MD 20750
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                  P AND T ELITE PLUMB CO LLC
                  9701 POMPEY CT
                  UPPER MARLBORO MD 20772



                  P G DEPHILLIPS INC
                  111 SPACE PARK SOUTH DRIVE
                  NASHVILLE TN 37211



                  PABLO DAHBURA
                  13000 SW 103 AVE
                  MIAMI FL 33176



                  PABLO MATEO, ANTONIA
                  2620 S LOUISE AVE
                  SIOUX FALLS SD 57106



                  PACE, THOMAS A.
                  5500 N FLINT RIDGE RD
                  KANSAS CITY MO 64151



                  PACIFIC COMMERCIAL SVCS LLC
                  9101 LBJ FREEWAY STE 700
                  DALLAS TX 75243



                  PACKER, SEAN
                  4027 FAIRWAY DRIVE
                  ALIQUIPPA PA 15001



                  PACKERS OUTLET INC
                  260 N 24TH AVE
                  MINNEAPOLIS MN 55411



                  PADDOCK PUBLICATIONS INC
                  PO BOX 3204
                  ARLINGTON HEIGHTS IL 60006
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PAESANI, VICTORIA
                  512 WINWOOD CIRCLE
                  WALLED LAKE MI 48390



                  PAGEL, ELINOR S.
                  941 17TH AVENUE SE APT. 9
                  MINNEAPOLIS MN 55414



                  PAIGE HANEGRAAF
                  3600 AMERICAN BLVD W STE 400
                  MINNEAPOLIS MN 55431



                  PALACIOS, EDGAR
                  505 N OHIO ST
                  AURORA IL 60505



                  PALACIOS, ELIGIO
                  505 N OHIO ST
                  AURORA IL 60505



                  PALATINE PUBLIC LIBRARY
                  DISTRICT FOUNDATION INC.
                  700 NORTH COURT
                  PALATINE IL 60067



                  PALENCIA, LESTER J.
                  560 10TH AVE S
                  204
                  WAITE PARK MN 56387



                  PALLOZOLA, ISZA B.
                  16460 WESTKNOLL COVE DR
                  CHESTERFIELD MO 63017



                  PALM, JACOB R.
                  14271 214TH AVENUE NW
                  ELK RIVER MN 55330
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                  PALMA, JORGE
                  2870 BISTROL DR
                  309
                  LISLE IL 60532



                  PAME NFP
                  6806 N WATER OAK DR
                  EDWARDS IL 61528



                  PANACEA MEADERY LLC
                  804 W CHEROKEE ST
                  SIOUX FALLS SD 57104



                  PANADERO-GONZALEZ, ELIZABETH
                  5812 84 1/2 AVE
                  MINNEAPOLIS MN 55443



                  PANCREATIC CANCER ACTION
                  NETWORK INC
                  1500 ROSECRANS AVE STE 200
                  MANHATTAN BEACH CA 90266



                  PANDA DISTRIBUTION INC
                  77 S BEDFORD ST STE 350
                  BURLINGTON MA 01803



                  PANTALEON TOBON, ROSALBA
                  3209 PORTLAND AVENUE
                  MINNEAPOLIS MN 55407



                  PAPADELIS, NIKI D.
                  3301 JOHN R ROAD
                  TROY MI 48083



                  PARAGON FOODS
                  PO BOX 645423
                  PITTSBURGH PA 15264-5423
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                  PARKER, AFTON
                  2605 CENTRAL AVENUE
                  BETTENDORF IA 52722



                  PARKER, MARSHALL E.
                  700 WESTMINISTER DRIVE #B4
                  FRANKLIN TN 37067



                  PARKER, NICKALS L.
                  579 OHIO ST.
                  SAINT PAUL MN 55107



                  PARKER, TREVON K.
                  20220 SANTAROSA
                  DETROIT MI 48221



                  PARKS, AMANDA M.
                  812 TRUDY LN.
                  O FALLON MO 63366



                  PARKWAY SCHOOL DISTRICT
                  455 NORTH WOODS MILL ROAD
                  CHESTERFIELD MO 63017



                  PARR, RYAN C.
                  9498 BAYWOOD
                  PLYMOUTH MI 48170



                  PARRISH, ELIZABETH
                  570 CHURCH STREET E
                  BRENTWOOD TN 37027



                  PARTY INFLATORS LLC
                  7200 WHITESTONE CIRCLE
                  LINCOLN NE 68507
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                  PASQUIN, WILLIAM S.
                  743 HIGHLAND AVE.
                  CLAWSON MI 48017



                  PASQUIN, WILLIAM S.
                  45925 SPRING LANE #202
                  UTICA MI 48317



                  PASZKIEWICZ, KAREN
                  2421 SUMAC CIR
                  GLENVIEW IL 60025



                  PATCH, WILLIAM S.
                  1006 LAKE AVE
                  FORT WAYNE IN 46805



                  PATIERNO, BRANDON J.
                  6204 NEWBERRY RD
                  302
                  INDIANAPOLIS IN 46256



                  PATINO, VALENTIN
                  1306 W SMITH ST.
                  PEORIA IL 61605



                  PATRICIA DALTON
                  747 JOHN DALY
                  INKSTER MI 48141



                  PATRICIA MEYER
                  4225 10TH AVENUE
                  LEAVENWORTH KS 66048



                  PATRICK BOYLAND
                  1617 LIBERTY STREET
                  HANOVER PARK IL 60133
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PATRICK MICHAEL UMPHREY
                  3441 ELM CREEK DRIVE
                  HAMEL MN 55340



                  PATRICK, DIAMONE
                  14804 STRATFORD CT
                  APT B
                  BRIDGETON MO 63044



                  PATRICK, TRAVIS D.
                  1819 56TH AVE S
                  FARGO ND 58104



                  PATTERSON JR, DONNIE W.
                  2501 KIELEEN AVE
                  2B
                  SAINT LOUIS MO 63121



                  PATTERSON, DANIEL
                  1201 E. 11 MILE ROAD #307
                  SOUTHFIELD MI 48076



                  PAUL CHRISTIAN KONOBECK
                  1214 N 1ST ST
                  STILLWATER MN 55082



                  PAUL E PERSING
                  7200 W MAPLE ST
                  SIOUX FALLS SD 57107



                  PAUL LARSON
                  15460 108TH PLACE N
                  OSSEO MN 55369



                  PAUL LARSON LLC
                  2112 BROADWAY STREET NE #115
                  MINNEAPOLIS MN 55413
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PAUL PERSHICA
                  1300 SUMMIT OAKS DR
                  BURNSVILLE MN 55337



                  PAUL T PHILLIPS
                  480 K RD
                  PALMYRA NE 68418



                  PAULINE M ZUKOWSKI
                  3908 PLEASANT VALLEY BLVD
                  ROCKFORD IL 61114



                  PAUSTIS & SONS
                  17300 MEDINA ROAD
                  SUITE 100
                  MINNEAPOLIS MN 55447



                  PAWS UP OF NEBRASKA
                  PO BOX 301
                  WYMORE NE 68466



                  PAYNE, RAINA
                  864 MASON LANE
                  DES PLAINES IL 60016



                  PAYTON-SMITH, JESSICA
                  2507 SENATOR AVE
                  DISTRICT HEIGHTS MD 20747



                  PCHECO, ROLANDO
                  2730 N 8TH STREET
                  KANSAS CITY KS 66101



                  PCR RESTORATIONS INC
                  933 WEST LONGVIEW AVE
                  MANSFIELD OH 44906
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                  PEARSON, HEIDI A.
                  3006 ABBOTT AVE N
                  MINNEAPOLIS MN 55422



                  PECHA, VALERIE
                  3121 CHOWEN AVE. S.
                  MINNEAPOLIS MN 55416



                  PEDERSON, BREEYA M.
                  1601 N. UNIVERSITY DRIVE #228
                  FARGO ND 58102



                  PEDRAZA, JOSE L.
                  101 CONQUEST COURT
                  UNIONVILLE TN 37180



                  PEHLIVANOVIC, ANELA
                  1364 MCDOWELL RD
                  NAPERVILLE IL 60563



                  PELCH, RYAN T.
                  4002 18TH AVE SOUTH
                  306
                  FARGO ND 58103



                  PELLITTERI WASTE SYSTEMS
                  PO BOX 259426
                  MADISON WI 53725-9426



                  PENA, GILLIAN G.
                  1855 NORTH LAKE DR.
                  TROY MI 48083



                  PEOPLES
                  PO BOX 644760
                  PITTSBURGH PA 15264-4760
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PEORIA AREA CHAM OF COMMERCE
                  403 NE JEFFERSON AVE
                  PEORIA IL 61603



                  PEORIA AREA CONVENTION AND
                  VISITORS BUREAU INC
                  456 FULTON STREET SUITE 300
                  PEORIA IL 61602



                  PEORIA HOUSING AUTHORITY
                  100 S RICHARD PRYOR PL
                  PEORIA IL 61605



                  PEORIA HUMANE SOCIETY
                  2600 N.E. PERRY
                  PEORIA IL 61603



                  PEORIA LOCK AND SAFE INC
                  1421 NE JEFFERSON
                  PEORIA IL 61603



                  PEPCO
                  PO BOX 13608
                  PHILADELPHIA PA 19101-3608



                  PEPSI COLA INC
                  PO BOX 75948
                  CHICAGO IL 60675



                  PEREZ COBO, MOISES
                  3215 CARLISLE ST. NE
                  CEDAR RAPIDS IA 52402



                  PEREZ LOPEZ, JUAN
                  7108 63 AVN
                  MINNEAPOLIS MN 55428
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                  PEREZ ORTIZ, ISAIAS
                  1919 MASHIE DR
                  SAINT LOUIS MO 63114



                  PEREZ PASTOR, ENRIQUE
                  2128 NORTH TOWNE NE
                  CEDAR RAPIDS IA 52402



                  PEREZ VELAZQUEZ, JORGE
                  1613 E CEDAR PL
                  OLATHE KS 66062



                  PEREZ, ANALYCIA M.
                  2022 SHADYBROOK DR
                  FORT WAYNE IN 46803



                  PEREZ, ANGELA R.
                  3305 CONCORD
                  TRENTON MI 48183



                  PEREZ, DUNIA Y.
                  5400 BERKSHIRE BVLD AVE
                  202
                  SIOUX FALLS SD 57106



                  PEREZ, HUGO
                  202 OAK DRIVE
                  FRANKLIN TN 37064



                  PEREZ, IRVIN E.
                  1761 STONE COURT
                  SHAKOPEE MN 55379



                  PEREZ, JOSE J.
                  600N SALEM DRIVE #108
                  HOFFMAN ESTATES IL 60169
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                  PEREZ, JUAN
                  1613 E CEDAR PL
                  OLATHE KS 66062



                  PEREZ, MARIA
                  10301 DEVONSHIRE ROAD
                  APT 308
                  MINNEAPOLIS MN 55431



                  PEREZ, RUBEN
                  5229 CAMPBELL'S RUN
                  PITTSBURGH PA 15205



                  PEREZGROVAS, GUILLERMO
                  2599 LEXINGTON AVENUE N. TRL 5
                  SAINT PAUL MN 55113



                  PERFORMANT NATIONAL PAYMENT
                  CENTER
                  PO BOX 205789
                  DALLAS TX 75320



                  PERINO, BRADY M.
                  868 MAPLE LANE
                  WATERVILLE OH 43566



                  PERLICK CORP
                  BIN 88802
                  MILWAUKEE WI 53288-8802



                  PERPETUAL MOTION MARKETING INC
                  80 S EIGHT STREET STE 900
                  MINNEAPOLIS MN 55402



                  PERRY, KEITH
                  430 41ST STREET
                  CEDAR RAPIDS IA 52402
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                  PERRY, MARY CATHERINE
                  1036 3RD AVENUE
                  LEAVENWORTH KS 66048



                  PERRY, NICHOLAS R.
                  7807 NW ROANRIDGE RD
                  APT K
                  KANSAS CITY MO 64151



                  PERRY, VIRGINIA
                  1036 3RD AVENUE
                  LEAVENWORTH KS 66048



                  PERRYSBURG PLUMBING HEATING
                  1620 WATERS EDGE DRIVE
                  PERRYSBURG OH 43551



                  PERSICHINI, ANGELA D.
                  22555 ALEXANDER
                  SAINT CLAIR SHORES MI 48081



                  PESTO INC MORRIS VISITOR
                  PO BOX 1584
                  AUGUSTA GA 30903



                  PET REFUGE INC
                  4626 BURNETT DR
                  SOUTH BEND IN 46614



                  PETER SCHWABE INC
                  13890 BISHOPS DRIVE STE 100
                  BROOKFIELD WI 53005



                  PETER VONBANK
                  515 4TH STREET NE
                  SAINT MICHAEL MN 55376
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PETERSEN PLUMBING AND HEATING
                  926 W 3RD ST
                  DAVENPORT IA 52802



                  PETERSEN, KARL
                  2506 N. WRIGHT AVE.
                  SIOUX FALLS SD 57107



                  PETERSON COMPANIES
                  12500 FAIR LAKES CIRCLE #400
                  FAIRFAX VA 22033



                  PETERSON WHITAKER AND BJORK LL
                  3140 HARBOR LAND SUITE 100
                  PLYMOUTH MN 55447



                  PETERSON, ABIGAIL L.
                  44531 218TH
                  OLDHAM SD 57051



                  PETERSON, RANAE M.
                  404 OAK STREET
                  FARMINGTON MN 55024



                  PETERSON, TIFFANY L.
                  6066 YUKON AVE N
                  MINNEAPOLIS MN 55428



                  PETERSON, TYLER S.
                  975 GALTIER ST
                  SAINT PAUL MN 55117



                  PFLUEGER, ALEC S.
                  1535 7TH STREET S
                  203
                  SARTELL MN 56377
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PHAN, CEDE
                  2030 N 64TH ST
                  LINCOLN NE 68505



                  PHILBEE, KRISTIN
                  342 MARIA ST
                  EAST PEORIA IL 61611



                  PHILLIPS MG
                  1999 SHEPARD ROAD
                  SAINT PAUL MN 55116-0328



                  PHILLIPS WINE& SPIRITS FINTECH




                  PIAZZA PRODUCE
                  PO BOX 68931
                  INDIANAPOLIS IN 46268-0931



                  PICKENS, EDWARD
                  2120 E STATE ST
                  ROCKFORD IL 61104



                  PICOLO, MARY K.
                  804 DELRAY DR
                  NASHVILLE TN 37209



                  PIERRE PRODUCTIONS AND PROMOTI
                  2318 EASTWOOD CIR
                  MONTICELLO MN 55362



                  PIGG, BRITTANY C.
                  15154 FORDLINE
                  SOUTHGATE MI 48195
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PIKE, HANNAH C.
                  519 COUNTRYWOOD DR
                  FRANKLIN TN 37064



                  PILGRIM DRY CLEANERS INC
                  3217 85TH AVE N
                  BROOKLYN PARK MN 55443



                  PILOT TRAVEL CENTERS LLC
                  PO BOX 11407
                  BIRMINGHAM AL 35246-1314



                  PINA, MARIANO
                  3237 WEST MILTON AVE
                  SAINT LOUIS MO 63114



                  PINEDA, ANTONIO
                  301 E BURNSVILLE PARKWAY
                  UNIT 224
                  BURNSVILLE MN 55337



                  PINEDA, MERCEDES
                  812 KISHWAUKEE
                  ROCKFORD IL 61104



                  PINEDA, ROSVIN R.
                  3028 3RD AVENUE S #2
                  MINNEAPOLIS MN 55408



                  PINK RIBBON RIDERS
                  5420 BLECKLEY RD STE 334
                  BATTLE CREEK MI 49015



                  PINNACLE PRODUCTIONS INC
                  121 SOUTH WILLIAMS AVE
                  SIOUX FALLS SD 57104
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PINNON, PAYTON
                  4811 MOHAWK RD
                  ROCKFORD IL 61107



                  PIONEER CREDIT RECOVERY
                  PO BOX 158
                  ARCADE NY 14009



                  PIOTROWICZ, CYNTHIA R.
                  9540 BATAAN DR
                  SAINT LOUIS MO 63134



                  PIPER PLUMB & DRAIN SERVICE
                  4551 N 123RD TER
                  C/O BURLINGAME ENTERPRISES
                  KANSAS CITY KS 66109



                  PIPEWORKS PRODUCTION LLC
                  3912 W MCLEAN AVE STE B
                  CHICAGO IL 60647



                  PIRILLIS, ALLAN A.
                  1951 DAKOTA DR N
                  APT 202
                  FARGO ND 58102



                  PITNEY BOWES GLOBAL
                  FINANCIAL SVCS LLC
                  PO BOX 371887
                  PITTSBURGH PA 15250-7887



                  PIZER, TAMBERLY
                  5025 PHEASANT WALK
                  IMPERIAL PA 15126



                  PLACE, DANIEL
                  2650 BEAVER ROAD
                  AMBRIDGE PA 15003
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PLANK, MEGAN H.
                  7807 NW ROANRIDGE RD.
                  KANSAS CITY MO 64151



                  PLANS EXAMINERS INC
                  1000 CHURCH HILL ROAD
                  SUITE 210
                  PITTSBURGH PA 15205



                  PLASTIC RESOURCE INC
                  7887 95TH STREET SOUTH
                  COTTAGE GROVE MN 55016



                  PLATT, JEDEIAH
                  1 FORT PITT ROAD EXT
                  CARNEGIE PA 15106



                  PLATTE CNTY COLLECTOR
                  415 THIRD STREET
                  C/O SHEILA L PALMER
                  PLATTE CITY MO 64079-8475



                  PLATTE COUNTY CLERK
                  LIQUOR LICENSING
                  415 3RD ST RM 116
                  PLATTE CITY MO 64079



                  PLAYER, MARCUS
                  7200 JAYWICK AVE
                  506
                  FORT WASHINGTON MD 20744



                  PLAYERLYNC LLC
                  5690 DTC BLVD STE 450E
                  GREENWOOD VILLAGE CO 80111



                  PLAYERS FOR PITS NFP
                  811 STANFORD LANE
                  CAROL STREAM IL 60188
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                  PLAYNETWORK INC
                  PO BOX 21550
                  NEW YORK NY 10087-1550



                  PLEASURE DRIVEWAY AND PARK
                  DISTRICT OF PEORIA
                  1125 W LAKE AVE
                  PEORIA IL 61614



                  PLEXUS COMPANY INC
                  PO BOX 2925
                  FARGO ND 58108-2925



                  PLIEGO CID, CORY C.
                  3135 FOX HILL ROAD
                  AURORA IL 60504



                  PLOWMAN, CHRISTAN E.
                  227 NW 112TH ST
                  KANSAS CITY MO 64155



                  PLUMA, FIDENCIO
                  8964 OLDEN AVE
                  SAINT LOUIS MO 63114



                  PLUMA, JULIETA
                  8964 OLDEN AVE
                  SAINT LOUIS MO 63132



                  PLUMA, MARILU P.
                  9641 HURON DRIVE
                  SAINT LOUIS MO 63132



                  PLUMA, MARILU P.
                  2291 WOODGRASS DRIVE
                  SAINT LOUIS MO 63114
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                  PLUMA, YENI
                  9141 BROWNRIGE
                  SAINT LOUIS MO 63132



                  PLYMOUTH HS BOYS SWIMMING AND
                  DIVING CLUB
                  8400 N BECK RD
                  CANTON MI 48187



                  PMC DESIGN LLC
                  18328 BOYD ST
                  ELKHORN NE 68022



                  POCRNICH, KAITLYNN
                  1724 5TH AVE N
                  GRAND FORKS ND 58203



                  PODS ENTERPRISES INC
                  PO BOX 791003
                  BALTIMORE MD 21279-1003



                  POEPPING, JARED
                  3559 WILDFLOWER RD
                  SAINT CLOUD MN 56301



                  POLANCO-CHACON, JUAN
                  1270 MARY ANN RD.
                  TROY MI 48083



                  POLAR LEASING COMPANY INC
                  4410 NEW HAVEN AVE
                  FORT WAYNE IN 46803



                  POLK COUNTY SHERIFF
                  CIVIL DIVISION
                  225 5TH AVE
                  DES MOINES IA 50309
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                  POLLARD, JAMIE L.
                  4340 CLEARWATER ROAD
                  310
                  SAINT CLOUD MN 56301



                  POLY VINYL ROOFING INC
                  785 ELBOW CREEK RD
                  MOUNT VERNON IA 52314



                  POMPA, MARIBEL
                  2201 S10 ST
                  111
                  LINCOLN NE 68502



                  PONCE, DIANA
                  5805 N CYPRESS DRIVE
                  APT 3106
                  PEORIA IL 61615



                  POND AND LIGHTING DESIGNS INC
                  175 JAMES AVE N
                  MINNEAPOLIS MN 55405



                  POPALOCK
                  652 36TH AVE NE
                  MINNEAPOLIS MN 55418



                  POPE, DNIA M.
                  8826 HARDESTY DRIVE
                  CLINTON MD 20735



                  POPOVICH, KYLA
                  1711 BROWNSTONE BLVD.
                  APT 2
                  TOLEDO OH 43614



                  POPPERT, BRANDON G.
                  10850 N. 136TH STREET
                  WAVERLY NE 68462
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                  PORCAYO, BENJAMIN
                  1019 WESTSHIRE DR.
                  JOLIET IL 60435



                  PORTILLO, ELIO
                  3851 SAINT BARNABAS RD
                  SUITLAND MD 20746



                  PORTILLO, RAUL A.
                  302 HALEY PL.
                  TEA SD 57064



                  POSEY, ROBIN A.
                  4850 BRIERWOOD ROAD
                  LA PLATA MD 20646



                  POSITIVE SIGNS LLC
                  7611A RICHMOND HIGHWAY
                  ALEXANDRIA VA 22306



                  POST, ALLISON
                  490 EDINBURGH AVE
                  MARION IA 52302



                  POTTAWATAMIE COUNTY SHERIFF
                  1400 BIG LAKE RD
                  COUNCIL BLUFFS IA 51501



                  POTTER, BRETT
                  4901 W EQUESTRIAN PL
                  4208
                  SIOUX FALLS SD 57106



                  POUND, MIRANDA
                  627 N OAKLAND AVE
                  MISHAWAKA IN 46544
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                  POWELL, AARON
                  503 EAST SOUTH STREET
                  GENESEO IL 61254



                  POWER NASHVILLE LLC
                  PO BOX 681556
                  FRANKLIN TN 37068



                  POWER UP BATTERIES LLC
                  481 ROOSEVELT RD
                  GLEN ELLYN IL 60137



                  POWERS, BRANDON G.
                  8430 W 86TH ST
                  OVERLAND PARK KS 66212



                  PPF RTL ROSEDALE SHOPPING CENT
                  29974 NETWORK PLACE
                  CHICAGO IL 60673



                  PPF RTL ROSEDALE SHOPPING CTR
                  29974 NETWORK PLACE
                  MORGAN STANLEY
                  CHICAGO IL 60673-1299



                  PRAIRIE STATE BEVERAGE INC
                  300 MILES PARKWAY
                  BARTLETT IL 60103



                  PRAXAIR DISTRIBUTION INC
                  DEPT CH 10660
                  PALATINE IL 60055-0660



                  PRECIOUS LESLEY
                  13721 CHANDLER ST
                  OMAHA NE 68138
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                  PRECISION CLEANING LLC
                  PO BOX 1131
                  FARGO ND 58107



                  PRECISION WASTE SOLUTIONS LLC
                  PO BOX 18856
                  SHREVEPORT LA 71138



                  PREECLAMPSIA FOUNDATION
                  6767 N WICKHAM RD STE 400
                  MELBOURNE FL 32940



                  PREMIERE CREDIT OF NORTH
                  AMERICA
                  PO BOX 19309
                  INDIANAPOLIS IN 46219



                  PREMIERE SERVICES INC
                  400 N MAIN ST
                  GOSHEN IN 46528



                  PREMIERMIDWEST BEVERAGE CO
                  10367 SOUTH 134TH ST
                  OMAHA NE 68138



                  PREMIUM ELECTRIC CO INC
                  2550 HILTON ROAD
                  FERNDALE MI 48220-1544



                  PREPASS
                  PO BOX 52774
                  PHOENIX AZ 85072-2774



                  PRESCOTT ELEMENTARY PTO
                  1930 S 20TH STREET
                  LINCOLN NE 68502
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  PRESCRIPTION LANDSCAPE
                  PO BOX 856827
                  MINNEAPOLIS MN 55485-6827



                  PRESSON, DEJANAE M.
                  5509 KENWOOD ST
                  TEMPLE HILLS MD 20748



                  PRESTON WAITH
                  502 EAST WILLOW ST
                  HARRISBURG SD 57032



                  PRICE, CLIFFORD J.
                  1015 CHELTON AVE
                  PITTSBURGH PA 15226



                  PRICE, CLIFFORD J.
                  114 POLO CLUB DRIVE
                  CORAOPOLIS PA 15108



                  PRICE, MADDIE
                  6806 S 81ST STREET
                  OMAHA NE 68127



                  PRICE, MALAIKA
                  16750 BLACKJACK OAK LN.
                  APT 302
                  WOODBRIDGE VA 22191



                  PRICE, NICHOLAS J.
                  1808 E 6TH ST
                  SIOUX FALLS SD 57103



                  PRIEST, SADIE A.
                  1802 5TH STREET #3
                  WYANDOTTE MI 48192
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                  PRINCE GEORGES COUNTY
                  5012 RHODE ISLAND AVE RM 204
                  HYATTSVILLE MD 20781



                  PRINCE GEORGES COUNTY
                  9200 BASIL COURT STE 420
                  UPPER MARLBORO MD 20774



                  PRIOR, ROBERT
                  6609 WEST BANCROFT #A6
                  TOLEDO OH 43615



                  PRO COURIER INC
                  8375 SUNSET RD E
                  MINNEAPOLIS MN 55432-1315



                  PRO REFRIGERATION INC
                  PO BOX 1528
                  AUBURN WA 98071-1528



                  PROCTOR, LATIKA D.
                  1725 ADDISON RD S
                  DISTRICT HEIGHTS MD 20747



                  PROFESSIONAL AUDIO VISUAL SYST
                  1113 MURFREESBORO RD SUITE 206
                  FRANKLIN TN 37067



                  PROFESSIONAL FOOD EQUIPMENT SV
                  PO BOX 80337
                  FORT WAYNE IN 46898



                  PROFESSIONAL HYGIENE INC
                  ENVIRO MASTER OF ST LOUIS
                  777 MERUS COURT
                  FENTON MO 63026
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                  PROFESSIONAL SPORTS
                  PUBLICATIONS INC.
                  570 ELMONT ROAD
                  ELMONT NY 11003



                  PROGRAM ONE PROFESSIONAL
                  BUILDING SVC
                  960 RAND RD STE 113C
                  DES PLAINES IL 60016



                  PROPERTY INVESTORS LLC
                  700 N COTNER BLVD
                  LINCOLN NE 68505



                  PROSPECT MEADOWS INC
                  1890 COUNTY HOME ROAD
                  MARION IA 52302



                  PROSPERO EQUIPMENT CORP
                  123 CASTLETON STREET
                  PLEASANTVILLE NY 10570



                  PRUETT, CARSON J.
                  2203 S HOLT AVE
                  SIOUX FALLS SD 57103



                  PRUITT, RYLEE G.
                  1717 40TH STREET S. #127
                  FARGO ND 58103



                  PS3 ENTERPRISES INC
                  PO BOX 396
                  BLUE GRASS IA 52726



                  PTSA MICHIGAN CONGRESS OF
                  PARENTS TEACHERS AND STUDENTS
                  240 NAHMA
                  CLAWSON MI 48017
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                  PURCHASE POWER
                  PO BOX 371874
                  PITTSBURGH PA 15250



                  PURCHASE, NIA M.
                  2270 HILLVIEW DRIVE
                  MARION IA 52302



                  QC ANIMAL WELFARE CENTER
                  724 W 2ND AVE
                  MILAN IL 61264



                  QSR AUTOMATIONS INC
                  2301 STANLEY GAULT PARKWAY
                  LOUISVILLE KY 40223



                  QUACKENBUSH VINYL& LEATHER
                  546 OAK RIDGE DRIVE
                  DARIEN WI 53114



                  QUAD CITIES CHAMBER OF
                  COMMERCE
                  1601 RIVER DR STE 310
                  MOLINE IL 61265



                  QUAD CITIES CONVENTION AND
                  VISITORS BUREAU
                  1601 RIVER DRIVE STE 110
                  MOLINE IL 61265



                  QUAD CITIES INTRFTH SPONSORING
                  COMMITTEE
                  601 BRADY ST STE 208
                  DAVENPORT IA 52803



                  QUAD CITY ALL BREED HORSE ASSO
                  PO BOX 555
                  MILAN IL 61264
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                  QUAD CITY WINDOW CLEANING INC
                  PO BOX 635
                  WALCOTT IA 52773



                  QUALITY CARE STORAGE LLC
                  761 CAMP CARDINAL BLVD
                  CORALVILLE IA 52241



                  QUALITY PLUMBING INC
                  1731 HOWELL STREET
                  KANSAS CITY MO 64116



                  QUALITY TRUSTED CONSTRUCTION
                  AND ROOFING INC.
                  6909 WINNETKA AVE NORTH
                  MINNEAPOLIS MN 55428



                  QUALITY UPHOLSTERY
                  1113 71ST AVENUE SOUTH
                  FARGO ND 58104-7310



                  QUEBRADO, JUAN C.
                  55624 VEST AVE
                  NAPERVILLE IL 60563



                  QUEBRADO, JUAN C.
                  55624 VEST AVENUE
                  NAPERVILLE IL 60563



                  QUEEN OF THE ROSARY
                  690 W ELK GROVE BLVD
                  ELK GROVE VILLAGE IL 60007



                  QUESTO INC
                  PO BOX 936562
                  ATLANTA GA 31193
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                  QUIJANO, NATALIE D.
                  17730 SW 152 AVE
                  MIAMI FL 33187



                  QUINTANA, FIDEL G.
                  247 NORTHEAST ST
                  FORT WAYNE IN 46825



                  QUINTANA, HUGO
                  5144 TRUEMPER WAY APT 6
                  FORT WAYNE IN 46835



                  QUINTANA, JOSE
                  729 WARWICK AVE
                  FORT WAYNE IN 46825



                  QUINTANA, TERESA M.
                  9975 SW 218TH TERRACE
                  MIAMI FL 33190



                  QUINTERO VARA, SILVESTRE
                  3041 PARK AVE.
                  MINNEAPOLIS MN 55407



                  QUISENBERRY, RACHEL R.
                  311 MARIA STREET
                  EAST PEORIA IL 61611



                  QUITO, FREDDY L.
                  4420 SOUTH PARK DR
                  FORT WAYNE IN 46806



                  R AND L HOOD CLEANING SVCS INC
                  HOOD GUYZ
                  7711 N MILITARY TRIAL STE 220
                  PALM BEACH GARDENS FL 33410
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                  R J RIES/VALLET
                  601 S MAIN AVE
                  SIOUX FALLS SD 57104



                  RACETTE, STEVEN P.
                  7245 GUIDER DR
                  APT 220
                  SAINT PAUL MN 55125



                  RACHAEL ELIZABETH KNOWLES
                  407 KINGSBURY RD
                  METAMORA IL 61548



                  RACHEL BAKER
                  12891 MAISON LADUE DRIVE
                  SAINT LOUIS MO 63141



                  RACHEL MARCHIONE
                  20509 NORTHVILLE PLACE DR
                  APT 2015
                  NORTHVILLE MI 48167



                  RACHELLE B ABRAMS
                  3210 S 10TH ST
                  MILWAUKEE WI 53215



                  RADA, LESLIE
                  913 E. 6TH STREET
                  MUSCATINE IA 52761



                  RADIO FARGO MOORHEAD INC
                  PO BOX 9919
                  FARGO ND 58106



                  RADOCHONSKI, CHRISTINE L.
                  706 W DORSET AVENUE
                  PALATINE IL 60067
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                  RAGAN, CATHERINE A.
                  4375 10TH AVE S
                  209
                  FARGO ND 58103



                  RAGAN, CATHERINE A.
                  909 43RD ST SW #301
                  FARGO ND 58103



                  RAGNER, GRANT A.
                  816 PRAIRE VIEW DRIVE
                  WEST DES MOINES IA 50266



                  RAHJA, LISA L.
                  8501 W LAVERN WIPF ST
                  SIOUX FALLS SD 57106



                  RAINBOW IRRIGATION AND
                  BACKFLOW PREVENTION INC
                  300 N RIVER RD
                  FOX RIVER GROVE IL 60021



                  RAINMAKER MANAGEMENT INC
                  4701 1ST AVENUE SE
                  CEDAR RAPIDS IA 52402



                  RAINOLDI, MATTHEW R.
                  381 QUAIL RIDGE CT
                  WATERFORD MI 48327



                  RALLS, TIFFANY M.
                  918 W 22
                  SIOUX FALLS SD 57104



                  RALPH DECKER
                  98 VENTURA CT
                  NAPERVILLE IL 60540
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                  RAMIREZ, ALVARO
                  21 W 549 NORTH AVE
                  APT 127
                  LOMBARD IL 60148



                  RAMIREZ, CARLOS L.
                  15901 W 144TH ST
                  OLATHE KS 66062



                  RAMIREZ, ELISA
                  4018 IZARD ST
                  OMAHA NE 68131



                  RAMIREZ, FRANKIE
                  4038 MONACO DRIVE
                  APT E
                  INDIANAPOLIS IN 46220



                  RAMIREZ, GABRIELA
                  9641 HURON DR
                  SAINT LOUIS MO 63132



                  RAMIREZ, GABRIELA
                  1169 SARATOGA DRIVE
                  SAINT CHARLES MO 63303



                  RAMIREZ, JERARDO
                  626 MANCHESTER DR
                  SOUTH BEND IN 46615



                  RAMIREZ, JIMENA L.
                  6220 NEBRASKA AVE
                  OMAHA NE 68104



                  RAMIREZ, JOSUE
                  240 FERNHILL AVE
                  FORT WAYNE IN 46805
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                  RAMIREZ, LAURA
                  902 S. 27 ST
                  OMAHA NE 68105



                  RAMIREZ, MARIA E.
                  6220 NEBRASKA AV.
                  OMAHA NE 68104



                  RAMIREZ, OTTO W.
                  5500 W 44TH ST
                  15
                  SIOUX FALLS SD 57106



                  RAMIREZ, URIEL
                  724 W 17TH ST
                  DAVENPORT IA 52804



                  RAMOS, ARMANDO
                  454 1/2 CHICAGO ST.
                  EAST PEORIA IL 61611



                  RAMOS, AURORA
                  1524 E BURT DRIVE
                  64
                  COLUMBIA TN 38401



                  RAMOS, JOSE V.
                  1524 E BURT DR
                  64
                  COLUMBIA TN 38401



                  RAMOS, JUAN
                  904 W PHILADELPHIA ST
                  DETROIT MI 48202



                  RAMOS, MARCOS F.
                  1524 E. BURT DRIVE UNIT 1A
                  COLUMBIA TN 38401
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                  RAMOS, TABITHA B.
                  904 W PHILADELPHIA ST.
                  DETROIT MI 48202



                  RAMOS-CAMARILLO, ANDREA A.
                  3909 CLINTON AVE S
                  MINNEAPOLIS MN 55409



                  RAMOZ, VICTOR D.
                  903 CENTURY RD
                  APT 104
                  TROY MI 48083



                  RAMSEY CNTY
                  SDS 12-2411
                  PO BOX 86
                  MINNEAPOLIS MN 55486-2411



                  RAMSEY, HEATHER N.
                  7814 N NODAWAY AVE
                  KANSAS CITY MO 64152



                  RAMSEY, ZACHARY
                  1809 260TH AVE
                  DELMAR IA 52037



                  RANDY NORMAN
                  7080 OAK GROVE BLVD
                  MINNEAPOLIS MN 55423



                  RANULFO NAJERA
                  801 PLAZA DRIVE
                  SCHAUMBURG IL 60173



                  RASCON, ALEXIZ
                  1026 N MAIN AVE
                  TEA SD 57064
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                  RASMUSSEN, ISABELLA
                  403 7TH AVE. S
                  5
                  SAINT CLOUD MN 56301



                  RAUSCH, LINDA R.
                  129 LAKE VIEW DRIVE
                  WARROAD MN 56763



                  RAVE ASSOCIATES INC
                  260 METTY DR STE H
                  ANN ARBOR MI 48103



                  RAVELO, CATHERINE A.
                  1740 SW 87 COURT
                  MIAMI FL 33165



                  RAYMUNDO, JEREMIAS
                  4941 TAMA ST
                  APT 1
                  MARION IA 52302



                  RAYNOR, KATHERINE T.
                  12494 S. SAGEBRUSH DRIVE
                  OLATHE KS 66061



                  RAYVON RIGGINS
                  1738 STANTON TERRACE SE
                  WASHINGTON DC 20020



                  REAGAN DELANEY TOKES MEMORIAL
                  10185 CAMEILLA ST
                  POMPANO BEACH FL 33076



                  REAL CLEAN INC
                  3723 GOSHEN ROAD
                  FORT WAYNE IN 46818
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                  REARDON OFFICE EQUIP
                  PO BOX 128
                  MOORHEAD MN 56560



                  REBECCA A OLSON
                  324 S FOUNTAIN
                  WICHITA KS 67218



                  REBECCA BULLOCK
                  5861 HOUGHTEN
                  WASHINGTON MI 48094



                  RECO GALE
                  4325 DENISON
                  CLEVELAND OH 44109



                  RECTOR, ELIZABETH L.
                  7 CHAPEL RIDGE CIRCLE #J
                  MARION IA 52302



                  RED BULL
                  PO BOX 204750
                  DALLAS TX 75320-4750



                  RED RIVER REFRIGERATION
                  160 8TH AVE NW
                  WEST FARGO ND 58078



                  RED SKY SPORTS VENTURE LLC
                  1201 RIVER DRIVE
                  MOLINE IL 61265



                  REDDEN, ARIELLE
                  811 TENNESSEE AVE
                  210
                  FORT WAYNE IN 46806
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                  REDDICK, MARQUITA
                  4547 DALLAS PL
                  202
                  TEMPLE HILLS MD 20748



                  REDFORD LOCK COMPANY INC
                  46085 GRAND RIVER AVE
                  NOVI MI 48374



                  REDFORD UNION HIGH SCHOOL BAND
                  BOOSTERS
                  15933 FOX
                  REDFORD MI 48239



                  REDFORD, AVERY L.
                  205 SOUTH 30TH STREET
                  WEST DES MOINES IA 50265



                  REDMOND, RHIENNE
                  6710 SOUTHFIELD ROAD
                  FORT WASHINGTON MD 20744



                  REDNER, ALEXYSS G.
                  9423 RAVENHOLLOW RD
                  BRENTWOOD TN 37027



                  REED, ALAN
                  501 CALIFORNIA AVE
                  APT 5A
                  PITTSBURGH PA 15202



                  REED, SARA A.
                  4405 ASPEN DR
                  WEST DES MOINES IA 50265



                  REED, SHERYL
                  640 MCHENRY RD
                  #203
                  WHEELING IL 60090
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                  REESE ELECTRIC MOTOR CO INC
                  200 EAST AVE
                  AMES IA 50010



                  REESE, DEANTHONY H.
                  3486 TOWNSEND
                  DETROIT MI 48214



                  REGENCY CENTERS LP
                  1568 SOLUTIONS CENTER
                  CHICAGO IL 60677



                  REGULATORY COMPLIANCE SVCS INC
                  PO BOX 1779
                  TALLAHASSEE FL 32302



                  REICH, LUCAS
                  1121 HAMLINE AVE N
                  #2-212
                  SAINT PAUL MN 55108



                  REID, JAMES
                  5912 NW 91ST TERRACE
                  KANSAS CITY MO 64154



                  REID, JESSICA
                  1651 MORTON ST
                  LINCOLN NE 68521



                  REID, TIANNA C.
                  4409 RENA RD
                  202
                  SUITLAND MD 20746



                  REIFF, JEREMIAH A.
                  38321 SUMMERS ST.
                  LIVONIA MI 48154
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                  REINA, ANITA S.
                  8303 ICON COURT
                  SMYRNA TN 37167



                  REINA, ANTHONY
                  8303 ICON COURT
                  SMYRNA TN 37167



                  REINERT, TAYLER J.
                  27 LUELLA ST S
                  SAINT PAUL MN 55119



                  REIS NORTHVILLE LLC
                  17800 LAUREL PARK DR NORTH
                  SUITE 200C
                  LIVONIA MI 48152



                  REKO, RACHEL S.
                  910 9TH ST S
                  APT 1
                  FARGO ND 58103



                  RELOCATION TODAY INC
                  NW 7215 PO BOX 1450
                  MINNEAPOLIS MN 55485



                  REMACHE, NEY M.
                  5428 5TH ST NE
                  APT 1
                  MINNEAPOLIS MN 55421



                  RENAE E VENTIMIGLIA
                  18959 MAYFIELD
                  LIVONIA MI 48152



                  RENAISSANCE HIGH SCHOOL
                  BASEBALL FOUNDATION LLC
                  22194 ARBOR LANE
                  FARMINGTON MI 48336
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                  RENO, ZACHARY A.
                  8821 ELMHURST AVE
                  PLYMOUTH MI 48170



                  RENTSCH, NICK
                  715 SOUTHEAST 7TH AVE
                  MINNEAPOLIS MN 55414



                  REPUBLIC NATIONAL
                  4101 NORTH POTSDAM AVE
                  SIOUX FALLS SD 57104



                  REPUBLIC NATIONAL FG
                  PO BOX 1940
                  FARGO ND 58107



                  RESPONDER RESCUE INC
                  3711 MEXICO RD
                  SAINT CHARLES MO 63303



                  RESTAURANT TECHNOLOGIES INC
                  2250 PILOT KNOB RD
                  SAINT PAUL MN 55120



                  RESURGENCE LEGAL GROUP PC
                  3000 LAKESIDE DR #309-S
                  DEERFIELD IL 60015



                  REUBEN, CHERYL
                  920 ROLLING CREEK DRIVE NE
                  CEDAR RAPIDS IA 52402



                  REUER, LINDSEY J.
                  1500 LIONS PARK DR NW
                  UNIT 303
                  ELK RIVER MN 55330
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                  REUM RAYMER, ELIOT L.
                  4519 HOAGLAND AVENUE
                  FORT WAYNE IN 46807



                  REUTELER, LEAH
                  12122 ZEALAND AVE N
                  CHAMPLIN MN 55316



                  REVENUE MANAGEMENT SOLUTIONS
                  777 S HARBOUR ISLAND BLVD
                  SUITE 890
                  TAMPA FL 33602



                  REVERT, MATTHEW W.
                  5648 ROTHMAN RD
                  FORT WAYNE IN 46835



                  REVLOCAL LLC
                  PO BOX 511
                  MOUNT VERNON OH 43050



                  REYES JIMINEZ, DANIEL
                  1308 EAST 23RD ST
                  APT 1
                  MINNEAPOLIS MN 55404



                  REYES, RICARDO A.
                  13043 SW57TH TERR
                  MIAMI FL 33183



                  REYNOLDS, MADELINE
                  1900 DALEVIEW DR.
                  MARION IA 52302



                  REYNOLDS, RONALD A.
                  4247 OLD ARNO ROAD
                  FRANKLIN TN 37064
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                  RHL ENTERPRISES LLC
                  832 ANITA AVE
                  ANTIOCH IL 60002



                  RHODES, JULIE L.
                  73 CENTURY DRIVE
                  ROSELLE IL 60172



                  RHODESIA D JONES
                  1120 LOWER MARLBORO RD
                  HUNTINGTOWN MD 20639



                  RHYME BUSINESS PRODUCTS LLC
                  PO BOX 338
                  PORTAGE WI 53901



                  RICARDO A MORALES CLEANING LLC
                  270 PARKVIEW AVE
                  INDIANAPOLIS IN 46201



                  RICE SOUND INC
                  4640 WILLISTON RD
                  MINNETONKA MN 55345



                  RICE, STEVEN J.
                  5646 MONROVIA STREET
                  SHAWNEE KS 66216



                  RICH, BRANDON
                  1011 KIRKWOOD BLVD.
                  DAVENPORT IA 52803



                  RICH, STEPHEN
                  34538 MIDDLEBORO
                  LIVONIA MI 48154
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                  RICHARD A LANE P CAMERON LANE
                  PO BOX 9727
                  MICHIGAN CITY IN 46361



                  RICHARD B BOEHM
                  4913 YUKON AVE N
                  MINNEAPOLIS MN 55428



                  RICHARD BASKE
                  17629 MULBERY AVE
                  TINLEY PARK IL 60487



                  RICHARD H LYNCH
                  2730 W LAKE ST #610
                  MINNEAPOLIS MN 55416



                  RICHARD HECKERT
                  621 BROADWAY AVENUE
                  MC KEES ROCKS PA 15136



                  RICHARD JIMENEZ
                  9431 REAVIS BARRACKS
                  SAINT LOUIS MO 63123



                  RICHARD LEE LAWSON JR
                  70310 SHERIDAN DR
                  EDWARDSBURG MI 49112



                  RICHARDS, RONALD
                  826 SECOND ST.
                  APT A
                  BOWLING GREEN OH 43402



                  RICHLAND COUNTY FAMILY COURT
                  PO BOX 192
                  COLUMBIA SC 29202
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                  RICHTER, BRYAN
                  15420 WARWICK
                  DETROIT MI 48223



                  RICKARD, SCOTT J.
                  2503 FERNDALE AVE #1
                  AMES IA 50010



                  RICO ESPINOZA, SALVADOR
                  4315 ORCHARD ST #1
                  LINCOLN NE 68503



                  RICO, OSWALDO
                  1315 N 47TH ST #1
                  LINCOLN NE 68503



                  RIDLEY SR, JAMES
                  902 21 ST NE
                  APT 108
                  WASHINGTON DC 20002



                  RIES, JASON
                  10801 WEST MILL RD
                  MALCOLM NE 68402



                  RIFE, BRITTANY D.
                  3409 LIMA RD
                  FORT WAYNE IN 46805



                  RIGHT MANAGEMENT INC
                  24677 NETWORK PLACE
                  CHICAGO IL 60673



                  RIGHT ON CARPENTRY INC
                  7140 HARRISON AVE
                  SUITE 108
                  ROCKFORD IL 61112
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                  RIHA, BAYLEE J.
                  2948 N 43RD ST
                  LINCOLN NE 68504



                  RIHA, JORDYN
                  2948 N 43RD ST.
                  LINCOLN NE 68504



                  RILEY G HOLLAND
                  2227 KNAPP ST
                  APT. 201
                  AMES IA 50014



                  RINCON EUROPA, CESAR
                  9105 KENNEDY CT.
                  ORLAND PARK IL 60462



                  RINEHART, JASON M.
                  429 ALLEN CT
                  APT A
                  WHEELING IL 60090



                  RINOS WOODWORKING SHOP INC
                  36475 BILTMORE PLACE
                  WILLOUGHBY OH 44094



                  RIOS-GONZALEZ, ELDA
                  9939 PORTLAND AVE. S
                  MINNEAPOLIS MN 55420



                  RIPLEY, DAN M.
                  18 SOUTH 6TH ST.
                  WATERVILLE OH 43566



                  RITA, JUAN L.
                  6080 SPRING HOUSE PL
                  3
                  BRIDGEVILLE PA 15017
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                  RITTER, RYAN E.
                  8659 ALVARADO CT
                  INVER GROVE HEIGHTS MN 55077



                  RITTER, SAMANTHA L.
                  8324 174TH STREET WEST
                  LAKEVILLE MN 55044



                  RITTER, VICTORIA F.
                  44524 BAYVIEW AVE
                  CLINTON TOWNSHIP MI 48038



                  RIVAS VALENCIA, ELYANNA V.
                  1109 PALMER ROAD, APT. 14
                  FORT WASHINGTON MD 20744



                  RIVAS, ALEJANDRO
                  6445 LIVINGSTON ROAD
                  OXON HILL MD 20745



                  RIVAS, FRANCISCO
                  863 CENTURY DRIVE
                  TROY MI 48083



                  RIVAS, KATHERINE C.
                  765 MCMURRAY DRIVE K11
                  NASHVILLE TN 37211



                  RIVER BEND PLUMBING SERVICES L
                  PO BOX 1142
                  BETTENDORF IA 52722



                  RIVERA, JOSE
                  3141 5TH AVE
                  MINNEAPOLIS MN 55408
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                  RIVERA, JOSE
                  2822 ROSE VALLEY DR
                  FORT WASHINGTON MD 20744



                  RIVERA, LUIS D.
                  3803 PRIMROSE DR
                  WALDORF MD 20602



                  RIVERA, MANASES
                  170 SOUTHVIEW DR
                  APT 4
                  MARION IA 52302



                  RIVERA, NATALIE E.
                  5360 28TH AVE S
                  310
                  FARGO ND 58104



                  RIVERBAND EQUINE THERAPY
                  23875 W STATE RT 65
                  GRAND RAPIDS OH 43522



                  RIVERFRONT HOLDINGS INC
                  DEPARTMENT 77725
                  PO BOX 77000
                  DETROIT MI 48277-0725



                  RIVERFRONT HOLDINGS, INC.
                  C/O CBRE, INC. LEASE ADMIN
                  400 RENAISSANCE CENTER 25TH FL
                  DETROIT MI 48243



                  RIVERS, CYNTHIA A.
                  34329 BARTON ST
                  WESTLAND MI 48185



                  RIVERTOWN ELECTRIC INC
                  PO BOX 564
                  HASTINGS MN 55033
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                  RIVERVIEW LAW OFFICE
                  PO BOX 570
                  SAUK RAPIDS MN 56379



                  RIZVI, ALICIA
                  1400 TWOMBLY RD
                  UNIT 2025
                  CORTLAND IL 60112



                  RIZVI, DEAN
                  1026 DENHAM PL
                  SCHAUMBURG IL 60194



                  RJ DISTRIBUTING COMPANY INC
                  410 HIGH POINT LANE
                  EAST PEORIA IL 61611



                  RJ THOMAS MANUFACTURING CO
                  5648 HWY 59
                  PO BOX 946
                  CHEROKEE IA 51012



                  RJH AIR CONDITIONING AND
                  REFRIGERATION SERVICE LLC
                  12232 DISTRIBUTION PLACE
                  BELTSVILLE MD 20705



                  RK DIXON INC
                  PO BOX 856699
                  MINNEAPOLIS MN 55485-6699



                  RLI INSURANCE COMPANY INC
                  9025 N LINDBERGH DRIVE
                  PEORIA IL 61615



                  RM SVCS
                  625 ESTES AVENUE
                  SCHAUMBURG IL 60193
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                  RMS MECHANICAL SERVICES INC
                  2493 BRODHEAD RD
                  ALIQUIPPA PA 15001



                  ROARK, SETH A.
                  3896 COUNTY ROAD 15
                  SOUTH POINT OH 45680



                  ROBERT A BEALL INC
                  64 PROGRESS AVE
                  CRANBERRY TWP PA 16066



                  ROBERT A HARRIS
                  123 MOHICAN DR
                  OXON HILL MD 20745



                  ROBERT ASP ELEM PARENT TEACHER
                  ADVISORY COUNCIL
                  900 11TH ST N
                  MOORHEAD MN 56560



                  ROBERT BEURGER
                  7140 HARRISON AVE STE 108
                  ROCKFORD IL 61112



                  ROBERT BUERGER
                  7140 HARRISON AVE STE 108
                  C/O GRANITE CITY #20
                  ROCKFORD IL 61112



                  ROBERT DODDS
                  606 12TH AVE
                  MANSON IA 50563



                  ROBERT GEORGE THACKER
                  505 IVANHOE AVE
                  NORTHFIELD MN 55057
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                  ROBERT HALF INTERNATIONAL INC
                  PO BOX 743295
                  LOS ANGELES CA 90074-3295



                  ROBERT HILDRETH
                  PO BOX 61
                  IOWA FALLS IA 50126



                  ROBERT HILL
                  19262 FARMINGTON LAVE
                  SOUTH BEND IN 46614



                  ROBERT J DORAN
                  1685 HAMPTON COURSE
                  SAINT CHARLES IL 60174



                  ROBERT MORRIS UNVERSITY
                  6001 UNIVERSITY BLVD
                  CORAOPOLIS PA 15108



                  ROBERT ROSENBOOM
                  316 RICHART ST
                  PO BOX 131
                  PALMER IA 50571-0131



                  ROBERT S BOND AND RONNA C
                  WYATT
                  471 W MEADOWLARK ST
                  GARDNER KS 66030



                  ROBERT STONE JR
                  PO BOX 32
                  ISANTI MN 55040



                  ROBERT T MILLER
                  11320 TECUMSEH
                  REDFORD MI 48239
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                  ROBERTO C NEGRETE
                  12215 S STRANG LINE CT APT 100
                  OLATHE KS 66062



                  ROBERTS OXYGEN CO INC
                  PO BOX 5507
                  DERWOOD MD 20855



                  ROBERTS, SHAWN A.
                  4217 WEST 115TH STREET
                  3A
                  ALSIP IL 60803



                  ROBERTSON MEDIA GROUP LLC
                  PO BOX 364
                  FRANKLIN TN 37065



                  ROBIN JONES
                  200 AMERICAN WAY
                  OXON HILL MD 20745



                  ROBINE, DEANNA
                  7346 CENTRAL
                  #3
                  WESTLAND MI 48185



                  ROBINE, DEANNA
                  7346 CENTRAL #3
                  WESTLAND MI 48185



                  ROBINS ADAPTED ATHLETICS BOOST
                  7636 ANGELINE DR
                  MINNEAPOLIS MN 55428



                  ROBINSON BEER AND BEVERAGE INC
                  5899 STEUBENVILLE PK STE #1
                  MC KEES ROCKS PA 15136
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                  ROBINSON TOWNSHIP CHRISTIAN
                  77 PHILLIPS LANE
                  MC KEES ROCKS PA 15136



                  ROBINSON, ANGELO R.
                  8840 MARBLE ARCH COURT
                  WHITE PLAINS MD 20695



                  ROBINSON, MARK
                  625 NORTH FIRST AVENUE
                  CANTON IL 61520



                  ROBINSON, MATTHEW
                  1304 HENRY RUFF
                  WESTLAND MI 48186



                  ROBINSON, SAMANTHA
                  1316 E BEACH ST
                  PEORIA IL 61615



                  ROBINSONEXPRESS LLC
                  4317 CAMPBELLS RUN ROAD
                  PITTSBURGH PA 15205



                  ROBISON, JACOB S.
                  418 E BERRY
                  FORT WAYNE IN 46802



                  ROBKE, JERON A.
                  3236 R ST
                  LINCOLN NE 68503



                  ROBLES URBINA, GABRIELA L.
                  4020 2ND ST SW
                  WASHINGTON DC 20032
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                  ROBSON, WILLIAM J.
                  4884 21ST AVE S
                  APT 305
                  FARGO ND 58103



                  ROBYN DELOSS HENKLER
                  11990 101ST AVE N
                  OSSEO MN 55369



                  ROCHA, GUILLERMO
                  1235 YATES ST.
                  TOLEDO OH 43608



                  ROCHELLE WILSON
                  1450 N SALINA AVE
                  WICHITA KS 67203



                  ROCHESTER ARMORED CAR
                  PO BOX 8 - DTS
                  OMAHA NE 68101



                  ROCK RIVER WATER
                  RECLAMATION DISTRICT
                  PO BOX 6207
                  ROCKFORD IL 61125-1207



                  ROCK, JEANETTE N.
                  1041 BRIDGEPORT DRIVE
                  BALLWIN MO 63011



                  ROCKFORD CHAM OF COMMERCE
                  308 W STATE STREET SUITE 190
                  ROCKFORD IL 61101



                  ROCKFORD METROPOLITAN
                  EXPOSITION AUDITORIUM
                  300 ELM ST
                  ROCKFORD IL 61101
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                  ROCKFORD PARK DISTRICT
                  401 S MAIN ST
                  ROCKFORD IL 61101



                  ROCKFORD PUBLIC SCHOOLS
                  DISTRICT 205
                  501 SEVENTH ST
                  ROCKFORD IL 61104



                  ROCKFORD RESCUE MISSION
                  715 W STATE STREET
                  ROCKFORD IL 61102



                  ROCKY MOUNTAIN IRRIGATION LLC
                  538 E SKYLARK ST
                  GARDNER KS 66030



                  ROCKY RIVER MUNICIPAL COURT
                  21012 HULLARD BLVD
                  ROCKY RIVER OH 44116



                  RODGERS, CHELSEA J.
                  1925 E. MAISH AVE
                  DES MOINES IA 50320



                  RODGERS, LILLIAN R.
                  12721 CHEYENNE ST.
                  DETROIT MI 48227



                  RODRIGUEZ CARRILLO, REFUGIO
                  6507 CAMDEN AVE NORTH
                  MINNEAPOLIS MN 55430



                  RODRIGUEZ HERNA, AURELIO
                  55 JOYMAR
                  SAINT CLOUD MN 56301
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                  RODRIGUEZ, ALEXIS
                  2708 N 20TH ST
                  KANSAS CITY KS 66104



                  RODRIGUEZ, ANNETTE
                  6705 SW 129TH CT
                  MIAMI FL 33183



                  RODRIGUEZ, BEATRIZ E.
                  15908 W 153RD ST
                  OLATHE KS 66062



                  RODRIGUEZ, ISABEL C.
                  21925 SW 104 CT.
                  APT 102
                  MIAMI FL 33190



                  RODRIGUEZ, ISABEL M.
                  2321 20 1/2 AVE SOUTH
                  303
                  FARGO ND 58103



                  RODRIGUEZ, JORGE
                  10820 SW 200 DR.
                  #221
                  MIAMI FL 33157



                  RODRIGUEZ, KIMBERLY N.
                  3217 HOLLAND LN
                  NASHVILLE TN 37218



                  RODRIGUEZ, LEONARDO
                  6261 OXON HILL RD
                  APT 201
                  OXON HILL MD 20745



                  RODRIGUEZ, MARIO R.
                  3217 HOLLAND LANE
                  NASHVILLE TN 37218
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                  RODRIGUEZ-MORRIS, BIANCAROSE C
                  720 ROBERTS ROAD #103
                  SARTELL MN 56377



                  ROERS, BRADY A.
                  133 18TH AVE N
                  SAINT CLOUD MN 56301



                  ROESNER, STEPHANIE
                  2510 41ST AVE SOUTH
                  204
                  SAINT CLOUD MN 56301



                  ROGER E HANLEY
                  421 15TH AVE N
                  FARGO ND 58102



                  ROGER SAGRERO
                  15085 W 119TH ST
                  C/O GRANITE CITY
                  OLATHE KS 66062



                  ROGERS, DANI C.
                  1015 W 9TH AVE
                  MARION IA 52302



                  ROGERS, EVERETT
                  2409 SOUTH 17TH STREET
                  LEAVENWORTH KS 66048



                  ROGERS, FARRAAD R.
                  1643 SUMMER RUN DR UNIT 11
                  FLORISSANT MO 63033



                  ROGERS, GIANNA L.
                  10940 PIONEER DRIVE
                  BURNSVILLE MN 55337
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                  ROGERS, JADE J.
                  820 LESPARRE DR
                  SAINT LOUIS MO 63141



                  ROGERS, NOAH
                  319 NORMAN DRIVE NE
                  CEDAR RAPIDS IA 52402



                  ROGERS, TANAE N.
                  1603 OLD DRUMMER BOY LANE
                  FORT WASHINGTON MD 20744



                  ROHLIK, CORINNE N.
                  17600 14TH AVE N
                  APT 114
                  MINNEAPOLIS MN 55447



                  ROJAS GARCIA, GONZALO
                  4130 RAHN RD
                  APT. 118B
                  SAINT PAUL MN 55122



                  ROJAS GARCIA, MARIA
                  4130 RAHN RD
                  APT 118
                  SAINT PAUL MN 55122



                  ROJAS, MINOR J.
                  9975 SW 218TH TER
                  MIAMI FL 33190



                  ROLLING THUNDER MARYLAND CHAPT
                  PO BOX 44152
                  FORT WASHINGTON MD 20744



                  ROMAINE, PAIGE M.
                  1612 W CLINTON ST
                  GOSHEN IN 46526
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                  ROMAN, SILVESTRE
                  6721 VAIL DR
                  APT 6
                  WESTMONT IL 60559



                  ROMERO, NICOLAS
                  12356 W. 107TH TERRACE
                  OVERLAND PARK KS 66210



                  ROMINE, STEPHANIE M.
                  4617 3RD AVE S
                  MINNEAPOLIS MN 55419



                  ROMNESS, JEFFREY N.
                  8536 CLINTON AVE SOUTH
                  MINNEAPOLIS MN 55420



                  ROMNEY, CHRISTIAN J.
                  10819 134TH AVE SE
                  BECKER MN 55308



                  RONALD JONES
                  4847 BALDWIN APT 303
                  DETROIT MI 48214



                  RONALD RICH AND ASSOC
                  30665 NORTHWESTERN HWY 280
                  FARMINGTON MI 48334



                  RONS FIREPLACE SERVICE INC
                  1233 BUTLER AVE
                  LINCOLN NE 68521



                  ROO ENTERTAINMENT LLC
                  2204 S ROOSEVELT AVE
                  SIOUX FALLS SD 57106
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                  ROOFING TECHNOLOGY INC
                  1726 W 1ST STREET
                  DAVENPORT IA 52808



                  ROOFTOP SOLUTIONS
                  2019 CORPORATE LANE SUITE 119
                  NAPERVILLE IL 60563



                  ROOSEN VARCHETTI AND
                  OLIVIER PLLC
                  PO BOX 2305
                  MOUNT CLEMENS MI 48046



                  ROPER, EMILY
                  19222 NORTHRIDGE DR
                  NORTHVILLE MI 48167



                  ROSALES SILVA, PEDRO
                  5600 XYLON AVE N
                  APT 208
                  MINNEAPOLIS MN 55428



                  ROSALES, MARIA
                  9610 WEDGEWOOD PLACE
                  FORT WASHINGTON MD 20744



                  ROSEMOUNT INC
                  8200 MARKET BLVD
                  CHANHASSEN MN 55317



                  ROSENBOOM, ROBERT W.
                  P.O. BOX 131
                  PALMER IA 50571



                  ROSENTHAL, CHRISTINE
                  1007 GRANT PL
                  WAUCONDA IL 60084
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                  ROSETE, JOSE
                  1312 S FINLEY RD
                  1J
                  LOMBARD IL 60148



                  ROSS, DIJON
                  3409 N 93RD ST
                  APT 5
                  OMAHA NE 68134



                  ROSS, DOUGLAS
                  3130 BELCHER DRIVE
                  STERLING HEIGHTS MI 48310



                  ROSSFORD BAND BOOSTER
                  CONCESSION FUND
                  651 SUPERIOR
                  ROSSFORD OH 43460



                  ROSSFORD ELEMENTARY PTO
                  203 EAGLE POINT RD
                  ROSSFORD OH 43460



                  ROSSUM, MADELINE
                  908 46TH AVE S
                  APT 5
                  MOORHEAD MN 56560



                  ROTARY CLUB OF WATERVILLE
                  PO BOX 212
                  WATERVILLE OH 43566



                  ROTERT, LANCE D.
                  2408 SPRING BROOK AVENUE
                  ROCKFORD IL 61107



                  ROTO ROOTER INC
                  5672 COLLECTIONS CENTER DRIVE
                  CHICAGO IL 60693
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                  ROTOROOTER
                  5278 TELEGRAPH ROAD
                  TOLEDO OH 43612



                  ROTOROOTER
                  PO BOX 623
                  SIOUX FALLS SD 57101



                  ROTOROOTER
                  5672 COLLECTION CENTER DRIVE
                  CHICAGO IL 60693



                  ROTOROOTER
                  PO BOX 7011
                  SAINT CLOUD MN 56302-7011



                  ROUTINE CLEAN LLC
                  PMB 152 2884 DEVILS GLEN RD
                  BETTENDORF IA 52722



                  ROWLAND, RABEKA L.
                  245 MILLER AVENUE
                  WEIRTON WV 26062



                  ROXAS, VANESSA M.
                  14853 LIRI DRIVE
                  STERLING HEIGHTS MI 48312



                  ROY C STEMMERICH
                  134 LORIEN DR
                  JEANNETTE PA 15644



                  ROYAL PUBLISH
                  7620 N HARKER DRIVE
                  PEORIA IL 61615-1849
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  ROYS UPHOLSTERY INC
                  1422 15TH STREET
                  MOLINE IL 61265



                  RSR ELECTRIC LLC
                  2333 WATERS DR
                  SAINT PAUL MN 55120



                  RUANE, MADELEINE
                  698 GREEN BAY RD
                  WINNETKA IL 60093



                  RUBALCAVA, DIEGO
                  1305 12TH AVE
                  BELVIDERE IL 61008



                  RUBBERT, TYLER
                  1741 34TH ST S
                  APT E
                  FARGO ND 58103



                  RUBIO, DAMARI C.
                  7660 SW 82 ST
                  H-207
                  MIAMI FL 33134



                  RUBIO, JORGE
                  228 52ND STREET
                  34
                  WEST DES MOINES IA 50265



                  RUBIO, VANESSA A.
                  6005 SAWMILL WOODS COURT
                  FORT WAYNE IN 46835



                  RUCHOTZKE, ERIN N.
                  141 33RD AVE SW
                  APT 5
                  CEDAR RAPIDS IA 52404
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                  RUDEY LANDSCAPE LLC
                  32 W BURLINGTON AVENUE
                  SUITE 4
                  WESTMONT IL 60559



                  RUDNICK, CODY
                  1057 N. 35TH STREET #213
                  FARGO ND 58102



                  RUDOLPH, SHELBY
                  4195 3RD ST
                  WAYNE MI 48184



                  RUGERIO, OSCAR
                  2261 ATRIUM DR
                  SAINT LOUIS MO 63146



                  RUIZ, ALEX J. V
                  17000 MIDDLETON CIR
                  17206
                  FRANKLIN TN 37064



                  RUIZ, BREANNA C.
                  265 SOUTHWOOD DRIVE
                  PERRYSBURG OH 43551



                  RUIZ, ELLY
                  650 EDGEWOOD BLVD. LOT 32
                  FRANKLIN TN 37064



                  RUIZ, NAOMI
                  4113 MURDOCK ST
                  TEMPLE HILLS MD 20748



                  RULEY, REBEKAH L.
                  1220 27TH ST NE
                  CEDAR RAPIDS IA 52402
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                  RUMPHY, CANDIS
                  14656 LINNHURST
                  DETROIT MI 48205



                  RUNNING, MATTHEW
                  2021 EDGERTON ST
                  212
                  SAINT PAUL MN 55117



                  RUPPERT, JACOB D.
                  33448 NORFOLK
                  LIVONIA MI 48152



                  RUSH CREEK ELEMENTARY PTO
                  8801 COUNTRY ROAD 101 N
                  OSSEO MN 55311



                  RUSSELL THOMAS MONAGHAN
                  1113 S 30TH AVE #3
                  OMAHA NE 68105



                  RUSSELL, CHRISTI M.
                  911 KENMORE RD
                  ROCKFORD IL 61108



                  RUSSELL, MICHELLE M.
                  1120 NORTHWOOD DRIVE
                  235
                  SAINT PAUL MN 55121



                  RUTH ELIZABETH MORENO DE OCHOA
                  12211 BRANDYWINE RD
                  BRANDYWINE MD 20613



                  RUTHERFORD, AARON T.
                  2814 N. SHERIDAN RD
                  PEORIA IL 61604
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                  RUTTS SERVICE AND REPAIR
                  PO BOX 5914
                  LINCOLN NE 68505



                  RW LAWN WORKS LLC
                  PO BOX 344
                  BONNER SPRINGS KS 66012



                  RYAN BRONSON
                  PO BOX 88951
                  SIOUX FALLS SD 57109



                  RYAN KIZZIER
                  LINCOLN PLUMBING
                  2501 SURREY COURT
                  LINCOLN NE 68512



                  RYAN LYNCH
                  95 HAVEMEYER UNIT 1
                  BROOKLYN NY 11211



                  RYAN NAB
                  13310 W 137TH TERRACE
                  OVERLAND PARK KS 66221



                  RYAN VAUGHAN
                  15085 W 119TH ST
                  OLATHE KS 66062



                  RYAN WILLIAMS
                  440 BEZDEK DRIVE NW
                  CEDAR RAPIDS IA 52405



                  RYAN, KRISTEN
                  1313 SLEEPY HOLLOW ROAD
                  GLENVIEW IL 60025
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                  RYELL BRADLEY
                  6641 CREEK POINT WAY
                  ALEXANDRIA VA 22315



                  S J SMITH CO INC
                  3707 WEST RIVER DRIVE
                  DAVENPORT IA 52802



                  SA COMUNALE CO INC
                  2900 NEWPARK DRIVE
                  BARBERTON OH 44203



                  SAAVEDRA, ENRIQUE
                  1535 COLONIAL DR
                  SAINT PAUL MN 55113



                  SAAVEDRA, LINDSAY A.
                  400 LARPENTEUR AVE W
                  APT 3
                  SAINT PAUL MN 55113



                  SADIE KREPFLE
                  865 BENTLEY DRIVE UNIT 9
                  MARION IA 52302



                  SAFKO, JACINDA M.
                  1446 IROQUOIS DRIVE
                  PITTSBURGH PA 15205



                  SAGE, SARAH S.
                  722 EDGAR
                  ROYAL OAK MI 48073



                  SAGER, ETHAN R.
                  5000 28TH AVENUE SOUTH
                  203
                  FARGO ND 58104
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                  SAGMAN, BIJAN
                  6458 SILVERBROOK WEST
                  WEST BLOOMFIELD MI 48322



                  SAGRERO, ROGER E.
                  1864 WEST MCEWEN DR
                  FRANKLIN TN 37067



                  SAILORS, CATHIE A.
                  30319 FOX RUN ROAD
                  STACY MN 55079



                  SAINT JOSEPH BREWERY LLC
                  540 N COLLEGE AVE
                  INDIANAPOLIS IN 46202



                  SALARDA, KEVIN
                  928 CANTERFIELD PKWY
                  DUNDEE IL 60118



                  SALAZAR LAZARO, ELISA
                  1623 B STREET
                  LINCOLN NE 68504



                  SALAZAR PONCE, ANA
                  912 WEST TRAILCREEK DR
                  PEORIA IL 61614



                  SALAZAR, IAN B.
                  2285 STEWART AVE
                  1110
                  SAINT PAUL MN 55116



                  SALAZAR, JESUS R.
                  515 CLAIRBORNE
                  304
                  OLATHE KS 66062
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                  SALAZAR, LAZARAO, ELISA
                  1623 B STREET
                  LINCOLN NE 68504



                  SALAZAR, LOUIS
                  810 E. 6TH STREET
                  SIOUX FALLS SD 57103



                  SALDANA, FELIPE
                  7056 HEATHER DR
                  BRYANS ROAD MD 20616



                  SALDIVAR, DYLAN J.
                  10902 HAUSER STREET
                  OVERLAND PARK KS 66210



                  SALDIVAR, GLORIA
                  10902 HAUSER STREET
                  OVERLAND PARK KS 66210



                  SALGADO, IVAN
                  5125 S. 99TH PLAZA APT 4
                  OMAHA NE 68127



                  SALINAS, AZUCENA
                  527 FIFTH ST NORTHFIELD
                  WINNETKA IL 60093



                  SALINAS, DANIEL
                  607 6TH ST
                  WINNETKA IL 60093



                  SALINAS, GABRIEL
                  6200 COUNTY RD 120
                  302
                  SAINT CLOUD MN 56303
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                  SALINAS, JOSE
                  317 W. 9TH ST.
                  MISHAWAKA IN 46544



                  SALTERS, PAIGE
                  6541 OHIO RIVER BLVD
                  PITTSBURGH PA 15202



                  SALTZMAN, HATTIE M.
                  4515 NW 79TH TERR
                  KANSAS CITY MO 64151



                  SALVATORE ALUZZO
                  38522 MT KISCO
                  STERLING HEIGHTS MI 48310



                  SAMANTHA L SMITH ALLEN
                  7611 36TH AVE N APT 304
                  MINNEAPOLIS MN 55427



                  SAMANTHA LUSKEY
                  11907 23RD AVE N
                  MINNEAPOLIS MN 55441



                  SAMANTHA ROBINSON
                  529 W HIGHT ST
                  PEORIA IL 61606



                  SAMANTHA SCHATZMAN
                  6545 OHIO RIVER BLVD
                  PITTSBURGH PA 15202



                  SAMAYOA, JOSE
                  5650 WHITEFEILD CHAPLE RD #102
                  LANHAM MD 20706
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SAMCO FACILITIES MAINT
                  11878 BROOKFIELD
                  LIVONIA MI 48150



                  SAMPSON, JACOB T.
                  4286 MEGHAN LANE
                  SAINT PAUL MN 55122



                  SAMUEL FERGUSON
                  1304 S LAKOTA AVE
                  BRANDON SD 57005



                  SAMUEL L FROSS
                  12358 SHORERIDGE CT
                  MARYLAND HEIGHTS MO 63043



                  SANBORN, ANDREW P.
                  636 INDEPENDENCE DRIVE EAST
                  FRANKLIN TN 37067



                  SANCHEZ CORRAL, AILYN A.
                  5225 UPPER 183RD STREET WEST
                  FARMINGTON MN 55024



                  SANCHEZ LANDEROS, LUIS ANGEL
                  4327 DREXEL ST
                  OMAHA NE 68107



                  SANCHEZ MARTINEZ, TOMAS
                  1003 E 80TH STREET
                  201
                  MINNEAPOLIS MN 55420



                  SANCHEZ PLIEGO, ALFREDO
                  8020 BLOOMINGTON AVE S
                  MINNEAPOLIS MN 55425
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                  SANCHEZ VILLANU, JOSE L.
                  445 LABORE RD
                  #217
                  SAINT PAUL MN 55117



                  SANCHEZ, ANGEL
                  5015 W. THATCHER LN.
                  LINCOLN NE 68528



                  SANCHEZ, ANGEL
                  5015 W. THATCHER LANE
                  LINCOLN NE 68528



                  SANCHEZ, ANGELA
                  3725 CEDAR AVE S #105
                  MINNEAPOLIS MN 55407



                  SANCHEZ, ARIANNA A.
                  19607 SUNNYSIDE
                  SAINT CLAIR SHORES MI 48080



                  SANCHEZ, DANIEL
                  8600 NORTH HICKORY STREET
                  KANSAS CITY MO 64155



                  SANCHEZ, JONATHON
                  7429 PIPERS WAY, APT. 7
                  DOWNERS GROVE IL 60516



                  SANCHEZ, JOSE A.
                  7575 W. 106TH ST.
                  OVERLAND PARK KS 66212



                  SANCHEZ, JOSE F.
                  710 N 26 TH
                  LINCOLN NE 68503
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                  SANCHEZ, JOSE F.
                  710 N 26TH
                  LINCOLN NE 68503



                  SANCHEZ, JOSE N.
                  710 N 26 ST
                  LINCOLN NE 68503



                  SANCHEZ, JUAN
                  406 E FRYE AVE.
                  PEORIA IL 61603



                  SANCHEZ, MARTHA
                  4863 FLINTREDGE COURT
                  #3
                  ROCKFORD IL 61107



                  SANCHEZ, OMAR
                  8746 SUNNY HILL DR.
                  RIPPEY IA 50235



                  SANCHEZ, RODRIGO
                  8842 OLD CEDAR AVE
                  APT 3
                  MINNEAPOLIS MN 55425



                  SANCHEZ, RODRIGO
                  700 WEST MEADE BLVD. #37
                  FRANKLIN TN 37064



                  SANCHEZ, WILFREDO
                  6933 BALSAM LANE
                  FORT WAYNE IN 46825



                  SANCHEZ-GARCIA, JOSE L.
                  8913 LA CROSSE AVE APT 2B
                  SKOKIE IL 60077
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                  SANDERS, AMANDA L.
                  2134 BIMELECH LANE
                  MURFREESBORO TN 37128



                  SANDERS, QIANA
                  9885 BREEDS HILL DR APT C
                  SAINT LOUIS MO 63123



                  SANDOVAL SOLANO, JORGE A.
                  5111 WOODMERE DRIVE
                  104
                  CENTREVILLE VA 20120



                  SANDOVAL, HEINZ
                  10232 S. PULASKI RD
                  APT. 208
                  OAK LAWN IL 60453



                  SANDOVAL, TEFANNI
                  14901 SW 80TH STREET
                  A104
                  MIAMI FL 33193



                  SANDQUIST, CHADRA F.
                  8827 RUGGLES CIR
                  OMAHA NE 68134



                  SANDQUIST, CHADRA F.
                  8827 RUGGLES CIR.
                  OMAHA NE 68134



                  SANDQUIST, JACOB O.
                  8827 RUGGLES CIR
                  OMAHA NE 68134



                  SANDQUIST, JACOB O.
                  8827 RUGGLES CIR.
                  OMAHA NE 68134
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                  SANDQUIST, JOY M.
                  8827 RUGGLES CIR.
                  OMAHA NE 68134



                  SANDRA MASCHE
                  N6911 KUHL RD
                  WATERLOO WI 53594



                  SANDVIG, CODY
                  1321 32ND STREET CIRCLE SOUTH
                  MOORHEAD MN 56560



                  SANFORD, JUSTIN
                  10857 195TH AVE NW
                  ELK RIVER MN 55330



                  SANGSTER, CHRISTOPHER S.
                  1694 MOULIN
                  MADISON HEIGHTS MI 48071



                  SANSOVICH, JAMES D.
                  425 6TH AVE SOUTH
                  SAINT CLOUD MN 56301



                  SANTAGATA, ANTHONY J.
                  1912 TUSCANY LN
                  ROMEOVILLE IL 60446



                  SANTIAGO, JORGE S.
                  1311 21ND STREET
                  10
                  DES MOINES IA 50311



                  SANTIAGO, JUAN
                  8255 NW 6 TERRACE
                  UNIT 232
                  MIAMI FL 33126
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                  SANTOS, DUNIA L.
                  NEED ADDRESS



                  SANTOYO SR., GUADALUPE S.
                  903 ROANOKE CT
                  41
                  LINCOLN NE 68510



                  SANTUCCI PLUMBING INC
                  1855 JANKE DR
                  NORTHBROOK IL 60062



                  SARA GROOM
                  1621 WOODLYN AVE EAST
                  SAINT PAUL MN 55109



                  SARAH HANGGI KENNEDY
                  2030 CRABAPPLE PARC WAY
                  ROSWELL GA 30076



                  SARAH MACKIN
                  3600 AMERICAN BLVD W
                  SUITE 400
                  MINNEAPOLIS MN 55431



                  SARKIS, ASHLEY
                  3612 27TH AVE. SOUTH
                  MINNEAPOLIS MN 55406



                  SARMIENTO, IBRAGIM R.
                  4721 WEST 124TH STREET
                  SAVAGE MN 55378



                  SAUCEDO TORRES, MANUEL
                  3201 15TH AVE S #1
                  MINNEAPOLIS MN 55404
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                  SAUCEDO, MELESIO
                  1252 N. WHEELING RD.
                  MOUNT PROSPECT IL 60056



                  SAUER, CHELSEA E.
                  4850 BRIERWOOD RD
                  LA PLATA MD 20646



                  SAUER, CHELSEA E.
                  108 CHARLESTON COURT
                  LA PLATA MD 20646



                  SAUK, JOSHUA
                  604 GREGG RD
                  NORTHBROOK IL 60062



                  SAUNDERS HOME AUTOMATION LLC
                  17283 70TH AVE N
                  OSSEO MN 55311



                  SAVOY, NAUDIA M.
                  7426 SHADY GLEN TERRACE
                  CAPITOL HEIGHTS MD 20743



                  SAVOY, TANIA
                  2102 BRINKLEY ROAD
                  FORT WASHINGTON MD 20744



                  SCHAEFER ELECTRIC INC
                  2927 NORTH 84TH STREET
                  OMAHA NE 68134



                  SCHAF, RYAN J.
                  123 15 STREET NORTH
                  FARGO ND 58102
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                  SCHAFER, AISHA
                  1919 UNIVERSITY DR N
                  310
                  FARGO ND 58102



                  SCHAFER, KIARA C.
                  3707 73RD ST. E
                  INVER GROVE HEIGHTS MN 55076



                  SCHALLON, HELEN G.
                  11103 BONJOUR CT
                  SAINT LOUIS MO 63146



                  SCHAMBERGER BROS INC
                  PO BOX 7440
                  VILLA PARK IL 60181



                  SCHAMBURG BUSINESS ASSOCIATION
                  1501 E WOODFIELD RD STE 115N
                  SCHAUMBURG IL 60173



                  SCHATZ, COURTNEY
                  105 DERBY TRACE
                  NASHVILLE TN 37211



                  SCHAUER, SARAH L.
                  2739 WESTWOODSTREET W.
                  WEST FARGO ND 58078



                  SCHAUWECKER, JESSICA
                  913 W. 8TH AVENUE
                  KEARNEY MO 64060



                  SCHECHTER DOKKEN KANTE
                  100 WASHINGTON AVE S
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                  SCHECHTER DOKKEN KANTE
                  100 WASHINGTON AVE S
                  SUITE 1600
                  MINNEAPOLIS MN 55401-2192



                  SCHELER, KIARA A.
                  3420 W SAINT GERMAIN ST
                  212
                  SAINT CLOUD MN 56301



                  SCHENK, MARCUS
                  4275 46TH AVENUE NO. #126
                  ROBBINSDALE MN 55422



                  SCHIFFOUR, ETHAN J.
                  1445 HERITAGE DRIVE
                  CANTON MI 48188



                  SCHILLINGER, DEREK
                  728 HWY C
                  ULMAN MO 65083



                  SCHILLINGER, MARY BETH
                  2224 HOOD AVE
                  SAINT LOUIS MO 63114



                  SCHINDLER ELEVATOR CORP
                  PO BOX 93050
                  CHICAGO IL 60673-3050



                  SCHLIEVERT, JORI H.
                  1955 GLEN ARBOR DR
                  TOLEDO OH 43614



                  SCHMID, SYDNEY R.
                  3202 42ND AVE S
                  SAINT CLOUD MN 56301
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                  SCHMIDT, CAROL
                  3008 S MAYFAIR DR #19
                  SIOUX FALLS SD 57106



                  SCHMIDT, KYLIE D.
                  2203 ABBEY DRIVE
                  APT 6
                  FORT WAYNE IN 46835



                  SCHMITT, KYLIE T.
                  9047 MELVIN
                  LIVONIA MI 48150



                  SCHNAKE, ELSA C.
                  14270 S. ARAPAHO DRIVE
                  OLATHE KS 66062



                  SCHNEIDER GRAPHICS INC
                  6082 NE 14TH STREET
                  DES MOINES IA 50313



                  SCHNELL, AMY
                  3500 8TH AVE S
                  101
                  MOORHEAD MN 56560



                  SCHNITKEY, MARIE C.
                  5965 CEMETERY RD.
                  WHITEHOUSE OH 43571



                  SCHOENECKER, MARISSA
                  13 WOODHILL RD
                  SAINT CLOUD MN 56301



                  SCHOLTEC, AARON F.
                  8624 SUMMIT DRIVE
                  CLIVE IA 50325
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                  SCHONS, CHRISTOPHER C.
                  1489 E. 120TH ST.
                  OLATHE KS 66061



                  SCHOUVILLER, NICOLE C.
                  8708 10TH ST SE
                  BUFFALO MN 55313



                  SCHROEDER, KYLE
                  1414 PRINCETON LN.
                  SCHAUMBURG IL 60193



                  SCHROLL, KATIE M.
                  2095 SILVER BELL RD
                  SAINT PAUL MN 55122



                  SCHUCHMANN, WILLOW
                  1659 80TH STREET
                  ARLINGTON IA 50606



                  SCHUCKIT AND ASSOCIATES PC
                  4545 NORTHWESTERN DRIVE
                  ZIONSVILLE IN 46077



                  SCHUELLER, TRAVIS
                  1703 UNIVERSITY DR SE
                  APT 101
                  SAINT CLOUD MN 56304



                  SCHULTE, JILL
                  27734 W. DRAKE DRIVE APT. 40
                  CHANNAHON IL 60410



                  SCHULTES GREENHOUSE AND NURSER
                  2960 LA BEAUX AVE NE
                  SAINT MICHAEL MN 55376
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                  SCHULTZ, RICHARD G.
                  625 LADD
                  WALLED LAKE MI 48390



                  SCHULTZ, TAMI K.
                  750 THORNTON WAY
                  UNIT 428
                  ALEXANDRIA VA 22314



                  SCHUMANN, SARAH R.
                  104 BRENTWOOD PT
                  BRENTWOOD TN 37027



                  SCHURB, CHLOE
                  11824 WEST RIVER RD
                  CHAMPLIN MN 55316



                  SCHWARTZ, LISA M.
                  709 HUNTLY CT.
                  SCHAUMBURG IL 60194



                  SCHWARTZ, SARAH
                  1106 STRATSTRA COURT
                  APT A
                  ELGIN IL 60120



                  SCHWARTZWALTER, COLBY
                  2524 29TH AVE S
                  MOORHEAD MN 56560



                  SCHWEIGERT KLEMIN AND MCBRIDE
                  1915 N KAVANEY DR 2
                  BISMARCK ND 58501



                  SCOFIELD-RELFORD, CHELSEA
                  26747 LAKEVUE DR. APT. 7
                  PERRYSBURG OH 43551
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                  SCOTT ANDERSON
                  414 LONG DRIVE
                  PITTSBURGH PA 15241



                  SCOTT CNTY HEALTH DEPARTMENT
                  600 WEST 4TH STREET
                  DAVENPORT IA 52801



                  SCOTT COUNTY SHERIFF
                  400 W 4TH ST
                  DAVENPORT IA 52801



                  SCOTT KORNAHUENS
                  8909 BEDFORD CIR
                  OMAHA NE 68114



                  SCOTT M WOOD
                  SCOTT WOOD SERVICES
                  508 DEER CREEK ROAD
                  SAXONBURG PA 16056



                  SCOTT RICKARD
                  2503 FERNDALE AVE
                  AMES IA 50010



                  SCOTT STEGNER
                  4011 LILLIE AVE #104
                  DAVENPORT IA 52806



                  SCOTT, EMILY A.
                  214 4TH ST E
                  #207
                  SAINT PAUL MN 55101



                  SCOTT, KIRSTIN R.
                  3544 N OCONTO
                  CHICAGO IL 60634
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                  SCOTT, SPENCER G.
                  338 6TH AVE
                  MARION IA 52302



                  SCOTT, WINSTON J.
                  1101 IROQUOIS #1420
                  NAPERVILLE IL 60563



                  SCRIPPS MEDIA INC
                  PO BOX 204224
                  DALLAS TX 75320-4224



                  SD DEPARTMENT OF HEALTH
                  600 E CAPITOL AVE
                  HUGHESVILLE MD 20637



                  SDK9 REHABILITATION LLC
                  6535 HARVEST RIDGE LN
                  HUGHESVILLE MD 20637



                  SEAMAN, KATIE
                  8904 W WISEMAN CIR
                  SIOUX FALLS SD 57106



                  SEAMLESS ROOFING SOLUTIONS LL
                  12602 W SANTA FE TRAIL DR
                  LENEXA KS 66215



                  SEAN M FRITZ
                  29470 JOHN HAUK
                  GARDEN CITY MI 48135



                  SEARCY, CHANCELLOR
                  15435 ASHTON
                  DETROIT MI 48223
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                  SEARCY, CORINN A.
                  12163 230TH ST.
                  LINWOOD KS 66052



                  SEATON, DARIA K.
                  3619 N 44TH AVENUE
                  OMAHA NE 68111



                  SEBASTIAN BUISSON
                  7204 GREEN MEADOWS LN
                  NASHVILLE TN 37221



                  SEBEKOW, MARIA G.
                  5440 38TH STREET S. #102
                  FARGO ND 58104



                  SEBREE, DERRICK S.
                  207 WELLINGTON CRESCENT
                  MOUNT CLEMENS MI 48043



                  SECRETARY OF STATE STATE OF NO
                  PO BOX 5513
                  BISMARCK ND 58506



                  SECTIONAL HOCKEY TOURNAMENTS
                  6250 EXCELSIOR BLVD 103
                  MINNEAPOLIS MN 55416



                  SECURED RETAIL NETWORKS INC
                  26000 TOWNE CENTRE DR STE 100
                  FOOTHILL RANCH CA 92610



                  SECURITY INCORPORATED
                  PO BOX 274
                  MICHIGAN CITY IN 46360
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                  SECURITY ONE SVCS
                  PO BOX 1910
                  LEES SUMMIT MO 64063



                  SECURITY SELF STORAGE CORP
                  355 BISHOP RD
                  CLEVELAND OH 44143



                  SEEDS OF FAITH EARLY LEARNING
                  CENTER INC.
                  10395 UNIVERSITY AVENUE
                  CLIVE IA 50325



                  SEIDL, EMILY R.
                  1151 N VILLAGE DR
                  UNIT 1
                  ROUND LAKE IL 60073



                  SEIVERT, CATIE M.
                  1706 OHIO PWKY
                  ROCKFORD IL 61108



                  SELECTIVE SYSTEMS INC
                  4230 MADISON AVE
                  INDIANAPOLIS IN 46227



                  SELS, THOMAS E.
                  965 CHARLELA LANE
                  310
                  ELK GROVE VILLAGE IL 60007



                  SENTRY SECURITY SYSTEMS INC
                  3881 WEST 95TH STREET
                  LEAWOOD KS 66206



                  SERBU, STEPHANIE
                  2233 CHERRY LANE
                  NORTHBROOK IL 60062
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                  SERNA GONZALEZ, IVON
                  1101 IROQUOIS AVE. APT. 2430
                  NAPERVILLE IL 60563



                  SERRANO CASTRO, EDITH
                  1120 TOWN FOUR PKWY DR
                  SAINT LOUIS MO 63141



                  SERRANO, ASHLEY
                  15028 HUNTERS LANE
                  HUNTERTOWN IN 46748



                  SERRANO, ESTEBAN
                  6418 LEE AVE NORTH
                  MINNEAPOLIS MN 55429



                  SERRES, ALEXANDRA M.
                  4538 VILLA DR.
                  UNIT A
                  SAINT PAUL MN 55122



                  SERVICE ELECTRIC OF ALLEN
                  COUNTY INC.
                  PO BOX 6129
                  FORT WAYNE IN 46896-6129



                  SERVICE EXPERTS HEATING
                  1702 S FAIRFIELD AVE
                  FORT WAYNE IN 46802



                  SERVICE WET GRINDING CO
                  1867 PROSPECT AVENUE
                  CLEVELAND OH 44115



                  SESAC INC.
                  PO BOX 900013
                  RALEIGH NC 27675-9013
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                  SEVERT, KRISTEN
                  3440 TURFWAY LANE
                  ANTIOCH TN 37013



                  SEWER SERVICE COMPANIES INC
                  PO BOX 100
                  SCANDIA MN 55073



                  SEXTON, COLE J.
                  6675 36TH AVE SE
                  SAINT CLOUD MN 56304



                  SF PARASKEVA ORTHODOX CHARITY
                  PO BOX 9103
                  AURORA IL 60598



                  SHAHEED, SHAREEF
                  331 FULLER AVE APT 6
                  SAINT PAUL MN 55103



                  SHAKIR, KHALIA L.
                  13825 BRINGARD DR
                  DETROIT MI 48205



                  SHAMROCK GROUP
                  2900 FIFTH AVE SO
                  MINNEAPOLIS MN 55408-2484



                  SHANE ALLEN MAJOR
                  400 4TH STREET



                  SHANE ALLEN MAJOR
                  400 4TH STREET
                  BOX 168
                  GRANT IA 50847
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                  SHANE BAUER
                  5542 ADAMS ST
                  LINCOLN NE 68510



                  SHANNON HILL
                  2655 MANISTIQUE
                  DETROIT MI 48215



                  SHANNON LOVEJOY
                  3276 CORLISS TRAIL
                  ROSEMOUNT MN 55068



                  SHANNON SUTHERLAND
                  9319 GREENWAY LANE
                  LENEXA KS 66215



                  SHAREEF SHAHEED
                  331 FULLER AVE APT 6
                  SAINT PAUL MN 55103



                  SHATIN C I LLC
                  10701 WHITE HALL ROAD
                  HAGERSTOWN MD 21740



                  SHAURETTE, MITCHELL
                  7331 NW DONOVAN DR
                  526
                  KANSAS CITY MO 64153



                  SHAWN MICHAEL WINGATE
                  2361 MORNINGDEW BLVD
                  MAUMEE OH 43537-1048



                  SHAWNE MURPHY JOHNSON
                  104 MALCOM AVE SE
                  MINNEAPOLIS MN 55414
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                  SHEARER, BRIAN
                  13808 JOSEPHINE ST
                  OMAHA NE 68138



                  SHEETS, SHAWNA M.
                  1260 US 69 HWY 134
                  LIBERTY MO 64068



                  SHELLEY, BREANNE T.
                  19553 WEST 207TH PLACE
                  SPRING HILL KS 66083



                  SHELNUTT, DANNY R.
                  2073 DARROW LAKE DRIVE
                  STOW OH 44224



                  SHELTON, ELIZABETH A.
                  910 ALLEN STREET
                  SOUTH BEND IN 46616



                  SHEPARD, ALEXIS
                  26450 CROCKER BOULEVARD #408
                  HARRISON TOWNSHIP MI 48045



                  SHEPARD, LAMARIONE
                  233 CHANNING ST. NE
                  WASHINGTON DC 20002



                  SHERLOCK, CHRISTOPER
                  4640 S DUCK LAKE RD
                  COMMERCE TOWNSHIP MI 48382



                  SHERRY, NICOLE
                  37706 MUNGER DRIVE
                  LIVONIA MI 48154
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SHIELA TULLY DRISCOLL
                  1750 GLENVIEW RD
                  GLENVIEW IL 60025



                  SHINGOBEE BUILDERS INC
                  669 N MEDINA ST
                  LORETTO MN 55357



                  SHISLER, VINCENT D.
                  9057 ARTESIAN
                  DETROIT MI 48228



                  SHOES FOR CREWS LLC
                  PO BOX 734176
                  CHICAGO IL 60673



                  SHONBORN, KATELYN M.
                  14517 BROOKFIELD DR.
                  FORTVILLE IN 46040



                  SHOULDERS, SAMANTHA
                  25956 CONTINENTAL CIR
                  TAYLOR MI 48180



                  SHRED IT US HOLDCO INC
                  28883 NETWORK PLACE
                  CHICAGO IL 60673-1288



                  SHRINERS INTERNATIONAL MURAT
                  SHRINERS INC.
                  510 N NEW JERSEY ST
                  INDIANAPOLIS IN 46204



                  SHURGARD STORAGE CENTERS LLC
                  933 N ILLINOIS ST
                  INDIANAPOLIS IN 46204
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SIBERT, JARIAH E.
                  27661 TUNGSTEN ROAD
                  202
                  EUCLID OH 44132



                  SIBLEY, DERRICK
                  7145 CHICAGO AVE S #6
                  MINNEAPOLIS MN 55436



                  SIGAFOOS, PAIGE N.
                  6150 QUINWOOD LANE NORTH
                  MINNEAPOLIS MN 55442



                  SIGMA ALDRICH INC
                  PO BOX 535182
                  ATLANTA GA 30353-5182



                  SIGN A RAMA INC
                  6641 MIDDLEBELT ROAD
                  GARDEN CITY MI 48135



                  SIGN SOLUTIONS LLC
                  3014 NORTH CLINTON STREET
                  FORT WAYNE IN 46805



                  SIGNAGE SOLUTIONS
                  2231 S DUPONT DR
                  ANAHEIM CA 92806-6105



                  SIGNARAMA LV
                  731 BETA DRIVE
                  UNIT D
                  CLEVELAND OH 44143



                  SIGNATURE CONCEPTS
                  4777 SHADY OAK ROAD
                  HOPKINS MN 55343
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                  SIGNATURE EVENTS GROUP LTD
                  400 RIVER EDGE DR
                  ELGIN IL 60123



                  SIGNS FOR TOMORROW INC
                  2727 LINCOLN DR
                  SAINT PAUL MN 55113



                  SILCO FIRE& SECURITY
                  10765 MEDALLION DRIVE
                  CINCINNATI OH 45241



                  SILK, ASHLEY A.
                  17097 FAIR MEADOW WAY
                  FARMINGTON MN 55024



                  SILVA, ALEJANDRO
                  2400 ALGONQUIN RD. #10
                  ROLLING MEADOWS IL 60008



                  SILVA, MARTIN
                  559 N. SOMERSET TER.
                  APT G
                  OLATHE KS 66062



                  SILVER, KEENAN A.
                  311 KIRKWOOD COURT SW NUMBER 3
                  CEDAR RAPIDS IA 52404



                  SILVERS, CHRISTOPHER T.
                  5030 TWILIGHT LN
                  FORT WAYNE IN 46835



                  SIMMONS - JOINER, DANIEL T.
                  1424 GOLDEN GATE BLVD
                  K5
                  CLEVELAND OH 44143
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SIMMONS, ALANA M.
                  1 HONEY LOCUST COURT
                  SAINT CHARLES MO 63303



                  SIMMONS, ALEXIS M.
                  1 HONEY LOCUST COURT
                  SAINT CHARLES MO 63303



                  SIMMONS, KYLE B.
                  2827 N. 102 STREET
                  KANSAS CITY KS 66109



                  SIMMS, CHRISTOPHER J.
                  7137 PAISLEY DR
                  SAINT LOUIS MO 63136



                  SIMON, MARCUS
                  1310 ASHEVILLE ROAD
                  DISTRICT HEIGHTS MD 20747



                  SIMONEAU, ZAKK
                  4005 24TH STREET SOUTH
                  APT 116
                  SAINT CLOUD MN 56301



                  SIMONSON PLUMB
                  PO BOX 10
                  SAUK RAPIDS MN 56379



                  SIMPLEX
                  DEPT CH 10320
                  PALATINE IL 60055-0320



                  SIMPLY STORAGE PARTNERS
                  REIT II LLC
                  1320 E BIG BEAVER RD
                  TROY MI 48083
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                  SIMPSON, DAN
                  1303 WEST BLVD
                  CLEVELAND OH 44102



                  SIMPSON, EBONY
                  12315 POND RUN DRIVE, UNIT 102
                  WOODBRIDGE VA 22192



                  SIOUX EMPIRE PIT RESCUE INC
                  PO BOX 2321
                  SIOUX FALLS SD 57101



                  SIOUX EMPIRE ROCK A BETTYS INC
                  PO BOX 88251
                  SIOUX FALLS SD 57109



                  SIOUX FALLS AREA
                  CHAM OF COMMERCE
                  PO BOX 1425
                  SIOUX FALLS SD 57101-1425



                  SIOUX FALLS AREA HUMANE SOC
                  3720 EAST BENSON RD
                  SIOUX FALLS SD 57110



                  SIOUX FALLS UTILITIES
                  1201 N WESTERN AVE
                  PO BOX 7401
                  SIOUX FALLS SD 57117-7401



                  SIPPLE, BRIAN
                  2610 GARFIELD AVE
                  KANSAS CITY KS 66104



                  SIR SPEEDY
                  9412 W 143RD STREET
                  ORLAND PARK IL 60462
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                  SIROVY, SARAH
                  10519 WOOD DUCK LANE
                  ORLAND PARK IL 60467



                  SIS AUTO& FURNITURE UPHOLSTERY
                  6601 COUNTRY ROAD 47
                  SAINT CLOUD MN 56301



                  SITERS, ALYCIA
                  27 CRAIGHEAD STREET
                  PITTSBURGH PA 15211



                  SIWULA, EMILY D.
                  315 COMMODORE DR
                  MC DONALD PA 15057



                  SJPJ LLC
                  3214 STRONG AVE
                  KANSAS CITY KS 66106



                  SKAGGS, JAMES A.
                  1550 BENTONITE LN
                  APT 4
                  GREENWOOD IN 46143



                  SKAJA, ALYSSA M.
                  906 CORY LANE
                  SAINT CLOUD MN 56303



                  SKILES, MICHAELA
                  1330 5TH AVE S.
                  APT 101
                  SAINT CLOUD MN 56301



                  SKOKIE VALLEY BEVERAGE
                  199 SHEPARD AVE
                  WHEELING IL 60090
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SKR ENTERPRISES LLC
                  127 W WAYNE ST
                  MAUMEE OH 43537



                  SKYLINE BEAM LLC
                  3933 CURTICE RD
                  NORTHWOOD OH 43619



                  SLAUGHTER, MELISSA
                  5866 139TH ST W
                  SAINT PAUL MN 55124



                  SLAUGHTER, MELISSA
                  1105 DUCKWOOD TRAIL #309
                  SAINT PAUL MN 55123



                  SLBS LIMITED PARTNERSHIP
                  3201 RIDER TRAIL SOUTH
                  EARTH CITY MO 63045



                  SLUYTER, ANNA F.
                  1263 NORTH PETZOLD DR.
                  UNIT D
                  OLATHE KS 66062



                  SMALL, BRITTANY N.
                  5005 GREENFIELD DR.
                  FORT WAYNE IN 46835



                  SMALL, JASMINE
                  8085 WYKES
                  DETROIT MI 48204



                  SMARTH MOUTH VENTURES INC
                  1310 E CHAPMAN AVE #59
                  FULLERTON CA 92831
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                  SMIECINSKI, ANGELA
                  26715 GALASSI
                  NEW BALTIMORE MI 48051



                  SMITH, ABBEY M.
                  4700 46TH STREET SOUTH
                  308
                  FARGO ND 58104



                  SMITH, ALEXIS D.
                  1536 CHICAGO BLVD
                  DETROIT MI 48206



                  SMITH, BRIAN D.
                  11515 SPRINGFORD CT
                  BRIDGETON MO 63044



                  SMITH, CASSIDY R.
                  186 CROOKS SCHOOL RD
                  CLINTON PA 15026



                  SMITH, CHANDLER R.
                  663 HUFFINE MANOR CIRCLE
                  FRANKLIN TN 37067



                  SMITH, ERIC
                  6501 MARSOL ROAD
                  APT 224
                  CLEVELAND OH 44124



                  SMITH, JAMIE D.
                  396 W. OTIS
                  HAZEL PARK MI 48030



                  SMITH, JUNIOR K.
                  2525 14TH STREET SOUTH
                  15
                  FARGO ND 58103
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                  SMITH, KYLIE N.
                  3408 HUMBOLDT AVE S
                  MINNEAPOLIS MN 55408



                  SMITH, MADELEINE C.
                  5523 GRAND AVENUE
                  DES MOINES IA 50312



                  SMITH, MARIAH
                  1609 DAYTONA DRIVE
                  TOLEDO OH 43612



                  SMITH, MATTHEW J.
                  5617 S 31ST ST
                  15
                  LINCOLN NE 68516



                  SMITH, MICHELLE L.
                  236 VERBENA DRIVE
                  WATERTOWN MN 55388



                  SMITH, ROBERT T.
                  15405 WHISTLING OAK WAY
                  ACCOKEEK MD 20607



                  SMITH, SAMANTHA R.
                  3533 DOUGLAS ROAD #3
                  TOLEDO OH 43606



                  SMITH, SHANNON L.
                  362 HART DRIVE
                  CRESCENT PA 15046



                  SMITH, SHANNON M.
                  24105 CURRIER
                  DEARBORN HEIGHTS MI 48125
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                  SMITH, TAVIA K.
                  5915 HIL MAR DR.
                  DISTRICT HEIGHTS MD 20747



                  SMITH, TAYLOR
                  15767 103RD ST SE
                  BECKER MN 55308



                  SMITHFIELD PACKAGED MEATS
                  SALES CORP
                  200 COMMERCE ST
                  SMITHFIELD VA 23430



                  SOFIANE B ZAREB
                  2286 WHIRLAWAY CT
                  INDIANAPOLIS IN 46234



                  SOGSO, GUSTAVO
                  3112 18TH SOUTH
                  MINNEAPOLIS MN 55407



                  SOLIS, ANTONIO
                  1563 CROFT CT
                  APT C
                  INDIANAPOLIS IN 46260



                  SOLIS, IRIS M.
                  6909 NW 80TH TERRACE
                  APT 4
                  KANSAS CITY MO 64152



                  SOLUTION PARTNERS CONSULTING
                  915 WEDGEWOOD DRIVE
                  GLENVIEW IL 60025



                  SOME GOOD PRINT INC
                  28018 EVERGREEN RUN
                  IMPERIAL PA 15126
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                  SORENSON, JACK
                  5508 REIDENBACH RD.
                  SOUTH BELOIT IL 61080



                  SORIANO PULE, LUIS
                  8355 ALICE AVE
                  UNIT 31
                  CLIVE IA 50325



                  SOSA, RICARDO
                  801 PLAZA DR.
                  SCHAUMBURG IL 60173



                  SOTHMANN, DANIEL J.
                  1223 MAIN AVENUE
                  CORDOVA IL 61242



                  SOTHMANN, DANIEL J.
                  1281 GRAND AVENUE, #5
                  MARION IA 52302



                  SOTO, CATHY ADRIANA
                  5212 47TH AVE S
                  MINNEAPOLIS MN 55417



                  SOUDER, KERRY L.
                  615 WILLOW LANE
                  ELK GROVE VILLAGE IL 60007



                  SOUL HARBOUR RANCH ANIMAL
                  THERAPY PROGRAM
                  22093 N COUNTRYSIDE LANE
                  BARRINGTON IL 60010



                  SOUTH BEND RIPPLE BREW CO LLC
                  5123 E 68TH STREET
                  INDIANAPOLIS IN 46220
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                  SOUTH DAKOTA BOXER RESCUE INC
                  300 S CRAWFORD RD
                  VERMILLION SD 57069



                  SOUTH EAST CUTLERY INC
                  407 EAST PROSPECT ROAD
                  FORT LAUDERDALE FL 33334



                  SOUTH EUCLID LYNDHURST CITY
                  SCHOOL DISTRICT
                  5044 MAYFIELD RD
                  CLEVELAND OH 44124



                  SOUTH FARGO JUNIOR OLYMPIC
                  VOLLEYBALL INC.
                  PO BOX 6561
                  FARGO ND 58103



                  SOUTH SHORE ELECTRIC INC
                  PO BOX 321
                  ELYRIA OH 44036



                  SOUTH SIDE OFFICE OF CONCERN
                  202 NE MADISON AVE
                  PEORIA IL 61602



                  SOUTH SIDE SCHOOL DISTRICT
                  4949 STATE ROUTE 151
                  HOOKSTOWN PA 15050



                  SOUTHERN ACADEMY OF IRISH DANC
                  1710 GENERAL GEORGE PATTON DR
                  BRENTWOOD TN 37027



                  SOUTHERN GLAZERS OF MISSOURI
                  1 GLAZER WAY
                  SAINT CHARLES MO 63301-4367
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SOUTHERN WINE AND SPIRITS
                  OF AMERICA
                  1600 NW 163RD STREET
                  MIAMI FL 33169



                  SOUTHERN WINE AND SPIRITS
                  OF AMERICA, INC.
                  PO BOX 90189
                  LAKELAND FL 33804



                  SOWERS CLUB OF LINCOLN INC
                  1701 S 17TH ST STE 1H
                  LINCOLN NE 68502



                  SOWL, RYAN E.
                  4495 WEST 137TH STREET
                  CLEVELAND OH 44135



                  SP PLUS CORPORATION
                  150 POTOMAC PASSAGE
                  OXON HILL MD 20745



                  SPADARO, NATALIE A.
                  9274 FOREST POINT CIRCLE
                  MACEDONIA OH 44056



                  SPARKMAN, KIARA M.
                  414 W. WILLOW ST.
                  COLUMBIA TN 38401



                  SPAULDING, ALANNA M.
                  2437 CORAL BARK PLACE
                  APT 513
                  INDIANAPOLIS IN 46268



                  SPE INC
                  150 NICKERSON STREET SUITE 305
                  SEATTLE WA 98109
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                  SPECIAL OLYMPICS ILLINOIS
                  605 E WILLOW ST
                  NORMAL IL 61761



                  SPECIAL OLYMPICS MISSOURI INC
                  305 SPECIAL OLYMPICS DRIVE
                  JEFFERSON CITY MO 65101



                  SPECIALTY ENTERPRISES
                  245 NW 52ND AVENUE
                  DES MOINES IA 50313



                  SPENCE, SEAN R.
                  19031 B STREET
                  OMAHA NE 68130



                  SPEVAK, ALAINA J.
                  523 N 40TH ST
                  #6
                  OMAHA NE 68131



                  SPICER, ANTWANETTE A.
                  4640 EAST 173RD
                  CLEVELAND OH 44128



                  SPIELMANS EVENT SVCS
                  1380 STONEY POINT RD SW
                  CEDAR RAPIDS IA 52404-1081



                  SPIERS, ALISON
                  9800 45TH AVE N
                  313
                  MINNEAPOLIS MN 55442



                  SPIRE MISSOURI INC
                  DRAWER 2
                  SAINT LOUIS MO 63171
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SPIRIT OF PEACE UCC
                  6509 S CLIFF AVE
                  SIOUX FALLS SD 57108-8318



                  SPORCLE INC
                  3610 ALBION PL N #120
                  SEATTLE WA 98103



                  SPORT VIEW TELEVISION CORP
                  7699 LOCHLIN DRIVE
                  BRIGHTON MI 48116



                  SPOTLIGHT MEDIA LLC
                  15 BROADWAY N STE 500
                  FARGO ND 58102



                  SPRADLIN, IAN
                  52351 TALLY HO DR. NORTH
                  SOUTH BEND IN 46635



                  SPRAY, GRACE G.
                  610 COTTONWOOD DR
                  LINCOLN NE 68510



                  SPRINGER, STEPHEN W.
                  2500 N 64TH ST
                  LINCOLN NE 68507



                  SPRINGFIELD LOCAL SCHOOLS
                  6900 HALL ST
                  HOLLAND OH 43528



                  SPRINTHALL, WESLEY M.
                  676 SUMMER LANE
                  SAINT PAUL MN 55123
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  SRAMEK, KADE A.
                  23730 W 121ST ST
                  OLATHE KS 66061



                  SREDZINSKI, ERIC D.
                  19552 NORTHRIDGE DR
                  NORTHVILLE MI 48167



                  SS STEINER INC
                  725 FIFTH AVE
                  FLOOR 23
                  NEW YORK NY 10022



                  SSK AND CUTLERY LLC
                  1020 HOLLAND DR STE 120
                  BOCA RATON FL 33487



                  ST ANTHONY PARISH AND SCHOOL
                  2114 E JEFFERSON BLVD
                  SOUTH BEND IN 46617



                  ST BALDRICKS FOUNDATION
                  1333 MAYFLOWER AVE. 400
                  MONROVIA CA 91016



                  ST BRENDANS IRISH DANCE FOUNDA
                  3507 S MATTHEW DR
                  SIOUX FALLS SD 57103



                  ST CLOUD CHAM
                  PO BOX 487
                  SAINT CLOUD MN 56302



                  ST CLOUD RAINBOW VILLAGE LLC
                  C/O DORAN COMPANIES
                  7803 GLENROY RD STE 200
                  MINNEAPOLIS MN 55439
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                  ST CLOUD REFRIGERATION INC
                  604 LINCOLN AVE NE
                  SAINT CLOUD MN 56304



                  ST IRENE CATHOLIC CHURCH
                  28 W 441
                  WARRENVILLE IL 60555



                  ST JOHN CATHOLIC CHURCH OF
                  LINCOLN INC.
                  7601 VINE ST
                  LINCOLN NE 68505



                  ST JOHN PAUL II CATHOLIC
                  SCHOOLS NETWORK
                  5600 25TH STREET SOUTH
                  FARGO ND 58104



                  ST JOHN THE EVANGELIST
                  CATHOLIC CHURCH
                  126 W GEORGIA ST
                  INDIANAPOLIS IN 46225



                  ST JOSEPH CNTY HEALTH DEPT
                  227 W JEFFERSON BLVD
                  9TH FLOOR COUNTY CITY BLDG
                  SOUTH BEND IN 46601



                  ST JUDE CHILDRENS RESEARCH
                  HOSPITAL
                  501 ST. JUDE PLACE
                  MEMPHIS TN 38105



                  ST LOUIS AFFILIATE OF SUSAN G
                  KOMEN BREAST CANCER FOUNDATION
                  1002 HI POINTE PLACE STE 100
                  SAINT LOUIS MO 63117
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                  ST LOUIS CNTY DEPT OF REV
                  41 SOUTH CENTRAL AVENUE
                  SAINT LOUIS MO 63105



                  ST LOUIS CNTY TREASURER
                  41 S CENTRAL AVE
                  SAINT LOUIS MO 63105



                  ST LOUIS COUNTY DEPT OF HEALTH
                  6121 N HANLEY RD
                  SAINT LOUIS MO 63134



                  ST LOUIS POST DISPATCH
                  PO BOX 790099
                  SAINT LOUIS MO 63179-0099



                  ST PETER LUTHERAN SCHOOL
                  202 E SCHAUMBURG RD
                  SCHAUMBURG IL 60194



                  ST ROSE OF LIMA CATHOLIC CHURC
                  206 SUMMIT ST
                  MONROEVILLE IN 46773



                  ST URSULA ACADEMY
                  4025 INDIAN RD
                  TOLEDO OH 43605-6500



                  ST VINCENT HOSPITAL AND HEALTH
                  2001 WEST 86TH STREET
                  INDIANAPOLIS IN 46260



                  ST. AMBROSE UNIVERSITY
                  518 LOCUST ST W
                  DAVENPORT IA 52803
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  STACEY A HECKERT
                  1758 HARCOR DR
                  PITTSBURGH PA 15226



                  STACY BLASI
                  506 N SUNSET LAND
                  COLWICH KS 67030



                  STAINBROOK COMMUNICATIONS INC
                  3312 40TH STREET SOUTH
                  SAINT CLOUD MN 56301



                  STAINBROOK, RYAN M.
                  3208 S WILLOW AVE
                  SIOUX FALLS SD 57105



                  STALLWORTH, JOANNA
                  2342 N 60TH STREET
                  LINCOLN NE 68507



                  STALLWORTH, SHANNON L.
                  519 9TH ST
                  MARION IA 52302



                  STAN, SIERRA JO
                  8245 NORTHWOODS DR
                  112
                  LINCOLN NE 68505



                  STANCIK, CALI
                  6250 CATALINA AVE
                  OAK FOREST IL 60452



                  STANCIL, ROBIN
                  7500 MCWHORTER PLACE
                  ANNANDALE VA 22003
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                  STANDARD HEATING AND AIR
                  CONDITIONING INC.
                  11746 PORTAL RD
                  LA VISTA NE 68128



                  STANLEY CONVERGENT SECURITY
                  SOLUTIONS INC.
                  DEPT CH 10651
                  PALATINE IL 60055-0651



                  STANTON, ANGELA G.
                  3105 NORTH 70TH STREET #2
                  LINCOLN NE 68507



                  STAR WEST JV LLC
                  PO BOX 912661
                  DENVER CO 80291



                  STAR-WEST GATEWAY LLC
                  C/O STARWOOD RETAIL PARTNERS
                  ONE EAST WACKER DRIVE, #3700
                  CHICAGO IL 60601



                  STARKEY, TYRONE L.
                  30645 QUINKERT
                  APT 201
                  ROSEVILLE MI 48066



                  STATE DISBURSEMENT
                  PO BOX 989067
                  WEST SACRAMENTO CA 95798



                  STATE FIRE MARSHAL OP ILL OFF
                  OF THE STATE FIRE MARSHAL
                  PO BOX 3331
                  SPRINGFIELD IL 62708-3331
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  STATE OF INDIANA
                  PO BOX 2504
                  UNCLAIMED PROPERTY DIVISION
                  GREENWOOD IN 46142



                  STATE OF MICHIGAN
                  PO BOX 30255
                  LANSING MI 48909



                  STATE OF MICHIGAN
                  PO BOX 30401
                  LANSING MI 48909-7901



                  STATE OF MICHIGAN/MLCC
                  7150 HARRIS DRIVE
                  PO BOX 30005
                  LANSING MI 48909-7505



                  STATE OF TENNESSEE
                  PO BOX 198990
                  NASHVILLE TN 37219-8990



                  STATE TAX COMMISSIONER
                  ALCOHOL TAX SECTION
                  600 E BOULEVARD AVE
                  BISMARCK ND 58505-0599



                  STATELINE MECHANICAL INC
                  201 S 8TH ST
                  SOUTH BELOIT IL 61080



                  STATELINE PLANT NFP
                  601 N PERRYVILLE RD
                  ROCKFORD IL 61107



                  STATON, JAZLYN
                  208 NEWCOMB ST SE
                  WASHINGTON DC 20032
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                  STEARNS COUNTY SHERIFFS YOUTH
                  PROGRAM INC.
                  PO BOX 217
                  SAINT CLOUD MN 56302



                  STEEL TOE BREWING LLC
                  4848 W 35TH ST
                  MINNEAPOLIS MN 55416



                  STEFAN RAFACZ
                  20 FOREST HILL DR. 104
                  GLEN ELLYN IL 60137



                  STEFKO, BRANDI J.
                  100 N 15TH ST
                  APT A
                  SAINT CHARLES IL 60174



                  STEGMAN, JONATHAN M.
                  4227 LOON LOOP
                  BIG LAKE MN 55309



                  STEICHEN, TIMOTHY R.
                  1870 42ND ST SOUTH
                  APT 303
                  FARGO ND 58103



                  STEINBRUECK, BENJAMIN J.
                  108 CENTRAL AVE E.
                  SAINT MICHAEL MN 55376



                  STEM GALLERY LLC
                  5630 P ST
                  LINCOLN NE 68505



                  STEMAN, ANNA M.
                  1803 36TH ST S
                  SAINT CLOUD MN 56301
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                  STENE, KALEB
                  3108 S 8TH AVE.
                  SIOUX FALLS SD 57105



                  STENGER AND STENGER PC
                  2618 E PARIS AVE SE
                  GRAND RAPIDS MI 49546



                  STENNIS, SHELBREONNA
                  2430 LORRAINE DR
                  EAST SAINT LOUIS IL 62206



                  STEPHANIE A ADAMS
                  6288 MAXWELL DRIVE 1
                  SUITLAND MD 20746



                  STEPHANIE NURRE
                  605 G AVE. 102
                  CEDAR RAPIDS IA 52405



                  STEPHANIE RANDOL
                  304 WEST 5TH STREET
                  HAYSVILLE KS 67060



                  STEPHANIE ROGERS
                  4214 3 OAKS DRIVE APT 3B
                  TROY MI 48098



                  STEPHEN D GALINDO
                  39309 LILLY CT
                  FARMINGTON MI 48331



                  STEPHEN TAYLOR
                  519 GARDE CIR
                  STREAMWOOD IL 60107
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                  STEPHENS SOLDIERS FOUNDATION
                  28580 ORCHARD LAKE RD STE 150
                  FARMINGTON MI 48334



                  STEPHENS, LANDON
                  18410 EUGENE ST.
                  SOUTH BEND IN 46637



                  STEPHENSON ELECTRIC CO INC
                  512 WATER STREET
                  FENTON MO 63026



                  STEPHENSON, CAROLE L.
                  848 CARL AVENUE
                  ANOKA MN 55303



                  STERKOWITZ, JOHN
                  17206 LOCUST AVENUE
                  TINLEY PARK IL 60487



                  STERKOWITZ, SCOTT A.
                  17206 LOCUST AVE
                  TINLEY PARK IL 60487



                  STEVE SOYKA
                  PO BOX 12
                  SAINT STEPHEN MN 56375



                  STEVEN DEHAN
                  5507 NOLAND RD
                  SHAWNEE KS 66216



                  STEVEN MCCONNELL
                  108 MAPLE AVE
                  HIGHWOOD IL 60040
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                  STEVENS, JENNIFER M.
                  3816 106 STREET APT 62
                  URBANDALE IA 50322



                  STEVENS, RACHEL L.
                  2611 VOEKEL AVENUE
                  APT 1
                  PITTSBURGH PA 15216



                  STEVENS, RICHARD B.
                  1341 JURDY ROAD
                  SAINT PAUL MN 55121



                  STEVENSON, BO
                  3848 NORTH RIDGE DRIVE
                  SAINT PAUL MN 55123



                  STEWART, CHAISE S.
                  8112 ALCOA DRIVE
                  FORT WASHINGTON MD 20744



                  STIEGEL, LEAH F.
                  1429 NORTHWAY COURT
                  SAINT CLOUD MN 56303



                  STIER, MALLORY R.
                  1318 C BELSLY BLVD
                  APT C
                  MOORHEAD MN 56560



                  STIFF, JOSHUA L.
                  11050 EASY ST
                  SAINT ANN MO 63074



                  STILLWATER SEPTIC SVC SEWER
                  AND DRAIN CLEANER INC.
                  PO BOX 359
                  LUSBY MD 20657
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                  STILWELL HOLDING COMPANY LLC
                  24 KIRKHAM INDUSTRIAL CT
                  SAINT LOUIS MO 63119



                  STIVING, DAVID S.
                  3034 FRAMPTON DR
                  APT 4
                  TOLEDO OH 43614



                  STOCKTON, SYDNEY
                  3211 HWY 55
                  SAINT PAUL MN 55121



                  STOKES, MALCOLM S.
                  528 W. 8TH STREET
                  DAVENPORT IA 52803



                  STONE JR, ROBERT N.
                  2615 WASHINGTON AVE
                  APT 511
                  SAINT LOUIS MO 63103



                  STONE, ALEC T.
                  208 KENSINGTON PLACE
                  FRANKLIN TN 37067



                  STONE, BRITTNEY R.
                  781 W WALCOTT ROAD
                  LOT 111
                  WALCOTT IA 52773



                  STONE, ERIN E.
                  218 COUNTRY COURT
                  SARTELL MN 56377



                  STONEBARGER, HALEY D.
                  1010 ASHFORD DR NE
                  CEDAR RAPIDS IA 52402
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                  STONER, ASHLEY
                  2950 SEQUOIA DR
                  LINCOLN NE 68516



                  STONER, JONDEE
                  1308 THREE RIVERS EAST
                  FORT WAYNE IN 46802



                  STONEY, JACOB
                  1359 CAROLINE CIRCLE
                  FRANKLIN TN 37064



                  STORE CAPITAL CORPORATION
                  8377 EAST HARDFORD DR STE 100
                  SCOTTSDALE AZ 85255



                  STORE MASTER FUNDING I, LLC
                  8377 EAST HARTFORD DRIVE
                  #100
                  SCOTTSDALE AZ 85255



                  STOREHOUSE FOR TEACHERS
                  281 CORLISS ST
                  PITTSBURGH PA 15220



                  STORM, SUMMER M.
                  41825 269TH AVE
                  FREEPORT MN 56331



                  STOUT, ADRIENNE L.
                  912 WOODSIDE ST
                  COLUMBIA TN 38401



                  STOVALL, AARON L.
                  13511 MANN AVE.
                  CLEVELAND OH 44112
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                  STOVER, KARA L.
                  1420 PARKWOOD DR SE
                  CEDAR RAPIDS IA 52403



                  STOWAY, ABIGAIL
                  6956 N. PARK AVE. APT. B
                  KANSAS CITY MO 64118



                  STOWERS, ANGEL
                  37319 CASTLETON DRIV
                  STERLING HEIGHTS MI 48312



                  STRAIGHTLINE LANDSCAPING& LAWN
                  15836 ANNICO DR STE 1-A
                  HOMER GLEN IL 60491



                  STRATTON, KAILEY L.
                  10926 SOUTHVIEW DR.
                  BURNSVILLE MN 55337



                  STRAUGHN, MARQUELL D.
                  6549 N 34TH ST
                  OMAHA NE 68111



                  STRAUGHTER, CANDACE
                  18438 ONYX STREET
                  SOUTHFIELD MI 48075



                  STRAY RESCUE OF ST. LOUIS INC,
                  2320 PINE ST
                  SAINT LOUIS MO 63103



                  STRAYER, WESLEY J.
                  3437 VALLEY WOODS DR
                  CHERRY VALLEY IL 61016
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  STREIB ELECTRIC COMPANY INC.
                  9225 WATSON INDUSTRIAL DR
                  SAINT LOUIS MO 63126



                  STRESE, HEATHER
                  1239 37TH AVE S
                  MOORHEAD MN 56560



                  STRESE, MEGAN R.
                  2725 40TH ST S
                  201
                  MOORHEAD MN 56560



                  STROM, MIRANDA
                  4805 SAN JUAN DRIVE
                  FARGO ND 58103



                  STRUCKMEYER, VIRGINIA A.
                  134 N EAGLE ST
                  NAPERVILLE IL 60540



                  STS MONITORING LLC
                  202 RAVINE CT
                  BARRINGTON IL 60010



                  STUDER, MARLAINA
                  4405 CARTHAGE DR
                  ROCKFORD IL 61109



                  STUMPS FIRE PROTECTION INC.
                  501 E BIGELOW AVE
                  FINDLAY OH 45840



                  STUVA, NATHANIEL B.
                  3118 BOONE AVE. N.
                  MINNEAPOLIS MN 55427
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                  STYER, RUBY L.
                  1407 HIDDEN TIMBER DRIVE
                  PITTSBURGH PA 15220



                  SUBURBAN LAW ENFORCEMENT ASSN
                  CHARITABLE FUND
                  6252 CENTURY BLVD
                  MINNEAPOLIS MN 55429



                  SUCH, JUSTIN J.
                  126 BENTLY DOWN DRIVE
                  CORAOPOLIS PA 15108



                  SUMMIT CITY BREWERKS LLC
                  1501 E BERRY #106
                  FORT WAYNE IN 46803



                  SUMMIT ENERGY SVCS INC.
                  25716 NETWORK PLACE
                  CHICAGO IL 60673-1257



                  SUMMIT FACILITY & KITCHEN
                  PO BOX 1575
                  MINNEAPOLIS MN 55480



                  SUMMIT FACILITY & KITCHEN SERV
                  PO BOX 1575
                  MINNEAPOLIS MN 55480



                  SUMMIT FIRE PROTECTION
                  PO BOX 6205
                  CAROL STREAM IL 60197-6205



                  SUNDERMAN, PAIGE
                  1638 9TH ST N
                  FARGO ND 58102
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                  SUPER POWER SHOWER INC.
                  6631 NORTH RIDGE W
                  GENEVA OH 44041



                  SUPERIOR DRAFT SVCS INC.
                  27035 MEADOW RIDGE DRIVE
                  ELKO NEW MARKET MN 55020



                  SUPERIOR KNIFE LLC
                  8120 CENTRAL PARK AVE
                  SKOKIE IL 60076-2907



                  SUPERIOR UPHOLSTERY LLC
                  10005 E 63RD
                  KANSAS CITY MO 64133



                  SUPREME CLEANING COMPANY LLC
                  PO BOX 1131
                  FARGO ND 58103



                  SUSAN G KOMEN BREAST CANCER
                  FOUNDATION INC.
                  5005 LBJ FREEWAY STE 250
                  DALLAS TX 75244



                  SUTHERLAND, SHANNON T.
                  9319 GREENWAY LANE
                  LENEXA KS 66215



                  SUTTON, COREY A.
                  1801 J ST. APT. #408
                  LINCOLN NE 68508



                  SUZANNE TROYER
                  6501 GRAPE RD STE 1000
                  MISHAWAKA IN 46545
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                  SUZIES PARTY SHOP LLC
                  195 N PARKER RD
                  OLATHE KS 66061



                  SVH REAL ESTATE, INC.
                  250 WEST 96TH STREET
                  INDIANAPOLIS IN 46260



                  SWANEPOEL, BRIANNA N.
                  4121 158TH STREET WEST
                  ROSEMOUNT MN 55068



                  SWANSON, ALYSSA L.
                  2765 23RD AVE
                  MARION IA 52302



                  SWANSON, CALIE L.
                  2638 CEDAR CREST RD E
                  HOPKINS MN 55305



                  SWANSON, DUSTIN S.
                  108 N POPLAR ST
                  CAMBRIDGE IL 61238



                  SWANSON, LORA
                  5532 KNOLLWOOD DR
                  SAINT CLOUD MN 56301



                  SWAYZE, MICHAEL
                  3181 PLEASANT ST
                  SPRINGVILLE IA 52336



                  SWETS, JILL
                  5004 W EQUESTRIAN PL
                  414
                  SIOUX FALLS SD 57106
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                  SYLVARA, ASHLEY
                  2105 NE 67TH STREET
                  KANSAS CITY MO 64118



                  SYNDIE M. MURPHY
                  2455 N 87TH APT C
                  LINCOLN NE 68507



                  SYNERGID INC.
                  3110 BUTLER RIDGE PARKWAY
                  FORT WAYNE IN 46808



                  SYNERGY METALWORKING LLC
                  PO BOX 786
                  VENETA OR 97487



                  SYSCO CHICAGO
                  PO BOX 5037
                  DES PLAINES IL 60017-5037



                  SYSCO CLEVELAND
                  PO BOX 94570
                  CLEVELAND OH 44101



                  SYSCO CORPORATION
                  1390 ENCLAVE PARKWAY
                  HOUSTON TX 77077-2099



                  SYSCO DETROIT
                  PO BOX 33580
                  DETROIT MI 48232-5580



                  SYSCO EASTERN MARYLAND
                  PO BOX 477
                  POCOMOKE CITY MD 21851-0477
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                  SYSCO ILLINOIS
                  PO BOX 620
                  LINCOLN IL 62656



                  SYSCO INDIANAPOLIS
                  PO BOX 7137
                  INDIANAPOLIS IN 46206-7137



                  SYSCO IOWA
                  PO BOX 874
                  DES MOINES IA 50304-0874



                  SYSCO KANSAS CITY
                  PO BOX 40
                  OLATHE KS 66051-0040



                  SYSCO LINCOLN
                  P.O. BOX 80068
                  LINCOLN NE 68501-0068



                  SYSCO MINNESOTA
                  P.O. BOX 49730
                  MINNEAPOLIS MN 55449-0730



                  SYSCO NASHVILLE
                  PO BOX 305138
                  NASHVILLE TN 37230



                  SYSCO NORTH DAKOTA
                  PO BOX 10128
                  FARGO ND 58106-0128



                  SYSCO PITTSBURGH
                  PO BOX 1000
                  HARMONY PA 16037-1000
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                  SYSCO SOUTH FLORIDA
                  12500 SYSCO WAY
                  MIAMI FL 33178



                  SYSCO ST LOUIS
                  3850 MUELLER ROAD
                  SAINT CHARLES MO 63301-8047



                  SYSON, ISAIAH E.
                  1110 HELMEN DR.
                  SOUTH BEND IN 46615



                  SYSON, JACOB
                  1110 HELMEN DRIVE
                  SOUTH BEND IN 46615



                  SZABLA, NICOLE
                  20415 ARMANDA COURT
                  CLINTON TOWNSHIP MI 48035



                  SZILAGYI, MATYAS
                  807 72ND CT.
                  WILLOWBROOK IL 60527



                  SZUDY, MARY A.
                  14400 S. PALMER AVE
                  POSEN IL 60469



                  SZYMANSKI, VICTORIA A.
                  5440 CASS
                  601
                  DETROIT MI 48202



                  T& T PRODUCE
                  PO BOX 5756
                  FORT OGLETHORPE GA 30742
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                  TABITHA RAMOS
                  1742 E WOODRUFF AVE
                  HAZEL PARK MI 48030



                  TACKAC, AMBER N.
                  1341 SUNSET AVE
                  ALIQUIPPA PA 15001



                  TADD M JOHNSON
                  603 W ALTORFER LANE
                  PEORIA IL 61615



                  TAFT, JACOB P.
                  2529 E. 38TH STREET
                  DAVENPORT IA 52807



                  TAGUE-WULF, TYNA
                  2400 S PHILLIPS AVE
                  SIOUX FALLS SD 57105



                  TALENT TECHNICAL SERVICES INC
                  5353 WAYZATA BLVD STE 200
                  MINNEAPOLIS MN 55416



                  TALENTREEF INC
                  210 UNIVERSITY BLVD STE 300
                  DENVER CO 80206



                  TALLEY, JEREMY
                  5669 CABINWOOD COURT
                  INDIAN HEAD MD 20640



                  TALTON, PIERRE L.
                  3432 FOREST AVE
                  UNIT 15
                  DES MOINES IA 50311
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                  TALX UCM SERICES INC
                  4076 PAYSPHERE CIRCLE
                  CHICAGO IL 60674-4076



                  TAMARA CALLAWAY
                  1848 WESTCHESTER LANE
                  SHAKOPEE MN 55379



                  TAMI SCHULTZ
                  8102 PLEASANTVIEW DR NE #A
                  MINNEAPOLIS MN 55432



                  TANDEM PRINTING INC
                  2970 LEXINGTON AVE SOUTH
                  SAINT PAUL MN 55121-1420



                  TANN ELECTRIC INC
                  13216 W 99TH STREET
                  LENEXA KS 66215



                  TANNER MICHAEL MCCARRON
                  6105 S VENITA CIRCLE
                  SIOUX FALLS SD 57108



                  TANYA SIMS
                  1752 TEMPLE AVE
                  CLEVELAND OH 44124



                  TAP ON IT LLC
                  1105 CHRISTIE ST STE C
                  DAVENPORT IA 52803



                  TAPEALAVA-BOULGER, RACHEL J.
                  3033 WOODRIDGE AVE
                  SOUTH BEND IN 46615
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                  TAPIA, MIGUEL A.
                  435 WEBER DRIVE
                  ROLLING MEADOWS IL 60008



                  TAPIO, BRANDYN
                  787 HAMPDEN AVENUE #460
                  SAINT PAUL MN 55114



                  TARCO INDUSTRIES INC
                  1891 GOODYEAR AVE #603
                  VENTURA CA 93003



                  TARNOWSKI, RICHARD C.
                  44446 PINE DR
                  STERLING HEIGHTS MI 48313



                  TASHAYLA JOHNSON
                  6509 MARSOL RD
                  CLEVELAND OH 44124



                  TASSONE, STEVI M.
                  1545 E PEARL STREET
                  HAZEL PARK MI 48030



                  TASTE OF OMAHA INC
                  7015 SPRING ST
                  OMAHA NE 68106-3518



                  TATUM, LEWIS
                  720 COACHMAN DR
                  UNIT 5
                  TROY MI 48083



                  TAXMAN HOLDINGS INC
                  89 S BALDWIN ST
                  BARGERSVILLE IN 46106
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                  TAYE, IDA G.
                  203 TOR BRYAN RD
                  FORT WASHINGTON MD 20744



                  TAYLER D HANSEN
                  5060 R ST
                  LINCOLN NE 68504



                  TAYLER J REINERT
                  1078 CHEROKEE AVE
                  SAINT PAUL MN 55118



                  TAYLOR WILSON
                  5500 WEST 137TH ST
                  APT 212
                  OVERLAND PARK KS 66223



                  TAYLOR, BRETT J.
                  7858 TRIER RD.
                  FORT WAYNE IN 46815



                  TAYLOR, GABERELLA K.
                  9315 PELLA PL
                  CLINTON MD 20735



                  TAYLOR, GREGORY E.
                  6431 HILMAR DR.
                  103
                  DISTRICT HEIGHTS MD 20747



                  TAYLOR, HALEY M.
                  7504 LAKERIDGE DRIVE
                  FORT WAYNE IN 46819



                  TAYLOR, JACOB O.
                  3075 MAINE PRAIRIE ROAD #308
                  SAINT CLOUD MN 56301
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                  TAYLOR, LAMOND K.
                  3391 W. 49TH
                  CLEVELAND OH 44102



                  TAYLOR, LATIFHA
                  8825 RUSLAND CT
                  FORT WASHINGTON MD 20744



                  TAYLOR, SHAWN
                  3247 EAST 55TH
                  #3
                  CLEVELAND OH 44127



                  TAYLOR, STEPHEN C.
                  519 GARDEN CIRCLE
                  STREAMWOOD IL 60107



                  TAYLOR, TEREZ D.
                  712 13TH STREET #19
                  WEST DES MOINES IA 50265



                  TAYLOR, TERRI L.
                  8110 NEVILLE PLACE
                  FORT WASHINGTON MD 20744



                  TAYSIA BLUE SIBERIAN
                  HUSKY RESCUE NE
                  2604 GARDEN RD
                  OMAHA NE 68124



                  TAZEWELL CNTY COLLECTOR
                  11 S 4TH ST
                  SUITE 308
                  PEKIN IL 61554



                  TAZEWELL COUNTY RESOURCE
                  CENTERS INC
                  21310 ILLINOIS RTE 9
                  TREMONT IL 61568
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                  TC VALET LLC
                  1226 THOMAS AVE
                  SAINT PAUL MN 55104



                  TCI COMPANIES INC
                  405 STATE ROUTE 117
                  GOODFIELD IL 61742



                  TDN2K
                  14785 PRESTON RD STE 290
                  DALLAS TX 75254



                  TDS MEDIA DIRECT INC
                  PO BOX 9
                  CIRCLE PINES MN 55014-0009



                  TDS TELECOM
                  PO BOX 94510
                  PALATINE IL 60094-4510



                  TEAFORD, PHILLIP
                  3641 GENE FIELD ROAD
                  F62
                  SAINT JOSEPH MO 64506



                  TEAFORD, PHILLIP
                  8111 HICKORY ROAD #234
                  KANSAS CITY MO 64118



                  TEAGUE, KALEN
                  2318 SOUTH WAYNE AVENUE
                  FORT WAYNE IN 46807



                  TEALE A JACKSON
                  401 N WESTERN AVE #103
                  SIOUX FALLS SD 57104
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                  TEAM NUTZ LLC
                  1366 OLD FREEPORT ROAD
                  PITTSBURGH PA 15238



                  TECH ELECTRONICS INC
                  PO BOX 790379
                  SAINT LOUIS MO 63179



                  TECH MASTERS INC
                  2024 SW 6TH ST
                  LINCOLN NE 68522



                  TEKYI-MENSAH, KWAMENA G.
                  13948 LYONS ST.
                  LIVONIA MI 48154



                  TELLEZ, KARINA
                  2504 ALGONQUIN RD
                  APT 4
                  ROLLING MEADOWS IL 60008



                  TELLEZ, LUCERO
                  1029 E BEHRENS
                  PEORIA IL 61603



                  TEMP CON LLC
                  15670 S KELLER ST
                  OLATHE KS 66062



                  TENENBAUM, LAUREN F.
                  1766 SUN DROP DRIVE
                  SAINT CHARLES MO 63303



                  TENNESSEE ABC
                  500 JAMES ROBERTSO PKWY
                  DAVEY CROCKETT BLG 3RD FLR
                  NASHVILLE TN 37243
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                  TENNESSEE B AND E UNIT
                  220 FRENCH LANDING DRIVE
                  2ND FLOOR
                  NASHVILLE TN 37243



                  TENNESSEE DEPT OF REV
                  500 DEADERICK STREET
                  NASHVILLE TN 37242



                  TENNESSEE HOSPITALITY ASSOC
                  475 CRAIGHEAD STREET
                  NASHVILLE TN 37204



                  TENSLEY, MATTHEW
                  1315 E 38TH ST
                  APT 12
                  DAVENPORT IA 52807



                  TEPOZTECO, EDUARDO ABEL
                  1612 E 27TH STREET
                  APT 2
                  MINNEAPOLIS MN 55407



                  TERESA FEUERSTEIN
                  715 N FRENCH AVE
                  SIOUX FALLS SD 57103



                  TERRAZAS, DENAE
                  1310 ROYAL DR
                  MONTGOMERY IL 60538



                  TERRELL, RAYMOND
                  17148 HASSE
                  HAMTRAMCK MI 48212



                  TERRY, ANNA M.
                  1197 RIDGE CIRCLE APT B
                  TONGANOXIE KS 66086
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                  TERRY, HEATHER M.
                  9592 MANDELL ROAD
                  PERRYSBURG OH 43551



                  TERRY, NIKKI J.
                  4501 E49TH
                  110
                  SIOUX FALLS SD 57110



                  TERRYN SCHULTZ
                  17231 OZARK AVE
                  TINLEY PARK IL 60477



                  TETERA TECH INC
                  PO BOX 911642
                  DENVER CO 80291-1642



                  TEWS, KENDALL
                  1206 7TH ST
                  MANSON IA 50563



                  THAYER, CALLI J.
                  213 PRICE STREET
                  UNIT 101
                  ELDRIDGE IA 52748



                  THE ALS ASSOCIATION
                  333 WASHINGTON AVE N
                  STE 105
                  MINNEAPOLIS MN 55401



                  THE BARREL MILL
                  640 CHINOOK AVE SW
                  AVON MN 56310



                  THE BRADLEY CENTER INC
                  5180 CAMPBELLS RUN ROAD
                  PITTSBURGH PA 15205
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  THE BUDDY FOUNDATION
                  PO BOX 334
                  ARLINGTON HEIGHTS IL 60006



                  THE CATHOLIC CENTRAL HIGH
                  SCHOOL OF DETROIT
                  27225 WIXOM RD
                  NOVI MI 48374



                  THE CHAMBER
                  PO BOX 2443
                  FARGO ND 58108-2443



                  THE CHAMBER OF
                  COMMERCE OF ST JOSEPH CNTY
                  401 EAST COLFAX STE 310
                  SOUTH BEND IN 46617



                  THE CHAMBER OF COMMERCE
                  OF ST JOSEPH COUNTY
                  101 N MICHIGAN ST STE 101
                  SOUTH BEND IN 46601



                  THE CURE STARTS NOW
                  10280 CHESTER ROAD
                  CINCINNATI OH 45215



                  THE DOOR AND FENCE STORE INC
                  2316 230TH ST #304
                  AMES IA 50014



                  THE DUPAGE COMMUNITY FOUNDATIO
                  3000 WOODCREEK DRIVE
                  SUITE 310
                  DOWNERS GROVE IL 60515
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                  THE FIRST IMPRESSION GROUP
                  2700 BLUE WATER ROAD
                  SUITE 450
                  SAINT PAUL MN 55121-1429



                  THE FLOWER BED
                  PO BOX 7697
                  SAINT CLOUD MN 56302



                  THE FORUM
                  PO BOX 6100
                  FARGO ND 58108-6100



                  THE GATHERING PLACE
                  23300 COMMERCE PARK
                  BEACHWOOD OH 44122



                  THE GAZETTE
                  500 3RD AVENUE SE
                  CEDAR RAPIDS IA 52406-0511



                  THE GROUNDS KEEPER LLC
                  801 N MAIN ST
                  GRIMES IA 50111



                  THE HEALTH FOUNDATION OF GREAT
                  429 E VERMONT ST STE 300
                  INDIANAPOLIS IN 46202



                  THE HOMESTEAD AUTISM SVCS INC
                  1525 ADVENTURELAND DRIVE STE B
                  ALTOONA IA 50009



                  THE HUMANE SOCIETY
                  OF ROCK ISLAND COUNTY
                  724 W 2ND AVE
                  MILAN IL 61264
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                  THE ILLUMINATING CO
                  PO BOX 3638
                  AKRON OH 44309-3638



                  THE INDLAND REAL ESTATE GROUPO
                  2901 BUTTERFIELD ROAD
                  OAK BROOK IL 60523



                  THE INSTITUTE OF ELECTRICAL
                  AND ELECTRONICS ENGINEERS INC
                  445 HOES LANE
                  PISCATAWAY NJ 08854-4141



                  THE LEUKEMIA AND LYMPHOMA SOCI
                  3 INTERNATIONAL DR STE 200
                  PORT CHESTER NY 10573



                  THE LEUKEMIA& LYMPHOMA
                  SOCIETY WHITE PLAINS
                  1311 MAMARONECK AVENUE
                  WHITE PLAINS NY 10605-5221



                  THE MADONNA FOUNDATION
                  5401 SOUTH STREET
                  LINCOLN NE 68506-2150



                  THE NEON DOCTOR
                  1824 HOMEVILLE RD
                  WEST MIFFLIN PA 15122



                  THE NORTHVILLE ART HOUSE
                  215 W CODY STREET
                  NORTHVILLE MI 48167



                  THE NOVI CHAMBER OF COMMERCE
                  41875 W ELEVEN MILE
                  SUITE 201
                  NOVI MI 48375
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                  THE OHIO STATE UNIVERSITY FDN
                  1480 W LANE AVE
                  COLUMBUS OH 43221



                  THE OLATHE EAST BASEBALL
                  BOOSTER CLUB
                  OVERLAND PARK KS 66221



                  THE PALMS AT TOWN & COUNTRY
                  WEINGARTEN REALTY
                  P.O. BOX 301074
                  DALLAS TX 75303



                  THE PINK FUND
                  PO BOX 603
                  BLOOMFIELD HILLS MI 48303



                  THE POTATO HEAD PROJECT
                  7700 188TH LN NW
                  ANOKA MN 55303



                  THE RAIL MEDIA INC
                  PO BOX 575
                  MONSON MA 01057



                  THE RIGHT STAFF LLC
                  PO BOX 390240
                  MINNEAPOLIS MN 55439-0240



                  THE ROSE FOUNDATION
                  2702 BLOOMFIELD DR
                  SAINT LOUIS MO 63129



                  THE SALVATION ARMY INC
                  620 N ERIE ST
                  TOLEDO OH 43604
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  THE SHERRING BREWING COMPANY L
                  11841 DORSETT ROAD
                  MARYLAND HEIGHTS MO 63043



                  THE SHOPPES AT ARBOR LAKES
                  PO BOX 22072 NETWORK PLACE
                  CHICAGO IL 60673-1231



                  THE STEVE PEROUTKA LAW GROUP
                  8028 RITCHIE HWY #300
                  PASADENA MD 21122



                  THE TANZILLO LAW GROUP LLC
                  1825 ARABIAN AVE
                  NAPERVILLE IL 60565



                  THE TRASH MAN
                  PO BOX 907
                  WEBSTER CITY IA 50595-0907



                  THE UPS STORE
                  145 FLEET STREET
                  OXON HILL MD 20745



                  THE VILLAGE INITIATIVE INC
                  3004 N 27TH STREET
                  KANSAS CITY KS 66104



                  THE WALDINGER CORP
                  PO BOX 1612
                  DES MOINES IA 50306-1612



                  THE WINE CO FINTECH
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                  THIESSEN, DANIEL
                  1412 DUNMORE CIRCLE
                  CLEARWATER MN 55320



                  THINK TOURISM USA LLC
                  2233 ROOSEVELT RD STE 11
                  SAINT CLOUD MN 56301



                  THOEL, MICHAEL J.
                  33055 SUMMERS ST.
                  LIVONIA MI 48154



                  THOMAS G HUNTER
                  3237 GARFIELD AVE S
                  MINNEAPOLIS MN 55408



                  THOMAS GEISINGER
                  3600 13TH AVE SOUTH
                  MINNEAPOLIS MN 55407



                  THOMAS J RETKA
                  1622 E GASTEL CIR
                  MISSION TX 78572



                  THOMAS MEYER
                  39603 TRADITIONS DR
                  NORTHVILLE MI 48168



                  THOMAS MUNSON
                  8749 FLUVIA TERRACE APT 2A
                  INDIANAPOLIS IN 46250



                  THOMAS P GOLDEN
                  1707 10TH AVE S
                  SAINT CLOUD MN 56301
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  THOMAS WHEELER
                  166 CHESTNUT AVE
                  NORTHFIELD OH 44067



                  THOMAS, ARTEECE B.
                  15751 WHITCOMB ST
                  DETROIT MI 48227



                  THOMAS, BRIAN
                  896 COON RAPIDS BLVD EXT.
                  MINNEAPOLIS MN 55449



                  THOMAS, BRIAN L.
                  1325 A AVENUE
                  MARION IA 52302



                  THOMAS, DARRYL
                  390 17TH ST SE
                  CEDAR RAPIDS IA 52403



                  THOMAS, SHERMAN L.
                  104 CRESTVIEW DR
                  APT 2B
                  ELDRIDGE IA 52748



                  THOMPKINS, THEO
                  192 SPRING AVE
                  PITTSBURGH PA 15202



                  THOMPSON CONSTRUCTION AND
                  1527 DEARBORN ST PO BOX 40
                  ELLSWORTH IA 50075-0040



                  THOMPSON, ALEXANDRIA
                  4952 MARGARETTA AVE
                  SAINT LOUIS MO 63115
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  THOMPSON, COURTNEY B.
                  2628 LONGBOW COURT
                  BRYANS ROAD MD 20616



                  THOMPSON, DAMON
                  5508 FISHER RD
                  TEMPLE HILLS MD 20748



                  THOMPSON, DAVID
                  1100 ANNIE DR.
                  WINTERSET IA 50273



                  THOMPSON, EMMA Y.
                  290 W 33RD AVE
                  MARION IA 52302



                  THOMPSON, LAUREN C.
                  5412 STREEFKERK DR
                  WARREN MI 48092



                  THOMPSON, MARYANN F.
                  713 20TH ST. N
                  MOORHEAD MN 56560



                  THOMPSON, MICHAEL R.
                  1003 RADCLYFFE COURT
                  APT B
                  ELGIN IL 60120



                  THOMPSON, STEPHANIE M.
                  11346 KAW DR
                  KANSAS CITY KS 66111



                  THOMSON, BLAKE A.
                  24770 ROOSEVELT CT
                  385
                  FARMINGTON MI 48335
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                  THOMSON, OLIVIA
                  39636 GLENVIEW COURT
                  NORTHVILLE MI 48168



                  THORDARSON, KATRINA
                  647 S MAIN AVE
                  APT 206
                  SIOUX FALLS SD 57104



                  THORMODSON, ARIELLE
                  5365 33RD AVE S
                  309
                  FARGO ND 58104



                  THORNTON, TAYLOR R.
                  15423 WALNUT HILLS DR
                  URBANDALE IA 50323



                  THORPE, HUNTER
                  5307 URBANDALE AVE
                  DES MOINES IA 50310



                  THORUP, PAIGE K.
                  11262 OAKRIDGE CIRCLE
                  CHAMPLIN MN 55316



                  THRASHER, JESSIE S.
                  927 NW 60TH TERR
                  KANSAS CITY MO 64118



                  THREE STAR MILLWORK INC
                  610 KLEE MILL RD
                  WESTMINSTER MD 21157



                  TIBAI, MELISSA
                  9307 CALIFORNIA ST
                  LIVONIA MI 48150
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                  TIBAI, MELISSA
                  9307 CALIFORNIA STREET
                  LIVONIA MI 48150



                  TIEDT, TANJI N.
                  5225 BROADMORE CT.
                  FORT WAYNE IN 46818



                  TIKKANEN, MICHAEL L.
                  21537 PARKWAY
                  SAINT CLAIR SHORES MI 48082



                  TILESHOP INC
                  1005 HARRISON STREET
                  BERKELEY CA 94710



                  TILLMAN, DOMENICK M.
                  1811 ST JAMES PL
                  ACCOKEEK MD 20607



                  TIM CUNNINGHAM
                  12422 MAGNOLIA ST
                  MINNEAPOLIS MN 55448



                  TIM DAVIS
                  11013 LAFAYETTE PLZ 2106
                  OMAHA NE 68154



                  TIMBRE L SEVERSON
                  7625 LISA LANE APT#221
                  MIDDLETON WI 53562



                  TIME IN A BOTTLE INC
                  712 J AVE NE
                  CEDAR RAPIDS IA 52402
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                  TIME WARNER CABLE LLC
                  BOX 223085
                  PITTSBURGH PA 15251-2085



                  TIME WARNER CABLE ZR
                  PO BOX 1104
                  CAROL STREAM IL 60132-1104



                  TIMMERMAN, ALYCIA
                  711 OAK STREET
                  BEAVER CROSSING NE 68313



                  TIMOTHY ANDERSON CORP
                  700 20TH STREET
                  ROCKFORD IL 61104



                  TIMOTHY JAMES STOUT
                  10 WATER ST #305
                  BANGOR ME 04401



                  TINA YOUKHANNA
                  28685 DIESING DR
                  MADISON HEIGHTS MI 48071



                  TITUS, MADELINE
                  18776 FALL RIDGE ROAD
                  RICHMOND MN 56368



                  TIZAPANTZI SERRANO, OLIVER
                  1120 TOWN AND FOUR PKWY DR
                  SAINT LOUIS MO 63141



                  TIZAPANTZI-SERRANO, FERNANDA T
                  1120 TOWN AND FOUR PKWY DR
                  SAINT LOUIS MO 63141
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                  TKG STORAGEMART PARTNERS III L
                  5525 STATE HWY 169 SERVICE DR
                  MINNEAPOLIS MN 55442



                  TN CHILD SUPPORT
                  RECEIPTING UNIT
                  PO BOX 305200
                  NASHVILLE TN 37229



                  TN DEPARTMENT OF REVENUE
                  PO BOX 190665
                  NASHVILLE TN 37219-0665



                  TNT TOTAL STOP LLC
                  1600 W 44TH PLACE
                  SIOUX FALLS SD 57105



                  TOCHIMANI, ALFONSO
                  887 TAYLOR AVENUE
                  AURORA IL 60506



                  TODD HENSLEY
                  6100 SE 5TH STREET
                  DES MOINES IA 50315



                  TODD OR LORI HANSON
                  C/O FARMERS CREDIT SERV OF AM
                  322 1ST AVENUE EAST
                  MOBRIDGE SD 57601



                  TODD RAYMOND SHAW
                  620 N LITTLE WALNUT CREEK DR
                  WAUKEE IA 50263



                  TODD, EMILY G.
                  1813 NANTES COURT
                  SPRING HILL TN 37174
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                  TOKENWORKS INC
                  26 MILBURN ST 2ND FL
                  BRONXVILLE NY 10708



                  TOLAND, ISABELLA M.
                  3729 S RICKETTS AVE
                  PEORIA IL 61607



                  TOLEDO AREA HUMANE SOCIETY INC
                  827 ILLINOIS
                  MAUMEE OH 43537



                  TOLEDO ARENA SPORTS INC
                  FIFTH THRID FIELD
                  406 WASHINGTON STREET
                  TOLEDO OH 43604



                  TOLEDO CHORAL SOCIETY INC
                  PO BOX 66
                  TOLEDO OH 43697



                  TOLEDO EDISON MAUMEE
                  PO BOX 3638
                  AKRON OH 44309-3638



                  TOLEDO LUCAS CNTY HEALTH DEPT
                  635 N ERIE ST RM 350
                  TOLEDO OH 43604



                  TOLEDO MUNICIPAL COURT
                  555 N ERIE ST
                  TOLEDO OH 43604



                  TOLEDO SOFT WATER SUPPLY INC
                  2806 NEBRASKA AVE
                  TOLEDO OH 43607
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                  TOLO, ALLISON R.
                  6705 W 46TH ST.
                  SIOUX FALLS SD 57106



                  TOM HARDIN
                  103 EAST HILL STREET
                  BLANCHARDVILLE WI 53516



                  TOM MACK
                  4104 N PLUM TREE
                  WICHITA KS 67226



                  TOM SMITH PLUMB CO
                  429 E SCIOTA AVENUE
                  PEORIA HEIGHTS IL 61616



                  TOMCZYK, JOSEPH A.
                  5880 LAKE BLUFF DRIVE
                  UNIT 3B
                  TINLEY PARK IL 60477



                  TOMLINSON, ALLISON Q.
                  2722 NEFF STREET
                  ELKHART IN 46514



                  TONY ALWIN
                  2351 O STREET
                  LINCOLN NE 68510



                  TOP SHOT CKR INC
                  1714 OHIO PKWY
                  ROCKFORD IL 61108



                  TORI GUIN
                  1608 TIAGO LANE
                  FORT WAYNE IN 46815
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                  TORRE, EDWARD
                  8731 SW 53RD ST.
                  MIAMI FL 33165



                  TORRENCE SOUND EQUIP COMPANY
                  29050 GLENWOOD ROAD
                  PERRYSBURG OH 43551



                  TORRES RAYMUNDO, GASPAR GEREMI
                  124 34TH STREET DRIVE
                  APT. 1
                  CEDAR RAPIDS IA 52403



                  TORRES, ADAN
                  1742 SURREY DR
                  BRENTWOOD TN 37027



                  TORRES, ARTURO
                  137 GALEWOOD DR.
                  BOLINGBROOK IL 60440



                  TORRES, CARLOS
                  5730 W HENDERSON ST
                  CHICAGO IL 60634



                  TORRES, HELADIO
                  1408 WILLOW LN
                  WESTMONT IL 60559



                  TORRES, JULIAN
                  529 CAMPBULLS RUN RD
                  PITTSBURGH PA 15205



                  TORRES, MARISOL
                  1211 WEST 22ND STREET #300
                  OAK BROOK IL 60523
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                  TORRES, OSCAR
                  108 S. TESTA DRIVE #204
                  NAPERVILLE IL 60540



                  TOTAL FIRE PROTECTION
                  1004 7TH AVENUE NORTH
                  BRANDON SD 57005



                  TOTAL FIRE& SAFETY
                  6808 HOBSON VALLEY DRIVE
                  WOODRIDGE IL 60517



                  TOTAL LINE REFRIGERATION INC
                  33530 PIN OAK PKWY
                  AVON LAKE OH 44012



                  TOTAL RECOVERY RESOURCES AND C
                  254 ROUTE 17K STE 201
                  NEWBURGH NY 12550



                  TOTEGLASS INC
                  PO BOX 1924
                  WILMINGTON NC 28402



                  TOTO, MIGUEL
                  9830 EL CAMENO LN 1 E
                  ORLAND PARK IL 60462



                  TOWE, SHAWN E.
                  718 MAPLETON ROAD
                  ROCKVILLE MD 20850



                  TOWN AND COUNTRY DISTRIBS INC
                  1050 ARDMORE AVE
                  ITASCA IL 60143
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                  TOWN CENTER INC
                  PO BOX 2273
                  BRIGHTON MI 48116



                  TOWN SQUARE PUBLICATIONS LLC
                  PO BOX 6754
                  CAROL STREAM IL 60197-6754



                  TOWNSHIP OF ROBINSON
                  102 RAHWAY ROAD
                  CANONSBURG PA 15317



                  TOWNSQUARE MEDIA SIOUX FALLS L
                  240 GREENWICH AVE
                  GREENWICH CT 06830



                  TRAINA, NATHANIEL
                  510 HIGHLAND ST. W
                  ANNANDALE MN 55302



                  TRAKED ENTERPRISES INC
                  PO BOX 12350
                  CHARLOTTE NC 28220



                  TRANDELL, JON J.
                  32406 CRESTWOOD
                  FRASER MI 48026



                  TRANE US INC
                  PO BOX 98167
                  CHICAGO IL 60693



                  TRANSFORMATIONS BY AUSTIN ANGE
                  9901 BRODIE LN STE 160 PMB 255
                  AUSTIN TX 78748
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                  TRANSLATIONS IN MOTION INC
                  515 N FLAGLER DR P300
                  WEST PALM BEACH FL 33401



                  TRAPUZZANO, LAUREN T.
                  12 STERLING DRIVE
                  CORAOPOLIS PA 15108



                  TRAVERS, CRYSTAL
                  1655 FAIRFAX ST.
                  PETERSBURG VA 23805



                  TRAVIS JUSTIN LORENTSON
                  7603 WHITNEY DRIVE
                  SAINT PAUL MN 55124



                  TRAVIS NORTHINGTON
                  1636 SW 42ND ST
                  FARGO ND 58103



                  TRAVIS, ANTON
                  18575 INNSBROOK DRIVE #1
                  NORTHVILLE MI 48168



                  TRAVIS, RICHARD C.
                  8501 SW 97TH CT
                  MIAMI FL 33173



                  TREASURER CITY OF DETROIT
                  402 COLEMAN A YOUNG
                  MUNICIPAL CENTER
                  DETROIT MI 48226



                  TREASURER OF ALLEGHENY CNTY
                  542 4TH AVE
                  PITTSBURGH PA 15219
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                  TREASURER OF STATE
                  UNCLAIMED PROPERTY DIVISION
                  MAC N8200-071 800 WALNUT ST
                  DES MOINES IA 50309



                  TREASURER OF VIRGINIA
                  DIV OF CHILD SUPPORT ENFORCEMT
                  PO BOX 570
                  RICHMOND VA 23218-0570



                  TREASURER, CITY OF DETROIT
                  CITY OF DETROIT
                  PO BOX 30812



                  TREASURY DEPARTMENT (TN)
                  UNCLAIMED PROPERTY DIVISION
                  PO BOX 198649
                  NASHVILLE TN 37219



                  TRENADO, RAMONA
                  120 S TESTA DR
                  UNIT 103
                  NAPERVILLE IL 60540



                  TRENDLE, KRYSTAL A.
                  69 W. JARVIS AVENUE
                  HAZEL PARK MI 48030



                  TREU HOUSE OF MUNCH FINTECH




                  TRI CITY ELECTRIC COMPANY OF I
                  6225 N BRADY ST
                  DAVENPORT IA 52806



                  TRI COUNTY BROADCASTING INC
                  1010 2ND STREET NORTH
                  PO BOX 366
                  SAUK RAPIDS MN 56379
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                  TRI TECH DISPENSING
                  2499 RICE STREET
                  STE 140
                  SAINT PAUL MN 55113



                  TRIANGLE METALS DIV OF
                  THOMAS ENGINEERING INC
                  575 W CENTRAL RD
                  HOFFMAN ESTATES IL 60192



                  TRICNTY BEVERAGE FINTECH




                  TRICNTY IRRIGATION& PLUMB INC
                  PO BOX 290
                  GOODFIELD IL 61742-0290



                  TRIGGER AGENCY LLC
                  3539 CLIPPER MILL ROAD
                  BALTIMORE MD 21211



                  TRINE UNIVERSITY INC
                  1 UNIVERSTIY AVE
                  ANGOLA IN 46703



                  TRINITY LUTHERAN CHURCH
                  TRINITY LUTHERAN SCHOOL
                  4560 GLENDALE AVE
                  TOLEDO OH 43614-1907



                  TRIVIA MAFIA
                  2322 3RD ST NE
                  MINNEAPOLIS MN 55418



                  TROY ATHENS BAND BOOSTER
                  4333 JOHN R ROAD
                  TROY MI 48085
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                  TROY BASEBALL BOOSTERS INC
                  3673 CROOKS ROAD
                  PO BOX 142
                  TROY MI 48084



                  TROY CHAM OF COMMERCE
                  2125 BUTTERFIELD DR
                  SUITE 100N
                  TROY MI 48084-3441



                  TROY COMMUNITY COALITION FOR
                  THE PREVENTION OF DRUG AND ALC
                  4420 LIVERNOIS
                  TROY MI 48098



                  TROY HIGH SCHOOL BOOSTER CLUB
                  4777 NORTHFIELD PARKWAY
                  TROY MI 48098



                  TROY POLICE BENEVOLENT ASSOCIA
                  500 W BIG BEAVER ROAD
                  TROY MI 48084



                  TROY SCHOOL DISTRICT
                  4400 LIVERNOIS
                  TROY MI 48098



                  TROYER, SUZANNE
                  920 S. MAIN STREET
                  MISHAWAKA IN 46544



                  TRUELOVE, TIARA D.
                  7513 ROSA PARKS
                  DETROIT MI 48206



                  TRUONG, AILAN
                  905 S DALE CIRCLE
                  SIOUX FALLS SD 57110
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                  TRUONG, JUDY N.
                  6100 THRONTON DR
                  901
                  LINCOLN NE 68512



                  TRUSTHEIM, ASHLEY
                  29572 493RD AVE
                  BROOTEN MN 56316



                  TSC
                  7300 METRO BOULEVARD
                  SUITE 450
                  MINNEAPOLIS MN 55439



                  TSC CR PITTSBURGH
                  1002 OAK STREET
                  CLAIRTON PA 15025



                  TSCHETTER, JILL
                  626 W 15TH
                  SIOUX FALLS SD 57104



                  TSEGAYE, MAHDERE
                  871 SNELLING AVENUE NORTH
                  SAINT PAUL MN 55104



                  TSFA PARENTS ORGANIZATION INC
                  333 14TH ST
                  TOLEDO OH 43604-5459



                  TTB
                  EXCISE TAX
                  701 XENIA AVE S STE 120
                  MINNEAPOLIS MN 55416



                  TUCKER LITHOGRAPHIC COMPANY
                  5250 GULFTON SUITE 2D
                  HOUSTON TX 77081
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                  TUKUA, HEATHER
                  3836 NICOLLET AVE APT 102
                  MINNEAPOLIS MN 55409



                  TULK, PAIGE B.
                  4155 BARCLAY COURT
                  APT D
                  INDIANAPOLIS IN 46240



                  TURBOHAUL INC
                  11071-A GUILFORD RD
                  ANNAPOLIS JUNCTION MD 20701



                  TURNER, ANTIONETTE
                  3991 BRITTANY CIRCLE
                  APT A
                  BRIDGETON MO 63044



                  TURNER, BRANDON M.
                  835 E. CHIPPEWA AVE.
                  SOUTH BEND IN 46614



                  TURNER, RUBEN
                  6301 SPUNKY HEART PLACE
                  CLINTON MD 20735



                  TURNER, YOLANDA
                  19186 BRAILE
                  DETROIT MI 48219



                  TUTTLE DANIEL R.
                  5143 ORCHARD STREET
                  LINCOLN NE 68504



                  TUTTLE, CAMERON R.
                  5143 ORCHARD ST.
                  LINCOLN NE 68504
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                  TUTTLE, TIFFANY K.
                  5143 ORCHARD ST
                  LINCOLN NE 68504



                  TWIN CITIES NORTH CHAMBER OF C
                  1915 HIGHWAY 36 WEST STE 112
                  SAINT PAUL MN 55113



                  TWIN CITY HANDYMAN LLC
                  3632 VILLAGE CT
                  SAINT PAUL MN 55125



                  TWIN TOWERS EMBROIDERY SCREEN
                  PRINTING AND VINYL GRAPHICS IN
                  1231 LOGAN AVE
                  BELVIDERE IL 61008



                  TWO BROTHERS COFFEE ROASTERS L
                  30W315 CALUMET AVE
                  WARRENVILLE IL 60555



                  TWO TRACK MALTING LLC
                  1651 7TH ST NE
                  GOODRICH ND 58444



                  TX CHILD SUPPORT SDU
                  PO BOX 659791
                  SAN ANTONIO TX 78265



                  TYCO FIRE AND SECURITY US MANA
                  PO BOX 371967
                  PITTSBURGH PA 15251



                  TYCO INTEGRATED SECURITY
                  PO BOX 371967
                  PITTSBURGH PA 15250-7967
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  TYLER CARACOFE
                  1595 HIGHWAY 36 WEST
                  SAINT PAUL MN 55113



                  TYLER GRAVES
                  7140 HARRISON AVE STE 108
                  ROCKFORD IL 61112



                  TYLER, AALIYAH
                  3411 23RD PARKWAY
                  TEMPLE HILLS MD 20748



                  TYLKA, KAROLINA
                  82 OLD CREEK ROAD
                  PALOS PARK IL 60464



                  TYMIKIA COTTOM
                  11106 CAPTAINS VIEW LANE
                  FORT WASHINGTON MD 20744



                  UDALL, ANDREW A.
                  8793 ORMISTON CIRCLE
                  REYNOLDSBURG OH 43068



                  UDELL, BRITTANY L.
                  3032 CANTERBURY BLVD
                  UNIT 8
                  FORT WAYNE IN 46835



                  UERLING, MORGAN
                  5115 VINE STREET
                  114
                  LINCOLN NE 68504



                  UGI ENTERPRISES INC
                  ONE MERIDIAN BLVD
                  SUITE 2C01
                  READING PA 19610
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                  UHLIK, JACQUELINE J.
                  6170 SAINT JOSEPH DRIVE
                  INDEPENDENCE OH 44131



                  ULINE INC
                  PO BOX 88741
                  ATTN ACCOUNTS RECEIVABLE
                  CHICAGO IL 60680-1741



                  ULISES R CASTRO
                  601 79TH AVE NE
                  MINNEAPOLIS MN 55432



                  ULLMAN ELECTRIC COMPANY INC
                  3901 CHESTER AVE UNIT B
                  CLEVELAND OH 44114



                  ULTIMATE EVENTS INC
                  13405 15TH AVE N
                  MINNEAPOLIS MN 55441



                  UMANA, LUIS M.
                  523 GREENSBURG PIKE, #1
                  NORTH VERSAILLES PA 15137



                  UMIX LLC
                  13790 BRIDGEWATER CROSSING BVD
                  #1080
                  WINDERMERE FL 34786



                  UNDERGROUND VAULTS AND STORAGE
                  PO BOX 1723
                  HUTCHINSON KS 67504-1723



                  UNDERWOOD, MONICA
                  7039 1ST AVENUE S
                  MINNEAPOLIS MN 55423
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                  UNIFIED GOVERNMENT LICENSE
                  DIVISION
                  4953 STATE AVE
                  KANSAS CITY KS 66102



                  UNIFUND CCR PARTNERS
                  PO BOX 45242
                  CINCINNATI OH 45242



                  UNION CENTRAL INDIVIDUAL PLAN
                  131 OAK STREET STE 5
                  GLASTONBURY CT 06033-2380



                  UNION STATION
                  6100 W 96TH ST
                  SUITE 150
                  INDIANAPOLIS IN 46278



                  UNITED BEVERAGE FINTECH




                  UNITED STATES POSTAL SERVICE
                  INFOSYNC POC ACCOUNT#6679636



                  UNITED STATES POSTAL SERVICE
                  CORPORATE HILLS STATION
                  9350 CORPORATE HILLS DR
                  WICHITA KS 67207-9997



                  UNITED WAY OF GREATER ST LOUIS
                  910 N ELEVENTH ST
                  SAINT LOUIS MO 63101



                  UNITED WAY OF LINCOLN
                  AND LANCASTER COUNTY
                  238 S 13TH ST
                  LINCOLN NE 68510
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                  UNITYPOINT HEALTH TRINITY
                  REG MED CTR
                  2520 9TH AVENUE SOUTH
                  FORT DODGE IA 50501



                  UNIVERSAL AD COM LLC
                  2921 AVE E EAST
                  ARLINGTON TX 76011



                  UNIVERSITY LIGGETT SCHOOL
                  1045 COOK RD
                  GROSSE POINTE MI 48236



                  UNIVERSITY MARK MALL, LLC
                  C/O SIMON PROPERTIES
                  867525 RELIABLE PARKWAY
                  CHICAGO IL 60686



                  UNIVERSITY OF MARYLAND EASTERN
                  SHORE NAT ALUMNI ASSN SOUTHERN
                  PO BOX 1632
                  WALDORF MD 20604



                  UNIVERSITY PARK ASSOCIATION
                  867525 RELIABLE PARKWAY
                  CHICAGO IL 60686-7500



                  UNIVERSITY PARK MALL, LLC
                  C/O SIMON PROPERTIES
                  867525 RELIABLE PARKWAY
                  CHICAGO IL 60686



                  UNLIMITED OPPORTUNITY INC
                  5885 S 118TH CIR
                  OMAHA NE 68137



                  UNTAPPED INC
                  21 SOUTH FRONT STREET
                  WILMINGTON NC 28401
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                  UNUM LIFE INSURANCE COMPANY OF
                  AMERICA INC
                  1 FOUNTAIN SQUARE
                  CHATTANOOGA TN 37402-1330



                  UPSHOW INC
                  29349 NETWORK PLACE
                  CHICAGO IL 60673-1293



                  UPTOWN BAKE AND BREW LLC
                  5335 KILMER PLACE
                  HYATTSVILLE MD 20781



                  URBAN GROWLER BREWING COMAPNY
                  2325 ENDICOTT ST STE 11
                  SAINT PAUL MN 55114



                  URBAN, MATTHEW
                  405 RIVER ROAD
                  MAUMEE OH 43537



                  URBIC CONSTRUCTION LLC
                  2023 1/2 BANCROFT ST
                  OMAHA NE 68108



                  URBINA JR, MARCOS A.
                  2702 SW 156 AVE
                  MIAMI FL 33185



                  URIOSTEGUI, MARIA
                  2412 N 35TH ST
                  KANSAS CITY KS 66104



                  US BANCORP EQUIPMENT
                  FINANCE INC
                  PO BOX 790448
                  SAINT LOUIS MO 63179-0448
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                  US BANK OEFS
                  PO BOX 790448
                  SAINT LOUIS MO 63179



                  US CASINO RENTALS LLC
                  345 N ERIC DR
                  PALATINE IL 60067



                  US DEPARTMENT OF EDUCATION
                  PO BOX 105081
                  NATL PMNT CENTER
                  ATLANTA GA 30348



                  US DEPT OF EDUCATION AWG
                  PO BOX 790356
                  SAINT LOUIS MO 63179-0356



                  US FOODS CULINARY
                  EQUIPMENT AND SUPPLIES
                  PO BOX 64177
                  SAINT PAUL MN 55164



                  US GUEST SERVICES LLC
                  11 MCKINLEY DRIVE
                  MC KEES ROCKS PA 15136



                  US STANDARD PRODUCTS CORP
                  PO BOX 5509
                  ENGLEWOOD NJ 07631



                  US YELLOW PAGES
                  PO BOX 48098
                  JACKSONVILLE FL 32247-8098



                  USSELTON, EMILY
                  550 COEUR DE ROYALE
                  APT 301
                  SAINT LOUIS MO 63141
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                  USTORE
                  6120 LIVINGSTON RD
                  OXON HILL MD 20745



                  VACURA, CODY M.
                  1314 15 ST NORTH
                  APT 22
                  SAINT CLOUD MN 56303



                  VAINIO, SUMMER
                  1020 NE 103RD ST
                  KANSAS CITY MO 64155



                  VALAZQUEZ, MIKE
                  2423 S. HOLLAND-SYLVANIA ROAD
                  MAUMEE OH 43537



                  VALDENEGRO, LUIS
                  12160 W 136TH STREET #128
                  OVERLAND PARK KS 66221



                  VALDES, LUIS
                  10235 SW 46TH ST
                  MIAMI FL 33165



                  VALDEZ, ALEXANDRIA I.
                  811 EAST VIRGINIA AVENUE
                  PEORIA IL 61603



                  VALDEZ, DOMINIC T.
                  5995 CANDACE AVE
                  INVER GROVE HEIGHTS MN 55076



                  VALDEZ, WILBERTH A.
                  4110 RAHN RD
                  212
                  SAINT PAUL MN 55122
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                  VALDEZ-MARTINEZ, STEVE
                  6418 LEE AVE NORTH
                  MINNEAPOLIS MN 55429



                  VALENCIA, NICHOLAS
                  14325 CENTRAL AVENUE
                  MIDLOTHIAN IL 60445



                  VALENT, NICOLE A.
                  810 SOMERSET AVE
                  MISHAWAKA IN 46544



                  VAN D INC
                  1405 S SCARLET OAK TRAIL
                  SIOUX FALLS SD 57110



                  VAN DE LOO, THOMAS J.
                  2844 SUGAR PINE CIRCLE
                  NORTHBROOK IL 60062



                  VAN DER BRINK, ERIN J.
                  202 W CHURCH ST
                  P.O. BOX 266
                  INWOOD IA 51240



                  VAN DOOTINGH, ELI J.
                  2357 HORSESHOE DR
                  TOLEDO OH 43615



                  VAN METER INC
                  850 32ND AVENUE SW
                  CEDAR RAPIDS IA 52404-3913



                  VAN NESS, JACOB R.
                  2425 W MOSS AVE
                  PEORIA IL 61604
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                  VAN NOORT, CASSIDY L.
                  224 N HOLIDAY AVE
                  SIOUX FALLS SD 57104



                  VAN RU CREDIT CORPORATION
                  PO BOX 1065
                  DES PLAINES IL 60017



                  VAN VEEN, KRISTEN L.
                  108 EAST 40TH STREET
                  SIOUX FALLS SD 57105



                  VANCO COMMERCIAL SERVICE LLC
                  8025 CASTLEWAY DR
                  INDIANAPOLIS IN 46250



                  VANDERBILT UNIVERSITY MEDICAL
                  1161 21ST AVE S
                  D-3300 MEDICAL CENTER NORTH
                  NASHVILLE TN 37232-5445



                  VANDEVOORDE, AUSTIN M.
                  826 19TH AVE
                  MOLINE IL 61265



                  VANES, SHERRI-LYNN A.
                  531 DILL LANE
                  A-1
                  MURFREESBORO TN 37130



                  VANESSA VALDEZ
                  4121 EXCELSIOR BLVD
                  MINNEAPOLIS MN 55416



                  VANHOUSEN, JOSHUA M.
                  1025 N. 63RD ST
                  G-145
                  LINCOLN NE 68505
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                  VAREBERG, KYLE
                  522 42ND ST. S
                  APT 180
                  FARGO ND 58103



                  VARELA, PABLO
                  1703 ROBIN LN
                  LISLE IL 60532



                  VARELA, SALVADOR
                  6724 PARK LANE
                  APT 1
                  WESTMONT IL 60559



                  VARENHORST-JOHNSON, HANNAH M.
                  5832 BROOKVIEW DRIVE
                  LINCOLN NE 68506



                  VARGAS, ALDAIR I.
                  302 ELLSWORTH PL.
                  OXON HILL MD 20745



                  VARGAS, ZOCHILT
                  1107 GROVE ST.
                  AURORA IL 60505



                  VARGO, CHRISTOPHER J.
                  30711 DELTON ST.
                  MADISON HEIGHTS MI 48071



                  VARI, VERONICA A.
                  521 ALTON COURT
                  CAROL STREAM IL 60188



                  VASEY COMMERCIAL HEATING
                  AND AIR CONDITIONING INC
                  10830 ANDRADE DR
                  ZIONSVILLE IN 46077
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                  VASQUEZ, LEXANDER J.
                  9410 ROSLAN PL
                  SAINT LOUIS MO 63114



                  VASQUEZ, VICTORIA
                  5502 HELMONT DRIVE
                  OXON HILL MD 20745



                  VAUGHAN, RYAN
                  11639 GRANT DRIVE
                  OVERLAND PARK KS 66210



                  VAUGHN, NAOMI L.
                  18873 MARX
                  HIGHLAND PARK MI 48203



                  VAZQUEZ HUERTA, ESTHER E.
                  7144 123RD ST W
                  SAINT PAUL MN 55124



                  VAZQUEZ, ALEXIS N.
                  1830 N TRIPP
                  CHICAGO IL 60639



                  VAZQUEZ, JENNA M.
                  2020 RINDLE CT
                  MURFREESBORO TN 37129



                  VAZQUEZ, OMAR R.
                  505 PICCADILLY ROW #151
                  ANTIOCH TN 37013



                  VECTREN ENERGY DELIVERY
                  PO BOX 6248
                  INDIANAPOLIS IN 46206-6248
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                  VEGA, JUAN
                  222 CHERRY DRIVE
                  FRANKLIN TN 37064



                  VELARDE, DANIEL
                  556 E. SHAGBARK LANE
                  UNIT A
                  STREAMWOOD IL 60107



                  VELASCO, DANIEL
                  319 32ND ST NE APT B
                  CEDAR RAPIDS IA 52402



                  VELASQUEZ AJTUM, JOSE D.
                  712 MAURY AVE
                  OXON HILL MD 20745



                  VELASQUEZ, ADELSO
                  1340 MONDAMIN AVE.
                  DES MOINES IA 50314



                  VELASQUEZ, JACQUELINE
                  634 IOWA AVE
                  FLOOR 2
                  AURORA IL 60506



                  VELASQUEZ, SAIRA
                  7909 CAREY BRANCH DR
                  FORT WASHINGTON MD 20744



                  VELAZCO SAENZ, JOSE LUIS
                  524 E CEDAR STREET
                  OLATHE KS 66061



                  VELAZQUEZ MONTE, LIZBETH
                  21 99TH LN NW
                  MINNEAPOLIS MN 55448
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                  VELAZQUEZ, LUISA
                  1876 APPALOOSA DRIVE
                  NAPERVILLE IL 60565



                  VENEY, TIARA R.
                  2235 SAVANNAH TER SE #14
                  WASHINGTON DC 20020



                  VENTIMIGLIA, RENAE E.
                  18959 MAYFIELD
                  LIVONIA MI 48152



                  VENTURA FOODS, LLC
                  40 POINTE DRIVE
                  BREA CA 92821



                  VERGARA PLIEGO, ALAN GUILLERMO
                  710 E 78 ST
                  202
                  MINNEAPOLIS MN 55423



                  VERGARA, MARCO
                  25635 LINCOLN STREET
                  NOVI MI 48375



                  VERIZON
                  PO BOX 4830
                  TRENTON NJ 08650-4830



                  VERIZON WIRELESS
                  PO BOX 15124
                  ALBANY NY 12212-5124



                  VERIZON WIRELESS
                  PO BOX 660720
                  DALLAS TX 75266-0720
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                  VERIZON WIRELESS
                  PO BOX 25505
                  LEHIGH VALLEY PA 18002-5505



                  VERKE, KARA N.
                  250 6TH ST E #501
                  SAINT PAUL MN 55101



                  VERSIQUE INC
                  6465 WAYZATA BLVD
                  SUITE 800
                  MINNEAPOLIS MN 55426



                  VERSTEEGH, JORDANNE L.
                  840 W RUSHOLME ST
                  DAVENPORT IA 52804



                  VETSCH PLUMBING SERVICES INC
                  398 CENTRAL AVE E
                  SAINT MICHAEL MN 55376



                  VETTER ELECTRIC INC
                  PO BOX 41645
                  NASHVILLE TN 37204



                  VICK, AUTUMN E.
                  812 4TH STREET SOUTH
                  SAINT CLOUD MN 56301



                  VICKMAN, DANA C.
                  3800 VERA CRUZ AVE
                  MINNEAPOLIS MN 55422



                  VICTORIA FULKERSON
                  1828 ARBITER CT
                  NAPERVILLE IL 60563
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                  VICTORIA KIRK
                  684 PATRIOT DR
                  LANCASTER PA 17601



                  VIDOVICH, ABBY M.
                  6006 SILVERADO COURT
                  CORAOPOLIS PA 15108



                  VIKING AUTOMATIC SPRINKLER COM
                  PO BOX 74008409
                  CHICAGO IL 60674-8409



                  VILCHIS, ARTURO
                  523 VERITAS STREET
                  NASHVILLE TN 37211



                  VILLAFAN, GUADALUPE
                  5504 TINDER APT 1
                  ROLLING MEADOWS IL 60008



                  VILLAGE HANOVER PARK
                  2121 LAKE ST
                  HANOVER PARK IL 60133



                  VILLAGE OF CHERRY VALLEY
                  806 E STATE STREET
                  CHERRY VALLEY IL 61016



                  VILLAGE OF NORTHBROOK
                  1225 CEDAR LANE
                  NORTHBROOK IL 60062-4582



                  VILLAGE OF NORTHBROOK
                  1225 CEDAR LANE
                  NORTHBROOK IL 60062
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                  VILLAGE OF ORLAND PARK
                  14700 S RAVINA
                  ORLAND PARK IL 60462



                  VILLAGE OF ORLAND PARK WATER
                  PO BOX 74713
                  CHICAGO IL 60694-4713



                  VILLAGE OF SCHAUMBURG
                  201 SCHAUMBURG COURT
                  SCHAUMBURG IL 60193



                  VILLAGE OF SCHAUMBURG
                  PO BOX 6755
                  CAROL STREAM IL 60197-6755



                  VILLAGE OF SCHAUMBURG
                  101 SCHAUMBURG COURT
                  SCHAUMBURG IL 60193-1899



                  VILLAGE WEST ASSOCIATION INC
                  % KESSINGER/HUNTER & CO LC
                  2600 GRAND BLVD SUITE 700
                  KANSAS CITY MO 64108



                  VILLAGRANA, BREANA
                  329 W. CHARLESTON STREET #9021
                  LINCOLN NE 68528



                  VILLALOBOS, MARCOS
                  1106 W 7TH STREET
                  APT 3
                  COLUMBIA TN 38401



                  VILLALTA, STEVENS
                  14107 SW 66TH STREET
                  APT D1
                  MIAMI FL 33183
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                  VILLALTA, STEVENS
                  11605 NW 89TH STREET APT. 108
                  MIAMI FL 33178



                  VILLANUEVA, ROBERT A.
                  20241 SW 124 AVE
                  MIAMI FL 33177



                  VILLAR, MIRTA L.
                  6652 LAKE ST
                  OMAHA NE 68104



                  VILLARREAL, SHANNA M.
                  8615 N COSBY AVE
                  APT R208
                  KANSAS CITY MO 64154



                  VILLEGAS, FLORINDA
                  933 LAKE NORA S CT #C
                  INDIANAPOLIS IN 46240



                  VILLEGAS, JUAN DIEGO
                  868 EASTON PARK WAY
                  ROCKFORD IL 61108



                  VILLEGAS, OFELIA
                  933 LAKE NORA SOUTH COURT
                  APT C
                  INDIANAPOLIS IN 46240



                  VINCENT KEN ROSE
                  5901 EASTWOOD RD
                  SAINT PAUL MN 55112



                  VINTAGE WINE COMP FINTECH
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                  VINTAGE WINE DISTRIB FN




                  VINTEGRITY LLC
                  1689 N TOPPING AVE
                  KANSAS CITY MO 64120



                  VINYL DOCTOR SYSTEMS INC
                  PO BOX 32086
                  WEST PALM BEACH FL 33420



                  VINYL MASTERS
                  COMMERICAL UPHOLSTERY
                  1661 WESTERN AVE N
                  SAINT PAUL MN 55117



                  VINYL PRO
                  1710 W 50TH STREET
                  SIOUX FALLS SD 57105



                  VIP CLEANING SVCS INC
                  2804 DRAKE STREET
                  LINCOLN NE 68516-2742



                  VIP LAWN AND LANDSCAPE INC
                  PO BOX 3551
                  OMAHA NE 68103



                  VIP MAKEOVERS LLC
                  13818 CLAYTON RD
                  CHESTERFIELD MO 63017



                  VIRGEN, GLORIA
                  19 5TH AVE S.
                  102
                  HOPKINS MN 55343
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                  VIRGINIA DEPT OF TAXATION
                  PO BOX 27407
                  RICHMOND VA 23261-7407



                  VIRGINIA DEPT OF TREASURY
                  DIVISION OF UNCLAIMED PROPERTY
                  PO BOX 2478
                  RICHMOND VA 23218-2478



                  VISHNEVETSKY, ELONA
                  1320 BARDOT LANE
                  SAINT LOUIS MO 63146



                  VISION TECHNOLOGIES INC
                  PO BOX 64240
                  BALTIMORE MD 21264-4240



                  VISIONFRIENDLYCOM INC
                  1245 E DIEHL RD
                  SUITE 307
                  NAPERVILLE IL 60563



                  VISIT INDY
                  DEPT 78942
                  PO BOX 78000
                  DETROIT MI 48278



                  VITAL ACCOUNTING AND CONSULTIN
                  7641 KINGS BRIDGE DR
                  WEST JORDAN UT 84084



                  VIZUETE, JESSICA N.
                  13787 SW 66TH STREET
                  D253
                  MIAMI FL 33183



                  VOELKERT, ALYSSA N.
                  52650 SANTA MONICA
                  GRANGER IN 46530
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                  VOLUNTEER WELDING SUPPLY INC
                  815 FIFTH AVE SOUTH
                  NASHVILLE TN 37203



                  VOLZ, ROBIN A.
                  4610 NE 65TH TER.
                  KANSAS CITY MO 64119



                  VONBANK, PETER E.
                  515 4TH STREET NE
                  SAINT MICHAEL MN 55376



                  VOSS DISTRIB
                  5109 NE 17TH STREET
                  DES MOINES IA 50313



                  VOSS LIGHTING
                  PO BOX 22159
                  LINCOLN NE 68542-2190



                  VOSS, SONYA
                  8646 CHANHASSEN HILL
                  CHANHASSEN MN 55317



                  VOSTAD, LIV M.
                  4415 N GRADUATE AVE - BLDG 2 A
                  SIOUX FALLS SD 57107



                  W LD LEGENDS HOLDINGS VII LLC
                  PO BOX 505333
                  SAINT LOUIS MO 63150-5333



                  WA LIGHT PLUMB
                  9815 SEA VIEW COVE
                  FORT WAYNE IN 46835
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                  WADE WILLIAMS
                  200 AMERICAN WAY
                  OXON HILL MD 20745



                  WAG N TRAIN TERRIER RESCUE INC
                  1006 N 77TH ST
                  OMAHA NE 68114



                  WAGNER, SHANNON
                  220 W. ETHEL AVE
                  LOMBARD IL 60148



                  WAGS AND WHISKERS
                  ANIMAL RESCUE OF MN
                  PO BOX 304
                  SHAKOPEE MN 55379



                  WAHL, HUNTER A.
                  1101 7TH AVENUE SE
                  BARNESVILLE MN 56514



                  WAINSCOAT, MATTAYAH D.
                  6800 S SANTA ROSA PLACE
                  UNIT 5
                  SIOUX FALLS SD 57108



                  WAITE, ALLISON M.
                  5417 KURT LN
                  FORT WAYNE IN 46835



                  WALCOTT, JENSEN A.
                  16342 149TH ST.
                  BONNER SPRINGS KS 66012



                  WALCZYNSKI, BLAKE A.
                  122 N 34TH ST
                  OMAHA NE 68131
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                  WALINE, JOHN G.
                  2410 W 40TH ST
                  DAVENPORT IA 52806



                  WALK WITH RACHEL NFP
                  1039 CONRAD CT
                  ELK GROVE VILLAGE IL 60007



                  WALKER, ALEXA S.
                  4229 SHENANDOAH AVE
                  2F
                  SAINT LOUIS MO 63110



                  WALKER, JOHN L.
                  1218 16TH ST SE
                  APT 9
                  SAINT CLOUD MN 56301



                  WALKER, JOHN W.
                  5604 VIRGINIA LANE
                  OXON HILL MD 20745



                  WALKER, RAYVEN A.
                  9329 KOENIG CIR
                  #D
                  SAINT LOUIS MO 63134



                  WALKER, SHANAY
                  605 FALLS LAKE DR
                  BOWIE MD 20721



                  WALLACE, CORNEILUS K.
                  4201 BUSHNELL ROAD
                  CLEVELAND OH 44118



                  WALLACE, DEJA
                  892 E 144 ST
                  CLEVELAND OH 44110
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                  WALLACE, MONET
                  6231 DIMRILL COURT
                  FORT WASHINGTON MD 20744



                  WALLS, AUSTIN M.
                  109 WASHINGTON AVE.
                  MIDWAY PA 15060



                  WALLS, BRANDI
                  109 WASHINGTON AVE
                  MIDWAY PA 15060



                  WALSH, SHAWN J.
                  415 OAK GROVE STREET #320
                  MINNEAPOLIS MN 55403



                  WALSTON, VONDRE A.
                  800 SOUTHERN AVE SE
                  APT 906
                  WASHINGTON DC 20032



                  WALTERS, JACOB B.
                  5611 100TH LANE
                  MINNEAPOLIS MN 55443



                  WALTH, PRESTON
                  1340 HIGH SITE DR
                  APT 217
                  SAINT PAUL MN 55121



                  WALZ, BRIAN P.
                  1210 7TH AVENUE SOUTH
                  UNIT 204
                  SARTELL MN 56377



                  WANDLING, ELIZABETH B.
                  818 GREENFIELD ST NORTHEAST
                  CEDAR RAPIDS IA 52402
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                  WARD, ANGELA R.
                  303 E. 1ST. STREET
                  HARTFORD SD 57033



                  WARD, EVAN
                  2305 S. WEST AVE
                  SIOUX FALLS SD 57105



                  WARREN TOWNSHIP OF MARION COUN
                  SMALL CLAIMS COURT
                  501 N POST RD STE C
                  INDIANAPOLIS IN 46219



                  WARREN, DMON D.
                  8110 NEVILLE PLACE
                  FORT WASHINGTON MD 20744



                  WARREN, JOHN
                  4220 N. 112ND TERR.
                  KANSAS CITY KS 66109



                  WARRICK, JOSEPH
                  825 DRIFTWOOD DRIVE
                  APT 6
                  SAINT CLOUD MN 56303



                  WARRIOR DOG RESCUE
                  13696 STONEBROOKE CURVE
                  SHAKOPEE MN 55379



                  WASHBURN COMPUTER GROUP INC
                  218 CHELSEA ROAD
                  MONTICELLO MN 55362



                  WASHECLAIR
                  400 DAVIS AVE
                  DES MOINES IA 50315
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                  WASHINGTON CIVIL TOWNSHIP
                  1832 W WALLEN RD
                  FORT WAYNE IN 46818



                  WASHINGTON GAS
                  PO BOX 37747
                  PHILADELPHIA PA 19101-5047



                  WASHINGTON HIGH SCHOOL
                  CRCSD
                  2205 FOREST DR SE
                  CEDAR RAPIDS IA 52403



                  WASIK, LEA L.
                  19 CASTLE STREET
                  MC DONALD PA 15057



                  WASTE MANAGEMENT NATIONAL
                  SERVICES INC
                  PO BOX 930580
                  ATLANTA GA 31193



                  WASTE MANAGEMENT NATIONAL
                  SERVICES INC
                  415 DAY HILL ROAD
                  WINDSOR CT 06095



                  WATERS, TEAL D.
                  2060 ROCK CREEK CT
                  TONGANOXIE KS 66086



                  WATERVILLE HISTORICAL SOCIETY
                  PO BOX 263
                  WATERVILLE OH 43566



                  WATKINS, AMBER
                  505 12TH ST S
                  306
                  SAINT CLOUD MN 56301
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                  WATKINS-LYNCH, KASSANDRA M.
                  1000 WALDEN CREEK TRACE
                  APT 6-2E
                  SPRING HILL TN 37174



                  WATKINS-LYNCH, KASSANDRA M.
                  2800 FINCH COURT
                  COLUMBIA TN 38401



                  WATSON, CIRA
                  4908 W 45TH ST
                  APT 1
                  SIOUX FALLS SD 57106



                  WATSON, RONDALE D.
                  18289 WISCONSIN STREET
                  DETROIT MI 48221



                  WAUTERS, SHEILA M.
                  19 AEGINA DR.
                  TINLEY PARK IL 60477



                  WAYNE CNTY HEALTH DEPARTMENT
                  33030 VAN BORN
                  WAYNE MI 48184



                  WEATHERCRAFT CO OF LINCOLN INC
                  4510 NW 44TH ST STE A
                  PO BOX 80459
                  LINCOLN NE 68524



                  WEAVER, ADRIENNE
                  28320 LOCKDALE STREET
                  APT 107
                  SOUTHFIELD MI 48034



                  WEAVER, SADIE
                  805 TIPPERARY DRIVE
                  PAPILLION NE 68046
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                  WEBER AND OLCESE
                  3250 W BIG BEAVER RD #124
                  TROY MI 48084



                  WEBSTER, JOSEPH E.
                  60 LARRAINE DRIVE
                  PITTSBURGH PA 15205



                  WEBSTER, SAVANNA
                  431 N CODDINGTON AVE
                  16
                  LINCOLN NE 68528



                  WEDDINGPAGES LLC
                  11106 MOCKINGBIRD DR
                  OMAHA NE 68137



                  WEIDLICK, ABIGAIL C.
                  1925 TOWER BRIDGE TERRACE
                  SAINT LOUIS MO 63146



                  WEIDLICK, MARGARET C.
                  1925 TOWER BRIDGE TERRACE
                  SAINT LOUIS MO 63146



                  WEIDNER, THOMAS R.
                  115 E COLUMBIA AVE
                  ELMHURST IL 60126



                  WEILAND ENTERPRISES INC
                  CERTAPRO PAINTERS DES MOINES
                  2771 104TH STREET STE G IA 50322



                  WEINGARTEN REALTY INVESTORS
                  PO BOX 301074
                  DALLAS TX 75303
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                  WEINSTOCK FRIEDMAN AND FRIEDMA
                  10461 MILL RUN CR #550
                  OWINGS MILLS MD 21117



                  WEISE, MICHELLE
                  8449 YALE ST
                  OAK PARK MI 48237



                  WEISS, DUSTIN J.
                  11092 XYLON AVE
                  CHAMPLIN MN 55316



                  WELLS FARGO SHAREOWNER
                  WF 8113
                  PO BOX 1450
                  MINNEAPOLIS MN 55485-8113



                  WELLS, ARIKA
                  12428 HISPERIA RD
                  LUSBY MD 20657



                  WELLS, KHADIJAH J.
                  1644 RICHMOND RD NE
                  CEDAR RAPIDS IA 52402



                  WELLS, LYKALE D.
                  10414 EAGLEWOOD WOOD AVE
                  SAINT LOUIS MO 63114



                  WELLS, ROSS J.
                  12428 HISPERIA RD
                  LUSBY MD 20657



                  WELOCALIZE INC
                  241 E 4TH ST STE 207
                  FREDERICK MD 21701
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                  WELSCH, CHARLI
                  932 EXCELSIOR STREET
                  PITTSBURGH PA 15210



                  WELTZIN, MATTHEW A.
                  5255 NW 57TH AVE
                  JOHNSTON IA 50131



                  WENDLOWSKY, LESLIE A.
                  1861 WALNUT
                  DEARBORN MI 48124



                  WENTZ, NYCOLE A.
                  1712 E 72ND STREET
                  INDIANAPOLIS IN 46240



                  WESLEY, ROSEMARY
                  6750 E 700 S
                  COLUMBIA CITY IN 46725



                  WESSMAN, ALAYNA M.
                  12412 69TH LANE
                  OTSEGO MN 55330



                  WEST ACRES DEVELOPMENT LLP
                  3902 13TH AVENUE SOUTH
                  SUITE 3717
                  FARGO ND 58103-3357



                  WEST ACRES DEVELOPMENT LLP
                  3902 13TH AVENUE SOUTH
                  #3717
                  FARGO ND 58103



                  WEST SIDE BEER DISTRIBUTING
                  28100 GORSUCH AVE
                  ROMULUS MI 48174
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                  WEST, ANGELO F.
                  1409 SOUTHERN AVE
                  UNIT 101
                  OXON HILL MD 20745



                  WEST, CASSANDRA
                  8319 CORAL STREET
                  SPRING HILL FL 34608



                  WEST, DENARD
                  11400 CROSS ROAD TRAIL
                  BRANDYWINE MD 20613



                  WEST, LEONARD
                  2279 THOMAS AVE
                  BERKLEY MI 48072



                  WESTERN ALLEGHENY COMMUNITY LI
                  181 BATEMAN RD
                  OAKDALE PA 15071



                  WESTERN IRRIGATION INC
                  26 W 307 ST CHARLES ROAD
                  CAROL STREAM IL 60188



                  WESTERN SQUARE INDUSTRIES INC
                  1621 NORTH BROADWAY AVE
                  STOCKTON CA 95205



                  WESTGOR, TRAVIS J.
                  1456 EAST OLD SHAKOPEE CIRCLE
                  MINNEAPOLIS MN 55425



                  WESTON BARIL
                  5407 JUSTICE DR S
                  FARGO ND 58104
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                  WESTRIM PROPERTIES LLC
                  11760 TREADWELL DR
                  POWAY CA 92064



                  WESTRIM PROPERTIES LLC
                  4628 CALLE DE VIDA
                  SAN DIEGO CA 92124



                  WESTROADS MALL L.L.C.
                  C/O GENERAL GROWTH PROPERTIES
                  110 NORTH WACKER DRIVE
                  CHICAGO IL 60606



                  WESTROADS OAKS INC
                  PO BOX 86 SDS-12-1531
                  MINNEAPOLIS MN 55486-1531



                  WHIP IT MEDIA INC
                  20 PIDGEON HILL DR STE 201
                  STERLING VA 20165



                  WHITE, ANNA M.
                  2745 VIRGINIA DR SE
                  CEDAR RAPIDS IA 52403



                  WHITE, BRANDON M.
                  9301 MORNING LIGHT TRL
                  103
                  FORT WAYNE IN 46815



                  WHITEHALL, MOESHA M.
                  1620 9TH STREET
                  105
                  SAINT PAUL MN 55110



                  WHITEHOUSE PARENTS CLUB
                  6510 TEXAS STREET
                  WHITEHOUSE OH 43571
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                  WHITFIELD, CALVIN
                  2983 DEVONFIELD AVE
                  WALDORF MD 20603



                  WHITING, JARED T.
                  216 VANTAGE WAY
                  FRANKLIN TN 37067



                  WHITMAN, CARSON M.
                  119 MEADOW LN
                  EAST PEORIA IL 61611



                  WHITMORE, DEANDIS
                  3848 W. 76TH STREET
                  CHICAGO IL 60652



                  WHOLESALE LIGHTING LLC
                  5242 ANGOLA RD
                  SUITE 55
                  TOLEDO OH 43615



                  WI SCTF
                  PO BOX 74400
                  MILWAUKEE WI 53274



                  WIATT, CHRIS
                  1006 W 17TH STREET
                  DAVENPORT IA 52804



                  WIEDENBACHBROWN
                  2975 WESTCHESTER AVE STE 203
                  PURCHASE NY 10577



                  WIEMAR, PATRICK
                  CANAAN VALLEY DRIVE
                  KANSAS CITY KS 66109
Case 19-43756   Doc 1   Filed 12/16/19 Entered 12/16/19 15:49:46   Desc Main
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                  WIGGINS, JUSTIE
                  7614 BRIGGS STREET #1
                  OMAHA NE 68134



                  WIL FISCHER COMPANIES
                  17501 WEST 98TH STREET
                  PILLAR 18-49
                  LENEXA KS 66219



                  WILBURN, WALTER
                  5006 BELLEVILLE CIRCLE
                  #2
                  SOUTH BEND IN 46619



                  WILDLIFE REHABILITATION CENTER
                  2530 DALE ST
                  SAINT PAUL MN 55102



                  WILDWOOD EXTERIORS LLC
                  9102 N MERIDAN ST STE 230
                  INDIANAPOLIS IN 46260



                  WILHELMI, ZACHERY J.
                  321 7TH ST N
                  24
                  SARTELL MN 56377



                  WILKERSON, RYLI
                  2216 JEBENS AVENUE
                  DAVENPORT IA 52804



                  WILKES, MONET A.
                  10110 BURTON AVE
                  OAK PARK MI 48237



                  WILKING LAW FIRM PLLC
                  3003 32ND AVE SOUTH
                  SUITE 240
                  FARGO ND 58103
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                  WILKINS ELEMENTARY PARENT
                  TEACHER ORGANIZATION
                  2127 27TH STREET
                  MARION IA 52302



                  WILKOWSKI, ZACHARY
                  38197 SUMMERS ST
                  LIVONIA MI 48154



                  WILKS, KAMEN
                  6 E OXFORD AVENUE
                  ALEXANDRIA VA 22301



                  WILL L AUSTIN
                  7016 PENBROOK DR
                  FRANKLIN TN 37069



                  WILL, JENNIFER L.
                  2929 175TH ST
                  SPIRIT LAKE IA 51360



                  WILLAIMS, DOMONIQUE C.
                  13305 ARDEN WAY
                  31
                  LAUREL MD 20708



                  WILLAMETTE VALLEY HOPS LLC
                  PO BOX 276
                  SAINT PAUL OR 97137



                  WILLARD COMMUNITY CENTER INC
                  FOLSOM
                  LINCOLN NE 68522



                  WILLETTE, JESSICA
                  43308 WESTVIEW
                  STERLING HEIGHTS MI 48313
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                  WILLIAM BEAUMONT HOSPITAL
                  3601 W 13 MILE RD
                  ROYAL OAK MI 48073



                  WILLIAM LUPER
                  PO BOX 3605
                  GAITHERSBURG MD 20885



                  WILLIAM SCHNEIDER JR
                  4003 DALEWOOD
                  PITTSBURGH PA 15227



                  WILLIAM W HUTTON
                  509 ARMSTRONG AVENUE
                  KANSAS CITY KS 66101



                  WILLIAMS, ANNASTACIA M.
                  6829 STEARNS STREET
                  SHAWNEE KS 66203



                  WILLIAMS, ASHLEY
                  11875 80TH AVE NTH
                  303
                  OSSEO MN 55369



                  WILLIAMS, CALEB
                  1111 MCKEE ROAD
                  OAKDALE PA 15071



                  WILLIAMS, CALLIE
                  4410 BALDWIN AVENUE
                  LINCOLN NE 68504



                  WILLIAMS, CHERI M.
                  5417 34TH PLACE
                  CRYSTAL MN 55422
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                  WILLIAMS, DARIUS
                  24280 WESTHAMPTON
                  OAK PARK MI 48237



                  WILLIAMS, DEVRON S.
                  3718 HARRIET
                  INKSTER MI 48141



                  WILLIAMS, JOSHUA D.
                  2515 WEMSHA CT
                  LINCOLN NE 68507



                  WILLIAMS, MAKAILA R.
                  8810 CANDLELIGHT LN
                  LENEXA KS 66215



                  WILLIAMS, MICHAEL S.
                  821 MAURY AVE
                  OXON HILL MD 20745



                  WILLIAMS, PETER L.
                  111 WEST 91ST SREET
                  KANSAS CITY MO 64114



                  WILLIAMS, SYDNEY M.
                  15897 SARATOGA
                  DETROIT MI 48205



                  WILLIAMS, WADE
                  11617 MYRTLE OAK CT
                  WALDORF MD 20601



                  WILLIAMS, WADE
                  4311 23RD PARKWAY #506
                  TEMPLE HILLS MD 20748
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                  WILLIAMSON CNTY CHAM
                  OF COMMERCE
                  5005 MERIDIAN BLVD STE 150
                  FRANKLIN TN 37067



                  WILLS, ELISE I.
                  57911 TAWAS CT.
                  NEW HUDSON MI 48165



                  WILSON, ARIELLE M.
                  9140 S. PAULINA ST
                  CHICAGO IL 60620



                  WILSON, ASYIAH N.
                  6700 NORTH SUMMERSHADE CIRCLE
                  APT 1
                  PEORIA IL 61615



                  WILSON, CHRIS A.
                  1618 BRECA RIDGE DR.
                  ANAMOSA IA 52205



                  WILSON, DAVIN
                  11935 WAKELEY PLAZA
                  APT 7
                  OMAHA NE 68154



                  WILSON, MICHAEL T.
                  911 11TH AVE. #4
                  FARGO ND 58102



                  WILSON, NATALIE M.
                  2935 MAGNOLIA DRIVE
                  BETTENDORF IA 52722



                  WILSON, REBEKAH R.
                  10 OAKLEY DR
                  LE CLAIRE IA 52753
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                  WILSON, SAMUEL
                  2426 E. ROSECROFT VILLAGE CIRC
                  OXON HILL MD 20745



                  WILSON, TAYLOR
                  330 N FOREST AVE APT 1100
                  LIBERTY MO 64068



                  WILTREK, JASON
                  1034 MAPLEWOOD AVENUE
                  AMBRIDGE PA 15003



                  WINDECKER, COLIN M.
                  6748 BROOKSHIRE
                  CANTON MI 48187



                  WINDHAM, ASHLEY
                  413 N GARRISON AVE
                  102
                  KANSAS CITY MO 64163



                  WINDSTREAM
                  PO BOX 9001908
                  LOUISVILLE KY 40290-1908



                  WINDY CITY DISTRIBUTION LLC
                  1103 BUTTERFIELD
                  AURORA IL 60502



                  WINE MERCHANTS
                  PO BOX 16328
                  SAINT PAUL MN 55116-0328



                  WINE MERCHANTS FINTECH
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                  WINN, NIKOLAS
                  11310 MULLEN RD
                  LENEXA KS 66215



                  WINN, TORI D.
                  1707 BERWICK LANE
                  NEW HAVEN IN 46774



                  WINNEBAGO COUNTY CASA
                  211 S COURT STREET STE 258
                  ROCKFORD IL 61101



                  WINTERS, ANDREW S.
                  12473 SERENE DRIVE
                  DURAND IL 61024



                  WIRTZ BEVERAGE ILLINOIS
                  PO BOX 809180
                  CHICAGO IL 60680



                  WISCHMANN, GREGORY M.
                  2106 MAPLECREST RD
                  BETTENDORF IA 52722



                  WISCHMANN, MADISON E.
                  3106 MAPLECREST ROAD
                  BETTENDORF IA 52722



                  WISCHNEWSKI, DANIEL
                  1060 88TH LANE NW
                  MINNEAPOLIS MN 55433



                  WISCONSIN DEPT OF REV
                  BOX 930208
                  MILWAUKEE WI 53293-0208
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                  WISCONSIN DEPT OF REVENUE
                  PO BOX 8982
                  UNCLAIMED PROPERTY
                  MADISON WI 53708-8982



                  WISNIEWSKI, TAYLOR A.
                  295 EXETER LANE
                  SUGAR GROVE IL 60554



                  WITTENBERG, MIRANDA
                  1515 11TH AVE N
                  FARGO ND 58102



                  WOHLWEND, AUSTIN K.
                  3506 N 8TH AVE
                  SIOUX FALLS SD 57104



                  WOKOVICH, ASHLYN S.
                  1032 DAWN VALLEY DR.
                  MARYLAND HEIGHTS MO 63043



                  WOLFE, HOPE A.
                  750 CHENE ST.
                  1208
                  DETROIT MI 48207



                  WOLNEY, AUGUSTINE T.
                  3417 CLARK STREET
                  BURNSVILLE MN 55337



                  WOOD CNTY HUMANE SOCIETY
                  801 VAN CAMP RD
                  BOWLING GREEN OH 43402



                  WOOD GOODS INDUSTRIES INC
                  407 SOUTH DUNCAN STREET
                  LUCK WI 54853
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                  WOOD ROOFING COMPANY INC
                  5225 NE 17TH ST
                  DES MOINES IA 50313



                  WOOD, JULIA Y.
                  2306 ALEXANDER DR.
                  TROY MI 48083



                  WOOD, KATHLEEN
                  22658 S. MADISON
                  SPRING HILL KS 66083



                  WOOD, NATALIE S.
                  6813 PICKETT DRIVE
                  SUITLAND MD 20746



                  WOODALL, ADRIENNE
                  1475 CHICAGO BLVD.
                  DETROIT MI 48206



                  WOODBRIDGE PRINTING CO LLC
                  14826 BUILD AMERICA DRIVE
                  WOODBRIDGE VA 22191



                  WOODE, TRINITY A.
                  820 W BENNETT CT
                  DUNLAP IL 61525



                  WOODWARD, KRYSTALE M.
                  2222 S. GOEBBERT
                  358
                  ARLINGTON HEIGHTS IL 60005



                  WOOLHOUSE, SARAH L.
                  1180 CUSHING CIRCLE
                  302
                  SAINT PAUL MN 55108
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                  WOOSLEY, TAMMY L.
                  2206 S 5TH ST
                  LEAVENWORTH KS 66048



                  WORLD CENTRAL KITCHEN
                  1875 CONNECTICUT AVE NW
                  10TH FLOOR
                  WASHINGTON DC 20009



                  WORLD VISION INC
                  34834 WEYERHAEUSER WAY S
                  PO BOX 9716
                  FEDERAL WAY WA 98063



                  WORTHY, AKEEM T.
                  245 MILLER AVE
                  WEIRTON WV 26062



                  WRIGHT, SANDRA
                  6001 CRESTON AVE
                  15
                  DES MOINES IA 50321



                  WRIGHT, TY D.
                  9660 OAK SHADOW COURT
                  HOLLAND OH 43528



                  WRIGHTHENNEPIN ELECTRIC
                  PO BOX 77027
                  MINNEAPOLIS MN 55480-7727



                  WRIKE INC
                  10 ALMADEN BLVD
                  FLOOR 10 SUITE 1000
                  SAN JOSE CA 95113
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                  WSI
                  1600 EAST CENTURY AVENUE
                  SUITE 1
                  BISMARCK ND 58506-5585



                  WUFLESTAD, ELLEN E.
                  1147 7TH ST S
                  #4
                  FARGO ND 58102



                  WULF, AUTUMN A.
                  108 N POPLAR ST
                  CAMBRIDGE IL 61238



                  WULF, JENNIFER N.
                  2038 N ELSIE AVE
                  DAVENPORT IA 52804



                  WW GRAINGER INC
                  DEPT 868809880
                  PALATINE IL 60038-0001



                  WYCKOFF, KAYLA M.
                  5030 MACY LANE
                  FORT WAYNE IN 46818



                  WYCKSTANDT, SHAWNA
                  434 15TH ST
                  MARION IA 52303



                  WYEAST LABORATORIES
                  PO BOX 146
                  ODELL OR 97044



                  WYRE, JAVON M.
                  14284 SW 109TH CT
                  MIAMI FL 33176
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                  WYRICK, BENJAMIN H.
                  7912 WINTERBOURNE DR.
                  MONCLOVA OH 43542



                  XCEL ENERGY
                  PO BOX 9477
                  MINNEAPOLIS MN 55484-9477



                  XI SIGMA CHAPTER OF PHI BETA
                  SIGMA FRATERNITY INC
                  PO BOX 2322
                  INDIANAPOLIS IN 46206



                  XOLIO, JOSE A.
                  2821 MISHAWAKA AVE
                  SOUTH BEND IN 46615



                  YACARINI, PAOLA G.
                  5855 SW 132ND CT. #2
                  MIAMI FL 33183



                  YAGER ENTERPRISE INC
                  3920 MOBILE AVE
                  FORT WAYNE IN 46805



                  YAMAMOTO MOSS MACKENZIE INC
                  219 2ND ST N STE 200
                  MINNEAPOLIS MN 55401



                  YANEZ ENRIQUE GONZALEZ
                  1701 W 89TH ST
                  MINNEAPOLIS MN 55431



                  YANGIBOEV, ADKHAM
                  910 PALMER ROAD
                  11
                  FORT WASHINGTON MD 20744
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                  YANKEE HILL LANDSCAPE COMPANY
                  11855 YANKEE HILL ROAD
                  LINCOLN NE 68526



                  YAQUILIMA, JORGE
                  812 KISWAUKEE ST
                  ROCKFORD IL 61104



                  YARBOUGH, MARCUS
                  7138 ROCK RIDGE LANE APT. B
                  ALEXANDRIA VA 22315



                  YARBOUGH, MARCUS
                  6135 EDSALL RD., APT. #O
                  ALEXANDRIA VA 22304



                  YARBROUGH, KAZMAN E.
                  1608 KNOX CT
                  BRENTWOOD TN 37027



                  YATES, JAZMEN
                  11903 MARY CATERINE DR.
                  CLINTON MD 20735



                  YEH, CINDY
                  108 NE 102ND TER
                  KANSAS CITY MO 64155



                  YELP INC
                  PO BOX 204393
                  DALLAS TX 75320-4393



                  YMCA OF GREATER ST LOUIS INC
                  326 S 21ST STREET 4TH FL
                  SAINT LOUIS MO 63103
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                  YMCA OF METROPOLITAN DETROIT
                  14255 STARK
                  LIVONIA MI 48154



                  YMCA OF ROCK RIVER VALLEY INC
                  200 Y BLVD
                  ROCKFORD IL 61107



                  YMH TORRANCE INC
                  PO BOX 460
                  HIAWATHA IA 52233



                  YODER, KRYSTAL J.
                  1812 16TH ST. SE
                  13
                  SAINT CLOUD MN 56304



                  YOHO, EMILY
                  15315 NW 128TH STREET
                  PLATTE CITY MO 64079



                  YOKO GAMBRILL
                  33500 TALLYHO CT
                  SOLON OH 44139



                  YOU YES YOU PROJECT INC
                  1857 BROOK CROSSING CT
                  INDIANAPOLIS IN 46229



                  YOUKHANNA, TINA
                  28685 DIESING DRIVE
                  MADISON HEIGHTS MI 48071



                  YOUKHANNA, TINA
                  28685 DIESING DR.
                  MADISON HEIGHTS MI 48071
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                  YOUNG AT HEART PET RESCUE INC
                  PO BOX 1293
                  PALATINE IL 60078



                  YOUNG LIFE
                  1827 N 28TH ST APT 1
                  LINCOLN NE 68503



                  YOUNG& RICHARDS
                  222 S PHILLIPS AVE
                  SIOUX FALLS SD 57104



                  YOUNG, AMBER K.
                  182 ELM STREET
                  ROSSFORD OH 43460



                  YOUNG, ASHLEY
                  2164 CHENE ST
                  DETROIT MI 48207



                  YOUNG, CLARKE
                  5409 POND BLUFF DR
                  WEST BLOOMFIELD MI 48323



                  YOUNG, LA TASHA N.
                  4801 PASTURE VIEW CT
                  WALDORF MD 20601



                  YOUNG, PATRICIA
                  1751 FLAMINGO DR.
                  SAINT PAUL MN 55122



                  YOUNG, SARAH
                  401 ARBORETUM WAY
                  OSWEGO IL 60543
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                  YOUR EVENT PARTY RENTAL LLC
                  15101 CLEAT ST
                  PLYMOUTH MI 48170



                  YOUR WILLIAMSON
                  PO BOX 364
                  FRANKLIN TN 37065



                  YUHALA, ARMAS C.
                  9658 COUNTY ROAD 23 SE
                  BECKER MN 55308



                  YURECKO, DANIEL
                  11719 EMERY VILLAGE DR N
                  CHAMPLIN MN 55316



                  ZACH BOYER
                  729 BROADACRE AVE
                  CLAWSON MI 48017



                  ZACH MILLER
                  12641 HUNTINGTON AVE
                  MINNEAPOLIS MN 55416



                  ZACH OLIN
                  3600 AMERICAN BLVD W STE 400
                  MINNEAPOLIS MN 55431



                  ZACHARIAS, RENEE A.
                  7211 NW DONOVAN DR
                  1628
                  KANSAS CITY MO 64153



                  ZACHARY METZGER
                  1832 CRAFTON BLVD
                  PITTSBURGH PA 15205
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                  ZAIRI, AJTENE
                  1717 40TH STR SOUTH
                  206
                  FARGO ND 58103



                  ZALEWSKI, ANGELICA K.
                  995 W. GLENN TR.
                  ELK GROVE VILLAGE IL 60007



                  ZAMORA, LISBETH
                  1617 HIGH ST.
                  FORT WAYNE IN 46808



                  ZAPPA, ANNA
                  37971 DOR SAL DR
                  STERLING HEIGHTS MI 48312



                  ZARAGOZA TIEMPOS, RAUL
                  717 E 77TH STREET APT#303
                  MINNEAPOLIS MN 55423



                  ZARAK, CODY M.
                  816 34TH AVE. W.
                  WEST FARGO ND 58078



                  ZARI, RANEEM
                  12217 RAIN HOLLOW DR
                  MARYLAND HEIGHTS MO 63043



                  ZAUN, DEBORAH
                  1820 40TH STREET S. #212
                  FARGO ND 58103



                  ZCP EVENTS LLC
                  10404 HUNTER RIDGE DR
                  OAKTON VA 22124
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                  ZELLER ELECTRIC INC
                  7 LEGACY DRIVE
                  GOODFIELD IL 61742



                  ZEMPOALTECATL, FERNANDO
                  1013 N MERRIFIELD AVE
                  MISHAWAKA IN 46545



                  ZIEGENFUSS, MATTHEW L.
                  2319 BICKNELL AVE
                  NILES MI 49120



                  ZIELINSKI, SARAH
                  6120 JEWEL LANE NO.
                  PLYMOUTH MN 55446



                  ZIELKE, BARBARA
                  11848 RUSSELL AVENUE
                  PLYMOUTH MI 48170



                  ZIFFRA, NICHOLAS
                  249 SPRUCE ROAD
                  NORTHBROOK IL 60062



                  ZIMMERMAN, GREGORY
                  14O RIVERWOOD DRIVE
                  OSWEGO IL 60543



                  ZINK DIST FINTECH




                  ZOLLMANN, MAEVE K.
                  1644 BOXWOOD DRIVE
                  NASHVILLE TN 37211
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                  ZONA ROSA DEVELOPMENT LLC
                  C/O OLSHAN PROPERTIES
                  PO BOX 304 DEPT 5000
                  EMERSON NJ 07630



                  ZONING PERMITS SECTION
                  11805 SW 26 STREET
                  MIAMI FL 33175



                  ZOOK, PETE N.
                  111 NORFOLK AVE.
                  FORT WAYNE IN 46805



                  ZUNIGA, ANTHONY
                  3434 WILLIAMS STREET
                  DEARBORN MI 48124



                  ZUNIGA, RAY
                  3434 WILLIAMS STREET
                  DEARBORN MI 48124



                  ZUNIGA, ROSARIO
                  975 GRAND CANYON PARKWAY
                  #108
                  HOFFMAN ESTATES IL 60169



                  ZWICKER AND ASSOCIATES PC
                  7366 N LINCOLN AVE #102
                  LINCOLNWOOD IL 60712
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Form 1008-1 - Proof Of Authority To Sign And File Petition


                                             United States Bankruptcy Court
                                                     District of Minnesota
 In re    Granite City Food & Brewery Ltd.                                              Case No.
                                                               Debtor(s)                Chapter      11



                        STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

          I,    Richard H. Lynch    , declare under penalty of perjury that I am
the      Chief Executive Officer    of    Granite City Food & Brewery Ltd.     , a Minnesota corporation and that
on       December 16, 2019     the following resolution was duly adopted by this corporation:

       "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States Bankruptcy
Court pursuant to Chapter     11     of Title 11 of the United States Code;

        Be It Therefore Resolved, that   Richard H. Lynch       , President of this corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter      11    voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that    Richard H. Lynch    , President of this corporation, is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and
to execute and deliver all necessary documents on behalf of the corporation in connection with such bankruptcy case; and

       Be It Further Resolved, that     Richard H. Lynch    , President of this corporation, is authorized and directed to
employ    James M. Jorissen     , attorney and the law firm of     Briggs & Morgan, PA      to represent the corporation in
such bankruptcy case."

                                                              (or)
        I,        , declare under penalty of perjury that I am one of the general partners of         , a Minnesota
partnership, that        ,       , and        are all of the other general partners, and that all general partners have
authorized me to file a voluntary petition commencing a chapter             voluntary bankruptcy case on behalf of the
partnership.

                                                              (or)
        I,        , declare under penalty of perjury that I am the sole general partner of         , a Minnesota limited
partnership, and that I am authorized to file a voluntary petition commencing a chapter             voluntary bankruptcy case
on behalf of the partnership.
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                                                               (or)
         I,        , declare under penalty of perjury that I am the duly appointed and qualified guardian ad litem of               ,
that I am authorized to file a voluntary petition commencing a chapter           voluntary bankruptcy case on behalf
of         , and that a certified copy of my appointment as such guardian ad litem is attached and made a part of this
statement.


 Date December 16, 2019                                               Signature   /s/ Richard H. Lynch
                                                                                  Richard H. Lynch
                                                                                  Chief Executive Officer


LOCAL RULE REFERENCE: 1008-1




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